                      THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN
                            MIL\üAUKEE DIYISION

                                           )
WAUKESHA COUNTY, WISCONSIN                 )
515 W. Moreland Blvd.                      )
Waukesha,   WI53l88                        )
                                           )
                                Plaintiff, )
                                           )
                                           )   CIVIL ACTION NO
                                           )
AMERISOURCEBERGEN DRUG                     )
CORPORATION; CARDINAL HEALTH,              )
INC.; MoKESSON CORPORATION;                )
PURDUE PHARMA L.P.; PURDUE                 )
PHARMA, INC.; THE PURDUE FREDERICK         )
COMPANY,INC.; TEVA                         )
PHARMACEUTICAL INDUSTRIES, LTD. ;          )               COMPLAINT
TEVA PHARMACEUTICALS USA, INC.;            )
CEPHALON, INC.; JOHNSON & JOHNSON;         )       Complaint for Public Nuisance;
JANSSEN PHARMACEUTICALS, INC. ;            )   Violations of Racketeer Influenced and
ORTHO-MCNEIL-JANSSEN                       )   Corrupt Organizations Act (RICO), 18
PHARMACEUTICALS, INC. N/K/A JANSSEN        )    U.S.C. $ 1961 et seq.; Violations of L8
PHARMACEUTICALS, INC. ; JANSSEN            )
                                                U.S.C. $ 1962 et seq.; Violations of the
PHARMACEUTICA INC. n/k/a JANSSEN           )
PHARMACEUTICALS, INC.; NORAMCO,                 Wisconsin Deceptive Trade Practices
                                           )
INC.; ENDO HEALTH SOLUTIONS INC.;          )   Act, Wis. Stat. $ 100.18; Negligence and
ENDO PHARMACEUTICALS, INC.;                )        Negligent Misrepresentation;
ALLERGAN PLC f/K/A ACTAVIS PLC;            )   Negligence Per Se; Strict Responsibility
WATSON PHARMACEUTICALS, INC. n/k/a         )        Misrepresentation; Fraud and
ACTAVIS, INC.;WATSON                       )     Fraudulent Misrepresentation; and
LABORATORIES, INC.; ACTAVIS LLC;           )
                                                         Unjust Enrichment
ACTAVIS PHARMA, INC. f/k/a WATSON          )
PHARMA, INC.; MALLINCKRODT PLC ;           )
MALLINCKRODT LLC; INSYS                    )
THERAPEUTICS, INC.; CVS HEALTH             )
CORP.; WALGREENS BOOTS ALLIANCE,          )
INC.; and V/AL-MART, INC.                 )
                                          )
                              Defendants. )
                                          )
                                          )    JURY TRIAL DEMA¡IDED AND
                                           )   ENDO      HERE,ON
                                           )




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          Plaintiff, WAUKESHA COLINTY, WISCONSIN, brings this Complaint                                        against

Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.;

Teva Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

n4</a Janssen Pharmaceuticals,         Inc.; Janssen Pharmaceutica lnc. n/Wa Janssen Pharmaceuticals,

Inc.; Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; AllerganPLC flWa

Actavis PLC; Watson Pharmaceuticals, Inc. nlWa Actavis, Inc.; Watson Laboratories, Inc.;

Actavis, LLC; Actavis Pharma, Inc.llWa Watson Pharma, Inc.; Mallinckrodt PLC; Mallinckrodt

LLC; Insys          Therapeutics,        úrc., McKesson Corporation; Cardinal Health,                             Inc.;

AmerisourceBergen Drug Corporation; CVS Health Corporation;'Walgreens Boots Alliance, Inc.

aJWaWalgreen Co., and Wal-Mart Inc., f/k/a Wal-Mart Stores,                    Inc. (collectively "Defendants")

and alleges as follows:

                                           I.     INTRODUCTION

          1.    Plaintiff brings this civil action to eliminate the hazæd to public health and safety

caused by the opioid epidemic,         to abate the nuisance caused thereby, and to recoup monies that

have been spent because of Defendants' false, deceptive and unfair marketing and/or unlawful

diversion of prescription opioids.l Such economic damages were foreseeable to Defendants and

were sustained because of Defendants' intentional and/or unlawful actions and omissions.

          2.    Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.2



t As used herein, the term "opioid" refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.
2
      Nora D. Volkow & A. Thomas Mclellan, Opioid Abuse in Chronic Pain-Misconceptions and Mitigation
    See
Strategies,3T4 N. Eng. J. Med. 1253 (2016).




                                                           1
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        3.     The opioid epidemic is "directly related to the increasingly widespread misuse of

powerful opioid pain medications."3

        4.     Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb                to drug addiction.       These pharmaceutical

companies aggressively advertised           to   and persuaded doctors       to prescribe highly       addictive,

dangerous opioids, turning patients into drug addicts for their own corporate profit. Such actions

were intentional and/or unlawful.

        5.     Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached

their legal duties under federal and state law to monitor, detect, investigate, refuse and report

suspicious orders of prescription opiates.

                                             II.     PARTIES

    A. PLAINTIFF.
        6. Plaintiff, WAUKESHA                   COUNTY, WISCONSIN, ("Waukesha County'' or

"Plaintiff') is a body corporate of the State of Wisconsin,         and is authorized to bring the causes       of

action brought herein. Wis. Stat. $ 59.01.

        7.     Plaintiff is responsible for the public health, safety and welfare of its citizens.

        8.     Plaintiff has declared, inter aliø, that it is in the midst of an opioid epidemic that is

claiming many lives each year, destroying families and harming communities. Plaintiff has spent

significant amounts      of unexpected and unbudgeted time and resources in its programs                      and

services related to the opioid epidemic which makes             it more difficult to provide other essential

3 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).




                                                         2
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programs and services. Opioid abuse, addiction, morbidity and mortality has created a serious

public health and safety crisis, and is a public nuisance.

       9.        The distribution and diversion of opioids into Wisconsin ("the State"), and into

Waukesha County and surrounding areas (collectively, "Plaintiffs Community"), created the

foreseeable opioid crisis and opioid public nuisance for which Plaintiff here seeks relief.

        10. Plaintiff     directly and foreseeably sustained all economic damages alleged herein.

Defendants' conduct has exacted         a financial burden for which the Plaintiff        seeks relief.

Categories of past and continuing sustained damages include, ínter alía,;     (l)   costs for providing

medical care, additional therapeutic, and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths; (2)

costs for providing treatment, counseling, and rehabilitation services; (3) costs for providing

treatment of infants born with opioid-related medical conditions; (4) costs associated with law

enforcement and public safety relating to the opioid epidemic; (5) and costs associated with

providing care for children whose parents suffer from opioid-related disability or incapacitation.

These damages have been suffered, and continue to be suffered directly, by the Plaintiff.

        I   1.   Plaintiff also seeks the means to abate the epidemic created by Defendants'

wrongful and/or unlawful conduct.

        12.      Plaintiff has standing to bring an action for the opioid epidemic nuisance created by

Defendants. See, e.g., Vy'is. Stat. $ 823.01 ("Any . . .     county,     . ffiây maintain an action to

recover damages or to abate a public nuisance from which injuries peculiar to the complainant

are suffered, so far as necessary to protect the complainant's rights and to obtain an injunction to

prevent the same.").




                                                    J
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        13.    Plaintiff has standing to recover damages incurred as a result of Defendants'

actions and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia,

to bring claims under the federal RICO statute, pursuant to 18 U.S.C. $ 196l(3) ("persons"

include entities which can hold legal title to property) and 18 U.S.C. $ 1964 ("persons" have

standing).

   B.   DEFENDANTS.

              1.   Manufacturer Defendants.

        14. The Manufacturer       Defendants are defined below.       At all relevant    times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream         of

commerce, labeled, described, marketed, advertised, promoted and purported              to warn    or

purported to inform prescribers and users regarding the benefits and risks associated with the use

of the prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured

and sold prescription opioids without fulfilling their legal duty to prevent diversion and report

suspicious orders.

        15.     PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place                    of

business     in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY, INC. is                    a


Delaware corporation with its principal place of business in Stamford, Connecticut (collectively,

"Purdue").

        16.     Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue's best-selling opioid. Since 2009, Purdue's annual nationwide sales of

OxyContin have fluctuated between 52.47 billion and $2.99 billion, up four-fold from its 2006




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sales   of $800 million. OxyContin constitutes roughly 30% of the entire market for                   analgesic

drugs (painkillers).

         17. CEPHALON, INC. is a Delaware               corporation with its principal place of business in

Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. ("Teva Ltd.") is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. ("Teva USA") is a Delaware

corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania. Teva USA acquired

Cephalon in October 2011.

         18.   Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the "management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

cancer pain."4 Fentora has been approved by the FDA only for the "management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to   around-the-clock opioid therapy         for their underlying persistent cancer pain."s In             2008,

Cephalon pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its

misleading promotion of Actiq and two other drugs, and agreed to pay $425 million.6

         19.   Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for


4 nighltghts of Prescribing Inþrmation, ACTIQ@ (fentanyl citrate) oral transmucosal lozenge, CII (2009),
htçs://www. accessdata. fcla. gov/drugsatfda_docs/lab eU2009 I 020747s0301b1.pdf.
s Htghltghts of Presuibing Inþrmation, FENTORA@ (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.ftla.gov/drugsatf<la_docs/labeV20l2l021947s015lbl.pdf.
6 Press Release, U.S. Dep't of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://wwwjustice.gov/archivelopa/pr12008lSeptember/O8-civ-860.htm1.




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Cephalon      in the United      States through Teva USA and has done so since                   its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

to the public. Teva USA sells all former Cephalon branded products through its "specialty

medicines" division. The FDA-approved prescribing information and medication guide, which is

distributed with Cephalon opioids, discloses that the guide was submitted by Teva USA, and

directs physicians to contact Teva USA to report adverse events.

           20. All of Cephalon's         promotional websites, including those for Actiq and Fentora,

display Teva Ltd.'s 1ogo.7 Teva Ltd.'s financial reports list Cephalon's and Teva USA's sales as

its own, and its year-end report for 2012                -   the year immediately following the Cephalon

acquisition    - attributed a 22o/o increase in its specialty       medicine sales to "the inclusion of a full

year     of   Cephalon's specialty sales," including, inter              alia, sales of      Fentora@.8 Through

interrelated operations like these, Teva Ltd. operates in the United States through its subsidiaries

Cephalon and Teva USA. The United States                     is the largest of Teva Ltd.'s global markets,

representing 53% of its global revenue in 2015, and, were it not for the existence of Teva USA

and Cephalon, Inc., Teva Ltd. would conduct those companies' business in the United States

itself. Upon information and beliel Teva Ltd. directs the business practices of Cephalon and

Teva USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder. Teva

Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are

referred to as "Cephalon."

           21.    JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of


'   8.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Jan. 16,2018).
8
    Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12,2013),
h@:llannuakeports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEvA_2012.pdf.




                                                             6
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JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. ("Noramco") is a Delaware                      company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New   Jersey. JANSSEN PHARMACEUTICA fNC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. J&J is the only company that       owns more than l0o/o    of   Janssen


Pharmaceuticals' stock, and corresponds with the FDA regarding Janssen's products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals' drugs

and Janssen's profits inure to J&J's benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-

Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as

"Janssen."

        22.   Janssen manufactures, promotes, sells, and distributes drugs   in the United   States,


including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least         $1


billion in annual sales. Until January 2015,   Janssen developed, marketed, and sold the opioids

Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

million in sales in20l4.

        23.   ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvem, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place   of   business   in   Malvern, Pennsylvania. Endo Health Solutions Ilrc. and Endo

Pharmaceuticals Inc. are referred to as "Endo."




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        24.     Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone,      in the United      States. Opioids made up

roughly $403 million of Endo's overall revenues of $3 billionin2012. Opana ER yielded $1.15

billion in revenue from 2010 and 2013, and it accounted for 10% of Endo's total revenue in

2012. Endo also manufactures and sells generic opioids such as oxycodone, oxymorphone,

hydromorphone, and hydrocodone products       in the United   States,   by itself and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

        25.     ALLERGAN PLC is a public limited company incorporated in lreland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January

2013. Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in

October 2012, and the combined company changed its name to Actavis, Inc. as of January 2013

and then ACTAVIS PLC         in October 2013. WATSON LABORATORIES, INC. is a Nevada

corporation with its principal place of business in Corona, California, and is a wholly-owned

subsidiary    of ALLERGAN PLC (flkla Actavis, Inc., fkla       Watson Pharmaceuticals, Inc.).

ACTAVIS PHARMA, INC. GlWa Actavis, Inc.) is a Delaware corporation with its principal

place   of   business   in New   Jersey and was formerly known as WATSON PHARMA, INC.

ACTAVIS LLC is a Delaware limited liability company with its principal place of business in

Parsippany, New Jersey. Each of these defendants is owned by ALLERGAN PLC, which uses

them to market and sell its drugs in the United States. Upon information and belief, ALLERGAN

PLC exercises control over these marketing and sales efforts and profits from the sale of

Allergan/Actavis products ultimately inure to its benefit. ALLERGAN PLC, ACTAVIS PLC,




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ACTAVIS, Inc., Actavis LLC, Actavis Pharma, Inc., Watson Pharmaceuticals, Inc., Watson

Pharma, Inc., and Watson Laboratories, Inc. are referred to as "Actavis."

         26.   Actavis manufactures, promotes, sells, and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

and Opana, in the United States. Actavis acquired the rights                to   Kadian from King

Pharmaceuticals, Inc. on December 30, 2008, and began marketing Kadian in2009.

         27.   MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom,        with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, PLC.

Mallinckrodt, PLC and Mallinckrodt, LLC are referred to    as   "Mallinckrodt."

         28. Mallinckrodt   manufactures, markets, and sells drugs in the United States including

generic oxycodone, of which    it is one of the largest manufacturers. In July 2017 Mallinckrodt

agreed   to pay $35 million to settle allegations brought by the Department of Justice that it

failed to detect and notiff the DEA of suspicious orders of controlled substances.

         29. INSYS THERAPEUTICS, INC. is a Delaware corporation with its principal place
of business in Chandler, Artzona. Insys's principal product and source of revenue is Subsys.

         30.   Insys made thousands of payments to physicians nationwide, including in the State,

ostensibly   for activities including participating on speakers'     bureaus, providing consulting

services, assisting   in post-marketing safety surveillance and other services, but in fact to
deceptively promote and maximizethe use of opioids.




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       31.    Subsys    is a   transmucosal immediate-release formulation (TIRF)       of    fentanyl,

contained   in a single-dose   spray device intended for oral, under the tongue administration.

Subsys was approved by the FDA solely for the treatment of breakthrough cancer pain.

       32.    In2016,Insys made approximately $330 million in net revenue from Subsys. Insys

promotes, sells, and distributes Subsys throughout the United States, the County, and Plaintifls

Community.

       33.    Insys's founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies      in   connection   with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

            2.   Distributor Defendants.

       34. The Distributor Defendants         also are defined below.     At all relevant times,   the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion     of   dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed      to comply with       federal and/or state law. The Distributor

Defendants are engaged     in "wholesale distribution," as defined under state and federal law.
Plaintiff alleges the unlawful conduct by the Distributor Distributors is responsible for the

volume of prescription opioids plaguing Plaintiffls Community.

       35.    McKESSON CORPORATION ("McKesson") and its subsidiaries at all relevant
                                                            'Wisconsin,                     'Wisconsin
times, operated as a licensed wholesale distributor in                    licensed by the

Pharmacy Examining Board. McKesson is a Delaware corporation. McKesson has its principal

place of business located in San Francisco, California. McKesson operates distribution centers in

Vy'indsor, Wisconsin.


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       36.   CARDINAL HEALTH, INC. ("Cardinal") and its subsidiaries at all relevant times,

operated as a licensed wholesale distributor in Wisconsin, licensed by the Wisconsin Pharmacy

Examining Board. Cardinal's principal office is located in Dublin, Ohio. Cardinal operates     a


distribution center in Hudson, Wisconsin.

       37.   AMERISOURCEBERGEN DRUG CORPORATION ("AmerisourceBergen") at

all relevant times, operated as a licensed wholesale distributor in Wisconsin, licensed by the

Wisconsin Pharmacy Examining Board. AmerisourceBergen is a Delaware corporation and its

principal place of business is located in Chesterbrook, Pennsylvania.

       38.   Defendant CVS HEALTH CORPORATION                  is a Delaware corporation with its

principal place of business in Rhode Island. CVS Health Corporation conducts business as        a


licensed wholesale distributor under the following named business entities: CVS Indiana,L.L.C.;

CVS Orlando FL Distribution; CVS Pharmacy, Inc.; CVS RX Services, Inc., d/b/a CVS

Pharmacy Distribution Center; CVS TN Distribution, LLC ; and CVS VERO FL Distribution,

L.L.C. (collectively "CVS").      At all times relevant to this Complaint, CVS distributed
prescription opioids throughout the United States, including in the State and the County and

PlaintifPs Community specifically. At all relevant times, this Defendant operated as a licensed

wholesale distributor in Wisconsin, licensed by the Wisconsin Pharmacy Examining Board.

       39. Defendant WALGREENS              BOOTS ALLIANCE, fNC., also known as Vy'algreen

Co. ("V/algreens") is a Delaware corporation with its principal place of business in lllinois.

Walgreens Boots Alliance Inc. conducts business as a licensed wholesale distributor under the

following named business entities: Walgreen Co.; Walgreen Eastern Co., Inc.; Walgreen Anzona

Drug Co. (collectively "Walgreens").        At all   times relevant to this Complaint, Walgreens

distributed prescription opioids throughout the United States, including in the State, the County




                                                 11
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and Plaintiffs Community specifically.      At all relevant times, this Defendant     operated as a

licensed wholesale distributor in Wisconsin, licensed by the Wisconsin Pharmacy Examining

Board.

         40.   Defendant WAL-MART [NC., formerly known as Wal-Mart Stores, úrc. ("Wal-

Mart"), is a Delaware corporation with its principal place of business in Arkansas. At all times

relevant to this Complaint, Wal-Mart distributed prescription opioids throughout the United

States, including   in the State, the County and Plaintiffs Community specifically. Wal-Mart

Stores, Inc. conducts business as a licensed wholesale distributor under the following named

business entities: Wal-Mart Warehouse #28; Wal-Mart Warehouse #6045 aka Wal-Mart

Warehouse #45; Wal-Mart Warehouse          #   6046 aka Wal-Mart Warehouse #46 ("collectively

"Wal-Mart"). At all relevant times, this Defendant operated a licensed wholesale distributor in

Wisconsin, licensed by the rùy'isconsin Pharmacy Examining Board.

         41. Collectively,   Defendants CVS, Walgreens, and Wal-Mart are referred              to   as


"National Retail Pharmacies." Cardinal, McKesson, AmerisourceBergen, and the National

Retail Pharmacies are collectively referred to as the "Distributor Defendants."

         42.   Defendants include the above referenced entities as well as their predecessors,

successors, aff,rliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution sale andlor dispensing of opioids.

                             III.   JURISDI          N   8¿   VENIIE

         43.   This Court has subject matter jurisdiction under 28 U.S.C. $ 1331 based upon the

federal claims asserted under the Racketeer Influenced and Comrpt Organizations Act, 18 U.S.C.

$ 1961, et seq. ("RICO"). This Court has supplemental jurisdiction over Plaintiffls state law
claims pursuant to 28 U.S.C. $ 1367 because those claims are so related to Plaintiff s federal

claims that they form part of the same case or controversy.


                                         I2
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        44.   This Court also has jurisdiction over this action in accordance with 28 U.S.C.      $


1332(a) because the Plaintiff is a "citizen" of this State, the named Defendants are citizens    of

different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

        45. This Court has personal jurisdiction over Defendants because they conduct
business in the State, purposefully direct or directed their actions toward the State, some or all

consented to be sued in the State by registering an agent for service of process, they consensually

submitted to the jurisdiction of the State when obtaining a manufacturer or distributor license,

and because they have the requisite minimum contacts with the State necessary to

constitutionally permit the Court to exercise jurisdiction.

        46. This Court also has personal jurisdiction    over all of the defendants under 18 U.S.C.

$ 1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where

the "ends of justice" require national service and Plaintiff demonstrates national contacts. Here,

the interests of justice require that Plaintiff be allowed to bring all members of the nationwide

RICO enterprise before the court in a single tnaI. See, e.g., Iron Workers Local Union No. 17

Insurance Fund v. Philip Monis Inc.,23 F. Supp. 2d 796,803 (N.D. Ohio 1998) (citing LaSalle

National Bank v. Awoyo Office Plaza, Ltd., 1988 WL 23824, *2 (N.D.             Ill. Mar 10, 1988);
Butcher's (Jnion Local No. 498 v. SDC Invest., 1nc.,788 F.2d 535, 539 (9th Cir. 1986)).

        47.   Venue is proper in this District pursuant to 28 U.S.C. $ 1391 and 18 U.S.C. $1965

because a substantial part of the events or omissions giving rise to the claim occurred in this

District and each Defendant transacted affairs and conducted activity that gave rise to the claim

of relief in this District. 28 U.S.C. $ 1391(b); l8 U.S.C. $1965(a).




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                                     IV.     FACTUAL BACKGROUND

      A. THE OPIOID EPIDEMIC.
                 1. The National       Opioid Epidemic.

             48.    The past two decades have been charactenzed by increasing abuse and diversion                         of

prescription drugs, including opioid medications, in the United States.e

             49.    Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month.l0

             50. By 2011, the U.S. Department of Health and Human                         Resources, Centers for

Disease Control and Prevention, declared prescription painkiller overdoses at epidemic levels.

The press release noted:

                 a.   The death toll from overdoses of prescription painkillers has more than tripled in
                      the past decade.

                 b.   More than 40 people die every day from overdoses involving narcotic pain
                      relievers like hydrocodone (Vicodin), methadone, oxycodone (OxyContin), and
                      oxymorphone (Opana).

                 c.   Overdoses involving prescription painkillers are at epidemic levels and now                        kill
                      more Americans than heroin and cocaine combined.

                 d.   The increased use of prescription painkillers for nonmedical reasons, along with
                      growing sales, has contributed to a large number of overdoses and deaths. In
                      2010,1 in every 20 people in the United States age 12 and older-a total of 12
                      million people-reported using prescription painkillers non-medically according
                      to the National Survey on Drug Use and Health. Based on the data from the Drug
                      Enforcement Administration, sales of these drugs to pharmacies and health care
                      providers have increased by more than 300 percent since 1999.




e
    See   Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United States,372 N. Eng.   J.
Med.24r (201s).
r0
  Katherine M. Keyes at al., (Jnderstanding the Rural-Urban Dffirences in Nonmedical Prescription Opioíd Use
and Abuse in the United Støtes,104 Am. J. Pub. Health e52 (2014).




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                 e.    Prescription drug abuse is a silent epidemic that is stealing thousands of lives and
                       tearing apart communities and families across America.

                 f.    Almost 5,500 people start to misuse prescription painkillers every duy.tt

             51.      The number    of annual opioid prescriptions written in the United              States   is now

roughly equal to the number of adults in the population.12

             52.      Many Americans are now addicted to prescription opioids, and the number of

deaths due         to prescription opioid overdose is unacceptable. In 2016, drug                  overdoses killed

roughly 64,000 people in the United States, an increase of more than 22 percent over the 52,404

drug deaths recorded the previous year.13

             53.      Moreover, the CDC has identified addiction to prescription pain medication as the

strongest       risk factor for heroin addiction. People who are addicted to prescription opioid

painkillers are forty times more likely to be addicted to heroin.ra

             54.      Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk

factor for heroin use.15




ll                   Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human Servs., Prescription
     See Press Release,
Painkiller Overdoses at Epidemic Levels (Nov. l, 20ll),
https://www.cdc.gov/media/releases/201I/pll0l_flu1ain killer overdose.html.
12
     See   Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).
13
  See Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/healthlolicy/monthly-drug-overdose-death-
estimates.pdf.
ta See Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human Servs., Today's Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7,2015).
rs See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin,374 N. Eng.             J.
Med. 154 (2016).




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          55.      The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling                                in 4      years. This increase mirrors large

increases in heroin use across the country and has been shown to be closely tied to opioid pain

reliever misuse and dependence. Past misuse of prescription opioids is the strongest riskfactor

þr     heroin initiation and use, specifically among persons who report past-year dependence or

abuse. The increased availability of heroin, combined with its relatively low price (compared

with diverted prescription opioids) and high purity appear to be major drivers of the upward

trend in heroin use and overdose.16

           56.     The societal costs of prescription drug abuse are "huge."l7

           57.     Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose

their lives after overdosing on opioids.ls

           58.     The National Institute on Drug Abuse identifies misuse and addiction to opioids as

"a serious national crisis that affects public health as well as social and economic welfare."le The

economic burden of prescription opioid misuse alone is $78.5 billion a yeaÍ, including the costs

of healthcare, lost productivity, addiction treatment, and criminal justice expenditures.2O


t6              A. Rudd et al., Increases in Drug and Opioid Overdose Deaths-United States, 2000-2014,64
     See Rose
Morbidity & Mortality Wkly. Rep. 1378 (2016).
r?
   See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United SÍates Dept. Justice,No. 12-5061 (D.C. Ck. May 9, 2012),2012WL
1637016, at *10 [hereinafter Brief of HDMA].
r8
  Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) ("Opioid Crisis, Ì.IIH") (citing at note 1 Rudd RA, Seth P,
David F, Scholl L,                                                                                                  ,   MMIryR
Mo nn Mo nr.¿r Wxry Rnp. 2016;65, doi:    1   0.   1   5   58   5/mmwr.mm65 505 l e 1 ).
re opioid crisis, NIH.
20 Id.
       lcitingat note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED Clnn2016;54(10):901-906,
doi: I 0. I 097/MLR.0000000000000625).




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              59.    The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999-2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United

States, 28,647 (60.9%) involved an opioid.2r

              60.    The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years.22

              61.    Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidernic, which

now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are "ever¡rrvhere" and mistaken as candy.23

              62. In     2016, the President         of the United       States declared an opioid and heroin

epidemic.2a

              63.    The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.25 Meanwhile, the manufacturers and distributors

of prescription opioids extract billions of dollars of revenue from the addicted American public

while public entities experience hundreds of millions of dollars of injury                    - if not more - caused
by the reasonably foreseeable consequences of the prescription opioid addiction epidemic.


2t          Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deqths-United Stqtes, 2010-2015,65
     ^See
Morbidity & Mortality Wkly. Rep. 1445 (2016).
22
  ^See
       Nora D. Volkow & A. Thomas Mclellan, Opioid Abuse in Chronic Pain-Misconceptions and Mitigation
Strategies,3T4 N. Eng. J. Med. 1253 (2016).
23 Julie Turkewitz, 'The Pills are  Everwhere': How the Opioíd Crisis Claims Its Youngest Victims,N.Y. Times,
Sept. 20, 2017 ("'It's a caîcer,' said [grandmother of dead one-year old], of the nation's opioid problem, 'with
tendrils that are going everywhere."').
2a
  See Proclamation No. 9499 , 8l Fed. Reg.     65   ,173 (Sept. I 6, 201 6) (proclaiming "Prescription Opioid and Heroin
Epidemic Awareness Week').
2s
 See Presidential Memorandum - Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc.743 (Oct.21,2015),https:llwww.gpo.gov/fdsys/pkg/DcPD-201500743/pdf/DCPD-201500743.pdf.




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           64.   The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causin      g andlor contributing to the national, state, and local opioid epidemic.

               2.   The Wisconsin Opioid Epidemic.

           65. Wisconsin has been especially ravaged by the national opioid crisis.
           66.   The Wisconsin State Health Assessment and Health Improvement Plan reports that

between 2005 and 2015-as prescription opioid sales steadily increased-the number of opioid-

related overdose deaths in Wisconsin more than doubled.26 The main cause of drug overdoses is

prescription opioids, which caused six of 10 opioid-related deaths and eight of 10 hospital visits

in'Wisconsin.21 By 2015, over two hundred thousand Wisconsin residents aged 12 and older had

used opioids non-medically            or illegally-slightly less than the population of                 Madison,

Wisconsin.2s And from 2010            to   2014, the rate     of prescription drug deaths increased by 2l
              'Wisconsin,
percent in                  alongside a 188% increase in the number of deaths from heroin (which is

cheaper and easier for addicts to obtain, and causally related to the use of prescription opioids).2e

Three out of four people in Wisconsin who use heroin began their drug abuse using prescription

opioids.30
              *Ln2014, more than 14,000 hospital visits in Wisconsin were because of opioids, and

almost 3,000 were for opioid overdoses."3l




26
     See'Wisconsin State Health Assessment and Health Improvement Plan, Priority: Opioids (2015)
https://healthy.wisconsin.gov/healthywifrles/8346-healtþ-wi-plan-opioids.pdf (last visited February 5, 2015).
27
     Id.
28
     Id.
2e
     Id.
30
     Id.
3t   Id.




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              67.   The rate of opioid overdose deaths in Wisconsin almost doubled from 2006 to

2015, going up from 5.9 deaths per 100,000 residents in2006 to 10.7 deaths per 100,000 people

in     2015.32 "Prescription opioids have been the main driver              of drug overdose      deaths and

poisonings."33 In 2015, almost two-thirds of opioid-related deaths involved prescription drugs.3a

              68.   Wisconsin suffered a statistically significant increase in the drug overdose death

rate from 2015 to 2016, according to data from the Centers for Disease Control and Prevention

(CDC).35 The death rate rose by 24.5 percent.36

           Statistically significant drug overdose death rate increase from 2015-2016, US states


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32
  Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Dataþr \ílisconsin,
November 2016,https:llwww.dhs.wisconsin.gov/publications/p0l690.pdf (last visited May 31, 2018).
33
     Id.
34
     Id.
3s Centers for Disease Control and Prevention, Drug Overdose Death Data, (2015-2016 Death Increases" tab,
https://www.cdc.gov/drugoverdose/datalstatedeaths.html (last visited Feb. 9, 2018).
36
     Id.




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              69.    According to the CDC, in2016,I,074 people died of drug overdoses in Wisconsin,

for a rate of 19.3 per 100,000 people.37 In 2015, 878 people died from drug overdoses while in

2014, 853 people died.38

              70.    Based on data from emergency room visits from July 2016 to September 2017,

Wisconsin had a 109 percent increase in opioid overdoses, well above the national increase                    of

29.7 percent.3e That number likely underreports overdoses since many people do not go to the

emergency room.4o

              71.    The number of opioid-related hospitalizations also steadily increased from 2006-

2015 in Wisconsin:




37
     Id. at"2016 Deaths" tab.
38
     Id.   at "2015 Deaths" tab and "2014 Deaths" tab.
3e
  Alana M. Vivolo-Kantor, et al, Centers for Disease Control and Prevention, "Vital Signs: Trends in Emergency
Department Visits for Suspected Opioid Overdoses - United States, July 2016-September 2017," Morbidity and
Mortalíty Weekly Report (March 6,2018), htps://www.cdc.gov/mmwr/volumes/67lwr/mm6709el.htm (last visited
March 7,2018).
40
   Rob Stein, "Jump In Overdoses Shows Opioid Epidemic Has Worsened," NPR (March 6,2018),
https://www.npr.orglsections/health-shotsl2018l03l06/590923149/jump-in-overdoses-shows-opioid-epidemic-has-
worsened (last visited March 7,2018).




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     Opioid-Related Hospializations Are Driven by Prescription Opioids.
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                        2(n6     2@7            2tþ8            2009        2010          2077             20L2            2013            2014

     Note:                                                       Year of Hospitalization
 Drug overdose deoth numbers may ¡nclude more thon one type of drug.                             Source: wísconsîn D¡vísion oÍ Publ¡c Heolth: Oflce of
                                                                                                 Health lnfotmot¡cs, Op¡o¡d Hom Prevent¡on Program




                  72.    Neonatal Abstinence Syndrome (NAS), a collection of symptoms newbom babies

experience withdrawing from opioid medications taken by the mother, increased dramatically in

'Wisconsin
                    between 2000 and 2013 from 0.4 per 1,000 hospital births in 2000 to 7.9 in2013.al

From 2006 to 2014 theNAS rate increased 335 percent, from 2.0 to 8.7 per 1,000 live births.a2

                    3.    The Opioid Epidemic in PlaintifPs Community.

                  73.    The opioid epidemic is particularly devastating in Plaintiffs Community. Out of

the 62 confirmed drug-related deaths in V/aukesha County                                 in2016,54 were opioid-related.a3


ar Jean
      Y. Ko, et al., Incidence of Neonatal Abstinence Syndrome                         28 Stqtes, 1999-2013,65 Morbidity &                   Morølity
Wkly. Rep. 799 (2016).
                                                                                   -
a2
  Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Datafor Il/ßconsin,
supra, nole 32 ar 38.
a3
     Waukesha County Medical Examiner's Office, llaukesha County Drug Related Deaths, 2009-2017.




                                                                       2l
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            74.    The number of deaths has risen considerably. For example, in 2015, there were 49

drug-related deaths, of which 43 involved opioids.a4 This is up from 29 drug-related deaths,23                     of

which were opioid-related, in 2009.4s

            75.    According to the Wisconsin Department of Health Services, Waukesha County has

a high overdose death rate for deaths involving opioids                  - a rate of 9.3 deaths per 100,000
residents from 2013        to   2015.46 Waukesha County's death rate           for opioid overdoses     increased

from 4.5 deaths per 100,000 residents in2006 to 9.1 in20l5.a1

            76. A high percentage of these opioid-related            deaths are due to prescription opioids.

Waukesha County had a death rate                of 5.2 deaths due to prescription opioid           overdoses per

100,000 residents from 2013           to   2015.48   The County has also seen deaths from drug overdoses

involving heroin rise dramatically from three in 2009 to            2l in20l2,15 in20l4        and20 in20I5.ae

            71.    Opioids have also been responsible for a large number of hospitalizations and

emergency department visits           in Waukesha County.In 2014, the county had 191 inpatient and

emergency hospitalizations visits involving opioids at a rate of 48.5 per 100,000 residents.sO

This frequency has almost doubled since 2006 when there were 105 such visits at a rate of                     27 .6


per 100,000 residents.5r The 540 hospital encounters involving opioids from2012 to 2014 was



44
     Id.
4s
     Id.
a6
     Wisconsin Department of Health Services, Select Opioid-Relqted Morbidity and Mortality Dqtqfor l|'isconsin,
supra,note 32, af.5.
47
     Id. at4.
48
     Id. at lo.
ae
     Waukesha County Medical Examiner's Office, lílaukesha County Drug Related Deaths, 2009-2017.
50
     Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortaltty Datafor Wisconsin,
supra,note32, at20.
st Id.




                                                          22
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the third highest in the State.s2 Three hundred and twenty-four of these were due to prescription

opioids.s3

                  78.     Waukesha County also had one      of the highest number of hospital         encounters

involving heroin from20l2 to 2014 at2l9 which is a rate of 18.6 per 100,000 residents.sa

                 79. ln      2015, Waukesha County had 243 ambulance runs            in which naloxone was
administered, third most in the State behind Dane County and Milwaukee County.55 From 2013

to 2015, naloxone was dispensed on 690 ambulance trips.s6

                  80.     Waukesha County's incidence of neonatal abstinence syndrome rose from eight

cases        in 2006 to 37 in2013       and 33 in20l4.s1

                  81.     Drug addiction has caused increased law enforcement call volume for small

property crimes and time spent on suspected overdoses for officers, death investigators and

others specialized in narcotics probes.ss

                  82. The sheer volume of these dangerously       addictive drugs was destined to create the

present crisis ofaddiction, abuse, and overdose deaths.

       B. THE MANUFACTURER DEFENDANTS' FALSE, DECEPTIVE, AI{D UNFAIR
                 MARKETING OF OPIOIDS.

                  83.     The opioid epidemic did not happen by accident.




s2Id.      at2l.
s3
     Id. at27.
s4
     Id. at32.
ss
     Id. at36.
s6
     Id.   aI"   37   .

s1
     Id. at42.
58
   Scott Anderson, Addiction's Doorstep: A Special Report on V[lisconsin's Opioid Epidemic, Patch News (Oct.24,
2017), https://patch.com/wisconsin/greenfield/addictions-doorstep-special-report-wisconsins-opioid-epidemic (last
visited May 31, 2018).




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         84. Before the 1990s, generally accepted standards of medical practice         dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients' ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious      risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result,

doctors generally did not prescribe opioids for chronic pain.

         85.   Each Manufacturer Defendant has conducted, and has continued to conduct,                a


marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of

opioids. In connection with this scheme, each Manufacturer Defendant spent, and continues to

spend,   millions of dollars on promotional activities and materials that falsely deny or trirvialize

the risks of opioids while overstating the benefits of using them for chronic pain.

         86.   The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs' labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) ueated and promoted the concept of "pseudoaddiction" when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness         of   screening tools   to   prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks ofhigher opioid dosages; and (6) exaggerated the effectiveness of"abuse-deterrent" opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve




                                                  24
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function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants' claims.

           87. The Manufacturer            Defendants have disseminated these common messages to

reverse the popular and medical understanding                   of   opioids and risks      of opioid use. They
disseminated these messages directly, through their sales representatives, in speaker groups led

by physicians the Manufacturer Defendants recruited for their support of their marketing

messages, and through unbranded marketing and industry-funded front groups.

           88.    The Manufacturer Defendants' efforts have been wildly successful. Opioids are

now the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue

for drug companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue

annually since 2009.5e In an open letter to the nation's physicians in August 2016, the then-U.S.

Surgeon General expressly connected this "urgent health crisis" to "heavy marketing of opioids

to doctors . . . fm]any of [whom] were even taught              - incorrectly - that opioids are not addictive
when prescribed for legitimate pain."60 This epidemic has resulted in a flood of prescription

opioids available for       illicit use or sale (the supply),     and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often tum to the street to buy prescription

opioids or even non-prescription opioids, like heroin.




5e
   See Katherine Eban, Oxycontin: Purdue Phørmq's Painful Medicine,Forfltne, Nov. 9, 2011,
http://fortune .com/2}llllll0gloxycontin-purdue-pharmas-painful-medicine l;David Crow, Drugmakers Hooked on
8l\bn Opioid Habit,Ftn. Times, Aug. 10, 2016,https:llwww. ft.com/content/f6e989a8-5dac-l le6-bb77-
al2laa8abd95.
60
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.orgl.




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       89.    The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.

            1.   Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
                 False and Deceptive Statements about Opioids.

       90.    The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly      to doctors and patients in and around the        State,

including   in Plaintiffs Community.      Defendants also deployed seemingly unbiased and

independent third parties that they controlled to spread their false and deceptive statements about

the risks and benefits of opioids for the treatment of chronic pain throughout the State and

Plaintiffls Community.

       9I.    The Manufacturer Defendants employed the same marketing plans and strategies

and deployed the same messages     in and around the State, including in Plaintiff   s Community, as

they did nationwide. Across the pharmaceutical industry, "core message" development is funded

and overseen on a national basis by corporate headquarters. This comprehensive approach

ensures that the Manufacturer Defendants' messages are accurately and consistently delivered

across marketing channels   - including detailing visits, speaker events, and advertising -   and in

each sales territory. The Manufacturer Defendants consider this high level of coordination and

uniformity crucial to successfully marketing their drugs.

        92.   The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids,   speaker slide decks and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants' sales representatives and physician speakers were



                                                 26
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required to stick to prescribed talking points, sales messages, and slide decks, and supervisors

rode along with them periodically to both check on their performance and compliance.

                     i.    Direct Marketing.

       93.      The Manufacturer Defendants' direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in2011, nearly triple what they spent in 200I.

       94.      Many of the Manufacturer Defendants' branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef, and teacher, misleadingly implying

that the drug would provide long-term pain-relief and functional improvement. Upon information

and belief, Purdue also ran a series     of ads, called "Pain vignettes," for OxyContin in 2012 in

medical journals. These ads featured chronic pain patients and recommended OxyContin for

each. One ad described a"54-year-old writer with osteoarthritis of the hands" and implied that

OxyContin would help the writer work more effectively.

       95.      Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through "detailers"    -   sales representatives who visited individual doctors and medical staff in

their offices   -   and small-group speaker programs. The Manufacturer Defendants have not

corrected this misinformation. Instead, each Defendant devoted massive resources to direct sales

contacts with doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants

spent in excess of $168 million on detailing branded opioids to doctors, more than twice what

they spent on detailing in 2000.


                                                   27
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        96. The Manufacturer         Defendants' detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to track, precisely, the rates              of initial prescribing   and renewal by

individual doctor, which in turn allows them to target, tailor, and monitor the impact of their core

messages. Thus, the Manufacturer Defendants know their detailing to doctors is effective.

        97. The Manufacturer Defendants' detailers have been reprimanded                  for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that "minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated." Those materials in particular "fail to

reveal wamings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed."6l

                     ii.   IndirectMarketing.

        98.    The Manufacturer Defendants indirectly marketed their opioids using unbranded

advertising, paid speakers and            "key opinion leaders" ("KOLs"), and                industry-funded

organizations posing as neutral and credible professional societies and patient advocacy groups

(referred to hereinafter as "Front Groups").

        99. The Manufacturer           Defendants deceptively marketed opioids             in the State and
Plaintiffs Community through unbranded advertising                 -   o.9., advertising that promotes opioid

use generally but does not name a specific opioid. This advertising was ostensibly created and


6l Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert.,   & Commc'ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fclanews.com/exlresources/files/archives/a/ActavisElizabethLLC.pdf.




                                                       28
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disseminated by independent third parties. But    by funding, directing, reviewing, editing,        and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

messages disseminated    by these third parties and acted in concert with thern to falsely          and

misleadingly promote opioids      for the   treatment   of   chronic pain. Much as Manufacturer

Defendants controlled the distribution   of their "core messages" via their own detailers           and

speaker programs, the Manufacturer Defendants similarly controlled the distribution           of   these

messages   in   scientific publications, treatment guidelines, Continuing Medical Education

("CME") programs, and medical conferences and seminars. To this end, the Manufacturer

Defendants used third-party public relations firms to help control those messages when they

originated from third-parties.

        100. The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and tlpically is not

reviewed   by the FDA. The Manufacturer Defendants also used third-party,                unbranded

advertising to give the false appearance that the deceptive messages came from an independent

and objective source. Like the tobacco companies, the Manufacturer Defendants used third

parties that they funded, directed, and controlled to carry out and conceal their scheme to deceive

doctors and patients about the risks and benefits of long term opioid use for chronic pain.

        101. The Manufacturer Defendants     also identified doctors to serve, for payment, on their

speakers' bureaus and to attend programs with speakers and meals paid for by the Manufacturer

Defendants. These speaker programs provided:         (1) an incentive for doctors to prescribe a

particular opioid (so they might be selected to promote the           d*g); (2) recognition and
compensation for the doctors selected as speakers; and (3) an opportunity to promote the drug

through the speaker to his or her peers. These speakers give the false impression that they are




                                                29
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providing unbiased and medically accurate presentations when they are, in fact, presenting         a


script prepared by the Manufacturer Defendants. On information and belief, these presentations

conveyed misleading information, omitted material information, and failed           to   correct the

Manufacturer Defendants' prior misrepresentations about the risks and benefits of opioids.

       102. Borrowing a page from Big Tobacco's playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and

directing doctors who served as KOLs, and (b) funding, assisting, directing, and encouraglng

seemingly neutral and credible Front Groups. The Manufacturer Defendants then worked

together with those KOLs and Front Groups to taint the sources that doctors and patients relied

on for ostensibly "neutral" guidance, such as treatment guidelines, CME programs, medical

conferences and seminars, and scientific articles. Thus, working individually and collectively,

and through these Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and

patients that what they have long known      -   that opioids are addictive drugs, unsafe in most

circumstances for long-term use    -   was untrue, and that the compassionate treatment of pain

required opioids.

       103. In2007, multiple    States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

and marketing   of OxyContin in the future. By using indirect marketing strategies,        however,

Purdue intentionally circumvented these restrictions. Such actions include contributing to the

creation of misleading publications and prescribing guidelines which lack reliable scientific

basis, and promoting prescribing practices which have worsened the opioid crisis.




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         104. Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits   of

long-term opioid use. The Manufacturer Defendants know that doctors rely heavily and less

critically on their peers for guidance, and KOLs provide the false appearance of unbiased and

reliable support for chronic opioid therapy. For example, the State of New York found in its

settlement with Purdue that the Purdue website    "In the Face of Pain" failed to disclose that

doctors who provided testimonials on the site were paid by Purdue and concluded that Purdue's

failure to disclose these financial connections potentially misled consumers regarding the

objectivity of the testimonials.

         105. The Manufacturer Defendants utilized many KOLs, including many of the        same


ones

         106. Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted      to further their marketing   campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo,

Janssen, and Purdue (among others), and was a paid consultant     to Cephalon and Purdue. Dr.

Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic

pain. He served on the American Pain Society ("APS") / American Academy of Pain Medicine

("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic pain, first

in   1996 and again in 2009. He was also a member of the board of the American Pain Foundation

("APF"), an advocacy organizalion almost entirely funded by the Manufacturer Defendants.

         107. Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that "the likelihood that the treatment of pain




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using an opioid drug which is prescribed by a doctor         will lead to addiction is extremely low." He

appeared on Good Morning America             in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: "Addiction, when treating pain, is distinctly uncommon.             If   a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have avery major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted."62

           108. Dr. Portenoylater admitted that he "gave innumerable lectures in the late 1980s and

'90s about addiction that weren't true." These lectures falsely claimed that fewer than lo/o of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to "destigmatize" opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness                of

opioids does not exist."ó3 Portenoy candidly stated: "Did             I   teach about pain management,

specifically about opioid therapy,        in a way that reflects misinformation? Well,. . .I        guess I

did."64

           109. Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of the AAPM in2013. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr. Webster was

the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.


ó2
     Good Morning America (ABC television broadcast Aug. 30, 2010).
63
   Thomas Catan & EvanPerez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17,2012,
https://www.wsj.com/articles/SB 10001424127887324478304578173342657044604.
64   Id.




                                                       32
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Webster was receiving significant funding from the Manufacturer Defendants (including nearly

$2   million from Cephalon).

         ll0.    During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice's Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in2014, more than 20 of

Dr. Webster's former patients at the Lifetree Clinic have died of opioid overdoses.

         11   1. Ironically, Dr. Webster    created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to

manage the risk that their patients      will become addicted to or abuse opioids. The claimed ability

to pre-sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and          for this reason, references to screening appear in                various

industry-supported guidelines. Versions of Dr. Webster's Opioid Risk Tool appeff on, or are

linked to, websites run by Endo, Janssen, and Purdue. Unaware of the flawed science and

industry bias underlying this tool, certain states and public entities have incorporated the Opioid

Risk Tool into their own guidelines, indicating, also, their reliance on the Manufacturer

Defendants and those under their influence and control.

         ll2. In 2011, Dr. Webster presented, via webinar, a program sponsored                         by   Purdue

entitled "Managing Patient's Opioid Use: Balancing the Need and the Risk." Dr. Webster

recoÍtmended use of risk screening tools, urine testing, and patient agreements as a way to

prevent "overuse of prescriptions" and "overdose deaths." This webinar was available to and was

intended to reach doctors in the State and doctors treating members of Plaintiff s Community.6s


65 SeeEmerging    Solutions in Pain, Managing Patient's Opioid Use: Balancing the Need and the Risk,
http //www. emergingsolutionsinpain. com/ce-educatiorVopioid-
     :


management?option=com_continucd&view:frontmatter&Itemid:303&course:209 (lastvisited L.og.22,2017).




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          113. Dr. Webster also was a leading proponent of the concept of "pseudoaddiction," the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. V/ebster's description, the only way to differentiate the two was to increase               a


patient's dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding

Opioid Abuse While Managing Paín-a book that is still available online-when faced with

signs of aberrant behavior, increasing the dose "in most cases . . . should be the clinician's first

response."66 Upon information and belief, Endo distributed this book to doctors. Years later, Dr.

Webster reversed himself acknowledging that "fpseudoaddiction] obviously became too much

of an excuse to give patients more medication."6T

          ll4.   The Manufacturer Defendants also entered into ¿urangements with seemingly

unbiased and independent patient and professional organizalíons to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

"Front Groups" generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to

negative articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance       with the scientific evidence, and by conducting outreach to vulnerable             patient

populations targeted by the Manufacturer Defendants.

           115. These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing, and approving their content, and



uu
     Ly*tWebster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
67
   John Fauber, "Painkiller Boom Fueled by Networking," Milwaukee Journal Sentinel,Feb. 18,2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2m-
139609053.html.




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by funding their dissemination. In doing so, the Manufacturer Defendants made sure that the

Front Groups would generate only the messages that the Manufacturer Defendants wanted to

distribute. Despite this, the Front Groups held themselves out as independent and serving the

needs of their members         -   whether patients suffering from pain or doctors treating those patients.

           116. Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below,

but there are many others, including the American Pain Society ("APS"), American Geriatrics

Society ("AGS"), the Federation             of   State Medical Boards ("FSMB"), American Chronic Pain

Association ("ACPA"), the Center for Practical Bioethics ("CPB"), the U.S. Pain Foundation

("USPF") and Pain & Policy Studies Group ("PPSG").68

           ll7.   The most prominent of the Manufacturer Defendants' Front Groups was the

American Pain Foundation ("APF"), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters,                                   and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed              to high rates of addiction and other adverse outcomes -

including death      -   among returning soldiers. APF also engaged                         in a significant   multimedia

campaign     - through radio, television         and the internet           -   to educate patients about their   'îght"   to

pain treatment, namely opioids.           All of the programs           and materials were available nationally and

were intended to reach citizens of the State and Plaintiff s Community.

68    generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
     See
Dep't of Health and Human Servs., (May 5, 2015),
hups://www.finance.senate.gov/imo/media/doc/050 517%o2}Senatof/o2}WydenYo2}to%o2}Secretarf/o20PnceYo20re
%20F D A%20Op ioid%2     0P   rescrib erolo2 OWorking%2   0   Group. pdf,




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        118.    In 2009 and 2010, more than 80% of APF's operating               budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income    of   about $3.5 million.   By   2011, upon information and belief, APF was entirely

dependent on incoming grants from defendants Purdue, Cephalon, Endo, and others              to avoid

using its line of credit.

        119. APF held itself out as an independent patient advocacy organization.            It   often

engaged   in    grassroots lobbying against various legislative initiatives that migþt   limit opioid

prescribing, and thus the profitability of its sponsors. Upon information and belief, it was often

called upon to provide "patient representatives" for the Manufacturer Defendants' promotional

activities, including for Purdue's Partners Against Pain and Janssen's Let's Talk Pain. APF

functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

was Purdue's desire to "strategically align its investments in nonprofit organizations that share

[its] business interests."

         l2O. Plaintiff is informed,   and believes, that on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

         l2l.    The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers         of



                                                   36
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opioid painkillers. The investigation caused considerable damage to APF's credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within

days of being targeted by Senate investigation, APF's board voted to dissolve the organization

"due to irreparable economic circumstances." APF "ceasefd] to exist, effective immediately."6e

        122. Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine ("AAPM"). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential                to the Manufacturer     Defendants' deceptive

marketing of chronic opioid therapy.

        I23. AAPM received substantial funding from opioid manufacturers. For                        example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

of other funding) to participate. The benefits included allowing members to present educational

programs at ofÊsite dinner symposia in connection with AAPM's marquee event                     -   its   annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an "exclusive venue" for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. Defendants Endo, Purdue,                            and

Cephalon were members          of the council and presented deceptive programs to doctors who

attended this annual event.

        124. Upon information and belief, AAPM is viewed internally by Endo as "industry

friendly," with Endo advisors and speakers among its active members. Endo attended AAPM


óe
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies' Tíes to Pain Groups,'Wash. Post,
May 8, 2012,hWsJ lwww.washingtonpost.com/nationaVhealth-science/senate-panel-investigates-drug-companies-
ties-to-pain- gr oupsl 20 I 2 / 0 5/0 8/gIQA2X4qBU_story.html.




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conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids - 37 out of roughly 40 at one conference alone.

AAPM's presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

        125. The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

         126.   In   1996, AAPM and APS             jointly issued a consensus statement, "The Use of

Opioids for the Treatment of Chronic Pain," which endorsed opioids to treat chronic pain and

claimed that the risk of a patients' addiction to opioids was low. Dr. Haddox, who co-authored

the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole

consultant. The consensus statement remained on AAPM's website                          until 2011, and, upon

information and beliet was taken down from AAPM's website only after                    a doctor complained.T0


         I27. AAPM and APS issued their own                 guidelines   in 2009 ("AAPM/APS Guidelines")

and continued to recommend the use of opioids to treat chronic pain.7l Treatment guidelines

have been relied upon by doctors, especially the general practitioners and family doctors targeted

by the Manufacturer         Defendants. Treatment guidelines not only directly inform doctors'

prescribing practices, but are cited throughout the scientific literature and referenced by third-

party payors     in determining      whether they should cover treatments for specific indications.

Pharmaceutical sales representatives employed                  by Endo, Actavis, and          Purdue discussed

treatment guidelines with doctors during individual sales visits.



10
  The (Jse of Opioidsþr the Treatment of Chronic Pain: A Consensus Statement From the American Academy        of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
7rRoger Chou et al., Clinical Guidelines   for the (Jse of Chronic Opioid Therapy in Chronic Non-Cancer Pain, l0   J.
Pain l13 (2009).




                                                          38
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           128. At least fourteen of the 2I panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support

from Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as "safe and

effective" for treating chronic pain, despite acknowledging limited evidence, and conclude that

the risk of addiction is manageable for patients regardless of past abuse histories.T2 One panel

member, Dr. Joel Saper, Clinical Professor      of   Neurolo   gy at Michigan State University   and


founder of the Michigan Headache & Neurological Institute, resigned from the panel because        of

his concems that the 2009 Guidelines were influenced by contributions that drug companies,

including Manufacturer Defendants, made to the sponsoring organizations and committee

members. These AAPM/APS Guidelines have been a particularly effective channel of deception

and have influenced not only treating physicians, but also the body        of scientific evidence on

opioids; the Guidelines have been cited hundreds           of times in   academic literature, were

disseminated in the State and/or Plaintiff s Community during the relevant time period, are still

available online, and were reprinted in the Joumal of Pain. The Manufacturer Defendants widely

referenced and promoted the 2009 Guidelines without disclosing the lack of evidence to support

them or the Manufacturer Defendants' financial support to members of the panel.

           l2g.   The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum ("PCF"), which began in 2004

as an APF project. PCF is comprised of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

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     Id.




                                                 39
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ensure that an FDA-mandated education project on opioids was not unacceptably negative and

did not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

             2.   The Manufacturer Defendants' Marketing Scheme Misrepresented the Risks
                  and Benefits of Opioids.

                  i. The Manufacturer    Defendants embarked upon a campaign of false,
                     deceptive, and unfair assurances grossly understating and misstating the
                     dangerous addiction risks of the opioid drugs.

        130. To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed     to disclose the risks of long-term opioid            use,


particularly the risk   of   addiction, through   a   series   of   misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations                  -   which are described

below   -   reinforced each other and created the dangerously misleading impression that: (1)

starting patients on opioids was low risk because most patients would not become addicted, and

because those at greatest risk for addiction could be identified and managed; (2) patients who

displayed signs of addiction probably were not addicted and,             in any event, could easily be

weaned from the drugs; (3) the use of higher opioid doses, which many patients need to sustain

pain relief as they develop tolerance to the drugs, do not pose special risks; and (4) abuse-

deterrent opioids both prevent abuse and overdose and are inherently less addictive. The

Manufacturer Defendants have not only failed to correct these misrepresentations, they continue

to make them today.

        131. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc.                      and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified                in this   Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of



                                                  40
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long-term opioid use in the State and Plaintiff s Community and each continues to fail to correct

its past misrepresentations

        I32.     Some illustrative examples of the Manufacturer Defendants' false, deceptive, and

unfair claims about the purportedly low risk of addiction include:

            a.    Actavis's predecessor caused a patient education brochure, Managing Chronic
                  Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
                  is possible, but falsely claimed that it is "less likely if you have never had an
                  addiction problem." Based on Actavis's acquisition of its predecessor's marketing
                  materials along with the rights to Kadian, it appears that Actavis continued to use
                  this brochure in 2009 and beyond.

            b.    Cephalon and Purdue sponsored APF's Treatment Options: A Guide þr People
                  Living with Paín (2007), which suggested that addiction is rare and limited to
                  extreme cases of unauthorized dose escalations, obtaining duplicative opioid
                  prescriptions from multiple sources, or theft. This publication is still available
                  online.73

            c.    Endo sponsored a website, "PainKnowledge," which, upon information and
                  belief, claimed in 2009 that "fp]eople who take opioids as prescribed usually do
                  not become addicted." LJpon information and belief, another Endo website,
                  PainAction.comz stated "Did you know? Most chronic pain patients do not
                  become addicted to the opioid medications that are prescribed for them." Endo
                  also distributed an "Informed Consent" document on PainAction.com that
                  misleadingly suggested that only people who "have problems with substance
                  abuse and addiction" are likely to become addicted to opioid medications.

            d.    Upon information and belief, Endo distributed a pamphlet with the Endo logo
                  entitled Living with Someone with Chronic Pain, which stated that: "Most health
                  care providers who treat people with pain agree that most people do not develop
                  an addiction problem."

            e.    Janssen reviewed, edited, approved, and distributed a patient education gurde
                  entitled Finding Relief: Pain Management þr Older Adults (2009), which
                  described as "m¡/th" the claim that opioids are addictive, and asserted as fact that
                  "[m]any studies show that opioids are rarely addictive when used properly for the
                  management of chronic pain."

            f.    Janssen currently runs a website, Prescriberesponsibly.com (last updated J:uly 2,
                  2015),which claims that concerns about opioid addiction are "overestimated."

 Arn. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
73

Optionsl, https://assets.documentcloud.org/documentsl2TT 605/apf-treatmentoptions.pdf.




                                         4t
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               g.   Purdue sponsored APF's A Policymaker's Guide to Understandíng Pain & Its
                    Management, which claims that less than Io/o of children prescribed opioids will
                    become addicted and that pain is undertreated due to "fm]isconceptions about
                    opioid addiction."Ta

               h. In    2010, Mallinckrodt sponsored an initiative "Collaborating and Acting
                    Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                    promoted the book "Defeat Chronic Pain Now!" aimed at chronic pain patients.
                    The book, which is still available for sale, and is promoted online at
                    www.defeatchronicpainnow.com, advises laypeople who are considering taking
                    opioid drugs that "[o]nly rarely does opioid medication cause a true addiction."Ts
                    Further, the book advises that even the issue of tolerance is "overblown," because
                    "[o]nly a minority of chronic pain patients who are taking long-term opioids
                    develop tolerance." In response to a hlpothetical question from a chronic back
                    pain patient who expresses a fear of becoming addicted, the book advises that "[i]t
                    is very uncoÍrmon for a person with chronic pain to become 'addicted' to
                    narcotics IF (l) he doesn't have a prior history of any addiction and (2) he only
                    takes the medication to treat pain."

               i.   Consistent with the Manufacturer Defendants' published marketing materials,
                    upon information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in
                    the State and Plaintiff s Community minimized or omitted any discussion with
                    doctors of the risk of addiction; misrepresented the potential for abuse of opioids
                    with purportedly abuse-deterrent formulations; and routinely did not correct the
                    misrepresentations noted above.

               j.   Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                    opioids, the Manufacturer Defendants' Front Groups APF and NFP argued in an
                    amicus brief to the United States Fourth Circuit Court of Appeals that "patients
                    rarely become addicted to prescribed opioids," citing research by their KOL, Dr.
                    Portenoy.T6

           133. These claims are contrary to longstanding scientific evidence.                A 2016 opioid-
prescription guideline issued by the CDC (the "2016 CDC Guideline") explains that there is

"[e]xtensive evidence" of the "possible harms of opioids (including opioid use disorder [an



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  Am. Pain Found., A Policymaker's Guide to (Jnderstanding Pain and lts Management 6 (2011) [hereinafter APF,
Policymaker's Guidel, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
75
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now!(2010).
76
   Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) fhereinafter Brief of APF] at 9.




                                                        42
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alternative term for opioid addictionl, [and] overdose . . .¡."17 Tlte 2016 CDC Guideline further

explains that "[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder" and that "continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder."78

           I34. The FDA further     exposed the falsity of Defendants' claims about the low risk           of

addiction when        it   announced changes     to the labels for    extended-release and long-acting

("ER/LA") opioids          in   2013 and   for   immediate release     ("IR") opioids in 2016. In          its

announcements, the FDA found that "most opioid drugs have 'high potential for abuse"' and that

opioids "are associated with a substantial risk            of   misuse, abuse, NOWS fneonatal opioid

withdrawal syndrome], addiction, overdose, and death." According to the FDA, because of the

"known serious risks" associated with long-term opioid use, including "risks of addiction, abuse,

and misuse, even at recommended doses, and because                 of the greater risks of overdose and

death," opioids should be used only "in patients for whom alternative treatment options" like

non-opioid drugs have failed.7e

           135. The State of New York, in a 2016 settlement agreement with Endo, found that

opioid "use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to     40Yo   of chronic pain patients treated in specialty and primary care ouþatient centers

TTDeborahDowell etal.,CDCGuidelineforPrescribingOpioidsþrChronicPain-UnitedStates,20l6,Morbidity
& Mortality Wkly. Rep., Mar. I 8, 2016, at l5 [hereinafter 2016 CDC Guideline],
https://www.cdc. gov/mmwr/volumes/65/rrln650 I e l.htrn.
78
     Id. at2,25.
1e
  Lefier from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep't of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentld:FDA-2012-P-0818-
}793&altachmentNumberl&contentTyprpdf.; Letter from Janet Vy'oodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep't of Health and Human Servs., to Peter R. Mathers & Jennifer
A. Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22,2016),
https://www.regulations.gov/contentStreamer?documentld:FDA-2014-P-0205-
000   6&attachmentNumber 1 &contentType:pdf.




                                                      43
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meeting the clinical criteria             for an opioid use disorder."8O Endo had claimed on its
www.opana.com website that "[m]ost healthcare providers who treat patients with pain agree

that patients treated with prolonged opioid medicines usually do not become addicted," but the

State of New York found that Endo had no evidence for that statement. Consistent with this,

Endo agreed not to "make statements that . . . opioids generally are non-addictive" or "that most

patients who take opioids do not become addicted" in New York. Endo remains free, however, to

make those statements in this State.

            136. In addition to mischaractenzing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs andlor syrnptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction)          -   and instructed doctors to increase the opioid prescription dose for patients

who were already in danger.

            137.    To this end, one of          Purdue's employees,         Dr. David     Haddox, invented     a


phenomenon called "pseudoaddiction." KOL Dr. Portenoy popularized the term. Examples of the

false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

                  a.   Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                       taught that behaviors such as "requesting drugs by name," "demanding or
                       manipulative behavior," seeing more than one doctor to obtain opioids, and
                       hoarding, are all signs of pseudoaddiction, rather than true addiction.sr The 2012
                       edition, which remains available for sale online, continues to teach that
                       pseudoaddiction is real.82




80
     Assurance of Discontinuance, In re Endo Health Solutions Inc. qnd Endo Pharm.lnc. (Assurance No. 15-228), at
I   6, https: I I ag.ny. gov/pdfs/Endo_AOD_03 0 1 I 6-Fully_Executed.pdf.
8r Scott   M. Fishman, M.D., Responsible Opioid Prescribing: A Physician's Guide (2007) at62.
82
     See Scott   M. Fishman, M.D., Responsible Opioid Prescribing: A Physician's Guide (2d ed. 2012).




                                                           44
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          b.    Janssen sponsored, funded, and edited the Let's Talk Pain website, which in2009
                stated: "pseudoaddiction . . . refers to patient behaviors that may occur when pain
                is under-treated . . . . Pseudoaddiction is different from true addiction because
                such behaviors can be resolved with effective pain management."

           c.   Endo sponsored a National Initiative on Pain Control ("NIPC") CME program in
                2009 entitled "Chronic Opioid Therapy: Understanding Risk While Maximizing
                Analgesia," which, upon information and belief, promoted pseudoaddiction by
                teaching that a patient's aberrant behavior was the result of untreated pain. Endo
                appears to have substantially controlled NIPC by funding NIPC projects;
                developing, specifying, and reviewing content; and distributing NIPC materials.

           d.   Purdue published a pamphlet in20ll entitled Providing Relief, Preventing Abuse,
                which, upon information and belief, described pseudoaddiction as a concept that
                "emerged in the literature" to describe the inaccurate interpretation of fdrug-
                seeking behaviors] in patients who have pain that has not been effectively
                treated."

           e.   Upon information and belief, Purdue sponsored a CME program titled "Path of
                the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse". In a
                role play, a chronic pain patient with a history of drug abuse tells his doctor that
                he is taking twice as many hydrocodone pills as directed. The narrator notes that
                because of pseudoaddiction, the doctor should not assume the patient is addicted
                even if he persistently asks for a specific drug, seems desperate, hoards medicine,
                or "overindulges in unapproved escalating doses." The doctor treats this patient
                by prescribing a high-dose, long-acting opioid.

           f. In    2010, Mallinckrodt sponsored an initiative "Collaborating and Acting
                Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                promoted the book "Defeat Chronic Pain Now!" aimed at chronic pain patients.
                The book, which is still available for sale, and is promoted online at
                www.defeatchronicpainnow.com, teaches laypeople that "pseudoaddiction" is
                "caused by their doctor not appropriately prescribing the opioid medication." It
                teaches that "[p]seudoaddiction happens when a patient's opioid medication is not
                being prescribed in doses strong enough to provide good pain relief, or if the drug
                is not being prescribed often enough throughout the day.                  When    a
                pseudoaddicted patient is prescribed the proper amount of opioid medication, he
                or she doesn't take any extra pills because his or her pain is relieved."

       138. In the 2016 CDC Guideline, the CDC rejects the validityof the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already

addicted patients




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              139. In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood,           a third   category   of false, deceptive, and unfair practice is the Manufacturer
Defendants' false instructions that addiction risk screening tools, patient contracts, urine drug

screens, and similar strategies allow them to reliably identify and safely prescribe opioids to

patients predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed thern at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants' misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

                     a.   Endo paid for a 2007 supplement in the Journal of Family Practice written by a
                          doctor who became a member of Endo's speakers bureau in 2010. The
                          supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                          Opioids, emphasized the effectiveness of screening tools, claiming that patients at
                          high risk of addiction could safely receive chronic opioid therapy using a
                          "maximally structured approach" involving toxicology screens and pill counts.

                     b.   Purdue, upon information and belief, sponsored a 20ll webinar, Managing
                          Patient's Opioid (Jse: Balancing the Need and Risk, which claimed that screening
                          tools, urine tests, and patient agreements prevent "overuse of prescriptions" and
                          "overdose deaths."

                     c. As recently     as 2015, upon information and belief, Purdue has represented in
                          scientific conferences that "bad apple" patients - and not opioids - are the source
                          of the addiction crisis and that once those "bad apples" are identified, doctors can
                          safely prescribe opioids without causing addiction.

               140. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies "for

improving outcomes related to overdose, addiction, abuse or misuse."83



83
     Id. at   ll



                                                           46
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           l4l. A fourth category of deceptive         messaging regarding dangerous opioids             is   the

Manufacturer Defendants' false assurances regarding the alleged ease                  of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.84

           I42. The Manufacturer      Defendants nonetheless downplayed the severity                of   opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Paín       in the Older Adult,    claimed that withdrawal symptoms can be avoided by

tapering a patient's opioid dose       by 10%-20% for 10 days. And Purdue               sponsored APF's         .,4



Polícymaker's Guide         to   Understanding     Pain & Its Management, which claimed                       that

"fs]ymptoms of physical dependence can often be ameliorated by gradually decreasing the dose

of medication during discontinuation" without mentioning any hardships that might                      occur.85


Similarly,       in the 2010 Mallinckrodt/C.A.R.E.S.        publication "Defeat Chronic Pain Now!"

potential opioid users are advised that tolerance to opioids is "easily remedied," and that "[a]ll

patients can be safely taken off opioid medication          if the dose is slowly     tapered down by their

doctor."

            143.   A fifth category of false, deceptive, and unfair statements the Manufacturer
Defendants made         to sell more drugs is that opioid       dosages could be increased indefinitely


84
     Id. at26.
8s
   fun. Pain Found., A Policymaker's Guide to (Jnderstanding Pain and Its Management 6 (2011) fhereinafter APF,
Polícymaker's Guidef,http://s3.documentcloud.org/documents/2776031apf-policymakers-guide.pdf.,at32.




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without added risk. The ability to escalate dosages was critical to Defendants' efforts to market

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief. The Manufacturer Defendants' deceptive claims include:

            a.   Upon information and belief, Actavis's predecessor created a patient brochure for
                 Kadian in 2007 that stated, "Over time, your body may become tolerant of your
                 current dose. You may require a dose adjustment to get the right amount of pain
                 relief. This is not addiction." Based on Actavis's acquisition of its predecessor's
                 marketing materials along with the rights to Kadian, Actavis appears to have
                 continued to use these materials in 2009 and beyond.

            b.   Cephalon and Purdue sponsored APF's Treatment Options: A Guide þr People
                 Living with Paín (2007), which claims that some patients "need" alarger dose of
                 an opioid, regardless of the dose currently prescribed. The gurde stated that
                 opioids have "no ceiling dose" and insinuated that they are therefore the most
                 appropriate treatment for severe pain.86 This publication is still available online.

            c.   Endo sponsored a website, "PainKnowledge," which, upon information and
                 belief, claimed in2009 that opioid dosages may be increased until "you are on the
                 right dose of medication for your pain."

            d.   Endo distributed a pamphlet edited by a KOL entitled Understqnding Your Pain:
                 Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
                 format, it asked "If I take the opioid now, will it work later when I really need it?"
                 The response is, "The dose can be increased. . . . You won't 'run out' of pain
                 relief."87

            e.   Janssen sponsored a patient education gurde entitled Finding Relief: Pain
                 Management þr Older Adults (2009), which was distributed by its sales force.
                 This guide listed dosage limitations as "disadvantages" of other pain medicines
                 but omitted any discussion of risks of increased opioid dosages.

            f.   Upon information and belief, Purdue's In the Face of Pain website promoted the
                 notion that if a patient's doctor does not prescribe what, in the patient's view, is a
                 sufficient dosage of opioids, he or she should find another doctor who will.




 Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
8ó

Optionsl, https://assets.documentcloud.orgldocumentsl277605lapf-treatmentoptions.pdf., at 12.
87
  Margo McCaffery & Chris Pasero, Endo Pharm. , (Jnderstønding Your Pain: Taking Oral Opioíd Analgesics
(Russell K Portenoy, M.D., ed., 2004).




                                                      48
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                g.   Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & Its
                     Management, which taught that dosage escalations are "sometimes necessary,"
                     and that "the need for higher doses of medication is not necessarily indicative of
                     addiction," but inaccurately downplayed the risks from high opioid dosages.ss

                h. ln 2007, Purdue sponsored a CME entitled      "Overview of Management Options"
                     that was available for CME credit and available until at least 2012. The CME was
                     edited by a KOL and taught that Non-steroidal Anti-inflammatory Drugs
                     ("NSAIDs") and other drugs, but not opioids, are unsafe at high dosages.

                i.   Purdue presented a 2015 paper at the College on the Problems of Drug
                     Dependence, "the oldest and largest organization in the US dedicated to
                     advancing a scientific approach to substance use and addictive disorders,"
                     challenging the correlation between opioid dosage and overdose.se

               j.    Seeking to overtum the criminal conviction of a doctor for illegally prescribing
                     opioids, the Manufacturer Defendants' Front Groups APF and NFP argued in an
                     amícus brief to the United States Fourth Circuit Court of Appeals that "there is no
                     'ceiling dose"' for opioids.eo

                k.   In the 2010 MallinckrodlC.A.R.E.S. publication "Defeat Chronic Pain Now!",
                     potential opioid users are warned about the risk of "fp]seudoaddiction fb]ecause
                     of a []ow [d]ose," and advised that this condition may be corrected through the
                     prescription of a higher dose. Similarly, the book recommends that for chronic
                     pain patients, the opioid dose should be "gradually increased to find the best daily
                     dose, as is done with all the other oral drugs." The book discusses the risks of
                     NSAIDs and other drugs at higher doses, but not explain this risk for opioids.

            144. Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants'

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the "fb]enefits of high-dose opioids for chronic pain are not established" while the

"risks for serious harms related to opioid therapy increase at higher opioid dosage."el More

specifically, the CDC explains that "there is now an established body of scientific evidence




88
  Arn. Pain Found., A Policymaker's Guide to (Jnderstanding Pain and lts Management 6 (201l) fhereinafter APF,
Policymøker's Guide],http://s3.documentcloud.org/documents/2776031apf-policymakers-guide.pdf.,at32.
8eTheCollegeonProblemsofDrugDependence, AbouttheCollege,http://cpdd.org(lastvisited Aug.2l,2017).
eo
     Brief of APF, at 9.
et   2016 CDC Guideline    at22J3.




                                                      49
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showing that overdose risk is increased at higher opioid dosages."e2 The CDC also states that

there is an increased risk "for opioid use disorder, respiratory depression, and death at higher

dosages."e3        That is why the CDC advises doctors to "avoid increasing dosage" to above 90

morphine milligram equivalents per day.ea

             145. Defendants' deceptive marketing of the so-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction and

abuse.

             146. The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo's advertisements

for the 2012 reformúation of Opana ER claimed that it was designed to be crush resistant, in                      a


way that suggested it was more difficult to abuse. This claim was false. The FDA warned in                        a


2013 letter that Opana ER Extended-Release Tablets' "extended-release features can be

compromised, causing the medication to 'dose dump,' when subject to . . . forms of manipulation

such as cutting, grinding, or chewing, followed by swallowittg."nt Also troubling, Opana ER can

be prepared for snorting using commonly available methods and "readily prepared for

injection."eó The letter discussed "the troubling possibility that a higher (and rising) percentage

of fOpana ER Extended-Release Tablet]           abuse is occurring via injection."eT Endo's own studies,




e2
     Id. at23-24.
e3
     Id. at2l.
e4
     Id. at16.
es
  Letter from Janet W'oodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep't of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
2013), at 5.
e6
     Id. at 6.
e7
     Id. at 6 n.21.




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which         it   failed to disclose, showed that Opana ER could still be ground and chewed. In June

2017,the FDA requested that Opana ER be removed from the market.

                              ii.   The Manufacturer Defendants embarked upon a campaign of false,
                                    deceptive, and unfair assurances grossly overstating the benefìts of the
                                    opioid drugs.

               147. To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to

long-term opioid use. But as the CDC Guideline makes clear, "[n]o evidence shows a long-term

benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials                < 6 weeks in

duration)" and that other treatments were more or equally beneficial and less harmful than long-

term opioid use.e8 The FDA, too, has recognized the lack of evidence to support long-term opioid

use. Despite this, Defendants falsely and misleadingly touted the benefits of long-term opioid use

and falsely and misleadingly suggested that these benef,rts were supported by scientific evidence.

               148.    Some illustrative examples of the Manufacturer Defendants' false claims are:

                     a.   Upon information and belief, Actavis distributed an advertisement claiming that
                          the use of Kadian to treat chronic pain would allow patients to return to work,
                          relieve "stress on your body and your mental health," and help patients enjoy their
                          lives.

                     b.   Endo distributed advertisements that claimed that the use of Opana ER for chronic
                          pain would allow patients to perform demanding tasks like construction work or
                          work as a chef and portrayed seemingly healthy, unimpaired subjects.

                     c.   Janssen sponsored and edited a patient education guide entitled Fínding Relief:
                          Pain Managementþr Older Adults (2009) - which states as "a fact" that "opioids
                                         it
                          may make easier for people to live normally." The guide lists expected
                          functional improvements from opioid use, including sleeping through the night,
                          returning to work, recreation, sex, walking, and climbing stairs.



e8
     Id. at   15




                                                            51
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            d.   Janssen promoted Ultracet     for everyday chronic pain and distributed posters, for
                 display in doctors' offices, of presumed patients in active professions; the caption
                 read, "Pain doesn't fit into their schedules."

            e. Upon information    and belief, Purdue ran a series of advertisements for OxyContin
                 in 2012 in medical journals entitled "Pain vignettes," which were case studies
                 featuring patients with pain conditions persisting over several months and
                 recommending OxyContin for them. The ads implied that OxyContin improves
                 patients' function.

            f.   Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
                 Endo and Purdue, taught that relief of pain by opioids, by itself, improved
                 patients' function.

            g.   Cephalon and Purdue sponsored APF's Treatment Options: A Guide þr People
                 Living with Pain (2007), which counseled patients that opioids "give fpain
                 patientsl a quality of life we deserve."ee This publication is still available online.

            h.   Endo's NIPC website "PainKnowledge" claimed in2009, upon information and
                 belief, that with opioids, "your level of function should improve; you may find
                 you are now able to participate in activities of daily living, such as work and
                 hobbies, that you were not able to enjoy when your pain was worse." Elsewhere,
                 the website touted improved quality of life (as well as "improved function") as
                 benefits of opioid therapy. The grant request that Endo approved for this project
                 specifically indicated NIPC's intent to make misleading claims about function,
                 and Endo closely tracked visits to the site.

            i.   Endo was the sole sponsor, through NIPC, of a series of CMEs entitled
                 "Persistent Pain in the Older Patient."l00 Upon information and beliet a CME
                 disseminated via webcast claimed that chronic opioid therapy has been "shown to
                 reduce pain and improve depressive symptoms and cognitive functioning."

            j.   Janssen sponsored and funded a multimedia patient education campaign called
                 "Let's Talk Pain." One feature of the campaign was to complain that patients
                 were under-treated. In 2009, upon information and belief, a Janssen-sponsored
                 website, part of the "Let's Talk Pain" campaign, featured an interview edited by
                 Janssen claiming that opioids allowed a patient to "continue to function."

            k.   Purdue sponsored the development and distribution of APF's A Policymaker's
                 Guide to (Jnderstanding Pain & Its Management, which claimed that "fm]ultiple
                 clinical studies" have shown that opioids are effective in improving "[d]aily

 Arn. Pain Found., Treatment Options: A Guide þr People Living in Pain (2007) [hereinafter .ÃPF, Treatment
ee

Optionsl, https://assets.documentcloud.org/documentsl2TT 605lapÊtreatmentoptions.pdf.
too
   E.g.,NIPC, Perslstent Pqin and the Older Patient (2007),
https://www.painedu.orglDownloads/Ì.üPC/Activities/B 173-Providence-Rl-o/o2Olnvite.pdf.




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                   function," "fp]sychological health," aîd "fo]verall health-related quality of life
                   for chronic pain."l01 The Policymaker's Guide was originally published in 201 1.

              l.   Purdue's, Cephalon's, Endo's, and Janssen's sales representatives have conveyed
                   and continue to convey the message that opioids will improve patient function.

           149. As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

           150. In 2010, the FDA warned Actavis,            in response to its      advertising   of   Kadian

described above, that "we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug fKadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient's work, physical and mental functioning, daily activities, or

enjoyment of 1ife."102 And in 2008, upon information and belief, the FDA sent a warning letter to

an opioid manufacturer, making          it clear "that [the claim that] patients who    are treated   with the

drug experience an improvement in their overall function, social function, and ability to perform

daily activities . . . has not been demonstrated by substantial evidence or substantial clinical

experience."

           151. The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by

the Manufacturer Defendants contravene pronouncements by and guidance from the FDA and

CDC based on the scientific evidence. Indeed, the FDA changed the labels for extended-release


       Pain Found., A Policymaker's Guide to (Jnderstanding Pain and Its Management 6 (201 1) [hereinafter APF,
r0r A1n.

Policymaker's Guidef,http://s3.documentcloud.orgldocuments/2776031apf-policymakers-guide.pdf., at 29.
102
    Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc'ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/extlresources/files/archives/a/ActavisElizabethLLC.pdf.




                                                      53
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and long-acting ("ER/LA") opioids          in 2013   and immediate-release    ("IR") opioids in 2016 to

state that opioids should only be used as a last resort    "in patients for which alternative treatment

options" like non-opioid drugs "are inadequate." And the 2016 CDC Guideline states that

NSAIDs, not opioids, should be the first-line treatment for chronic pain, particularly arthritis and

lower back pain.l03 Purdue misleadingly promoted OxyContin as being unique among opioids in

providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

12 hours    -   afactthat Purdue has known at all times relevant to this action. Upon information and

belief, Purdue's own research shows that OxyContin wears off in under six hours in one quarter

of patients and in under 10 hours in more than half. This is because OxyContin tablets release

approximately       40%o   of their   active medicine immediately, after which release tapers. This

triggers a powerful initial response, but provides little or no pain relief at the end of the dosing

period, when less medicine is released. This phenomenon is known as "end of dose" failure, and

the FDA found in 2008 that a "substantial proportion" of chronic pain patients taking OxyContin

experience it. This not only renders Purdue's promise of 12 hours of relief false and deceptive,           it

also makes OxyContin more dangerous because the declining pain relief patients experience

toward the end of each dosing period drives them to take more OxyContin before the next dosing

period begins, quickly increasing the amount           of drug they are taking and spurring growing

dependence.

           152. Purdue's competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring                   to 'îeal" l2-hour dosing.
Nevertheless, Purdue falsely promoted OxyContin as            if it   were effective for a   full   12 hours.




to3   2016 CDC Guideline at 12




                                                      54
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Upon information and belief, Purdue's sales representatives continue to tell doctors that

OxyContin lasts a full 12 hours.

        153. Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court                of Ohio by the American         Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

        OxyContin is particularly useful for sustained long-term pain because it comes in
        higher, compact pills with a slow release coating. OxyContin pills can work for
        12 hours. This makes it easier for patients to comply with dosing requirements
        without experiencing a roller-coaster of pain relief followed quickly by pain
        renewal that can occur with shorter acting medications. It also helps the patient
        sleep through the night, which is often impossible with short-acting medications.
        For many of those serviced by Pain Care Amici, OxyContin has been a miracle
        medication.loa

        I54.   Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for or has been shown to be safe or effective for chronic pain. lndeed, the FDA

expressly prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to

approve Fentora for the treatment of chronic pain because of the potential harm, including the

high risk of "serious and life-threatening adverse events" and abuse           -   which are greatest in non-

cancer patients. The   FDA also issued a Public Health Advisory in200l emphasizingthat Fentora

should only be used for cancer patients who are opioid-tolerant and should not be used for any




lOa Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004),2004 WL 1637768, at *4 (footnote omitted).




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other conditions, such as migraines, post-operative pain, or pain due to injury.r05 Specifically, the

FDA advised that Fentora "is only approved for breakthrough cancer pain in patients who                      are


opíoíd+olerant, mearring those patients who take a regular, daily, around-the-clock narcotic pain

medication."lo6

          155. Despite this, Cephalon conducted and continues to conduct           a   well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives

to give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

cancer pain. For example:

          a.   Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent
               and Breakthrough Pain, published in a supplement of Pain Medicine News in2009.
               The CME instructed doctors that "fc]linically, broad classification of pain syndromes
               as either cancer- or non-cancer-related has limited utility' and recommended Actiq
               and Fentora for patients with chronic pain.

          b.   Upon information and belief, Cephalon's sales representatives set up hundreds of
               speaker programs for doctors, including many non-oncologists, which promoted
               Actiq and Fentora for the treatment of non-cancer pain.

          c. In December 2011, Cephalon       widely disseminated a journal supplement entitled
               "special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl
               Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)" to
               Anesthesiology News, Clinical Oncology News, and Pain Medicine News - three
               publications that are sent to thousands of anesthesiologists and other medical
               professionals. The Special Report openly promotes Fentora for "multiple causes of
               pain"   -   and not just cancer pain.




tos
   See U.S. Food & Drug Admin., Public Heqlth Advisory: Important Informationfor the Safe Use of Fentora
(fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetlnformationforPatientsandProviders/ucm05l273.htrn.
t06 Id.




                                                       56
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          156. Cephalon's deceptive marketing         gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were               also

approved by the FDA for such uses.

              3.   The Manufacturer Defendants Targeted Susceptible Prescribers and
                   Vulnerable Patient Populations.

           157. As a part        of their   deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and Plaintiffs Community. For example, the Manufacturer Defendants

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs, but were less likely to be educated about treating pain

and the risks and benefits          of opioids and therefore more likely to     accept the Manufacturer

Defendants' misrepresentations.

           158. The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants

targeted these vulnerable patients even though the risks                of   long-term opioid use were

significantly greater for them. For example, the 2016 CDC Guideline observes that existing

evidence confirms that elderly patients taking opioids suffer from elevated fall and fracture risks,

reduced renal function and medication clearance, and a smaller window between safe and unsafe

dosages.lo7     The 2016 CDC Guideline concludes that there must be "additional caution and

increased monitoring" to minimize the risks of opioid use in elderly patients. Id. at 27 . The same

is true for veterans, who are more likely to use anti-anxiety drugs (beruodiazepines) for post-

traumatic stress disorder, which interact dangerously with opioids.



to7   2016 CDC Guideline at 13




                                                       57
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              4.   Insys Employed Fraudulent,Illegal, and Misleading Marketing Schemes to
                   Promote Subsys.

           159. Insys's opioid, Subsys, was approved by the FDA in 2012 for "management of

breakthrough pain      in adult   cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain." Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief. It is in the class of       drugs described as Transmucosal Immediate-Release Fentanyl

("TIRF").

           160. To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy ("REMS") for Subsys and other TIRF products, such              as


Cephalon's Actiq and Fentora. The purpose of REMS was to educate "prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose" for this type of drug and

to "ensure safe use and access to these drugs for patients who need them."lO8 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

           161. Since its launch,   Subsys has been an extremely expensive medication, and its price

continues to rise each year. Depending on a patient's dosage and frequency of use, a month's

supply of Subsys could cost in the thousands of dollars.

           162. Due to its high cost, in most instances prescribers must submit Subsys prescriptions

to insurance companies or health benefit payors for prior authorization to determine whether they

will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

Senate Homeland Security and Governmental            Affairs Committee Minority Staff Report ("Staff



r08
      Press Release, FDA, FDA Approves Shared System REMSfor TIRF Producls, Dec. 29,2011




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Report"), the prior authorization process includes "confirmation that the patient had an active

cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate.         If   any one

of these factors was not present, the prior authorization would be denied

        163. These prior authonzation requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30Yo of submitted claims. In order to increase

approvals, Insys created a      prior authonzation unit, called the úrsys Reimbursement               Center

("IRC"), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics        to secure    reimbursements, including falsifying medical

histories   of   patients, falsely claiming that patients had cancer, and providing misleading

information to insurers and payors regarding patients' diagnoses and medical conditions.

        164. Subsys has proved to be extremely profitable for Insys. Insys made approximately

$330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

stock rose 296%.

        165. Since its launch in 2\l2,Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through

its sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe

and appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses, and misrepresented the appropriateness of Subsys for treatment those

conditions. It implemented a kickback scheme wherein it paid prescribers for fake                    speakers




roe
    U.S. Senate Homeland Security & Govemmental Affairs Committee, Fueling an Epidemic, Insys Therapeutics
qnd the Systemic Manipulation of Prior Aulhorization, https://www.documentcloud.org/documentsl3987564-
REP ORT-Fueling-an-Epidemic -Insys-Therapeutics.html.




                                                     59
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programs in exchange for prescribing Subsys.            All of these fraudulent      and misleading schemes

had the effect of pushing Insys's dangerous opioid onto patients who did not need it.

          166. Insys incentivized its sales force to engage in illegal       and fraudulent conduct. Many

of the Insys sales representatives were new to the pharmaceutical industry and their base salaries

were low compared to industry standard. The compensation structure was heavily weighted

toward commissions and rewarded reps more for selling higher (and more expensive) doses of

Subsys, a "highly unusual" practice because most companies consider dosing a patient-specific

decision that should be made by a doctor.ll0

          167. The Insys "speakers program" was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was "in the words of his then supervisor Alec Burlakoff, 'to get money

in the doctor's pocket."' Furchak went on to explain that "[t]he catch . . . was that doctors who

increased the level     of   Subsys prescriptions, and         at higher dosages (such as 400 or              800

micrograms instead of 200 micrograms), would receive the invitations to the program-and the

checks."lll It was a pay-to-prescribe program.

          168. Insys's sham speaker program and other fraudulent and illegal tactics have been

outlined   in great detail in indictments and gullty pleas of Insys              executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.

          169. In May of 2015, two Alabama pain specialists were affested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers

of Subsys, though neither were oncologists. According to                  prosecutors, the doctors received

tt} Id.
rrr Roddy Boyd, "Insys Therapeutics and the New   'Killinglt', " Southern Investigative Reporting Foundation, The
Investigator, Apnl 24, 2015.




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illegal kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat

neck, back, and joint   pain. In February of 2016, a former Insys      sales manager pled     guilty to

conspiracy to commit health care fraud, including engaging in a kickback scheme in order to

induce one of these doctors to prescribe Subsys. The plea agreement states that nearly all of the

Subsys prescriptions written by the doctor were off-label to non-cancer       patients. tn May of

2017, one of the doctors was sentenced to 20 years in prison.

       170. In June of 2015,    a nurse practitioner   in Connecticut described   as the state's highest

Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid

the nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event;

however, she did not give any presentations. In her guilty plea, the nurse admitted receiving the

speaker fees   in exchange for writing prescriptions for Subsys.

       I7l. In August of 2015, Insys settled a complaint brought by the Oregon                Attomey

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       172. In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of

opioid drugs instead of to oncologists whose patients experienced the breakthrough cancer pain

for which the drug is indicated. The Illinois Complaint also details how Insys used its speaker

program to pay high volume prescribers to prescribe Subsys. The speaker events took place at

upscale restaurants in the Chicago area, and Illinois speakers received an "honorarium" ranging




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from $700 to $5,100, and they were allowed to order as much food and alcohol as they wanted.

At most of the events, the "speaker" being paid by Insys did not speak, and, on many occasions,

the only attendees at the events were the speaker and an Insys sales representative.

          I73. In Decemb     er of 2016, six úrsys executives and managers were indicted and then, in

October    z\l7,Insys's founder and owner was arrested and          charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: "Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis."rr2 A Drug Enforcement

Administration ("DEA") Special Agent           in   Charge further explained that: "Pharmaceutical

companies whose products include controlled medications that can lead                  to addiction and

overdose have a special obligation to operate in a trustworthy, transparent manner, because their

customers' health and safety and, indeed, very lives depend on it."l13

             5.      The Manufacturer Defendants made Materially Deceptive Statements and
                     Concealed Material Facts.

          174. As alleged herein, the Manufacturer Defendants made andlor                   disseminated

deceptive statements regarding material facts and fuither concealed material facts, in the course

of manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants'

actions were intentional and,/or unlawful. Such statements include, but are not limited to, those

set out below and alleged throughout this Complaint.


rr2 Press Release,
               DOJ, U.S. Attorney's Offrce, Dist. of Mass., Founder and Owner of Pharmaceutical Company
    Arrested and Charged with Racketeering (Oct.26,2017),htþsllwww.justice.gov/usao-ma/prlfounder-and-
Insys
owner-pharmaceutical-company-insys-arrested-and-charged-racketeering.
tt3 Jd.




                                                    62
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       175. Defendant Purdue        made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a.   Creating, sponsoring, and assisting in the distribution of patient education
                  materials distributed to consumers that contained deceptive statements;

             b.   Creating and disseminating advertisements that contained deceptive statements
                  concerning the ability of opioids to improve function long-term and concerning
                  the evidence supporting the efficacy of opioids long-term for the treatment of
                  chronic non- cancer pain;

             c. Disseminating     misleading statements concealing the true risk of addiction and
                  promoting the deceptive concept of pseudoaddiction through Purdue's own
                  unbranded publications and on intemet sites Purdue operated that were marketed
                  to and accessible by consumers;

             d.   Distributing brochures to doctors, patients, and law enforcement officials that
                  included deceptive statements conceming the indicators of possible opioid abuse;

             e.   Sponsoring, directly distributing, and assisting in the distribution of publications
                  that promoted the deceptive concept of pseudoaddiction, even for high-risk
                  patients;

             f.   Endorsing, directly distributing, and assisting in the distribution of publications
                  that presented an unbalanced treatment of the long-term and dose-dependent risks
                  of opioids versus NSAIDs;

             g.   Providing significant financial support to pro-opioid KOL doctors who made
                  deceptive statements concerning the use of opioids to treat chronic non-cancer
                  pain;

             h.   Providing needed financial support to pro-opioid pain organizations that made
                  deceptive statements, including in patient education materials, concerning the use
                  of opioids to treat chronic non-cancer pain;

             i.   Assisting  in the distribution of guidelines that contained deceptive statements
                  concerning the use of opioids to treat chronic non-cancer pain and misrepresented
                  the risks of opioid addiction;

             j.   Endorsing and assisting     in the distribution of    CMEs containing deceptive
                  statements concerning the use of opioids to treat chronic non-cancer pain;

             k.   Developing and disseminating scientific studies that misleadingly concluded
                  opioids are safe and effective for the long-term treatment of chronic non-cancer
                  pain and that opioids improve quality of life, while concealing contrary data;


                                                   63
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             1.   Assisting    in the dissemination of
                                                     literature written by pro-opioid KOLs that
                  contained deceptive statements concerning the use of opioids to treat chronic non-
                  cancer pain;

             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                  education materials that misrepresented the data regarding the safety and efficacy
                  of opioids for the long-term treatment of chronic non-cancer pain, including
                  known rates of abuse and addiction and the lack of validation for long-term
                  efficacy;

             n.   Targeting veterans by sponsoring and disseminating patient education marketing
                  materials that contained deceptive statements concerning the use of opioids to
                  treat chronic non-cancer pain;

             o.   Targeting the elderly by assisting in the distribution of guidelines that contained
                  deceptive statements concerning the use of opioids to treat chronic non-cancer
                  pain and misrepresented the risks of opioid addiction in this population;

             p.   Exclusively disseminating misleading statements in education materials to
                  hospital doctors and staff while purportedly educating them on new pain
                  standards;

             q.   Making deceptive statements concerning the use of opioids to treat chronic non-
                  cancer pain to prescribers through in-person detailing; and

             r    Withholding from law enforcement the names of prescribers Purdue believed to
                  be facilitating the diversion of its opioid, while simultaneously marketing opioids
                  to these doctors by disseminating patient and prescriber education materials and
                  advertisements and CMEs they knew would reach these same prescribers.

       116. Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a.   Creating, sponsoring, and assisting     in the distribution of   patient education
                  materials that contained deceptive statements;

             b.   Creating and disseminating advertisements that contained deceptive statements
                  conceming the ability of opioids to improve function long-term and concerning
                  the evidence supporting the effrcacy of opioids long-term for the treatment of
                  chronic non-cancer pain;

             c.   Creating and disseminating paid advertisement supplernents in academic journals
                  promoting chronic opioid therapy as safe and effective for long term use for high
                  risk patients;



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 d.    Creating and disseminating advertisements that falsely and inaccurately conveyed
       the impression that Endo's opioids would provide a reduction in oral, intranasal,
       or intravenous abuse;

 e.    Disseminating misleading statements concealing the true risk of addiction and
       promoting the misleading concept of pseudoaddiction through Endo's own
       unbranded publications and on internet sites Endo sponsored or operated;

 f.    Endorsing, directly distributing, and assisting in the distribution of publications
       that presented an unbalanced treatment of the long-term and dose-dependent risks
       of opioids versus NSAIDs;

  g.   Providing significant financial support to pro-opioid KOLs, who made deceptive
       statements concerning the use of opioids to treat chronic non-cancer pain;

 h.    Providing needed financial support to pro-opioid pain organizations - including
       over $5 million to the organization responsible for many of the most egregious
       misrepresentations that made deceptive statements, including in patient
       education materials, concerning the use of opioids to treat chronic non-cancer
       pain;

  i.   Targeting the elderly by assisting in the distribution of guidelines that contained
       deceptive statements concerning the use of opioids to treat chronic non-cancer
       pain and misrepresented the risks of opioid addiction in this population;

 j.    Endorsing and assisting    in the distribution of CMEs containing deceptive
       statements concerning the use of opioids to treat chronic non-cancer pain;

  k.   Developing and disseminating scientific studies that deceptively concluded
       opioids are safe and effective for the long{erm treatment of chronic non-cancer
       pain and that opioids improve quality of life, while concealing contrary data;

  l.   Directly distributing and assisting in the dissemination of literature written by
       pro-opioid KOLs that contained deceptive statements conceming the use of
       opioids to treat chronic non-cancer pain, including the concept of
       pseudoaddiction;

  m. Creating, endorsing, and supporting the distribution of patient and prescriber
       education materials that misrepresented the data regarding the safety and effrcacy
       of opioids for the long-term treatment of chronic non-cancer pain, including
       known rates of abuse and addiction and the lack of validation for long-term
       efficacy; and

  n.   Making deceptive statements concerning the use of opioids to treat chronic non-
       cancer pain to prescribers through in-person detailing.




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       177. Defendant Janssen made andlor disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a.   Creating, sponsoring, and assisting     in the distribution of     patient education
                  materials that contained deceptive statements;

             b.   Directly disseminating deceptive statements through internet sites over which
                  Janssen exercised final editorial control and approval stating that opioids are safe
                  and effective for the long-term treatment of chronic non-cancer pain and that
                  opioids improve quality of life, while concealing contrary data;

             c.   Disseminating deceptive statements concealing the true risk of addiction and
                  promoting the deceptive concept of pseudoaddiction through internet sites over
                  which Janssen exercised final editorial control and approval;

             d.   Promoting opioids for the treatment of conditions for which Janssen knew, due to
                  the scientific studies it conducted, that opioids were not efficacious and
                  concealing this information;

             e.   Sponsoring, directly distributing, ffid assisting in the dissemination of patient
                  education publications over which Janssen exercised final editorial control and
                  approval, which presented an unbalanced treatment of the long-term and dose
                  dependent risks of opioids versus NSAIDs;

             f.   Providing significant financial support to pro-opioid KOLs, who made deceptive
                  statements concerning the use of opioids to treat chronic non-cancer pain;

             g.   Providing necessary financial support to pro-opioid pain organizations that made
                  deceptive statements, including in patient education materials, concerning the use
                  of opioids to treat chronic non-cancer pain;

             h.   Targeting the elderly by assisting in the distribution of guidelines that contained
                  deceptive statements concerning the use of opioids to treat chronic non-cancer
                  pain and misrepresented the risks of opioid addiction in this population;

             i.   Targeting the elderly by sponsoring, directly distributing, and assisting in the
                  dissemination of patient education publications targeting this population that
                  contained deceptive statements about the risks of addiction and the adverse effects
                  of opioids, and made false statements that opioids are safe and effective for the
                  long-term treatment of chronic non-cancer pain and improve quality of life, while
                  concealing contrary data;

             j.   Endorsing and assisting     in the distribution of CMEs       containing deceptive
                  statements concerning the use of opioids to treat chronic non-cancer pain;




                                                   66
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           k.   Directly distributing and assisting in the dissemination of literature written by
                pro-opioid KOLs that contained deceptive statements conceming the use of
                opioids to treat chronic non-cancer pain, including the concept of
                pseudoaddiction;

           l.   Creating, endorsing, and supporting the distribution    of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including
                known rates of abuse and addiction and the lack of validation for long-term
                efficacy;

           m. Targeting veterans by sponsoring and disseminating patient education marketing
              materials that contained deceptive statements concerning the use of opioids to
                treat chronic non-cancer pain; and

           n.   Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

        I78. Defendant Cephalon made andlor disseminated untrue, false and deceptive

statements, and concealed material facts        in such a way to make their statements    deceptive,

including, but not limited to, the following:

           a.   Creating, sponsoring, and assisting      in the distribution of patient   education
                materials that contained deceptive statements;

           b.   Sponsoring and assisting in the distribution of publications that promoted the
                deceptive concept of pseudoaddiction, even for high-risk patients;

           c.   Providing significant financial support to pro-opioid KOL doctors who made
                deceptive statements conceming the use of opioids to treat chronic non-cancer
                pain and breakthrough chronic non-cancer pain;

           d.   Developing and disseminating scientific studies that deceptively concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain in conjunction with Cephalon's potent rapid-onset opioids;

           e.   Providing needed financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

           f.   Endorsing and assisting     in the distribution of   CMEs containing deceptive
                statements conceming the use of opioids to treat chronic non-cancer pain;

           g.   Endorsing and assisting     in the distribution of  CMEs containing deceptive
                statements concerning the use of Cephalon's rapid-onset opioids;



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             h.    Directing its marketing of Cephalon's rapid-onset opioids to a wide range of
                   doctors, including general practitioners, neurologists, sports medicine specialists,
                   and workers' compensation programs, serving chronic pain patients;

             i.    Making deceptive statements concerning the use of Cephalon's opioids to treat
                   chronic non-cancer pain to prescribers through in-person detailing and speakers'
                   bureau events, when such uses are unapproved and unsafe; and

             j.    Making deceptive statements concerning the use of opioids to treat chronic non-
                   cancer pain to prescribers through in-person detailing and speakers' bureau
                   events.

       I19.       Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a.    Making deceptive statements concerning the use of opioids to treat chronic non-
                   cancer pain to prescribers through in-person detailing;

             b.    Creating and disseminating advertisements that contained deceptive statements
                   that opioids are safe and effective for the long-term treatment of chronic non-
                   cancer pain and that opioids improve quality of life;

             c.    Creating and disseminating advertisements that concealed the risk of addiction in
                   the long-term treatment of chronic, non-cancer pain; and

             d.    Developing and disseminating scientific studies that deceptively concluded
                   opioids are safe and effective for the long-term treatment of chronic non-cancer
                   pain and that opioids improve quality of life while concealing contrary data.

             6.    The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

        180. The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and deceptive. The history            of

opioids, as well as research and clinical experience establish that opioids are highly addictive and

are responsible       for a long list of very    serious adverse outcomes. The FDA warned the

Manufacturer Defendants         of this, and the Manufacturer Defendants had access to        scientific

studies, detailed prescription data, and reports of adverse events, including reports of addiction,



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hospitalization, and death - all of which clearly described the harm from long-term opioid use

and that patients were suffering from addiction, overdose, and death   in alarming numbers. More

recently, the FDA and CDC have issued pronouncements, based on medical evidence, that

conclusively expose the falsity of the Manufacturer Defendants' misrepresentations, and Endo

and Purdue have recently entered into agreements in New York prohibiting them from making

some of the same misrepresentations described in this Complaint.

       181. At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair,

and fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy

and integrity of the Manufacturer Defendants' false and deceptive statements about the risks and

benefits   of long-term opioid use for chronic pain. The Manufacturer Defendants      also never

disclosed their role in shaping, editing, and approving the content of information and materials

disseminated by these third parties. The Manufacturer Defendants exerted considerable influence

on these promotional and "educational" materials in emails, correspondence, and meetings with

KOLs, Front Groups, and public relations companies that were not, and have not yet become,

public. For example, PainKnowledge.org, which is run by the NIPC, did not disclose Endo's

involvement. Other Manufacturer Defendants, such as Purdue and Janssen, ran similar websites

that masked their own role.

        182. Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make   it   appear that these documents were accurate, truthful, and




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supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented "pseudoaddiction" and promoted it to an

unsuspecting medical community.             The Manufacturer Defendants provided the                  medical

community with false and misleading information about ineffectual strategies to avoid or control

opioid addiction. The Manufacturer Defendants recommended to the medical community that

dosages be increased, without disclosing the risks. The Manufacturer Defendants spent millions

of dollars over a period of years on a misinformation campaign aimed at highlighting opioids'

alleged benefits, disguising the risks, and promoting sales. The lack                  of   support   for   the

Manufacturer Defendants' deceptive messages was not apparent to medical professionals who

relied upon them in making treatment decisions, nor could it have been detected by the Plaintiff

or Plaintiff s Community. Thus, the Manufacturer Defendants successfully concealed from the

medical community, patients, and health care payors facts sufficient to arouse suspicion of the

claims that the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the

Manufacturer Defendants' industry-wide fraud and could not have acquired such knowledge

earlier through the exercise ofreasonable diligence.

    C.   THE DISTRIBUTOR DEFENDANTS' UNLA\YFUL DISTRIBUTION                                                 OF
         OPIOIDS.

         183. The Distributor Defendants owe           a duty under both federal   law (21U.S.C. ç 823,21

CFR   1301   .74) and Wisconsin law (see, e.g., Wis. Admin. Code $ Phar 8.10) to monitor, detect,

investigate, refuse to   fill,   and report suspicious orders of prescription opioids originating from

Plaintiff s Community as well        as those orders   which the Distributor Defendants knew or should

have known \Mere    likely to be diverted into Plaintiff     s Community.




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       184. The foreseeable harm from     a breach    of these duties is the diversion of prescription

opioids for nonmedical purposes.

       185. Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal    law.   Such breaches are a direct and proximate cause of the widespread

diversion of prescription opioids for nonmedical purposes into Plaintifls Community.

       186. The unlawful diversion of prescription opioids is a direct and proximate             cause


andlor substantial contributing factor    to the opioid epidemic,          prescription opioid   abuse,


addiction, morbidity and mortality in the State and in Plaintiffls Community. This diversion and

the epidemic are direct causes of harms for which Plaintiff seeks to recover here.

        187. The opioid epidemic in the State, including, inter alia, in Plaintiff s Community,

remains an immediate høzard to public health ønd søfety.

       188. The opioid epidemic       in Plaintiffs   Community     is a temporary and continuous

publíc nuisønce and remains unabated.

       189. The Distributor Defendants intentionally continued their conduct,       as alleged herein,


with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.

             1.   'Wholesale Drug Distributors Have a Duty under State and Federal Law to
                  Guard Against, and Report, Unlawful Diversion and to Report and Prevent
                  Suspicious Orders.

        190. As under federal law, opioids are a Schedule             II   controlled substance under
'Wisconsin                                                                          II"
             law. See Wis. Stat. $ 961.16. Opioids are categorized as "Schedule           drugs because

they have a "high potential for abuse" and the potential to cause "severe psychic or physical

dependence" and/or "severe psychological . . . dependence."     2l U.S.C. $ 812(bX2)(A)-(C).

        191. 'Wisconsin law required Defendants to be licensed by the Wisconsin Pharmacy

Examining Board. Wis. Stat. $ 450.071(l). See ø/so Wis. Stat. $ 961.001 et seq. (Wisconsin


                                                7l
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Controlled Substances Act); Wis. Stat.          $   961.31 ("The pharmacy examining board may

promulgate rules relating         to the manufacture, distribution and dispensing of      controlled

substances   within this state."); Wis. Admin. Code $$ Phar 13.01 et seq. (listing requirements for

distributors to receive license).

        192. The Wisconsin Pharmacy Examining Board has the authority to "deny, revoke,

suspend or   limit the license"   issued to Wholesale Distributors who "[e]ngage[] in unprofessional

conduct." Wis. Stat. $ 450.1O(lxbxl). "Unprofessional conduct" includes, inter alia, making

material false statements         or giving materially false information in    connection   with   an


application; "fe]ngaging in false, misleading or deceptive advertising"; or making "a substantial

misrepresentation in the course of practice which is relied upon by another person." Wis. Stat.     $


450.10(1XaXl), (4) and (5). "Unprofessional conduct" also includes violating any Wisconsin or

federal statute or rule "which substantially relates to the practice of the licensee." Wis. Stat.   $


450.10(1Xa)(2).See also Wis. Admin. Code $ Phar 13.17(2) ("Failure to comply with applicable

federal, state, and local laws and regulations constitutes unprofessional conduct.").

        193. Except as authorized,        it is unlawful to "manufacture, distribute, or deliver    a


controlled substancef.]" Wis. Stat. $ 961.41(1). See also Wis. Stat. $ 961 .42 (*It is unlawful for

anypersonknowinglytokeepormaintainany...warehouse,...building,...orotherstructure

or place, . . . which is used for manufacturing, keeping or delivering [controlled substances] in

violation of [the Wisconsin Controlled Substances Act]").

        194. 'Wisconsin Pharmacy Examining Board Regulations require manufacturers and

distributors   of   controlled substances   to "maintain   complete and accurate records    of   each

controlled substance received, manufactured, distributed, dispensed or disposed of in any other

manner." V/is. Admin. Code g Phar 3.02(1). See also Wis. Admin. Code $ Phar 8.02(3XÐ




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(requiring DEA registrants authorized to possess controlled substances to send a copy to the

Pharmacy Examining Board of any required report to the DEA of theft or loss of controlled

substances);   Wis. Admin. Code $ Phar 13.14(1) ("distributor shall establish and maintain

inventories and records of all transactions regarding . .   .   prescription drugs.").

        195. Furthermore, Wisconsin law incorporates federal requirements set out under the

Controlled Substance Act and related controlled substance laws and regulations. To receive and

maintain a Wisconsin license, each of the Defendants who registered as Wholesale Distributors

assumed a duty   to comply with "applicable federal, state, and local laws and regulations." Wis.

Admin. Code g Phar 13.17(1). See also Wis. Stat. $ 450.10(1)(a)(2); V/is. Admin. Code $ Phar

13.17(2); Wis. Admin. Code $ Phar 8.02(2) (records required by federal controlled substances

act shall be maintained); Wis. Admin. Code $ Phar 12.05.

        196. Each Distributor Defendant was further required to register with the DEA, pursuant

to the federal Controlled Substance Act. See 2l U.S.C. $ 823(b), (e); 28 C.F.R. $ 0.100. Each

Distributor Defendant is a "registrant" as a wholesale distributor in the chain of distribution of

Schedule   II controlled   substances   with a duty to comply with all security requirements imposed

under that statutory scheme. Wisconsin law adopts and incorporates those requirements, as set

out above. See, e.g., Wis. Admin. Code $ Phar 13.17.

        197. Each Distributor Defendant has an affirmative duty under federal and Wisconsin

law to act as a gatekeeper, guarding against the diversion of the highly addictive, dangerous

opioid drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must

maintain "effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels." 21 U.S.C. $$ 823(b)(1). Wisconsin law

requires that all locations "where a wholesale distributor stores, handles, repackages, or offers for




                                                    IJ
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sale prescription drugs" shall require that a "security system is maintained that       will   provide

suitable protection against theft and diversion." Wis. Admin. Code $ Phar 13.10(5); see also

Wis. Admin. Code g Phar 13.02(8). In addition, drug distributors shall "establish, maintain, and

adhere   to written policies and procedures, which shall be followed for the receipt, security,

storage, inventory, and distribution ofprescription drugs, including policies and procedures for

identifuing, recording, and reporting losses or thefts[.]" Wis. Admin. Code $ Phar 13.15.

         198. The Wisconsin Legislature has found that "the abuse of controlled substances

constitutes   a serious   problem    for   society'' that the "manufacture, distribution, delivery,

possession and use   of controlled substances for other than legitimate purposes have a substantial

and detrimental effect on the health and general welfare of the people of this state." Wis. Stats.

$$ 961.001, 001(1m). The Wisconsin Pharmacy Examining Board considers factors "relevant to

and consistent with the public health and safety'' when determining eligibility for a distributor's

license. Wis. Admin. Code $ Phar 13.06(5).

         199. Federal regulations and Wisconsin law impose              a non-delegable duty     upon

wholesale drug distributors    to "design and operate a       system   to disclose to the   registrant

suspicious orders    of controlled   substances. The registrant fdistributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when discovered by the

registrant. Suspicious orders include orders of unusual size, orders deviating substantially from    a


normal pattern, and orders of unusual frequency." 21 C.F.R. $ 1301 .74(b). See also 'Wis. Admin.

Code $ Phar 8.10 ("Manufacturers and distributors           of   controlled substances shall disclose

suspicious orders of controlled substances. . . . The licensee shall notify the regional office of the

DEA and the board of all suspicious orders.").




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        200. "suspicious orders" include orders ofan unusual size, orders ofunusual frequency

or orders deviating substantially from a normal pattem. See           2l CFR $ 1301.74(b).      These criteria

are disjunctive and are not all inclusive. For example,         if   an order deviates substantially from a

normal pattern, the size      of the order    does not matter and the order should be reported as

suspicious. Likewise, a wholesale distributor need not wait for a normal pattem to develop over

time before determining whether a particular order is suspicious. The size of an order alone,

regardless   of whether it deviates from a normal pattern, is enough to trigger the                 wholesale

distributor's responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer but also

on the patterns of the entirety of the wholesale distributor's customer base and the patterns

throughout the relevant segment of the wholesale distributor industry.rla

        201. If an order deviates substantially from a normal pattern, the size of the order does

not matter and the order should be reported as suspicious. Likewise, a registrant need not wait for

a "normal pattern" to develop over time before determining where a particular order                         is

suspicious. The size     of an order alone, whether or not it deviates from a normal pattem, is

enough    to trigger the registrant's       responsibility    to report the order as suspicious. The
determination of whether an order is suspicious depends not only on the ordering patterns of a

particular customer, but also on the patterns of the registrant's customer base and the patterns

throughout the relevant segment of the regulated industry.

        202. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged                         as



tta Masters Pharmaceuticals, Inc.; Decision and Order,80 Fed. Reg. 55,418-01,55,421,2015 WL 5320504,
(September 15, 2015) (quoting December 27,200'7 letter from the Deputy Assistant Administrator, Offtce of
Diversion Control, Drug Enforcement Administration, to all registered distributors).




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potentially suspicious       if, after conducting   due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc.,72 Fed. Reg.

36,487,36,501 (Drug          Enlt Admin. July 3,2007);         Masters Pharmaceutícal, Inc. v. Drug Enft

Admin,861 F.3d 206,212, No. 15-11355 (D.C. Cir. June 30,2017). Regardless, all flagged

orders must be reported. Id.

           203. These prescription drugs are regulated for the purpose of providing a "closed"

system intended         to reduce the widespread diversion of these drugs out of                        legitimate

channels into the       illicit market, while at the same time providing the legitimate drug industry

with a unified approach to narcotic and dangerous drug control.lls

           204. Different entities supervise the discrete links in the chain that separate             a consumer

from a controlled substance. Statutes and regulations define each participant's role                             and

responsibilities.l l6

           205. As the DEA advised the Distributor Defendants in a letter to them dated September

27,2006, wholesale distributors are "one of the key components of the distribution chain. If the

closed system is to function properly            ... distributors must be vigilant in deciding whether                 a


prospective customer can be trusted to deliver controlled substances only for lawful purposes.




tts See 1970 U.S.C.C.A.N. 4566, 4571-72.
l16   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores   as
Amici Curiae in Support of Neither Pafi, Masters Pharm., Inc. v. U.S. Drug Enf t Admin. (No.15-1335) (D.C. Cir
Apr. 4, 2016),20 16 WL 1321983 , at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)-now known as the Healthcare Distribution Alliance (HDA)-is a
national, not-for-proht trade association that represents the nation's primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generallyHDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
2l,2Ol7). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission,https://www.nacds.org/ about/mission/ (lastvisited Aug.2l,2017).




                                                         76
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This responsibility is critical, as         ... the illegal     distribution    of   controlled substances has            a


substantial and detrimental effect on the health and general welfare of the American people."rlT

           206. The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.118

           207. The DEA sent a letter to each of the Distributor Defendants on September 27,

2006, warning that          it    would use its authority to revoke and suspend registrations when

appropriate. The letter expressly states that a distributor,               ín øddítíon to reporting         suspicious

orders, has a "statutory responsibility to exercise due diligence to avoid filling suspicious orders

that might be diverted into other than legitimate medical, scientific, and industrial channels."lle

The letter also instructs that "distributors must be vigilant in deciding whether a prospective

customer can be trusted to deliver controlled substances only for lawful purposes."l2o The DEA

warns that "even just one distributor that uses its DEA registration to facilitate diversion can

                                 12   1
cause enorrnous ¡ut'ttt.:r

               208. The DEA sent a second letter to each of the Distributor Defendants on December

27,     2007 .r22   This letter reminds the Defendants of their statutory and regulatory duties to

tt7 See Letter from Joseph T. Rarmazzisi, Deputy Assistant Adm'r, Office of Diversion Control, Drug. Enlt
Admin., U.S. Dep't of Justice, to Cardinal Health (Sept. 27, 2006) fhereinafter Rarurazzisi Letter] ("This letter is
being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
distribute controlled substances. The purpose ofthis letter is to reiterate the responsibilities ofcontrolled substance
distributors in view of the prescription drug abuse problem our nation currently faces."), hled in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. l4-51.
ttg See Brief for   HDMA and NACDS ,2016WL 1321983, at *4 ("fR]egulations . . . in place for more than 40         years
require distributors to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy's placement of unusually frequent or large orders).").
rte PiawuLzzisi Letter, at 2.
t2o   Id. at   l.
t2t   Id. at2.
t22
   5"" Letter from Joseph T. Rannazzisi, Deputy Assistant Adm'r, Office of Diversion Control, Drug. Enf t Admin.,
U.S. Dep't of Justice, to Cardinal Health (Dec. 27 ,200'7), filed in Cardinal Health, Inc. v. Holder, No. l: l2-cv-
00185-RBV/ (D.D.C. Feb. 10, 2012), ECF No. l4-8.




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"maintain effective controls against diversion" and "design and operate a system to disclose to

the registrant suspicious orders of controlled substances."l23 The letter further explains:

          The regulation also requires that the registrant inform the local DEA Division
          Office of suspicious orders when discovered by the registrant. Filing a monthly
          report of completed transactions (e.g., "excessive purchase report" or "high unity
          purchases") does not meet the regulatory requirement to report suspicious orders.
          Registrants are reminded that their responsibility does not end merely with the
          filing of a suspicious order report. Registrants must conduct an independent
          analysis of suspicious orders prior to completing a sale to determine whether the
          controlled substances are likely to be diverted from legitimate channels.
          Reporting an order as suspicious will not absolve the registrant of responsibility if
          the registrant knew, or should have known, that the controlled substances were
          being diverted.

          The regulation specifically states that suspicious orders include orders of unusual
          size, orders deviating substantially from a normal pattern, and orders of an
          unusual frequency. These criteria are disjunctive and are not all inclusive. For
          example, if an order deviates substantially from a normal pattern, the size of the
          order does not matter and the order should be reported as suspicious. Likewise, a
          registrant need not wait for a "normal pattern" to develop over time before
          determining whether a particular order is suspicious. The size of an order alone,
          whether or not it deviates from a normal pattern, is enough to trigger the
          registrant's responsibility to report the order as suspicious. The determination of
          whether an order is suspicious depends not only on the ordering patterns of the
          particular customer, but also on the patterns of the registrant's customer base and
          the patterns throughout the segment of the regulated industry.

          Registrants that rely on rigid formulas to define whether an order is suspicious
          may be failing to detect suspicious orders. For example, a system that identifies
          orders as suspicious only if the total amount of a controlled substance ordered
          during one month exceeds the amount ordered the previous month by a certain
          percentage or more is insufficient. This system fails to identify orders placed by a
          pharmacy if the pharmacy placed unusually large orders from the beginning of its
          relationship with the distributor. Also, this system would not identift orders as
          suspicious if the order were solely for one highly abused controlled substance if
          the orders never grew substantially. Nevertheless, ordering one highly abused
          controlled substance and little or nothing else deviates from the normal pattern of
          what pharmacies generally order.

          When reporting an order as suspicious, registrants must be clear in their
          communication with DEA that the registrant is actually charactúzing an order as
          suspicious. Daily, weekly, or monthly reports submitted by registrant indicating

t23 Id.




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           "excessive purchases" do not comply with the requirement to report suspicious
           orders, even ifthe registrant calls such reports "suspicious order reports."

           Lastly, registrants that routinely report suspicious orders, yet fill these orders
           without first determining that order is not being diverted into other than legitimate
           medical, scientific, and industrial channels, n&y be failing to maintain effective
           controls against diversion. Failure to maintain effective controls against diversion
           is inconsistent with the public interest as that term is used in 21 USC 823 and824,
           and may result in the revocation of the registrant's DEA Certificate of
           Registration.l2a

Finally, the DEA letter references the Revocation                 of   Registration issued   in   Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487 -01 (July 3, 2007), which discusses the obligation to

report suspicious orders and "some criteria to use when determining whether an order is

suspicious."l25

           209. The Distributor Defendants admit that they "have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake

such efforts as responsible members of societyi'r2ø

           210. The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association              of   pharmaceutical distributors, explain that

distributors are "[a]t the center of a sophisticated supply chain" and therefore "are uniquely

situated    to perform due diligence in order to help support the security of the                  controlled

substances they deliver to their customers." The guidelines set forth recommended steps                in the

"due diligence" process, and note in particular:           If   an order meets or exceeds a distributor's

threshold, as defined in the distributor's monitoring system, or is otherwise charactenzed by the


0a   Jd.
tzs Jd.

t26 See Brief of HDM A, 2Ol2   WL 1637016,   ar *2.




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distributor as an order of interest, the distributor should not ship to the customer, in fulfillment of

that order, any units of the specific drug code product as to which the order met or exceeded a

threshold or as to which the order was otherwise charactenzed as an order of interest.127

        2lI. Each of the          Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Plaintiff s Community andlor to retailers from

which Distributor Defendants knew prescription opioids were likely to be diverted to Plaintiff                 s


Community.

        212. Each Distributor Defendant owes           a duty to monitor and detect suspicious orders         of

prescription opioids.

        2I3.   Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        2I4.   Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        215. Each Distributor Defendant owes           a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the State and Plaintiff s Community.

        216. The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

        2I7. The     foreseeable harm resulting from the diversion              of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff s Community and

the damages caused thereby.




  Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
r27

Suspicious Orders and Preventing Diversion of Controlled Substances, hled in Cardinql Health, Inc. v. Holder,No.
12-5061(D.C. Cir. Mar.7,ZOl2),Doc. No. 1362415 (app.B).




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            2.   The Distributor Defendants Breached Their Duties.

        218. Because distributors handle such large volumes of controlled substances, and are

the first major line of defense in the movement of legal pharmaceutical controlled substances

from legitimate channels into the illicit market,            it is incumbent on distributors to maintain
effective controls to prevent diversion of controlled substances. Should a distributor deviate from

these checks and balances, the closed system collapses.l28

        219. The sheer volume of prescription opioids distributed to pharmacies in the Plaintiff                  s


Community, andlor to pharmacies from which the Distributor Defendants knew the opioids were

likely to be diverted into Plaintiffs Community, is excessive for the medical need of the

community and facially suspicious. Some red flags are so obvious that no one who engages in

the legitimate distribution of controlled substances can reasonably claim ignorance of them.l2e

        220. The Distributor Defendants failed to report "suspicious orders" originating from

Plaintifls Community, or which the Distributor Defendants knew were likely to be diverted to

Plaintiff s Community, to the federal and state authorities, including the DEA and/or the                    state


Board of Pharmacy.

        221. The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattem andlor orders of unusual frequency in

Plaintiffls Community, andlor in areas from which the Distributor Defendants knew opioids

were likely to be diverted to Plaintiff s Community.




t2s SeeRannazzisi Decl.
                          ![0, frled inCardinal Health,Inc. v. Holder, No. 1:12-cv-00185-RBW   (D.D.C. Feb. 10'
2012), ECF No. l4-2.
tze
    Masters Pharmaceuticals, Inc.,80 Fed. Reg. 55,4i8-01,55,482 (Sept. 15, 2015) (citing Holiday CI/S, L.L.C.,
d/b/q C4S/Pharmacy Nos. 219 and 5i,95,77 Fed. Reg' 62,316,62,322 (2012)).




                                                        81
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           222. The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders              of   prescription opiates originating from Plaintiffs

Community, and/or in areas from which the Distributor Defendants knew opioids were likely to

be diverted to    Plaintiff   s Community.

           223. The Distributor Defendants breached their duty to maintain effective controls

against diversion       of prescription opiates into other than legitimate medical, scientific, and
industrial channels.

           224. The Distributor Defendants breached their duty to "design and operate a system to

disclose to the registrant suspicious orders of controlled substances" and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.

           225. The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate          medical,

                                        I 30
scientifi c and industrial channels.

           226. The federal     and state laws at issue here are public safety laws.

           227. The Distributor Defendants' violations of public safety statutes constitute prima

facie evidence of negligence under State law.

           228. The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity, and

disseminated massive quantities of prescription opioids into the black market.




130
      See Cardinql Health, Inc. v. Holder,846 F. Supp. 2d203,206 (D.D.C. 2Ol2).




                                                        82
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       229. The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

are required to legally acquire and maintain a license to distribute prescription opiates.

        230. The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the .ights and safety of other persons, and said

actions have a great probability of causing substantial harm.

        231. The Distributor Defendants' repeated shipments of suspicious orders, over            an


extended period     of time, in violation of public     safety statutes, and without reporting the

suspicious orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or

criminal indifference to civil obligations affecting the rights of others.

           3.    The Distributor Defendants Have Sought to Avoid and Ilave Misrepresented
                 their Compliance with Their Legal Duties.

        232. The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed

those duties     in an effort to   mislead regulators and the public regarding the Distributor

Defendants' compliance with their legal duties.

        233. Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders.   ln Masters    Pharmaceuticals, the HDMA,        a trade association run by   the

Distributor Defendants, and the NACDS submitted amicus briefs regarding the legal duty of

wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry has

been tragically recalcitrant in performing, they argued as follows:

            a.   The Associations complained that the "DEA has required distributors not only to
                 report suspicious orders, but to investigate orders (e.g., by interrogating




                                                   83
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                        pharmacies and physicians) and take action to halt suspicious orders before they
                        are filled."l3l

                   b.   The Associations argued that, "DEA now appears to have changed its position to
                        require that distributors not only reporf suspicious orders, but ínvestigate and halt
                        suspicious orders. Such a change in agency position must be accompanied by an
                        acknowledgment of the change and a reasoned explanation for it. In other words,
                        an agency must display awareness that it rs changing position and show that there
                        are good reasons for the new policy. This is especially important here, because
                        imposing intrusive obligations on distributors threatens to disrupt patient access to
                        needed prescription medicationr.rrl32

                   c. The Associations alleged (inaccurately) that nothing "requires             distributors to
                        investigate the legitimacy of orders, or to halt shipment of any orders deemed to
                        be suspiciorrr.r:133

                   d.   The Association complained that the purported "practical infeasibility of requiring
                        distributors to investigate and halt suspicious orders (as well as report them)
                        underscores the importance of ensuring that DEA has complied with the APA
                        before attempting to impose such duties."l3a

                   e. The Associations     alleged (inaccurately) that "DEA's regulations tl sensibly
                        imposef] a duty on distributors simply to report suspicious orders, but left it to
                        DEA and its agents to investigate and halt suspicious orders."l3s

                   f.   Also inaccurately, the Associations argued that, "fi]mposing a duty on distributors
                        - which lack the patient information and the necessary medical expertise - to
                        investigate and halt orders may force distributors to take a shot-in-the-dark
                        approach to complying with DEA's demands."136

            234. The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.l37


r3t   Brief for HDMA and NACDS,2016WL 1321983, at *4-5.
132
      Id. at *8 (citations and quotation marks omitted).
133
      Id. at*14.
t34
      Id. at*22.
t3s
      Id. at*24-25.
u6    Id. at*26.
r3't See Brief of HDM A, 2012 WL 1 637016, at *3 (arguing the wholesale distributor industry "does not know the
rules of the road because" they claim (inaccurately) that the "DEA has not adequately explained them").




                                                           84
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             235. The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf't Admin.,86l F.3d206 (D.C. Cir.2017). The D.C. Circuit Court

upheld the revocation of Master Pharmaceutical's license and determined that DEA regulations

require that       in addition to reporting     suspicious orders, distributors must "decline to ship the

order, or conduct some 'due diligence'           and-if it is able to determine     that the order is not likely

to be diverted into illegal channels-ship the order." Id. at 212. Master Pharmaceutical was in

violation of legal requirements because it failed to conduct necessary investigations and filled

suspicious orders. Id. at 278-19,226.            A distributor's investigation must dispel all the red flags

giving rise to suspicious circumstances prior to shipping a suspicious order. Id. at 226. The

Circuit Court also rejected the argument made by the HDMA and NACDS (quoted above), that,

allegedly, the DEA had created or imposed new duties. Id. at220.

             236. Wholesale Dishibutor McKesson has recently been forced to specifically admit to

breach        of its   duties     to monitor, report, and prevent suspicious orders. Pursuant to               an


Administrative Memorandum                 of   Agreement (*2011 Agreement") entered               into   between

McKesson and the DEA in January 2017, McKesson admitted that, at various times during the

period from January          I,   2009 through the effective date of the Agreement (January 17, 2017) it

"did not identify or report to [the] DEA certain orders placed by certain pharmacies which

should have been detected by McKesson as suspicious based on the guidance contained in the

DEA Lette...:'138 Further, the 2017 Agreement specifically finds that McKesson "distributed

controlled substances to pharmacies even though those McKesson Distribution Centers should



t38
      See   Administrative Memorandum of Agreement between the U.S. Dep't of Justice, the Drug Enf t Admin., and
the McKesson Corp. (Jan.      17 ,2017), https://wwwjustice.gov/opa/press-releaself:1.el928476/download.




                                                          85
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have known that the pharmacists practicing within those pharmacies had failed to                      fulfill their

corresponding responsibility to ensure that controlled substances were dispensed pursuant to

prescriptions issued for legitimate medical purposes by practitioners acting in the usual course                of

their professional practice, as required by          2l   C.F.R $ 1306.04(a)."rts McKesson admitted that,

during this time period,           it "failed to maintain effective   controls against diversion of particular

controlled substances into other than legitimate medical, scientific and industrial channels by

sales to certain          of its customers in violation of the CSA and the CSA's implementing regulations,

21 C.F.R. Part 1300 et seq., at the McKesson Distribution Centers.'rl40               pn" to these violations,

McKesson agreed that its authority to distribute controlled substances from numerous facilities

would be partially suspended.lal

               237. The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA.r42 In the 2008 Settlement Agreement, McKesson "recognized that it had 4 duty to monitor

its sales of all controlled substances and report suspicious orders to DEA," but had failed to do

so.la3 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by "fail[ing] to properly monitor its sales of controlled substances andlor report

suspicious orders to DEA, in accordance with McKesson's obligatiorr..::144 As a result of these

violations, McKesson was fined and required to pay to the United States $150,000,099.t+s


t3e
      Id. at4.
AO
      Id.
t4t Id. at6.

142
      Id.    a|.4.
t43
      Id.
taa                        Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17,2077)
      Id.;   see ø/so Settlement
[hereinafter 2017 Settlement Agreement and Release] ("McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identifo or report to DEA certain orders placed by certain pharmacies,




                                                          86
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           238. Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and                     even

though McKesson had specifically agreed                  in   2008 that   it   would no longer violate     those

obligations, McKesson continued to violate the laws in contrast to its written agreement not to do

so.

           239. Because of the Distributor Defendants' refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of                     Justice, Office    of the Inspector   General,

Evaluation and Inspections Divisions, reported that the DEA issued final decisions                       in    178


registrant actions between 2008 and 2012.146 The Office of Administrative Law Judges issued a

recoÍìmended decision          in a total of    117 registrant actions before the DEA issued its final

decision, including 76 actions involving orders                 to   show cause and     4I   actions involving

immediate suspension orders.raT These actions include the following:

               a.   On April 24, 2001, the DEA issued an Order to Show Cause and Immedíate
                    Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                    center ("Orlando Facility") alleging failure to maintain effective controls against
                    diversion of controlled substances. On June 22,2007 , AmerisourceBergen entered
                    into a settlement that resulted in the suspension of its DEA registration;

               b.   On November 28,2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Health Auburn, V/ashington Distribution
                    Center ("Aubum Facility") for failure to maintain effective controls against
                    diversion of hydrocodone;




which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA."), https://www.justice.gov/opa/press-releaselfilel928471/download.
tas
      See 2017 Settlement Agreement and Release, at 6.

  Evaluation and Inspections Div., Ofhce of the Inspector Gen., U.S. Dep't of Justice, The Drug Enþrcement
ra6

Administration's Adjudication of Registrant Actions 6 (2014), https://oigjustice.gov/reportsl20l4lel403.pdf.
A7 Id.




                                                          87
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  c.   On December 5, 2001, the DEA issued an Order to Show Cause and Immediate
       Suspension Order against the Cardinal Health Lakeland, Florida Distribution
       Center ("Lakeland Facility") for failure to maintain effective controls against
       diversion of hydrocodone;

  d.   On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
       Suspension Order against the Cardinal Health Swedesboro, New Jersey
       Distribution Center ("swedesboro Facility") for failure to maintain effective
       controls against diversion of hydrocodone;

  e.   On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
       Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
       ("stafford Facility'') for failure to maintain effective controls against diversion of
       hydrocodone;

  f. On May 2, 2008, McKesson Corporation entered into an Administrative
       Memorandum of Agreement ("McKesson 2008 MOA") with the DEA which
       provided that McKesson would "maintain a compliance program designed to
       detect and prevent the diversion of controlled substances, inform DEA of
       suspicious orders required by 2l C.F.R. $ 1301 .74(b), and follow the procedures
       established by its Controlled Substance Monitoring Program";

  g.   On September 30, 2008, Cardinal Health entered into a Settlement and Release
       Agreement and Administrative Memorandum of Agreement with the DEA related
       to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford
       Facility. The document also referenced allegations by the DEA that Cardinal
       failed to maintain effective controls against the diversion of controlled substances
       at its distribution facilities located in McDonough, Georgia ("McDonough
       Facility'), Valencia, California ("Valencia Facility") and Denver, Colorado
       ("Denver Facility");

  h.   On February 2,2012, the DEA issued an Order to Show Cause and Immediate
       Suspension Order against the Cardinal Health Lakeland, Florida Distribution
       Center ("Lakeland Facility'') for failure to maintain effective controls against
       diversion of oxycodone;

  i.   On December 23,2016, Cardinal Health agreed to pay a $44 million fine to the
       DEA to resolve the civil penalty portion of the administrative action taken against
       its Lakeland, Florida Distribution Center; and

  j.   On January 5, 2017, McKesson Corporation entered into an Administrative
       Memorandum Agreement with the DEA wherein it agreed to pay a $150 million
       civil penalty for violation of the McKesson 2008 MOA as well as failure to
       identify and report suspicious orders at its facilities in Aurora CO, Aurora IL,
       Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI,
       Methuen MA, Santa Fe Springs CA, V/ashington Courthouse OH and West
       Sacramento CA.



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        240. Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups                   in the industry,
pressured the U.S. Department of Justice to "halt" prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a "sharp drop

in enforcement actions" and the passage of the "Ensuring Patient Access and Effective Drug

Enforcement Act" which, ironically, raised the burden for the DEA to revoke a distributor's

license from "imminent harm" to "immediate harm" aÍtd provided the industry the right to "cure"

any violations of law before a suspension order can be issued.las

        241. In addition to taking actions to limit regulatory prosecutions and               suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through                     such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        242. For example,       a Cardinal Health executive claimed that        it uses "advanced analytics"

to monitor its supply chain, and represented that it was being "as effective and efÍicient                     as


possible in constantly monitoring, identifying, and eliminating any outside criminal activity."rae



t48
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enþrcement I4/hile the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct.22,2016,htTps:llwww.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/201 6/l0l22laea2bf8e-7f71-1 le6-8d13-
dic704ef9fd9 story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar.6,2017,
https://www.washingtonpost.corn/investigations/us-senator-calls-for-investigation-oÊdea-enforcement-
slowdown/2017103106/5846ee60-028b-11e7-ble9-a05d3c2lf/clstory.html;            Eric Eyre, DEA Agent: "We Had No
Leadership" in llV Amid Flood of Pøin Pil/s, Charleston Gazette-Mail, Feb. 18,201'7,
http://www.wvgazettemall.com/news/201702181dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
rae
     Lenny Bemstein eI al., How Drugs Intended þr Patients Ended Up in the Hands of Illegal Users: "No One l4/as
Doing Their Job," Wash. Post, Oct. 22,2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doingaheir-job/2016110122110e79396-30a7 -lle6-
8 ff7 -7b6c 1998b7a0_story.html.




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Given the sales volumes and the company's history of violations, this executive was either not

telling the truth, or, if Cardinal Health had such a system, it ignored the results.

        243. Similarly, Defendant McKesson publicly stated that                     it   has   a "best-in-class
controlled substance monitoring program to help identifu suspicious orders," and claimed                    it   is

"deeply passionate about curbing the opioid epidemic                   in our country."lsO       Again, given

McKesson's historical conduct, this statement is either false, or the company ignored ouþuts                     of

the monitoring program.

        244. By misleading the public about the effectiveness of their controlled                     substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the

existence    or   scope   of   Defendants' industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

        245. Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in

Plaintiff   s Community.

        246. The epidemic still      rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants,

pay fines as a cost of doing business in an industry that generates billions of dollars in annual

revenue. They hold multiple DEA registration numbers and when one facility is suspended, they

simply ship from another facility.

        247. The wrongful actions and omissions of the Distributor Defendants which                         have

caused the diversion      of opioids and which have been a substantial contributing factor to and/or

r50
    Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22,2016,https:llwww.washingtonpost.com/investigations/key-ofhcials-switch-sides-from-
dea-to-pharmaceutical-industry/2016112122155d2e938-c07b-11e6-b      527-949c5893595e-story.html.




                                                       90
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proximate cause       of the opioid crisis are alleged in            greater detail     in Plaintiffs     racketeering

allegations below.

         248. The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage         of a lack of DEA law            enforcement, and abused the privilege                  of

distributing controlled substances in the State and Plaintiff s Community.

             4.   The National Retail Pharmacies Were on Notice of and Contributed to Illegal
                  Diversion of Prescription Opioids

         249. National retail pharmacy chains eamed enofinous prof,rts by flooding the country

with prescription opioids.lsl They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors

and dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.

         250. Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

         25I. On information and belief, the National Retail                         Pharmacies distributed and

dispensed substantial quantities         of prescription opioids, including fentanyl, hydrocodone,                   and

oxycodone in the State.          In addition, they distributed and dispensed substantial quantities of

prescription opioids in other states, and these drugs were diverted from these other states to the

State. The National Retail Pharmacies failed to take meaningful action to stop this diversion

despite their knowledge of        it, and contributed substantially to the diversion problem.

         252. The National Retail Pharmacies developed and maintained extensive data on

opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

rsr The allegations contained in this Complaint are based, in part, on discovery that is in its infancy. Plaintiff does

not have access to transactional ARCOS data for lùy'isconsin. Accordingly, Plaintiff reserves its right to further
amend this complaint to add supporting allegations, claims and parties.




                                          9l
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knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in the State in particular. They used the data

to evaluate their own sales activities and workforce. On information and beliel the National

Retail Pharmacies also provided Defendants with data regarding, inter alia, indivídual doctors in

exchange for rebates or other forms of consideration. The National Retail Pharmacies' data is a

valuable resource that they could have used to help stop diversion, but failed to do so.

               a.   The National Retail Pharmacies Have a Duty to Prevent Diversion

       253. Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring and reporting suspicious activity.

       254. The National Retail Pharmacies, like manufacturers and other distributors,               are


registrants under the   CSA. 21 C.F.R. $ 1301.11. Under the CSA, pharmacy registrants are

required to "provide effective controls and procedures to guard against theft and diversion          of

controlled substances." See 21 C.F.R. $ 1301 .71(a).In addition,2l C.F.R. $ 1306.04(a) states,

"[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon

the prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills

the prescription." Because pharmacies themselves are registrants under the CSA, the duty to

prevent diversion lies with the pharmacy entity, not the individual pharmacist alone.

        255. The DEA, among others, has provided extensive guidance                 to     pharmacies

concerning their duties    to the public. The guidance      advises pharmacies how         to   identify

suspicious orders and other evidence of diversion.

        256. Suspicious pharmacy orders include orders of unusually large size, orders that          are


disproportionately large   in   comparison   to the population of a community        served     by   the




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pharmacy, ordors that deviate from a normal pattern and/or orders of unusual frequency and

duration, among others.

         257. Additional types of suspicious orders include: (1) prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

substances compared     to other practitioners in the area; (2) prescriptions which should last for   a


month    in   legitimate use, but are being refilled on     a   shorter basis; (3) prescriptions for

antagonistic drugs, such as depressants and stimulants, at the same time; (4) prescriptions that

look "too good" or where the prescriber's handwriting is too legible; (5) prescriptions with

quantities or doses that differ from usual medical usage; (6) prescriptions that do not comply

with standard abbreviations andlor contain no abbreviations; (7) photocopied prescriptions; or

(8) prescriptions containing different handwriting. Most of the time, these attributes are not

difficult to detect and should be easily recognizable by pharmacies.

         258. Suspicious pharmacy orders are red flags for if not direct evidence of diversion.

         259. Other signs of diversion   can be observed through data gathered, consolidated, and

analyzed   by the National Retail Pharmacies themselves. That data allows them to            observe

patterns or instances of dispensing that are potentially suspicious, of oversupply in particular

stores   or geographic areas, or of prescribers or facilities that seem to      engage   in improper
prescribing.

         260. According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

         26I.   Despite their legal obligations as registrants under the CSA, the National Retail

Pharmacies allowed widespread diversion to occur-and they did so knowingly.




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       262. Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. Under CVS's Metrics System, for

example, pharmacists are directed to meet high goals that make        it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy

or customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within ayear. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The policies remained in place even as the epidemic raged.

       263. Upon information and belief, this problem was compounded by the National Retail

Pharmacies'              to adequately train their pharmacists and pharmacy technicians on how to
              ,failure
properly and adequately handle prescriptions for opioid painkillers, including what constitutes a

proper inquiry into whether a prescription is legitimate, whether a prescription is likely for a

condition for which the FDA has approved treatments with opioids, and what measures and/or

actions to take when a prescription is identified as phony, false, forged, or otherwise illegal, or

when suspicious circumstances are present, including when prescriptions are procured and pills

supplied for the purpose of illegal diversion and drug trafficking.

        264. Upon information and belief, the National Retail Pharmacies also failed to

adequately use data available to them to identify doctors who were writing suspicious numbers

of prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

available to thern to do statistical analysis to prevent the filling of prescriptions that were

illegally diverted or otherwise contributed to the opioid crisis.

        265. Upon information       and   beliet the National Retail Pharmacies failed to analyze:    (a)


the number of opioid prescriptions filled by individual pharmacies relative to the population          of



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the pharmacy's community; (b) the increase in opioid sales relative to past years; (c) the number

of opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid          sales


relative to the increase in annual sales of other drugs.

        266. Upon information and belief, the National Retail Pharmacies also failed to conduct

adequate internal    or   external audits   of their opioid sales to identify patterns        regarding

prescriptions that should not have been filled and         to   create policies accordingly, or   if   they

conducted such audits, they failed to take any meaningful action as a result.

        267. Upon information and belief, the National Retail Pharmacies also failed to

effectively respond to concerns raised by their own employees regarding inadequate policies and

procedures regarding the filling of opioid prescriptions.

        268. The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they

were complying with their duties and obligations under the law with regard to controlled

substances.

                b. Muttiple Enforcement  Actions against the National Retail Pharmacies
                    Confìrm their Compliance Failures.

        269. The National Retail Pharmacies have long been on notice of their failure to abide

by state and federal law and regulations goveming the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for

their illegal prescription opioid practices. Upon information and belief, based upon the

widespread nature of these violations, these enforcement actions are the product       of   and confirm,

national policies and practices of the National Retail Pharmacies.




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                          i.   CVS

         270. CVS is one of the largest companies in the world, with annual revenue of more

than $150     billion. According to      news reports,     it   manages medications for nearly 90 million

customers at9,700 retail locations. CVS could be a force for good in connection with the opioid

crisis, but like other Defendants, CVS sought profits over people.

         271. CVS is     a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result        of a series of     investigations by the DEA and the United States

Department of Justice ("DOJ"). It nonetheless treated these fines as the cost of doing business

and has allowed its pharmacies to continue dispensing opioids in quantities significantly higher

than any plausible medical need would require, and to continue violating its recordkeeping and

dispensing obligations under the CSA.

         272. As recently      as   July 2011, CVS entered into a $5 million settlement with the U.S.

Attorney's Offrce for the Eastern District of California regarding allegations that its pharmacies

failed   to   keep and maintain accurate records             of   Schedule   II, III, IV,    and   V    controlled

substances. l 52

         213. This fine was preceded by numerous others throughout the country.

         274. In February 2016, CVS paid $8 million to settle allegations made by the DEA                      and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties

under the CSA and filled prescriptions with no legitimate medical purpose.ls3


rs2
    Press Release, U.S. Attorney's Ofhce E. Dist. of Cal., CVS Pharmacy Inc. Pays 85M to Settle Alleged Violations
of the Controlled Substqnce Act,IJ.S. Dep't of Just. (July I1,2017), https://www.justice.gov/usao-edca/prlcvs-
pharmacy-inc-pays-5m-settle-alleged-violations-controlled-substance-act.
ts3
    Press Release, U.S. Attorney's Office Dist. of Md., United States Reaches 88 Million Settlement Agreement with
CVSfor Unlawful Distribution of Controlled Substances, U.S. Dep't of Just. (Feb. 12,2016),
https://www justice.gov/usao-md/prlunited-states-reaches-8-million-settlement-agreement-cvs-unlawful-
distribution-controlled.




                                                        96
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        275. In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA.lsa

        276.      In   September 2016, CVS entered               into a     $795,000 settlement          with       the

Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access the

state's prescription monitoring program website and review a patient's prescription history

before dispensing certain opioid drugs.lss

        277   .   In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances-

mostly addictive painkillers-more than 500 times between                20ll   and20l4.I56

         278. In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney's

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island

stores violated the CSA by        filling invalid prescriptions and maintaining deficient records. The

United States alleged that CVS retail pharmacies in Rhode Island frlled a number of forged

prescriptions with invalid DEA numbers, and filled multiple prescriptions written by psychiatric

nurse practitioners for hydrocodone, despite the fact that these practitioners were not legally




rsa
   Press Release, U.S. Attorney's Office Dist. of Conn., CVS Pharmacy Pays 8600,000 to Settle Controlled
Substances Act Allegations, U.S. Dep't of Just. (Oct. 20, 2016), https://www.justice.gov/usao-ct/prlcvs-pharmacy-
pays-600000-settle-controlled-substances-act-alle gations.
rs5DiallmnDwyer, CVswillpaySTgs,000,strengthenpoliciesarounddispensingopioidsinagreementwithstate,
Boston.com (Sept. l, 2016), h@s://www.boston.com/news/local-newsl2}l6l09l}l/cvs-will-pay-795O0O-strengthen-
policies-around-dispensing-opioids-in-agreement-with-state.
156 Press Release, U.S. Attorney's Office Dist. of Mass., CTS to Pay 83.5 Million to Resolve Allegations that

Pharmacists Fitled Fake Prescriptions, U.S. Dep't of Just. (June 30,2016), htçs://wwwjustice.gov/usao-ma/prlcvs-
pay-35-million-resolve-allegations-pharmacists-hlled-fake-prescriptions.




                                                         97
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permitted      to   prescribe that           drug. Additionally, the goverlrment          alleged that CVS had
                                      I 57
recordkeeping defi ciencies.

           279. In May 2015, CVS agreed                 to pay a $22 million          penalty following a DEA

investigation that found that employees at two pharmacies                  in Sanford, Florida, had       dispensed

prescription opioids, "based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical tt".¿.r:158

           280. In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it frlled prescriptions written by a doctor whose controlled-substance registration had

expired.lse

           281. In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics               in at least five      locations   in the Oklahoma       City

metropolitan      area.160


           282. Dating back            to     2006, CVS retail pharmacies        in   Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA
                             I6   I
registration numbers.


rs?
      Press Release, U.S. Attorney's Office Dist. of R.L, Drug Diversion Claims Against CVS Health Corp. Resolved
With $450,000 Civil Settlement, U.S. Dep't of Just. (Aug. 10, 2015), https://www.justice.gov/usao-ri/prldrug-
diversion-claims-against-cvs-health-corp-resolved-45 0000-civil-settlement.
rs8
      Press Release, U.S. Attorney's Office M. Dist. of Fla., United States Reaches $22 Million Settlement Agreement
With CVS For Unlawful Distribution of Controlled       Substances, U.S. Dep't of Just. (May 13, 2015),
https://wwwjustice.gov/usao-mdfl/prlunited-states-reaches-22-million-settlement-agreement-cvs-unlawful-
distribution.
rse
   Patrick Danner, H-E-&, CVS Fined Over Prescriptions,San Antonio Express-News (Sept. 5,2014),
http://www.expressnews.com/business/locaVarticle/H-E-BCVS-frned-over-prescriptions-5736554.php.
too
      ¡1drew Knittle, Oklahoma phaftnocy board stays busy, hands out massivefines at times, NewsOK (May 3,
201 5), http://newsok.com/article/5 41 5840.




                                                           98
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                             ii.   Walgreens

           283. 'Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118                     billion.   According to its website, Walgreens

operates more than 8,100 retail locations and frlled 990                     million prescriptions on a 30-day

adjusted basis in fiscal 2017.

           284. Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement                  in DEA history-$8O million-to           resolve

allegations that       it   committed an unprecedented number                of   recordkeeping and dispensing

violations of the CSA, including negligently allowing controlled substances such as oxycodone

and other prescription painkillers to be diverted for abuse and illegal black market sales.162

           285. The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

            286. Walgreens' Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion             of   prescription opioids. Walgreens' Florida pharmacies each

allegedly ordered more than one million dosage units of oxycodone in 2011-more than ten

times the average amount.l63




r6t Press Release,U.S. Attorney's Office W. Dist. of Okla., CVS to Pay $11 Million To Settle Civil Penaþ Claims
Involving Violations of Controlled Substances Act, U.S. Dep't of Just. (Apr. 3,2013), https://www.justice.gov/usao-
wdok/prlcvs-pay- I I -million-settle-civil-penalty-claims-involving-violations-controlled.
162
      Press Release, U.S. Attorney's Office S. Dist.   ofFla., Walgreens AgreesTo Pay A Record Seltlement Of 880
Mitlion For Civil Penalties (Jnder The Controlled       Substances Act,U.S. Dep't of Just. (June ll,2013),
https://www.justice.gov/usao-sdfVpr/walgreens-agrees-pay-record-settlement-80-million-civil-penalties-under-
controlled.
163
      Order to Show Cause and Immediate Suspension of Registration, In the Matter of l(algreens Co. (Drug   Enft
Admin. Sept. 13,2012).




                                                              99
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            287. They increased their orders over time, in some       cases as much as 600%     in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to these

abuses. In fact, corporate attomeys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that        "if   these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliarce,"

underscoring W'algreens' attitude that profit outweighed compliance with the CSA or the health

of communities.l6a

            288. Defendant Walgreens' settlement with the DEA stemmed from the DEA's

investigation into Walgreens' distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion      in Florida. According to the Order to            Show Cause, Defendant

Walgreens' corporate headquarters pushed             to   increase the number       of   oxycodone sales to

'Walgreens'
                Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all          of its Florida stores by number of oxycodone           prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day.          All of these prescriptions were frlled by the Jupiter

Center.l6s

            289. Walgreens   has also settled   with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000).166


ßa    Id.
t6s
      Id.
166
   W'algreens to pay 8200,000 settlementfor lapses with opioids, APhA (Jan. 25,2017),
htçs://www.pharmacist.c om/afücle/walgreens-pay-200000-settlement-lapses-opioids.




                                                      100
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            290. The Massachusetts Attorney General's Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the

opioid use of some Medicaid patients who were considered high-risk.

            291. In January 2017, an investigation by the Massachusetts Attorney General found

that some Walgreens pharmacies failed to monitor patients' drug use pattems and did not use

sound professional judgment when dispensing opioids and other controlled substances-{espite

the context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.r6T

            292. Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.

            293. The litany   of   state and federal actions against the National Retail Pharmacies

demonstrate that they routinely, and as a matter of standard operating procedure, violated their

legal obligations under the CSA and other laws and regulations that govem the distribution and

dispensing of prescription opioids.

            294. Throughout the country and the State, the National Retail Pharmacies were or

should have been aware of numerous red flags of potential suspicious activity and diversion.

            295. On information    and belief, from the catbird seat of their retail pharmacy operations,

the National Retail        Pharmacies knew         or   reasonably should have known about the

disproportionate flow of opioids into the State and the operation of         "pill mills" that generated

opioid prescriptions that, by their quantity or nature, were red flags for if not direct evidence of

t67
      Id.




                                                     101
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illicit supply and diversion. Additional information was provided by news reports, and state and

federal regulatory actions, including prosecutions of pill mills in the area.

        296. On information and belief, the National Retail Pharmacies knew or reasonably

should have known about the devastating consequences of the oversupply and diversion of

prescription opioids, including spiking opioid overdose rates in Plaintiff s Community.

        297. On information and belief, because of (among others sources of information)

regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

against others pertaining to prescription opioids obtained from their retail stores, complaints and

information from employees and other agents, and the massive volume of opioid prescription

drug sale data that they developed and monitored, the National Retail Pharmacies were well

aware that their distribution and dispensing activities   fell far short of legal requirements.

        298. The National Retail Pharmacies' actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis in the State, including Plaintiff s Community, by enabling, and

failing to prevent, the diversion of opioids.

    D. THE MANUFACTURER DEFENDAIITS' UNLAWFUL FAILURE TO PREVENT
       DIVERSION AND MONITOR, REPORT, AND PREVENT SUSPICIOUS
        ORDERS.

         299. The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and Wisconsin law.

        300. Under Wisconsin and federal law, the Manufacturing Defendants were required to

comply with the same licensing requirements as the Distributor Defendants and the same rules

regarding prevention of diversion and reporting suspicious orders, as set out above.              ^See
                                                                                                         V/is.

Stat.   $ 450.01(24) ("'Wholesale      distributor' means      a person engaged in the wholesale

                                         r02
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distribution     of   prescription drugs, including manufacturers"); Wis. Admin. Code $$ Phar

13.02(12); Phar 13.17;Phar 12.05.

       301. Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA         to manufacture schedule          II   controlled substances, like prescription

opioids.   See   2l U.S.C. $ S23(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded
       therefrom into other than legitimate medical, scientific, research, or industrial
       channels, by limiting the importation and bulk manufacture of such controlled
       substances to a number of establishments which can produce an adequate and
       unintemrpted supply of these substances under adequately competitive conditions
       for legitimate medical, scientific, research, and industrial purposes . . . .

21 U.S.C. $ 823(aX1) (emphasis added).

       302. Additionally, as "registrants" under Section 823, the Manufacturer Defendants

were also required to monitor, report, and prevent suspicious orders of controlled substances

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. g      1301 .74. See   also   2l   C.F.R. $ 1301 .02 ("Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) orpart 1300 of this chapter.");21

C.F.R. $ 1300.01 ("Registrant means any person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958)." Like the Distributor Defendants, the

Manufacturer Defendants breached these duties.

       303. The Manufacturer Defendants had access to                    and possession of the information

necessary   to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying "chargebacks" to opioid distributors.



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A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer's product         at a price below a           specified rate. After        a   distributor sells       a


manufacturer's product to a pharmacy, for example, the distributor requests a chargeback from

the manufacturer and, in exchange for the payrnent, the distributor identifies to the manufacturer

the product, volume and the pharmacy to which                 it   sold the product. Thus, the Manufacturer

Defendants knew      - just as the Distributor Defendants knew -           the volume, frequency, and pattern

of opioid orders being placed and filled. The Manufacturer Defendants built receipt of this

information into the payment structure for the opioids provided to the opioid distributors.

          304. Federal statutes and regulations and Wisconsin law incorporating those

requirements    -   are clear: just like opioid distributors, opioid manufacturers are required to

"design and operate a system to disclose . . . suspicious orders of controlled substances" and to

maintain "effective controls against diversion." 21 C.F.R. $ 1301 .74;2I U.S.C. $ 823(aX1).

          305. The Department of Justice         has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating
                                  I 68
recordkeeping requirements.

          306. In the press release accompanying the settlement, the Department of Justice                  stated:

Mallinckrodt "did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid

epidemic. These suspicious order monitoring requirements exist to prevent excessive sales                        of

controlled substances, like oxycodone . . . . Mallinckrodt's actions and omissions formed a link

t68
    See Press Release, U.S. Dep't of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July I 1,2017),
https://wwwjustice.gov/opa/prlmallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders.




                                                        104
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in the chain of supply that resulted in millions of oxycodone pills being sold on the street. . . .

'Manufacturers and distributors have a crucial responsibility to ensure that controlled substances

do not get into the wrong hands. . .      .;>¡t6e


            307. Among the allegations resolved by the settlement, the government                      alleged

"Mallinckrodt failed        to design and implement an effective            system   to   detect and report

'suspicious orders' for controlled substances        -   orders that are unusual in their frequency, size, or

other       patterns     [and] Mallinckrodt supplied distributors, and the distributors then supplied

various U.S. pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills

without notifying DEA of these suspicious orders."l7o

            308. The Memorandum of Agreement entered into by Mallinckrodt (*2017 Mallinckrodt

MOA") avers "[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that             it review and monitor     these

sales and report suspicious orders to DEA."17I

             309. The 2017 Mallinckrodt MOA further details the DEA's allegations regarding

Mallinckrodt's failures to fulfill its legal duties as an opioid manufacturer:

             With respect to its distribution of oxycodone and hydrocodone products,
             Mallinckrodt's alleged failure to distribute these controlled substances in a
             manner authorized by its registration and Mallinckrodt's alleged failure to
             operate an effective suspicious order monitoring system and to report suspicious
             orders to the DEA when discovered as required by and in violation of 21 C.F.R.
             $ 1301 .14(b). The above includes, but is not limited to Mallinckrodt's alleged
             failure to:
                      i. conduct adequate due diligence of its customers;
                      ii. detect and report to the DEA orders of unusual size and frequency;
t6e
      1d. (quoting DEA Acting Administrator Chuck Rosenberg).
t70
      Id.
l7l Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 70,2017),
https://www.justice.gov/usao-edmilpress-release/hlel986026ldownload ("2017 Mallinckrodt MOA").




                                                         105
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                        iii.   detect and report to the DEA orders deviating substantially from normal
                               pattems including, but not limited to, those identified in letters from the
                               DEA Deputy Assistant Administrator, Office of Diversion Control, to
                               registrants dated September 27,2006 and December 27,2007:
                                 1. orders that resulted in a disproportionate amount of a substance which
                                      is most often abused going to a particular geographic region where
                                      there was known diversion,
                                 2.   orders that purchased a disproportionate amount of a substance which
                                      is most often abused compared to other products, and
                                 3.   orders from downstream customers to distributors who were
                                      purchasing from multiple different distributors, of which Mallinckrodt
                                      was a\¡/are;
                        iv.    use "chargeback" information from its distributors to evaluate suspicious
                               orders. Chargebacks include downstream purchasing information tied to
                               certain discounts, providing Mallinckrodt with data on buying patterns for
                               Mallinckrodt products; and
                        v.     take sufficient action to prevent recuffence of diversion by downstream
                               customers after receiving concrete information of diversion of Mallinckrodt
                               product by those downstream customers.l72

           310. Mallinckrodt           agreed that its "system to monitor and detect suspicious orders did not

meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27,2006 and December 27,2007." Mallinckrodt further

agreed that        it    "recognizes the importance         of the prevention of diversion of the          controlled

substances they manufacture" and would "design and operate                               a system that meets      the

requirements of 21 CFR 1301 .74(b)                   ...   fsuch that   it   would] utilize all available transaction

information to identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt

agrees      to notify DEA of any diversion and/or suspicious                          circumstances involving any

                                                                     I 73
Mallinckro dt controlled sub stances that Mallinckrodt di scovers. "




t72   2ol7 Mallinck¡odt MoA at 2-3
t73
      Id. at3-4.




                                                              106
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            311. Mallinckrodt acknowledged that "[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales            of

controlled substances to 'downstream' registrants." Mallinckrodt agreed that, from this data, it

would "report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion;tr74

            312. The same duties imposed by federal law on Mallinckrodt were imposed upon all

Manufacturer        D efendants.


            313. The    same business practices utilized by Mallinckrodt regarding "charge backs" and

receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.

            314. Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

            315. The Manufacturer Defendants failed to monitor, report,             and halt suspicious orders

of opioids       as required   by federal and state law.

            316. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about            it for years. Purdue's   sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors            to state medical boards or law enforcernent authorities (as

Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate

the high rate of diversion of OxyContin           -   the same OxyContin that Purdue had promoted as less


114
      Id. at 5




                                             t07
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addictive   -   in order to persuade the FDA to bar the manufacture and sale of generic copies of the

drug because the drug was too likely to be abused. In an interview with the Los Angeles Times,

Purdue's senior compliance officer acknowledged that in five years of investigating suspicious

pharmacies, Purdue failed to take action        -   even where Purdue employees personally witnessed

the diversion of its drugs. The same was true of prescribers; despite its knowledge of illegal

prescribing, Purdue did not report that a Los Angeles clinic prescribed more than 1.1 million

OxyContin tablets and that Purdue's district manager described it internally as "an organized

drug ring" until years after law enforcement shut         it down. In doing so, Purdue protected its own

profits at the expense of public health and safety.lTs

        3I7. Like      Purdue, Endo has been cited for its failure to set up an effective system for

identiffing and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require             sales representatives    to report signs of    abuse,


diversion, and inappropriate prescribing; paid bonuses              to   sales representatives    for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused

them to be placed on a no-call list.

        318. The Manufacturer Defendants'failures to monitor, report, and halt suspicious

orders of opioids were intentional and unlawful.

        319. The Manufacturer Defendants have misrepresented their compliance with federal

and state law.




175
   Harriet Ryan et al., More Than I Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts.   lïhat
the Drugmaker Knew, L.A. Times, July 10, 2016,http:llwww.latimes.com/projects/1a-me-oxycontin-part2/.




                                                       108
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             320. The Manufacturer Defendants enabled the supply                     of prescription opioids           to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

criminal activity, and disseminated massive quantities of prescription opioids into the black

market.

             321. The wrongful actions and omissions of the Manufacturer Defendants which have

caused the diversion          of opioids and which have been a substantial contributing factor to and/or

proximate cause           of the opioid crisis are alleged in         greater detail.in Plaintiffls racketeering

allegations below.

             322. The Manufacturer Defendants' actions and omissions in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

unlawful diversion of opioids into Plaintiff            s   Community.

       E. DEFENDANTS' UNLAWFUL CONDUCT AND BREACHES OF LEGAL
          DUTIES CAUSED THE HARM ALLEGED IIEREIN AND SUBSTAIITIAL
             DAMAGES.

             323. As the Manufacturer Defendants' efforts to             expand the market for opioids increased

so have the rates of prescription and sale of their products                      and the rates of opioid-related
                                                                              -
substance abuse, hospitalization, and death ¿ìmong the people                     of the State and the Plaintiff        s


Community. The Distributor Defendants have continued                         to unlawfully ship       these massive

quantities of opioids into communities like the Plaintiff s Community, fueling the epidemic.

              324. There is a "parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes."176



t76
      See   Richard C. Dart elal., Trends in Opioid Analgesic Abuse qnd Mortality in the United Stqtes,372 N. Eng. J
M.ed.24r (2015).




                                                             109
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           325. Opioid analgesics are widely diverted                      and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.lTT

           326. The epidemic is "directly related to the increasingly widespread misuse of powerful
                                         I 78
opioid pain medications."

           327. The increased abuse of prescription painkillers along with growing sales                              has


contributed to a large number of overdoses and deaths.lTe

           328. As shown above, the opioid epidemic has escalated in Plaintiff s Community with

devastating effects. Substantial opiate-related substance abuse, hospitalization and death mirrors

D   efendants' increased di stribution             o   f opi ates.

           329. Because of the well-established relationship between the use of prescription opiates

and the use         of non-prescription opioids, like heroin, the massive distribution of opioids                       to

Plaintiff s Community and areas from which such opioids are being diverted into Plaintiffs

Community, has caused the Defendant-caused opioid epidemic to include heroin addiction,

abuse, and death.

           330. Prescription opioid              abuse, addiction,         morbidit¡   and mortality are hazards to public

health and safety in the State and in Plaintifls Community.

           331. Heroin       abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in Plaintiff s Community.




r77
   See Nora D. Volkow & A. Thomas Mclellan, Opioid Abuse in Chronic Pain-Misconceptions and Mitigation
Stategies,374 N. Eng. J. Med. 1253 (2016).
r78
      See Robert   M. Califf et   al.,   A Proactive Response to Prescription Opioid Abuse,374N. Eng. J. Med. 1480
(2016).
t'Ie
     See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human Servs.,
Prescription Painkiller Overdoses at Epidemic Levels (Nov. l, 2011),
https ://www. cdc. gov/media/releases/2 0 I I /p 1 I 0 I u¡rain killer overdose.htrnl'
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        332. Defendants repeatedly and purposefully breached their duties under state and

federal law, and such breaches are direct and proximate causes of and/or substantial factors

leading to, the widespread diversion of prescription opioids for nonmedical purposes into the

Plaintiffls Community.

        333. The unlawful diversion of prescription opioids is a direct and proximate cause of,

andlor substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and Plaintiff s Community. This diversion and the epidemic

are direct causes of foreseeable harms incurred by the Plaintiff and          Plaintiff   s Community.


        334. Defendants' intentional andlor unlawful conduct resulted in direct and foreseeable,

past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein.

Plaintiff also seeks the means to abate the epidemic created by Defendants' wrongful and/or

unlawful conduct.

        335. Plaintiff seeks economic damages from the Defendants as reimbursement for the

costs associated with past efforts to eliminate thehazards to public health and safety.

        336. Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate lhe hazards to public health and safety and abate the temporary public

nulsance.

        337   .   To eliminate thehazard to public health and safety, and abate the public nuisance, a

"multifaceted, collaborative public health and law enforcement approach is urgently needed."l8O




r80 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose   Deaths-United   States, 2000-2014,64
Morbidity & Mortality V/kly. Rep. 1378 (2016), at 1145.




                                                      lll
        Case 2:18-cv-01087-PP Filed 07/16/18 Page 116 of 318 Document 1
           338. A comprehensive response to this crisis must focus on preventing new                     cases   of

opioid addiction, identiffing early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain.rsr

           339. These community-based problems require community-based solutions that                         have

been limited by "budgetary constraints at the state and Federal levels."l82

           340. Having profited enormously through the aggressive sale, misleading promotion,

and irresponsible distribution of opiates, Defendants should be required to take responsibility for

the financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff s Community.

     F.    DEFENDANTS' FRAUDULENT AND DECEPTIVE MARKETING OF OPIOIDS
           DIRECTLY CAUSED HARM TO THE PLAINTIFF.

           341. In the first instance, Plaintiff was damaged directly, through its payments of false

claims for chronic opioid therapy by (a) its partially self-insured health care plans and (b) its

workers' compensation program.

           342. The Defendants' marketing of opioids          caused health care providers to prescribe and

Plaintiff, through its health plans and workers' compensation program, to pay for prescriptions of

opioids to treat chronic pain. Because of the Defendants' unbranded marketing, health care

providers wrote and Plaintiff paid for prescription opioids for chronic pain that were filled not

only with their drugs, but with opioids sold by other manufacturers. All of these prescriptions

were caused by Defendants' fraudulent marketing and therefore all of them constitute false

claims. Because, as laid out below, Plaintiff is obligated               to cover medically       necessary and

reasonably required care, it had no choice but to pay these false and fraudulent claims.

t&t 5uu JohnsHopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research./prescription-opioids/JHSPH_OPlolD EPIDEMIC_REPORT.pdf.
r82 ,See
       Office of Nat'l Drug Control Policy, Exec. Ofhce of the President, Epidemic: Responding to Americq's
Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/n<_abusellan.pdf.




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            343. The fact that Plaintiff would pay for these ineligible prescriptions is both the

foreseeable and intended consequence                of the Defendants' fraudulent marketing             scheme. The

Defendants set out         to change the medical and general             consensus supporting chronic opioid

therapy so that doctors would prescribe and government payors, such as Plaintiff, would pay for

long-term prescriptions of opioids to treat chronic pain despite the absence of genuine evidence

supporting chronic opioid therapy and the contrary evidence regarding the significant risks and

limited benefits from long-term use of opioids.

       1.   Increase in Opioid Prescribing Nationally

            344. Defendants' scheme to change the medical consensus regarding opioid therapy for

chronic pain worked. During the year 2000, outpatient retail pharmacies filled 174 million

prescriptions for opioids nationwide. During 2009, they provided 83 million more.

            345. Opioid prescriptions increased even           as the percentage     of patients visiting the doctor

for pain remained constant.

            346.   A   study   of 7.8 million doctor visits      between 2000 and 2010 found that opioid

prescriptions increased          from Il.3% to 19.6% of visits, as NSAID and acetaminophen
prescriptions fell from 38% to 29Yo, driven primarily by the decline in NSAID prescribing.r83

            347. Approximately         20o/o   of the population between the ages of 30             and 44 and nearly

30Yo     of the population over 45 have used opioids. Indeed, "fo]pioids are the most                        common

means of treatment for chronic pain."l84 From 1980                   to 2000, opioid prescriptions for chronic

pain visits doubled. This is the result not of an epidemic of pain, but an epidemic of prescribing.

A study of 7.8 million doctor visits found that prescribing for pain increased by 73% between

r83
  Mattlrew Daubress eI al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United Stqtes,200O-
2010, 5l (10) Med. Care 870 (2013).
r8a
      Deborah Grady et al., Opioíds   for Chronic Pain, 17l (16) A¡ch. Intem. Med.   1426 (201l).




                                                           113
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2000 and 2010    - even though the number of office visits in which patients         complained of pain

did not change and prescribing of non-opioid pain medications decreased. For back pain alone            -
one of the most common chronic pain conditions          -   the percentage of patients prescribed opioids

increased   from lgYo to      29%o   between 1999 and 2010, even as the use              of NSAIDs     or

acetaminophen declined and referrals to physical therapy remained steady.

        348. This increase coresponds with, and was caused by, the Defendants' massive

marketing push. The industry's spending nationwide on marketing of opioids stood at more than

$20 million per quarter and $91 million annually in 2000. By 2011, that f,rgure hit its peak           of

more than $70 million per quarter and $288 million annually, a more than three-fold increase. By

2014, the figures dropped to roughly $45 million per quarter and $182 million annually, as the

Defendants confronted increased concern regarding opioid addiction, abuse, and diversion. Even

so, the Defendants   still spend double what they spent in 2000 on opioid marketing.

         349. By far the largest component of this spending was opioid drug makers' detailing

visits to individual doctors, with total detailing expenditures more than doubling between 2000

and2014 and now standing at $168 million annually.

   2. Plaintiff s Increased
                          Spending on Opioids through Self-Insured llealth Care Plans
         and Worker's Compensation Program

         350. Commensurate with the Defendants' heavy promotion of opioids and the resultant

massive upswing in prescribing of opioids nationally, on information and belief, Plaintiff has

seen   its own spending on opioids     -   through claims paid by its health care plans and worker's

compens ation pro gram   -   increase dramatically.

            i.   Health Care Plans

         351. Plaintiff provides comprehensive health care benefits to its employees         and retirees,

including prescription drugs benefits to age-eligible employees and retirees. These benefits are



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provided under one health plan that Plaintiff partially selÊinsures, including a preferred provider

organization ("PPO") for employees and retirees.

        352. The prescription drug plan under the PPO is self-insured: the costs of prescription

drugs are paid directly by Plaintiff.

        353. Throughout the relevant time period for this action, the PPO's prescription drug

costs have been paid by Plaintiff.

        354. Doctors submit claims directly to Plaintiff s applicable health plan for their            costs

associated with prescribing opioids, including office visits and toxicology screens for patients

prescribed opioids. In addition, prescriptions for opioids written by these doctors for patients

covered by Plaintiff s partially selÊinsured health plans are filled by pharmacies, which submit

claims for reimbursement to Plaintiff s pharmacy benefit manager.

        355. Plaintiffs applicable health plans provide benefits for "medically                  necessary"

services associated with opioids, including treatment related             to any adverse outcomes from

chronic opioid therapy, such as overdose or addiction treatment.

        356. The Defendants caused doctors and pharmacies to submit, and Plaintiff to pay,

claims to its health plans that were false by: (a) causing doctors to write prescriptions for chronic

opioid therapy based on deceptive representations regarding the risks, benefits, and superiority            of

those drugs; (b) causing doctors to certify that these prescriptions and associated services were

medically necessary; (c) causing claims to be submitted for drugs that were promoted for off-

label uses and misbranded, and therefore not FDA-approved; and (d) distorting the standard                  of

care for treatment    of chronic pain so that doctors would feel not only that it was appropriate, but

required, that they prescribe and continue prescriptions for opioids long-term to treat chronic

pain. Each   -   or any   -   of these factors made claims to Plaintiff for chronic opioid therapy false.




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         357. Plaintiffs partially self-insured health plans only cover the cost of prescription

drugs that are medically necessary and dispensed for a FDA-approved purpose. Prescriptions

drugs that are not medically necessary or that are dispensed for a non-FDA approved purpose are

expressly excluded from coverage under Plaintiff s plans. Generally, under any PPO plan, a

medically necessary prescription is one which is "customary for the treatment or diagnosis of an

illness or injury, and is consistent with generally accepted medical standards."

         358. Doctors who care for Plaintiff employees and retirees and their dependents           are


bound by the provider agreements that entitle them to participate       in Plaintiff s health plans.

These agreements generally permit doctors       to charge only for treatments that are medically

necessary.

         359. Plaintiff is obligated to pay for the medically necessary treatment of covered

employees.

         360. In prescribing opioids for chronic pain, doctors certify that the treatment is

medically necessary and the drugs dispense for an FDA approved purpose, and          -   at least with

respect to the self-insured plans (the PPO)   - the health plans authorize payment from Plaintiff s
funds.

         361. As described above, the use of opioids to treat chronic pain is not "in accordance

with generally accepted standards of medical practice" nor "clinically appropriate . .         .   and

considered effective for the patient's illness, injury or disease."

         362. Further, the Defendants' deceptive marketing rendered opioids misbranded as

prescribed for chronic pain because they were false and misleading and because, by minimizing

the risks associated with the drugs, they did not contain adequate directions for use. The written,

printed, or graphic matter accompanying the Defendants' drugs did not accurately describe the




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risks associated with long-term use of their products, rendering them misbranded. Due to this

misbranding, the Defendants' opioids were not FDA-approved, within the meaning of Plaintiff          s


health plans, for the long-term treatment of chronic pain.

         363. For   each and all   of the reasons above, chronic opioid therapy and its attendant and

consequential costs are not eligible for reimbursement through Plaintiff s health plan. Plaintiff

would not have knowingly reimbursed claims for prescription drugs that were not eligible for

coverage.

         364. As a result of the Defendants' deceptive marketing, Plaintiff s patients who       used

opioids long-term to treat chronic pain also incurred additional costs and suffered additional

injuries requiring caÍe) including doctors' visits, toxicology screens, hospitalization for

overdoses, treatment and other adverse effects         of opioids, and long-term disability,   among

others, which caused Plaintiff to incur additional costs.

         365. The costs incurred by Plaintiff include, but are not limited to, doctor visits, which

would also be included with these prescriptions. This includes prescriptions that also were

caused   by Defendants' deceptive marketing, including prescriptions for Defendants' generic

opioid products and prescriptions for opioids from other manufacturers. These figures do not

reflect the cost to Plaintiff of prescribing opioids, such as doctors' visits or toxicology screens, or

the costs of treating the adverse effects of prescribing opioids long-term, such as overdose and

addiction. They also do not reflect the total damages for all years to Plaintiff which will be

determined at trial, and which      will include costs to the health plan for the treatment of opioid

abuse and dependency.




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         366. The claims      - and the attendant and consequential costs - for opioids prescribed for
chronic pain, as opposed to acute and cancer or end-of-life pain, were ineligible for payment and

the result of the Defendants' deceptive and unfair conduct.

          ü.     Workers' Compensation Programs

         367. Plaintiff, through apafüally selÊinsured progfam under Wis. Stats. $$ 102.28(2Xb)

and 102.28(2)(bm), provides workers' compensation, including prescription drug benefits, to

eligible employees injured in the course of their employment. When an employee is injured on

the job, he or she may    file a claim for workers' compensation, and if the injury is deemed work-

related, Plaintiff is responsible for paying its share of the employee's medical costs and lost

wages.

         368. Plaintiff uses a third-party pharmacy benefit manger to help manage medical

benefits under the workers' compensation program. Doctors submit claims to Plaintiff s workers'

compensation program for the costs associated with prescribing opioids, including office visits

and toxicology screens for patients prescribed opioids.

         369. Upon information and belief, Plaintiffls third-party pharmacy benefit manger uses a

pharmacy and drug utilization management program to manage prescriptions for Plaintiffls

workers' compensation program.

         370. Plaintiff   s   workers' compensation program covers all costs associated with opioids,

including treatment related to any adverse outcomes from chronic opioid therapy, such                 as


addiction treatment.

         37I.   The Defendants cause doctors and pharmacies to submit, and Plaintiff to pay claims

to its workers'     compensation program that were false          by: (a)   causing doctors   to   write

prescriptions for chronic opioid therapy based on deceptive representations regarding the risks,

benefits, and superiority of those drugs; (b) causing doctors to certify that these prescriptions and


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associated services were medically necessary; (c) causing claims to be submitted for drugs that

were promoted for off-label uses and misbranded, and therefore not FDA-approved; and (d)

distorting the standard of care for treatment of chronic pain so that doctors would feel not only

that   it was appropriate, but required, that they prescribe and continue prescriptions for    opioids

long-term to treat chronic pain. Each    -   or any   -   of these factors made claims to Plaintiff for

chronic opioid therapy false.

         372. In prescribing opioids for chronic pain, doctors certify that the treatment is

medically necessary and reasonably required, and the workers' compensation program authorizes

payment from Plaintiff funds.

          373. Plaintiffs workers' compensation program is obligated to cover all "medically

necessary" and "reasonably required" treatment arising from a compensable work-related injury.

          374. As described above, however, the use of opioids to treat chronic pain is not

medically necessary or reasonably required in that their risks do not materially exceed their

benefits; they do not improve physiological function; and their use is not consistent with

guidelines that are scientifically based (as opposed to marketing driven).

          375. Nevertheless, the amount of such prescriptions paid by worker's compensation

programs is monumental. A study of the National Council on Compensation Insurance ("NCCI")

concluded that, in 2011, approximately 38o/o of pharmacy costs in workers' compensation are for

opioids and opioid combinations, amounting to approximately $1.4 billion.

          376. Upon information and belief, those trends are reflected in Plaintiffs experience

with paying for opioids through its worker's compensation plan.




                                                  119
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       377. Plaintiff incurred costs     associated   with prescribing opioids, such as doctors' visits

or toxicology screens, or the costs of treating the adverse effects of prescribing opioids long-term

such as overdose and addiction.

        378. However, the costs of long-term opioid use are not limited to costs of opioid

prescriptions. Long-term opioid use is accompanied by a host of consequential costs, including

costs related to abuse, addiction, and death.

        379. These claims - and their attendant and consequential costs         - for opioids prescribed
for chronic pain,   as opposed   to acute and cancer or end-of-life pain, were ineligible for payment

and the result of the Defendants' fraudulent scheme.

         iii.    Plaintiff   s Increased Costs   Correlate with the Defendants' Promotion.

       380. Upon information and belief, a review              of Plaintifls    costs related   to   opioid

prescriptions, and the costs associated with those prescriptions,     will   show that as the Defendants

spent more to promote their drugs, doctors began prescribing them more often and as a result, the

costs to Plaintiff went up.

        381. It is also distressing (and a sign of further problems      ahead) that the drop   in opioid

prescribing beginning        in 2014 has been accompanied by a coresponding             increase     in the
Defendants' promotional spending, which is headed towards a new high, despite evidence of the

grave toll that opioids are taking on law enforcement, public health, and individual lives.

        382.    The Plaintiff asserts that each Defendant made misrepresentations                        or

misrepresentation by omission of material facts by their employees, agents, or co-conspirators to

prescribing physicians who then wrote opioid prescriptions              for which the Plaintiff paid.

Furthermore, the Plaintiff asserts that specific details about the names of the employees, agents,

or co-conspirators, the substance of the misrepresentations or omissions, the time and date and

location of said misrepresentations or omissions, and the names of the prescribing physicians


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who were exposed to each Defendants' misrepresentations or omissions were closely tracked by

the Defendants, are        in the exclusive possession of the Defendants   and Plaintiff reasonably

believes that such information will be disclosed in discovery

   G. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDA¡ITS ARE
      ESTOPPED FROM ASSERTING STATUTES OF LIMITATIONS AS
        DEFENSES.

                1.   Continuing Conduct.

        383. Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.

        384. The continued tortious and unlawful conduct by the Defendants        causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated. The conduct causing the damages remains

unabated.

                2.   Equitable Estoppel.

        385. Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceive Plaintiff and to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the State, the Plaintift and

Plaintiff   s   Community, that they were undertaking efforts to comply with their obligations under

the state and federal controlled substances laws, all with the goal of protecting their registered

manufacturer         or   distributor status   in the State and to    continue generating profits.

Notwithstanding the allegations set forth above, the Defendants affirmatively assured the public,

including the State, the Plaintiff, and Plaintiff s Community, that they are working to curb the

opioid epidemic.


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           386. For example,         a Cardinal Health executive claimed that   it uses "advanced analytics"

to monitor its supply chain, and assured the public it was being "as effective and efficient                  as


possible in constantly monitoring, identifying, and eliminating any outside criminal activity."lss

            387. Similarly, McKesson publicly         stated that it has a "best-in-class controlled substance

monitoring program to help identify suspicious orders," and claimed                 it is "deeply passionate
about curbing the opioid epidemic in our country."l86

            388. Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA                         and

NACDS, filed an amicus brief                 in   Masters Pharmaceuticals, which made the following

statements:187

            a. "HDMA and NACDS               members not only have statutory and regulatory
                 responsibilities to guard against diversion of controlled prescription drugs, but
                 undertake such efforts as responsible members of society."

            b.   "DEA regulations that have been in place for more than 40 years require distributors
                 to report suspicious orders of controlled substances to DEA based on information
                 readily available to them (e.g., a pharmacy's placement of unusually frequent or large
                 orders)."

            c.   "Distributors take seriously their duty to report suspicious orders, utilizing both
                 computer algorithms and human review to detect suspicious orders based on the
                 generalized information that is available to them in the ordering process."

            d. "A particular   order or series oforders can raise red flags because ofits unusual size,
                 frequency, or departure from typical pattems with a given pharmacy."

            e.   "Distributors also monitor for and report abnormal behavior by pharmacies placing
                 orders, such as refusing to provide business contact information or insisting on paying
                 in cash."


r85
      Bernstein et al., suprø, note 149.
t86
   Scott Higham et al., Drug Industry Hired Dozens of Offìcials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22,2016,hÍtps:llwww.washingtonpost.com/investigations/key-ofhcials-switch-sides-from-
dea-to-pharmaceutical-industry/2016112122155d2e938-c07b-1 le6-b527-949c5893595e_story.html.
r87
      Brief for HDMA    and NACDS, 2016    WL 1321983, at*3-4, *25.




                                                         122
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Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

        389. The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database that will confirm their identities and the

extent of their wrongful and illegal activities.

        390. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

Defendants invented "pseudoaddiction" and promoted it to an unsuspecting medical community.

The Manufacturer Defendants provided the medical community with false and misleading

information about ineffectual strategies to avoid or control opioid addiction. The Manufacturer

Defendants recommended        to the medical       community that dosages be increased, without

disclosing the risks. The Manufacturer Defendants spent millions of dollars over a period        of

years on a misinformation campaign aimed at highlighting opioids' alleged benefits, disguising

the risks, and promoting sales. The medical community, consumers, the State, and Plaintiffs

Community were duped by the Manufacturer Defendants' campaign to misrepresent and conceal

the truth about the opioid drugs that they were aggressively pushing in the State and in Plaintiff   s


Community.

        391. Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff and Plaintiff s Community. Plaintiff and Plaintiff s Community did not

know, and did not have the means to know, the truth due to Defendants' actions and omissions.




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           392. The Plaintiff and Plaintiffs Community reasonably relied                     on Defendants'
affirmative statements regarding their purported compliance with their obligations under the law

and consent orders. To the extent statutes of limitations could apply to         Plaintiff   s claims,   Plaintiff

failed to commence an action within the statutory periods because of reliance on Defendants'

wrongful conduct.

           393. Defendants are estopped from asserting a statute of limitations defense                  because

their conduct and misrepresentations were so unfair and misleading as to outweigh the public's

interest in setting limitations on bringing actions.

           394. The purposes of the statutes of limitations period,         if   any, are satisfied because

Defendants cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly

upon discovering the facts essential to its claims, described herein, which Defendants knowingly

concealed.

               3.   Tolling by Discovery.

           395. In Wisconsin, the "discovery rule" is generally applicable to all torts unless there is

a clear statutory    prohibition to its application. Under the discovery rule, the statute of limitations

does not begin to run      until the nature of the injury and the cause of the injury are discovered.lss

As noted above, in this case, the Plaintiff did not know (and did not have the means to know) the

cause     of its injuries or Defendants' part in that cause. Plaintiff did not know that Defendants

engaged in conduct that caused its injuries prior to the expiration of any statute of limitations.

                                 v     LEGAL CAUSES OF ACTION
                                              COUNT I
                                         PUBLIC NUISANCE
                                        (Against all Defendants)


188
      Stuart v. Weisflog's Showroom Gallery, Inc.,2008WI22,II 16-17, 308 Wis. 2d 103,746 N.W.2d 762; Hansen
v. A.H. Robins,   Inc., ll3 Wis. 2d 550, 560, 335 N.W.2d 578 (1983),




                                           t24
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           396. Plaintiff incorporates by reference all other paragraphs of this Complaint              as   if fully

set forth here, and further alleges as follows.

           397. Each Defendant is liable for public nuisance because its conduct at issue has caused

an uffeasonable and substantial interference             with   a   right common to the general public, which is

the proximate cause of, andlor substantial factor leading to, Plaintifls injury.                 ,See Restatement


Second, Torts $ 821B.. See also Physicians Plus Ins. Corp. v. Midwest Mut. Ins. Co.,2002 WI

80, tifl   2l n.75,254   Wis. 2d17,646 N.W.2d777 (Wisconsin definition of nuisance is consistent

with the definition in the Restatement); Milwaukee Metro. Sewerage Dist. v. City of Milwaukee,

2005 WI 8, 1ll 28-29, 277 V/is. 2d 635, 691 N.W.2d 658 (quoting Restateme¡t 2d of Torts

$ 321B as simply a different way of stating Wisconsin's definition of "public nuisance").

           398. Under Wisconsin law,        a nuisance is "a condition or activity which substantially or

unduly interferes with the use of a public place or with the activities of an entire community."

Physicians Plus Ins. Corp., 2002 WI 80,           1T   21.

           399. Wisconsin law further declares that repeated violations of criminal statutes may be

deemed a per se public nuisance subject to an abatement action. Stqte v. H. Samuels Co., 60 Wis.

2d 631, 637-38,21        1 N.W.2   d 417 (1973) ("If the public is injured in its civil or property rights or

privileges or in respect to public health to any degree, that is sufficient to constitute a public

nuisance").

           400. Violations of the Wisconsin Uniform Controlled                  Substances   Act constitute public

nuisances under Chapter 823 of the Wisconsin Statutes. Wis. Stat. $ 961.53.

            401. Defendants have created      a   public nuisance under Wisconsin law.

            402. The opioid epidemic is a public nuisance in Waukesha County because of its

widespread impact on public health and safety.               ,S¿e   Wis. Stat. $ 961.001(1m) ("The manufacture,




                                                             125
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distribution, delivery, possession and use       of controlled    substances   for other than legitimate

purposes have a substantial and detrimental effect on the health and general welfare of the people

of this state.").

         403. Plaintiff has standing to bring claims for nuisance due to the opioid epidemic

affecting and causing harm in Plaintiff s Community. See Wis. Stat. $ 823.01.

         404. Defendants have created and maintained               a public    nuisance   by   marketing,

distributing, and selling opioids     in ways that unreasonably interfere with the public          health,

welfare, and safety     in Plaintiffs   Community, and Plaintiff and the residents         of Plaintiffs

Community have a common right to be free from such conduct and to be free from conduct that

creates a disturbance and reasonable apprehension ofdanger to person and property.

         405. By causing dangerously addictive drugs to flood the community, and to be diverted

for illicit purposes, in contravention of federal and state law, each Defendant has injuriously

affected rights coÍlmon to the general public, specifically including the rights of the people of

the Plaintiffs Community to public health, public safety, public peace, public comfort, and

public convenience. The public nuisance caused by Defendants' marketing and diversion of

dangerous drugs has caused substantial annoyance, inconvenience, and injury to the public.

         406. Defendants have created and maintained an absolute public nuisance through their

ongoing conduct of marketing, distributing, and selling opioids, which are dangerously addictive

drugs, in a manner which caused prescriptions and sales of opioids to skyrocket in Plaintiff             s


Community flooded Plaintiffs Community with opioids, and facilitated and encouraged the

flow and diversion of opioids into an illegal,            secondary market, resulting     in   devastating

consequences to     Plaintiff and the residents of Plaintiff   s Community




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        407. Defendants intentionally, unreasonably, and/or unlawfully deceptively marketed

and pushed as many opioids onto the market as possible, fueling addiction to and diversion          of

these powerful narcotics, resulting    in increased addiction and abuse, an elevated level of crime,

death and injuries to the residents of Plaintiff s Community, a higher level of fear, discomfort

and inconvenience to the residents of Plaintiff s Community, and direct costs to Plaintiff and

Plaintiff   s Community.

        408. By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a course of conduct that injuriously

affects the safety, health, and morals of the people of the Plaintiff s Community.

        409. The Manufacturing Defendants intentionally and unreasonably engaged                  in   a


deceptive marketing scheme that was designed to, and successfully did, change the perception           of

opioids and cause their prescribing and sales to skyrocket in Plaintiffls Community.

        410. The Manufacturing Defendants intentionally and unreasonably misled Plaintiff,

healthcare providers, and the public about the risks and benefits of opioids, including minimizing

the risks of addiction and overdose and exaggerating the purported benefits of long-term use           of

opioids for the treatment of chronic pain.

        4ll.      The Manufacturing Defendants violated Wisconsin and federal statutes and

regulations, including the controlled substances laws, by engaging in the deceptive marketing          of

opioids, as described in this Complaint.

        412. By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for    illicit purposes,   Defendants injuriously affected public rights, including the

right to public health, public safety, public peace, and public comfort of the people of the

Plaintiff   s   Community.




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        413. Plaintiff alleges that Defendants' wrongful and illegal actions have created   a   public

nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

unreasonable interference   with a right common to the general public.

        4I4.   The Defendants have intentionally and/or unlawfully created a public nuisance that

substantially and unduly interferes with the activities of Plaintiff s entire community.

        415. The residents of Plaintiffs Community have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety, and to be

free from conduct that creates a disturbance and reasonable apprehension ofdanger to person and

property.

        416. Defendants are in the business of manufacturing, marketing, and/or distributing

prescription drugs, including opioids, which are specifically known           to   Defendants   to   be

dangerous because, inter alia, these drugs are defined under federal and state law as substances

posing a high potential for abuse and addiction.

        4I7. Defendants intentionally, unlawfully, and recklessly manufacture,               market,

distribute, and sell prescription opioids that Defendants know, or reasonably should know, will

be diverted, causing widespread distribution of prescription opioids in andlor to Plaintiffs

Communit¡ resulting in addiction and abuse, an elevated level of crime, death and injuries to the

residents of Plaintiff s Community, a higher level of fear, discomfort and inconvenience to the

residents of Plaintiff s Community, and direct costs to Plaintiff s Community.

        418. Defendants have unlawfully and/or intentionally caused and permitted          dangerous

drugs under their control to be diverted such as to injure the Plaintiffs Community and its

residents.




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        419. Defendants have unlawfully and/or intentionally distributed opioids or          caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

was   illegal.   Defendants' failures   to maintain effective controls against diversion include
Defendants' failure to effectively monitor for suspicious orders, report suspicious orders, andlor

stop shipment of suspicious orders.

        420. Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

and reasonable apprehension ofdanger to person or property.

        421. Defendants' conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally in Plaintiff s Community

is of a continuing nature.

        422. Defendants had control over their conduct       in Plaintiffs   Community and that

conduct has had an adverse effect on rights common to the general public. The Manufacturing

Defendants controlled their deceptive advertising and efforts to mislead the public, including

their acts and omissions in detailing by their sales representatives, online communications,

publications, Continuing Medical Education programs and other speaking events, and other

means described in this Complaint. Defendants had control over their own shipments of opioids

and over their reporting, or lack thereof,    of suspicious prescribers and orders.   Each   of   the

Defendants controlled the systerns they developed to prevent diversion, including the criteria and

process they used to   identiff suspicious orders, whether and to what extent they trained their

employees to report and halt suspicious orders, and whether they filled orders they knew or

should have known were likely to be diverted or fuel an illegal market.




                                        r29
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          423. Defendants' actions have been      of a   continuing nature and have produced          a


significant effect upon the public's rights, including the public's right to health and safety.

         424. A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiffls Community and the State is a public nuisance.

          425. Defendants' distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

         426. Defendants' ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow andlor cause to be illegally distributed and possessed           in Plaintiffls

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

         427. Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension ofdanger to person and property.

          428. Defendants know, or reasonably should know, that their conduct            will   have an

ongoing detrimental effect upon the public health, safety and welfare, and the public's ability to

be free from disturbance and reasonable apprehension ofdanger to person and property.

          429. Defendants know,      or   reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public's ability to

be free from disturbance and reasonable apprehension ofdanger to person and property.

          430. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff s Community. Defendants are

in the business of       manufacturing, marketing, selling, and distributing prescription drugs,

including opioids, which are specifically known to Defendants to be dangerous under federal and

state   law.   See, e.g.,21 U.S.C. $ 812 (bX2).




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         431. Defendants' conduct in marketing, distributing, and selling prescription opioids

which the defendants know, or reasonably should know,              will likely be diverted for non-
legitimate, non-medical use, creates a strong likelihood that these illegal distributions of opioids

will   cause death and injuries    to residents in Plaintiff s Community and otherwise significantly

and unreasonably interfere    with public health, safety and welfare, and with the public's right to

be free from disturbance and reasonable apprehension ofdanger to person and property.

         432.   It is, or should   be, reasonably foreseeable to defendants that their conduct will

cause deaths and injuries to residents    in Plaintiff s Community, and will otherwise significantly

and unreasonably interfere    with public health, safety and welfare, and with the public's right to

be free from disturbance and reasonable apprehension ofdanger to person and property.

         433. The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes          in Plaintiffs Community not only

causes deaths and injuries,        but also creates a palpable climate of fear among residents in

Plaintiff   s Community where opioid diversion, abuse, addiction are prevalent and where diverted

opioids tend to be used frequently.

         434. Defendants' conduct makes        it   easier for persons   to divert prescription   opioids,

constituting a dangerous threat to the public.

          435. Defendants' actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants'                  special

positions within the closed system of opioid distribution, without Defendants' actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.




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        436. The presence of diverted prescription opioids in Plaintiff s Community, and the

consequence of prescription opioids having been diverted in           Plaintiff   s Community, proximately


results in and/or substantially contributes to the creation of significant costs to the Plaintiff and to

Plaintiff   s Community     in order to enforce the law, equip law enforcement and treat the victims of

opioid abuse and addiction.

        437. Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids,           will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff s Community a safer place to live.

        438. Defendants' conduct          is a direct and proximate cause of            and/or   a   substantial

contributing factor to opioid addiction and abuse             in Plaintiffs     Community, costs borne by

Plaintifls Community and the Plaintiff, and a significant and unreasonable interference with

public health, safety and welfare, and with the public's right to be free from disturbance and

reasonable apprehension ofdanger to person and property.

        439. Defendants' conduct constitutes         a   public nuisance and, if unabated, will continue to

threaten the health, safety and welfare of the residents of Plaintiffls Community, creating an

atmosphere      of fear and addiction that tears at the residents'       sense    of well-being and security.

Plaintiff has   a   clearly ascertainable right to abate conduct that perpetuates this nuisance.

        440. Defendants created an intentional nuisance. Defendants' actions created and

expanded the abuse         of opioids, which are dangerously addictive, and the ensuing              associated

plague of prescription opioid and heroin addiction. Defendants knew the dangers to public

health and safety that diversion of opioids would create in Plaintiff s Community; however,

Defendants intentionally and/or unlawfully failed to maintain effective controls against diversion

through proper monitoring, reporting and refusal to           fill suspicious   orders of opioids. Defendants




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intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to    fill   suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and

failed to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants

intentionally andlor unlawfully marketed opioids          in    manners they knew     to be false   and

misleading. Such actions were inherently dangerous.

         441. Because of the Manufacturing Defendants' deceptive marketing of opioids and

Defendants' special positions within the closed system               of   opioid distribution, without

Defendants' actions, opioid use would not have become so widespread, and the enormous public

health hazard of prescription opioid and heroin overuse, abuse, and addiction that now exists

would have been averted.

         442. Defendants knew the prescription opioids have        a high likelihood of being diverted.

It   was foreseeable to Defendants that where Defendants distributed prescription opioids or

caused such opioids to be distributed without maintaining effective controls against diversion,

including monitoring, reporting, and refusing shipment of suspicious orders, that the opioids

would be diverted, and create an opioid abuse nuisance in Plaintifls Community.

         443. Defendants' actions also created     a nuisance   by acting recklessly, negligently and/or

carelessly,   in breach of their duties to maintain effective controls against diversion, thereby

creating an uffeasonable risk of harm.

         444. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.




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        445. The damages available           to the Plaintiff include, inter alia, recoupment of
govemmental costs, flowing from an ongoing and persistent public nuisance which the

goveÍtment seeks to abate. Defendants' conduct is ongoing and persistent, and the Plaintiff

seeks   all   damages flowing from Defendants' conduct. Plaintiff further seeks             to   abate the

nuisance and harm created by Defendants' conduct.

         446. As a direct result of Defendants' conduct, the Plaintiff and Plaintiffls Community

have suffered actual injury and damages including, but not limited to, significant expenses for

police, emergency, health, prosecution, corrections and other services. The Plaintiff here seeks

recovery for its own harm.

        447   .   The Plaintiff and Plaintiff s Community have sustained specific and special injuries

because its damages include, inter alia, health services, law enforcement expenditures, and costs

related to opioid addiction treatment and overdose prevention.

         448. The Plaintiff further seeks       to   abate the nuisance created     by the   Defendants'

unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions

and interference     with a right common to the public.

         449. Plaintiff seeks all legal and equitable relief   as allowed by   law, including, inter alia,

abatement and compensatory damages, from the Defendants                for the creation of a public

nuisance, attorneys' fees and costs, and pre- and post-judgment interest.

         450. Defendants' intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.

         451. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff s Community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which




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are specifically known to Defendants to be dangerous because, ínter alia, these drugs are defined

under federal and state law as substances posing a high potential for abuse and severe addiction.

Defendants created an intentional nuisance. Defendants' actions created and expanded the abuse

of opioids, drugs specifically codified as constituting severely harmful substances.

       452. The public nuisance created by Defendants' actions is substantial and unreasonable

- it has caused and continues   to cause significant harm to Plaintiffls Community, and the harm

inflicted outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting

from the Defendants' abdication of their gate-keeping and diversion prevention duties, and the

Manufacturer Defendants' fraudulent marketing activities, have caused harm             to Plaintifls
Community that includes, but is not limited to the following:

       a.   The high rates of use leading to unnecessary opioid abuse, addiction, overdose,
            injuries, and deaths.

       b.   Even children have fallen victim to the opioid epidemic. Easy access to prescription
            opioids made opioids a recreational drug of choice among teenagers. Even infants
            have been born addicted to opioids due to prenatal exposure, causing severe
            withdrawal s¡rmptoms and lasting developmental impacts.

       c. Even those residents of Plaintiff s Community who have never taken opioids have
            suffered from the public nuisance arising from Defendants' abdication of their gate-
            keeper duties and fraudulent promotions. Many residents have endured both the
            emotional and financial costs of caring for loved ones addicted to or injured by
            opioids, and the loss of companionship, wages, or other support from family members
            who have used, abused, become addicted to, overdosed on, or been killed by opioids.

       d.   The opioid epidemic has increased health care costs.

       e.   Employers have lost the value of productive and healthy employees.

       f.   Defendants' conduct created an abundance of drugs available for criminal use and
            fueled a new wave of addiction, abuse, and injury.

       g.   Defendants' dereliction of duties and/or fraudulent misinformation campaign pushing
            dangerous drugs resulted in a diverted supply of narcotics to sell, and the ensuing
            demand of addicts to buy them. More prescription opioids sold by Defendants led to
            more addiction, with many addicts turning from prescription opioids to heroin. People




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            addicted to opioids frequently require increasing levels of opioids, and many turned
            to heroin as a foreseeable result.

       h.   The diversion of opioids into the secondary, criminal market and the increased
            number of individuals who abuse or are addicted to opioids increased the demands on
            health care services and law enforcement.

            The significant and unreasonable interference with the public rights caused by
            Defendants' conduct taxed the human, medical, public health, law enforcement, and
            financial resources of the Plaintiff s Community.

       j.   Defendants' interference with the comfortable enjoyment of life in the Plaintiff s
            Community is unreasonable because there is little social utility to opioid diversion
            and abuse, and any potential value is outweighed by the gravity of the harm inflicted
            by Defendants' actions.

       453. The Plaintiff and PlaintifPs Community have sustained specific and special injuries

because its damages include, inter alia, health services and law enforcement expenditures, as

described in this Complaint.

        454. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants' fraudulent activity and fraudulent misrepresentations.

        455. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter              alia, injunctive relief, expenses to abate the

nuisance, restitution, disgorgement       of profits, compensatory    damages,   civil penalties and all

damages allowed by law to be paid by the Defendants, attorneys' fees and costs, and pre- and

post-judgment interest.   ,See   Wis. Stat. $ 823.03.

                             COUNT II
        RACKETEER INFLUENCED AND CORRUPT ORGAI{IZATIONS ACT
                                  18 U.S.C. S 1961, et seq.
                 (Against Defendants Purdue, Cephalon, Janssen, and Endo)
                           (The "Opioid Marketing Enterprise")

        456. Plaintiff   incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as   follows.




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        451. Plaintiff brings this Count on behalf of itself against the following Defendants,     as


defined above: Purdue, Cephalon, Janssen, and Endo (referred to collectively for this Claim        as


the "RICO Marketing Defendants").

        458. At all relevant times, the RICO Marketing Defendants were and are "persons"

under 18 U.S.C. $ 19ól(3) because they are entities capable of holding, and do hold, "a legal or

beneficial interest in property."

        459. Section 1962(c) of RICO makes             it   unlawful "for any person employed by or

associated   with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce?    to conduct or participate, directly or indirectly, in the conduct of such enterprise's

affairs through   a   pattem of racketeering activity." l8 U.S.C. $ 1962(c).

        460. The term "enterprise"          is   defined as including "any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity."    l8 U.S.C. $ 1961(4). The definition of "enterprise" in Section

196l(4) includes legitimate and illegitimate enterprises within its scope. Specifically, the section

"describes    two     separate categories   of   associations that come   within the purview of   an

'enterprise' -- the first encompassing organizations such as corporations, partnerships, and other

'legal entities,' and the second covering 'any union or group of individuals associated in fact

although not a legal entity."' United State v. Turkette,452 U.S. 576,577 (1981).

        461. Beginning in the early 1990s, the RICO Marketing Defendants aggressively sought

to bolster their revenue, increase profit, and grow their share of the prescription painkiller market

by unlawfully increasing the volume of opioids they sold. The RICO Marketing Defendants

knew that they could not increase their profits without misrepresenting that opioids were non-

addictive and safe for the long-term treatment of chronic pain.




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         462. The generally accepted standards of medical practice prior to the 1990s dictated

that opioids should only be used in short durations to treat acute pain, pain relating to recovery

from surgery, or for cancer or palliative (end-of-life) care. Due to the evidence of addiction and

lack of evidence indicating that opioids improved patients' ability to overcome pain                                     and

function, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

         463. Knowing that their products were highly addictive, ineffective and unsafe for the

treatment    of long-term chronic pain,              non-acute and non-cancer pain, the RICO Marketing

Defendants formed an association-in-fact enterprise and engaged                                    in a scheme to unlawfully

increase their profits and sales, and grow their share                          of the prescription painkiller       market,

through repeated and systematic misrepresentations about the safety and efftcacy of opioids for

treating long-term chronic pain.

         464. The RICO Marketing Defendants formed                                    an association-in-fact       enterprise

consisting     of   "advocacy groups and professional societies" ("Front Groups") and paid

"physicians affiliated with these groups" ("KOLs") in order to unlawfully increase the demand

for opioids. Through their personal relationships, the RICO Marketing Defendants and members

of the Opioid Marketing Enterprise had the opportunity to form and take actions in furtherance

of the Opioid Marketing Enterprise's common purpose. The RICO Marketing                                          Defendants'

substantial financial contribution to the Opioid Marketing Enterprise, and the advancement                                of

opioids-füendly messaging, fueled the U.S. opioids epidemic.l8e




t8e
    Fueling an Epidemic: Exposing the Financial Ties Betvveen Opioid Manufacturers and Third Party Advocacy
Groups,U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members' Office, February
12, 20 1 8 https ://www.hsdl. org/? abstract&did:8   0 8 17   1 (" Fuel in g an Ep idemic"   ), aI l .




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            465- The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

misleading statements and misrepresentations about opioids that downplayed the risk of

addiction and exaggerated the benefits of opioid use, including: (1) downplaying the serious risk

of addiction; (2) creating    and promoting the concept     of "pseudoaddiction" when signs of actual

addiction began appearing and advocated that the signs of addiction should be treated with more

opioids; (3) exaggerating the effectiveness of screening tools to prevent addiction; (4) claiming

that opioid dependence and withdrawal are easily managed; (5) denying the risks of higher

opioid dosages; and (6) exaggerating the effectiveness of "abuse-deterrent" opioid formulations

to prevent abuse and addiction.

            466. The RICO Marketing Defendants also falsely touted the benefits of long-term

opioid use, including the supposed ability of opioids to improve,function and quality of life, even

though there was no scientifically reliable evidence to support the RICO Marketing Defendants'

claims.

           467. The RICO Marketing Defendants'        scheme, and the coÍrmon purpose of the Opioid

Marketing Enterprise, has been wildly successful. Opioids are now the most prescribed class of

drugs. Globally, opioid sales generated $11 billion in revenue for drug companies in 2010 alone;

sales     in the United States have exceeded $8 billion in revenue annually since 2009.1e0      1n an open


letter to the nation's physicians      in August    2016, the then-U.S. Surgeon General expressly

connected this "urgent health crisis" to "heavy marketing of opioids to doctors . . . [m]any              of




teo See  Katherine Eban, OxyContin: Purdue Pharmq's Painful Medicine,Fortune, Nov. 9, 2011,
http://fortune .coml2}lllll/0gloxycontin-purdue-pharmas-painful-medicine l;David Crow, Drugmakers Hooked on
$l1bn Opioid Habit,Ftî. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-l le6-bb77-
al2laa8abd91.




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fwhom] were even taught         -   incorrectly   -   that opioids are not addictive when prescribed for

legitimate pain."lel

          468. The scheme devised and implemented                 by the RICO Marketing            Defendants

amounted     to a common       course      of   conduct designed   to   ensure that the RICO Marketing

Defendants unlawfully increased their sales and profits through misrepresentations about the

addictive nature and effective use           of the RICO Marketing Defendants' drugs. As               Senator

McCaskill aptly recognized     :



          The opioid epidemic is the direct result of a calculated marketing and sales
          strategy developed in the 90's, which delivered three simple messages to
          physicians. First, that chronic pain was severely undertreated in the United
          States. Second, that opioids were the best tool to address that pain. And third,
          that opioids could treat pain without risk of serious addiction. As it turns out,
          these messages were exaggerations at best and outright lies at worst.le2

      A. THE OPIOID MARKETING                   ENTERPRISE

          469. The Opioid Marketing Enterprise consists of the RICO Marketing Defendants, the

Front Groups, and the KOLs          -   each of whom is identified below:

      o   The RICO Defendants

             o    Purdue
             o    Cephalon
             o    Janssen
             o    Endo

      a   The Front Groups

              o   American Pain Foundation ("APF")
              o   American Academy of Pain Medicine ("AAPM")
              o   American Pain Society ("APS")
              o   Federation of State Medical Boards ("FSMB")


rer
  Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/; Fueling An Epidemic,
supra,note 189, at l
tez
    See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtaåle, September 12,2017, at 3l:03-
31:37, https://www.youtube.com./watch?v:k9mrQa8-vAo   (last accessed on March l, 2018).




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            o   U.S. Pain Foundation ("USPF")
            o   American Geriatrics Society ("AGS")

   a   The KOLs

            o    Dr. Russell Portenoy ("Dr. Portenoy")
            o    Dr. Lynn Webster ("Dr. Webster")
            o    Dr. Perry Fine ("Dr. Fine")
            o    Dr. Scott M. Fishman ("Dr. Fishman")

       470. The Opioid Marketing Enterprise              is an ongoing and continuing business
organization that created and maintained systematic links, interpersonal relationships and

engaged   in a pattern of predicate acts (i.e. racketeering activity) in order to further the common

pulpose   of the enterprise: unlawfully      increasing profits and revenues from the continued

prescription and use of opioids for long-term chronic pain. Each of the individuals and entities

who formed the Opioid Marketing Enterprise is an entity or person within the meaning of             18


U.S.C. $ 1961(3) and acted to enable the common purpose and fraudulent scheme of the Opioid

Marketing Enterprise.

       411. In order to accomplish the common purpose, members of the Opioid Marketing

Enterprise repeatedly and systematically misrepresented      -   affirmatively, and through half-truths

and omissions    -   that opioids are non-addictive and safe for the effective treatment of long-term,

chronic, non-acute and non-cancer pain, and for other off-label uses not approved by the FDA.

The Opioid Marketing Enterprise misrepresented and concealed the serious risks and lack of

corresponding benefits       of   using opioids for long-term chronic      pain. By making these
misrepresentations, the Opioid Marketing Enterprise ensured that a large number              of opioid

prescriptions would be written and filled for chronic pain.

       472.     At all relevant    times, the Opioid Marketing Enterprise: (a) had an existence

separate and distinct    from each RICO Marketing Defendant and its members; (b) was           separate




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and distinct from the pattern of racketeering in which the RICO Defendants engaged; (c) was an

ongoing and continuing organization consisting        of individuals, persons, and legal entities,
including each of the RICO Marketing Defendants; (d) was charactenzed by interpersonal

relationships between and among each member of the Opioid Marketing Enterprise, including

between the RICO Marketing Defendants and each of the Front Groups and KOLs; (e) had

sufficient longevity for the enterprise to pursue its purpose; and (Ð functioned as a continuing

unit.

        473. The persons and entities engaged in the Opioid Marketing Enterprise aÍe

systematically linked through contractual relationships, financial ties, personal relationships, and

continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

        474. Each   of the RICO     Marketing Defendants, and each member           of the Opioid
Marketing Enterprise had systematic links to and personal relationships with each other through

joint participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. Each of the RICO Marketing Defendants coordinated their

marketing efforts through the same KOLs and Front Groups, based on their agreement and

understanding that the Front Groups and KOLs were industry friendly and would work together

with the RICO Marketing Defendants to advance the common purpose of the Opioid Marketing

Enterprise.

              1. The RICO   Defendants

        475. In addition to their systematic links to and personal relationships with the Front

Groups and KOLS, described below, the RICO Marketing Defendants had systematic links to

and personal relationships with each other through their participation in lobbying groups, trade

industry organizations, contractual relationships and continuing coordination         of   activities,




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including but not limited to, the Pain Care Forum ("PCF") and the Healthcare Distribution

Alliance ("HDA").

            476. The PCF has been described      as a coalition   of drug makers, trade groups and dozens

of non-profrt organizations supported by industry funding. Plaintiff is informed and believes that

the PCF was created with the stated goal of offering a "setting where multiple organizations can

share information" and "promote and support taking collaborative action regarding federal pain

policy issues." Plaintiff is informed and believes that past APF President Will Rowe described

the PCF as "a deliberate effort to positivèly merge the capacities of industry, professional

associations, and patient organizations."

            477. The PCF recently became a national news story when                   it was discovered         that

lobbyists for members of the PCF, including the RICO Marketing Defendants, quietly shaped

federal and state policies regarding the use of prescription opioids for more than a decade.

            478. The Center for Public Integrity and The Associated Press obtained "internal

documents shedfding] new          light on how drug makers and their allies              shaped the national

response to the ongoing wave of prescription opioid abuse."le3 Specifically, PCF members spent

over $740 million lobbying in the nation's capital and in all 50 statehouses on an a:ray of issues,

                                        lea
including opioid-related measures.

            479. Not surprisingly, each of the RICO Marketing Defendants who stood to profit from

lobbying in favor of prescription opioid use is a member of and/or participant in the PCF.1e5 In


re3
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drue epidemic, The Center for Public
Integrity (September 19,2017,12:01 a.m.), https://www.publicintegrity.otgl2Ùl6l09l19l2020llpro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
te4
      Id.
res
    PAIN CARE FORUM 2012 Meetinqs Schedule, (last updated December 20ll),
https://assets.documentcloud.orgldocuments/3 108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf           (last
visited March 8, 2018).




                                                       143
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2012, membership and participating organizations in the PCF included the HDA (of which all

the RICO Defendants are members), Endo, Purdue, Johnson                    & Johnson (the parent company for

Janssen Pharmaceuticals), and Teva (the parent company                   of Cephalon).teu Each of the RICO

Marketing Defendants worked together through the PCF to advance the interests of the Opioid

Marketing Enterprise. But, the RICO Marketing Defendants were not alone, many of the RICO

Marketing Defendants' Front Groups were also members of the PCF, including the American

Academy of Pain Management, the American Pain Foundation, and the American Pain Society.

Upon information and belief, the RICO Marketing Defendants' KOLs were also members of and

participated in the PCF.

            480. Through the Pain Care Forum, the RICO Marketing Defendants met regularly                       and

in person to form and take action to further the common purpose of the Opioid Marketing

Enterprise and shape the national response to the ongoing prescription opioid epidemic.

            481. Through the HDA         -   or Healthcare Distribution Alliance         -   the RICO Marketing

Defendants "strengthen[ed] . . . alliances"leT and took actions to further the common purpose                    of

the Opioid Marketing Enterprise.

            482. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, "network one on one with manufacturer executives at HDA's

members-only Business and Leadership Conference," "participate on HDA committees, task

forces and working groups with peers and trading partners," and "make connections."les Clearly,




te6                                                          an active member of the PCF sometime after 2012.
      Id. Upon information and belief, Mallinckrodt became
\e? Manufacturer Membership Benefits, Healthcare Distribution Alliance, (last accessed on September 14, 2017),
https://www.healthcaredistribution.orgl-/media/pdfs/membership/manufacturer-membership-benefits.ashx?la:en
(emphasis added).
te8
      Jd.




                                                         144
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membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and "alliances" between the RICO Marketing Defendants.

         483. The closed meetings of the HDA's councils, committees, task forces and working

groups provided the RICO Marketing Defendants with the opportunity to work closely together,

confidentially, to develop and further the common purpose and interests of the Opioid Marketing

Enterprise.

         484. The HDA also offered multiple conferences, including annual business and

leadership conferences through which the RICO Marketing Defendants had an opportunity to

"bring together high-level executives, thought leaders and influential managers                          . . to hold
strategic business discussions on the most pressing industry issues."lee The HDA and its

conferences were significant opportunities for the RICO Marketing Defendants to interact at the

executive level and form and take actions in furtherance of the common purpose of the Opioid

Marketing Enterprise. It is clear that the RICO Marketing Defendants embraced this opportunity

by attending and sponsoring these        events.2O0


         485. The systematic contacts and personal relationships developed                        by the RICO
Marketing Defendants through the PCF and the HDA furthered the common purpose of the

Opioid Marketing Enterprise because           it   allowed the RICO Marketing Defendants to coordinate

the conduct of the Opioid Marketing Enterprise by, including but not limited to, coordinating

their interaction and development of relationships with the Front Groups and KOLs.

              2.   The Front Groups

ree
    Business and Leadership Conference - Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14,2017).
200
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/201 5-distribution-management-conference (last accessed on
September 14,2017).




                                                        145
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            486. Each of the RICO Marketing Defendants had systematic links to and personal

relationships with Front Groups that operated as part of the Opioid Marketing Enterprise to

further the common purpose of unlawfully increasing sales by misrepresenting the non-addictive

and effective use of opioids for the treatment of long-term chronic pain. As recently reported by

the U.S. Senate in"Fueling an Epidemic";

            The fact that these same manufacturers provided millions of dollars to the groups
            described below suggests, at the very least, a direct link between corporate
            donations and the advancement of opioids-friendly messaging. By aligning
            medical culture with industry goals in this way, many of the groups described in
            this report may have played a significant role in creating the necessary conditions
            for the U.S. opioids epidemic.2ol

            487. "Patient advocacy organizations and professional societies like the Front Groups

'play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public."202 "Even small organizations-

with 'their large numbers and credibility with policymakers and the public'-have 'extensive

influence in specific disease areas.' Larger organizations with extensive funding and outreach

capabilities 'likely have a substantial effect on policies relevant to their industry sponsors."'203

Indeed, as reflected below, the U.S. Senate's report found that the RICO Marketing Defendants

made nearly $9 million worth of contributions to various Front Groups, including members          of

the Opioid Marketing Enterprise.20a




2ol   Fueling an Epidemic, at p. I
202
      Id. atp.2
203
      Id.
204
      Id. atp.3.




                                                    146
            Case 2:18-cv-01087-PP Filed 07/16/18 Page 151 of 318 Document 1
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       488. The Front Groups included in the Opioid Marketing Enterprise "have promoted

messages and policies favorable                         to opioid use while receiving millions of dollars in payments

from opioid       manufacturers. Through criticism                                                    of         govenìment prescribing guidelines,

minimization    of opioid addiction risk, and other efforts, ostensibly neutral                                                                                       advocacy

organizations have often supported industry interests                                                                     at the expense of their                         own




                                                                                      147
       Case 2:18-cv-01087-PP Filed 07/16/18 Page 152 of 318 Document 1
constituencies."205 And, as reflected below, many of the RICO Marketing Defendants' Front

Groups received the largest contributions




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             489. But, the RICO Marketing Defendants connection with and control over the Front

Groups did not end with financial contributions. Rather, the RICO Marketing Defendants made

substantial contributions to physicians affiliated with the Front Groups totaling more than $1.6

mi1lion.206 Moreover, the RICO Marketing Defendants "made substantial payments to individual

goup executives, staff members, board members, and advisory board members" affiliated with

the Front Groups subject to the Senate Committee's study.207




2os
      Id. at p. 3 .
206
      Id. atp.3.
207
      Id. atp. lo




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            490. As described in more detail below208, the RICO Marketing Defendants "amplified

or issued messages that reinforce industry efforts to promote opioid prescription and                                                  use,


including guidelines and policies minimizing the risk of addiction and promoting opioids for

chronic pain."20e They also "lobbied to change laws directed at curbing opioid use, strongly

cnlicized landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold

physicians and industry executives responsible for overprescription and misbranding."2lO




208
   The activities that the Front Groups engaged in, and the misrepresentations that they made, in furtherance of the
coÍtmon purpose of the Opioid Marketing Enterprise are alleged more fully below, under the heading "Conduct of
the Opioid Marketing Enterprise."
zoe
      Id. at12-15.
2to   Id. at 12.




                                                         149
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        491. The systematic contacts and interpersonal relationships of the RICO Marketing

Defendants, and the Front Groups are further described below:

        492. The American Pain Foundation (-"APF") - The American Pain Foundation was the

most prominent member           of the RICO Defendants' Front      Groups and was funded almost

exclusively by the RICO Marketing Defendants. Plaintiff is informed and believes that APF

received more than $10 million in funding from the RICO Marketing Defendants between 2007

and the close      of its   business   in May 2012. The APF had multiple contacts        and personal

relationships with the RICO Marketing Defendants through its many publishing and educational

programs, funded and supported by the RICO Marketing Defendants. Plaintiff                  is   further

informed and believes that between 2009 and 2010, APF received more than eighty percent

(80%) of      it operating budget from pharmaceutical industry   sources.   By 2011, upon information

and belief, APF was entirely dependent on incoming grants from Defendants Purdue, Cephalon,

Endo, and others.

        493. On information and belief, APF was often called upon                 to provide "patient
representatives"     for the RICO Marketing Defendants' promotional activities, including for
Purdue's "Partners Against Pain" and Janssen's "Let's Talk Pain." APF functioned largely as an

advocate      for the interests of the RICO Marketing Defendants, not patients. Indeed,           upon

information and belief, as early as 2001, Purdue told APF that the basis of a grant was Purdue's

desire to "strategically align its investments in nonprofit organizations that share [its] business

interests."

         494. APF is also credited with creating the PCF in 2004. Plaintiff is informed and

believes that the PCF was created with the stated goal of offering a "setting where multiple

orgatizations can share information" and "promote and support taking collaborative action




                                                   150
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regarding federal pain policy issues." Plaintiff is informed and believes that past APF President

Will      Rowe described the PCF as "a deliberate effort to positively merge the capacities of

industry, pro   fes   sional   as so   ciations, and patient organizations. "

           495. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APF to

pursue. APF then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as                           a result of     these

communications.

           496. Furthermore, APF's Board of Directors was largely comprised of doctors who were

on Defendants' payrolls, either as consultants or speakers at medical events.2ll As described

below, many of the KOLs involved in the Opioid Marketing Enterprise also served in leadership

positions within the APF.

           497. In December 2011, a ProPublica investigation found that in 2010, nearly                 90o/o   of

APF's funding came from the drug and medical device community, including RICO Marketing

Defendants.2r2 More specifically, APF received approximately $2.3 million from industry

sources out of total income of $2.85 million in 2009. Its budget for 2010 projected receipt                     of

approximately $2.9 million from drug companies, out of total income                   of approximately     $3.5

million. ln May 2012, the U.S.               Senate Finance Committee began looking into APF to determine

the links, financial and otherwise, between the organization and the manufacturers of opioid

painkillers. Within days of being targeted by the Senate investigation, APF's Board voted to
2rr Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23,2011),
https //www.propublica. o r gl articleI the-champion-o f-painkillers.
      :



2r2
  Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller drugs, probe finds,
Wash. Post (Dec.23,20ll), https://www.washingtonpost.com/nationaVhealthscience/patient-advocacy-group-
funded-by-success-of-painkiller-drugs-probefinds/201Ul2/20lgIQAgvczDP_story.    html?utm_term:.
22049984c606.




                                                            151
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dissolve the organization "due to irreparable economic circumstances." APF "cease[d] to exist,

effective immediately."2rz

          498. The American Academy of Pain Mçdrcrqe                    f:AAPMI -    The AAPM was another

Front Group that had systematic ties and personal relationships with the RICO Defendants.

AAPM received over $2.2 million in funding since 2009 from opioid manufacturers. AAPM

maintained a corporate relations council, whose members paid $25,000 per year (on top of other

funding)     to participate. The benefits included allowing                 members   to   present educational

programs at off-site dinner symposia                   in connection with AAPM's   marquee event   -   its   annual

meeting held in Palm Springs, Califomia, or other resort locations. AAPM describes the annual

event as an "exclusive venue" for offering education programs to doctors. Membership in the

corporate relations council also allowed drug company executiveq and marketing staff to meet

with AAPM executive committee members in small settings. The RICO Marketing Defendants

were all members of the council and presented deceptive programs to doctors who attended this

annual event.214

            499. The RICO Marketing Defendants internally viewed AAPM as "industry friendly,"

with RICO Defendants' advisors and speakers among its active members. The RICO Marketing

Defendants attended                    AAPM     conferences, funded   its CMEs and satellite   symposia, and

distributed     its publications. AAPM                  conferences heavily emphasized sessions on opioids.

AAPM presidents have included top industry-supported KOLs like Perry Fine and Lynn

Webster.

2r3
    Charles Ornstein & Tracy Weber, Senqte Pqnel Investigates Drug Companies' Ties to Pain Groups, Wash. Post,
May 8, 2012,https:llwww.washingtonpost.com/nationaVhealth-science/senate-panel-investigates-drug-companies-
ties-to-pain- gro upsl 20   12 I 0 5   108/gIQA2XaqBU_story.html.
2ra
   The American Academy of Pain Medicine, Pain Medicine DC The Governing Voices o.f Pain: Medicine.
Science, and Government, March 24-27,2011, h@://www.painmed.org/frles/201l-annual-meeting-program-
book.pdf.




                                            r52
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        500. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for AAPM to

pursue. AAPM then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as                        a result of     these

communications.

        501. Plaintiff is informed and believes that members of AAPM's Board of Directors

were doctors who were on the RICO Marketing Defendants' payrolls, either as consultants or

speakers at medical events. As described below, many              of the KOLs involved in the Opioid

Marketing Enterprise also served in leadership positions within the AAPM.

        502. The American Pain Society ("APS")             -   The APS was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

APS was one of the Front Groups investigated by Senators Grassley and Baucus, as evidenced

by their May 8, 2012 letter arising out of their investigation of "extensive ties between
companies that manufacture and market opioids and non-profit organizations" that "helped

created a body of dubious information favoring opioids."2ls

        503. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APS to

pursue. APS then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as                        a result of     these

communications.



215
   Letter from U.S. Senators Chades E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), Amencan Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012o/o20Baucus%20Grassley%
2}Opioid%o20lnvestigation%o20Lether%o20to%o20Amerìlcano/o2}Pain%20Society.pdf.




                                                     153
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           504. Plaintiff is informed and believes that members of APS's Board of Directors were

doctors who were on the RICO Marketing Defendants' payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the APS.

           505. The Federation of State Medical Boards ("FSMB")                  -   FSMB was another Front

Group with systematic connections and interpersonal relationships with the RICO Marketing

Defendants. In addition to the contributions reported in Fueling an Epidemic, a June 8,2012

letter submitted by FSMB to the Senate Finance Committee disclosed substantial payments from

the RICO Marketing Defendants beginning                  in   1997 and continuing through 2012.216 Not

surprisingly, the FSMB was another one of the Front Groups investigated by Senators Grassley

and Baucus, as evidenced by their May 8, 2012 letter arising out                      of their investigation of

"extensive ties between companies that manufacture and market opioids and non-profit

organizations" that "helped created a body of dubious information favoring opioids."2l7

           506. The U.S. Pain Foundation ("USPF")              -   The USPF was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

The USPF was one             of the largest     recipients    of   contributions from the RICO Marketing

Defendants, collecting nearly $3 million in payments between 2012 and 2015 alone.2r8 The

USPF was also a critical component of the Opioid Marketing Enterprise's lobbying efforts to

reduce the limits on over-prescription. The U.S. Pain Foundation advertises its ties to the RICO


2ró
      Jurie 8,2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus and Charles Grassley
2t7
      Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012o/o20Baucuso/o20Grassleyo/o
2}Opioid%o2Olnvestigationo/o2lLetterYo2Ùtoo/o2DAmencanYo20Pain%20Society.pdf.

2r8
      Fueling an Epidemic, atp.4.




                                            t54
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Marketing Defendants, listing opioid manufacturers like Pfrzer, Teva, Depomed, Endo, Purdue,

McNeil (i.e., Janssen), and Mallinckrodt as "Platinum," "Gold," and "Basic"                                 corporate

members.2le Industry Front Groups like the American Academy of Pain Management, the

American Academy             of   Pain Medicine, the American Pain Society, and PhRMA are also

members of varying levels in the USPF.

            507. American Geriatrics Society ("AGS")              -   The AGS was another Front Group with

systematic connections and interpersonal relationships with the RICO Defendants. The AGS

was a large recipient of contributions from the RICO Marketing Defendants, including Endo,

Purdue and Janssen. AGS contracted with the RICO Marketing Defendants                                to   disseminate

guidelines regarding the use of opioids for chronic pain in 2002 (The Management of Persistent

Pain      in   Older Persons, hereinafter "2002 AGS Guidelines") and 2009 (Pharmacological

Management          of   Persistent Pain    in   Older Persons,22o hereinafter *2009 AGS Guidelines").

According        to news reports, AGS has received at least $344,000 in funding from opioid
manufacturers since 2009.22r AGS's complicity in the common purpose of the Opioid Marketing

Enterprise is evidenced by the fact that AGS internal discussions in August 2009 reveal that it

did not want to receive-up front funding from drug companies, which would suggest drug

company influence, but would instead accept commercial support                         to   disseminate pro-opioid

publications.



2te   Id. al l2; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparencyl (last accessed on
March 9, 2018).
220
   Pharmacological Management of Persistent Pain in Older Persons,5T J. Am. Geriatrics Soc'y 1331,1339,1342
(2009), https://www.nhqualitycampaign.orglfiles/AmericanGeriatricSociety-PainGuidelines2009.pdf (last accessed
on March 9, 2018).
22r
      Johr Fauber & Ellen Gabler, Nqrcotic Painkiller Use Booming Among Elderþ, Milwaukee J. Sentinel, May 30,
2012.




                                                           155
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       508. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities, lobbying efforts and publications

for AGS to pursue. AGS then submitted grant proposals seeking to fund these activities and

publications, knowing that drug companies would support projects conceived as a result of these

communications.

       509. Plaintiff is informed and believes that members of AGS Board of Directors were

doctors who were on the RICO Marketing Defendants' payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the AGS.

       510. There was regular communication between each               of the RICO Marketing
Defendants, Front Groups and KOLs, in which information was shared, misrepresentations were

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the

RICO Markets Defendants, Front Groups, and KOLs share information necessary to overcome

objections and resistance   to the use of opioids for chronic pain. The RICO Marketing
Defendants, Front Groups and KOLs functioned as           a continuing unit for the purpose of

implementing the Opioid Marketing Enterprise's scheme and common purpose, and each agreed

to take actions to hide the scheme and continue its existence.

        511.   At all relevant   times, the Front Groups were aware     of the RICO Marketing

Defendants' conduct, were knowing and willing participants in that conduct, and reaped benefits

from that conduct. Each Front Group also knew, but did not disclose, that the other Front

Groups were engaged     in the same scheme, to the detriment of      consumers, prescribers, and

Plaintiff. But for the Opioid Marketing Enterprise's unlawful fraud, the Front Groups would



                                                156
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have had incentive to disclose the deceit by the RICO Marketing Defendants and the Opioid

Marketing Enterprise to their members and constituents. By failing to disclose this information,

Front Groups perpetuated the Opioid Marketing Enterprise's scheme and common purpose, and

reaped substantial benefits.

           3. The KOLs

       5I2. Similarly, each of the RICO Marketing         Defendants financed, supported, utilized

and relied on the same KOLs by paying, f,rnancing, supporting, managing, directing, or

overseeing, andlor relying on their     work. On Information       and belief, the RICO Marketing

Defendants cultivated this small circle of doctors solely because they favored the aggressive

treatment of chronic pain with opioids.

        513. The RICO Marketing Defendants and the Opioid Marketing Enterprise relied on

their KOLs to serve as part of their speakers bureaus and to attend programs with         speakers


bureaus. The RICO Marketing Defendants graded their KOLs on performance, post-program

sales, and product usage. Furthermore, the RICO Marketing Defendants expected their KOLs to

stay "on message," and obtained agreements from them, in writing, that "all slides must be

presented in their entirety and without alterations . . . and in sequence."

        514. The RICO Marketing Defendants' KOLs have been at the center of the Opioid

Marketing Enterprise's marketing efforts, presenting the false appearance of unbiased and

reliable medical research supporting the broad use        of opioid therapy for chronic pain.   As

described in more detail below, the KOLs have written, consulted, edited, and lent their names to

books and articles, and given speeches, and CMEs supporting chronic opioid therapy. They have

served on committees that developed treatment guidelines that strongly encourage the use        of

opioids to treat chronic pain (even while acknowledging the lack of evidence in support of that

position) and on the boards of the pro-opioid Front Groups identified above.


                                                  157
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           515. The RICO Marketing Defendants and KOLS all had systematic connections and

interpersonal relationships, as described below, through the KOLs receipt of payments from the

RICO Marketing Defendants and Front Groups, the KOLs' authoring, publishing, speaking, and

educating on behalf        of the RICO        Marketing Defendants, and their leadership roles and

participation in the activities of the Front Groups, which were in turn financed by the RICO

Marketing Defendants.

           516. The systematic contacts       and interpersonal relationships of the KOLs with the RICO

Marketing Defendants and Front Groups are described below:

           517. Dr. Russell Portenoy      -   Dr Portenoy     \Mas one    of the main KOLs that the RICO

Marketing Defendants identified and promoted to further the common purpose of the Opioid

Marketing Enterprise. Dr. Portenoy received research support, consulting fees, and honoraria

from the RICO Defendants, and was a paid consultant to various RICO Marketing Defendants.

Dr. Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic

pain. Dr. Portenoy had financial relationships with at least a dozen pharmaceutical companies,

most of which produced prescription opioids.222

           518. In exchange for the pa¡rments he received from the RICO Marketing Defendants,

Dr. Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing

Defendants' misrepresentation regarding the risks and benefits                  of opioids.223 Dr.      Portenoy,


222
    Arvn Lembke, Drug Dealer, MD: How Doctors ltrlere Duped, Patients Got Hooked, and llhy It's So Hard to
,S/op, (Johns Hopkins University Press 2016), at 59 (citing Barry Meier, Pain Killer: A "Wonder" Drug's Trail of
Addiction and Death (St. Martin's Press, lst Ed 2003).
223
      1986, the medical journal Pain, which would eventually become the official journal of the American Pain
      In
Society ("APS"), published an article by Portenoy and Foley summarizing the results of a "study'' of 38 ch¡onic
non-cancer pain patients who had been treated with opioid painkillers. Portenoy and Foley concluded that, for non-
cancer pain, opioids "can be safely and effectively prescribed to selected patients with relatively little risk of
producing the maladaptive behaviors which define opioid abuse." However, their study was neither scientific nor did
it meet the rigorous standards commonly used to evaluate the validity and strength of such studies in the medical
community. For instance, there was no placebo control group, and the results were retroactive (asking patients to




                                                        r58
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published, spoke, consulted, appeared in advertisements and on television broadcasts, and

traveled the country to travel the country to promote more liberal prescribing for many types                     of

pain and conduct continuing medical education ("CME") seminars sponsored by the RICO

Marketing Defendants and Front Groups.

         519. Dr. Portenoy was also a critical component of the RICO Marketing Defendants'

control over their Front Groups, and the Front Groups support                       of the Opioid Marketing

Enterprise's common purpose. Specifically, Dr. Portenoy sat as a Director on the board of the

APF. He was also the President of the APS.

         520. ln a201,1 interview released by Physicians for Responsible Opioid Prescribing, Dr.

Portenoy admitted that his earlier work relied on evidence that was not "real" and left real

evidence behind, all in furtherance of the Opioid Marketing Enterprise's common purpose:

        I gave so many lectures to primary care audiences in which the Porter and Jick
        article was just one piece of data that I would then cite, and I would cite six,
        seven, maybe ten different avenues of thought or avenues of evidence, none of
        which represented real evidence, and yet what I was trying to do was to create a
        narrative so that the primary care audience would look at this information in
        ftotal] and feel more comfortable about opioids in a way they hadn't before. In
        essence this was education to destigmatize [opioids], and because the primary
        goal was to destigm atize, we often left evidence behind.22a

         521. Dr. Lynn Webster        -   Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating            the RICO Marketing Defendants' fraudulent                    messages


regarding prescription opioids and had systematic contacts and personal relationships with the

RICO Marketing Defendants and the Front Groups.

describe prior experiences with opioid treatment rather than less biased, in-the-moment reports). The authors
themselves advised caution, stating that the drugs should be used as an "alternative therapy'' and recoglizing that
longer term studies of patients on opioids would have to be performed. None were. See Russell K. Portenoy &
Kathleen M. Foley, Chronic use of opioid analgesics in non-malignant pain: report of 38 cases,25(2) Pain 171-86
(May 1986).
22a
   Andrew Kolodny, Opioids þr Chronic Pain: Addiction is NOT Rare,YoíTube (Oct. 30, 2011),
htþs ://www. youtube. com/watch?v:D gyuBWN9D4w&feature:youtu.be.




                                                         159
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       522. Dr. Webster was the co-founder and Chief Medical Director of an otherwise

unknown pain clinic    in Salt Lake City, Utah (Lifetree Clinical    Researcþ, who went on to

become one of the RICO Marketing Defendants' main KOLs. Dr. Webster was the President              of

American Academy      of Pain Medicine ("AAPM") in        2013. He   is a Senior Editor of      Pain

Medicine, the same journal that published Endo special advertising supplernents touting Opana

ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue.

At the same time, Dr.   Webster was receiving significant funding from the RICO Marketing

Defendants (including nearly $2 million from Cephalon alone).

       523. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice's Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in2014, more than twenty

(20) of Dr. Webster's former patients at the Lifetree Clinic have died of opioid overdoses.

        524. Dr. V/ebster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient selÊreports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-

sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and,   for this reason, references to screening appear in        various

industry-supported guidelines. Versions of Dr. Vy'ebster's Opioid Risk Tool appear on, or are

linked to, websites run by Endo, Janssen, and Purdue.

        525. Dr. Webster is also credited as one of the leading proponents of "pseudoaddiction"

that the RICO Marketing Defendants, Front Groups and KOLs disseminated as part of the

conìmon purpose of the Opioid Marketing Enterprise.




                                                160
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           526. Plaintiff is informed and believes that in exchange for the pa¡rments he received
                                        'Webster
from the RICO Marketing Defendants, Dr.          published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing     of opioids for many tlpes of pain and conduct CME seminars sponsored by the

RICO Marketing Defendants and Front Groups.

           527. Like Dr. Portenoy, Dr. Webster later reversed his opinion and disavowed his
                                                                                                           'Webster
previous work         on and      opinions regarding pseudoaddiction. Specifically,                  Dr.

acknowledged that "[pseudoaddiction] obviously became too much of an excuse to give patients

more medi cation."22s

           528. Dr. Perry Fine      -   Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating             the RICO Marketing Defendants' fraudulent                     messages


regarding prescription opioids and had systematic contacts and personal relationships with the

RICO Marketing Defendants and the Front Groups.

           529. Dr. Fine was originally a doctor practicing in Utah, who received support from the

RICO Marketing Defendants, including Janssen, Cephalon, Endo, and Purdue. Dr. Fine's ties to

the RICO Marketing Defendants have been well documented.226 He has authored articles and

testified in court cases and before state and federal committees, and he served as president of the

AAPM, and argued against legislation restricting high-dose opioid prescription for non-cancer

patients. Multiple videos featured Fine delivering educational talks about prescription opioids.

He even testified in a trial that the 1,500 pills a month prescribed to celebrity Anna Nicole Smith

225
      Jotln Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
hltp.llarchive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.
226
      Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry,
PRoPueLrcR      (Dec.23,20ll 9:l4AM),https://www.propublica.orglarticle/two-leaders-in-pain-treatment-have-
long-ties-to-drug-industry.




                                                          t6l
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for pain did not make her an addict before her         death.221   He has also acknowledged having failed

to disclose numerous conflicts of interest.

         530. Dr. Fine was also a critical component of the RICO Marketing Defendants' control

over their Front Groups, and the Front Groups support of the Opioid Marketing Enterprise's

coûtmon purpose. Specifically, Dr. Fine served on the Board of Directors of APF and served as

the President of the AAPM in 2011.

         531. Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Fine published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the

RICO Marketing Defendants and Front Groups.

         532. Dr. Scott     M.   Fishman    -   Dr. Fishman was a critical component of the Opioid

Marketing Enterprise, including advocating the RICO Marketing Defendants' fraudulent

messages regarding prescription opioids and had systematic contacts and personal relationships

with the RICO Marketing Defendants and the Front Groups.

         533. Dr. Fishman's ties to the opioid drug industry          are legion.228

         534. As Dr. Fishman's personal biography indicates, he is a critical component of the

RICO Marketing Defendants' control over their Front Groups, and the Front Groups support of

the Opioid Marketing Enterprise's coÍrmon purpose. Specifically, Dr. Fishman is                                     an


"internationally recognized expert on pain and pain managemenf' who has served in "numerous

227
    Linda Deutsch, Doctor: 1,500 pills don't prove Smith wqs addicted, Seerrlg Tnr¡es
https://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-smith-was-addicted/   (last updated Sept.
22,2010).
  Scott M. Fishman, M.D., Professor, U.C. Davis Health, Center for Advancing Pain Relief,
228

h@s://www.ucdmc.ucdavis.edr¡/advancingpainrelief/ourJeam/Scott-Fishman.html     (last accessed on February 28,
2018).




                                                       162
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leadership roles with the goal to alleviate pain."22e Dr. Fishman's roles in the pain industry

include "past president of the American Academy of Pain Medicine [AAPM], past chairman         of

the board of directors of the American Pain Foundation [APF], and past board member of the

American Pain Society [APS]."230 Dr. Fishman is also "the immediate past chair and current

member of the Pain Care Coalition of the American Society of Anesthesiologists, American Pain

Society, and Academy of Pain Medicine."23l Dr. Fishman's leadership positions within the

central core     of the RICO Marketing Defendants' Front Groups was a direct result of        his

participation in the Opioid Marketing Enterprise and agteement to cooperate with the RICO

Marketing Defendants' pattern of racketeering activity.

            535. Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Fishman published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the

RICO Marketing Defendants and Front Groups.

            536. There was regular communication between each          of the RICO Marketing
Defendants, Front Groups and KOLs, in which information was shared, misrepresentations are

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the

RICO Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance      to the use of opioids for chronic pain. The RICO        Marketing

Defendants, Front Groups and KOLs functioned as            a continuing unit for the purpose of
22e
      Id.
230
      Id.
231
      Id.




                                            t63
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implementing the Opioid Marketing Enterprise's scheme and common purpose, and each agreed

to take actions to hide the scheme and continue its existence.

        537. At all relevant times, the KOLs were aware of the RICO Marketing Defendants'

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment   of chronic pain with opioids. The RICO Marketing Defendants' support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLS and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and    Plaintiff. But for the Opioid Marketing Enterprise's unlawful

conduct, the KOLs would have had incentive to disclose the deceit by the RICO Marketing

Defendants and the Opioid Marketing Enterprise, and to protect their patients and the patients   of

other physicians. By failing to disclose this information, KOLs furthered the Opioid Marketing

Enterprise's scheme and common pu{pose, and reaped substantial benefits.

        538.   As public scrutiny and media        coverage focused   on how opioids ravaged

communities in Wisconsin and throughout the United States, the Front Groups and KOLS did

not challenge the RICO Marketing Defendants' misrepresentations, seek to correct their previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

that the risks of using opioids for chronic pain outweighed their benefits and were not supported

by medically acceptable evidence.

        539. The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing




                                        r64
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Enterprise. As reported in Fueling an Epidemic, the Opioid Marketing Enterprise's conduct in

furtherance    of the common pufpose of the Opioid Marketing Enterprise                         involved: (1)

misrepresentations regarding the risk of addiction and safe use of prescription opioids for long-

term chronic pain; (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to

cnticize or undermine CDC guidelines; and (4) efforts to limit prescriber accountability. The

misrepresentations made in these publications are described in the following section.

          540. Efforts to Minimize the Risk of Addiction and Promote                         Use As Safe for

Lons-Term                 of Chronic Pain - Members of the Opioid Marketing Enterprise furthered

the coÍtmon purpose of the enterprise by publishing and disseminating statements                            that

minimized the risk of addiction and misrepresented the safety of using prescription opioids for

long-term treatment       of   chronic, non-acute, and non-cancer              pain. The categories of
misrepresentations made        by the Opioid Marketing Enterprise and the RICO                       Marketing

Defendants included the followi      rtg:232


      a   The Use of Opioids þr the Treatment of Chronic Pain: A Consensus Statement From the
          American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain
          6 (1997). The "landmark consensus" was published by the AAPM and APS. Dr.
          Portenoy was the sole consultant. A member of Purdue's speaker bureau authored the
          consensus.

      a   Model Guidelines þr the Use of Controlled Substances for the Treatment of Pain (1998,
          2004, 2007).233 These guidelines, originally published by the FSMB in collaboration
          with RICO Marketing Defendants, advocated that opioids were "essential" and that
          "misunderstanding of addiction" contributed to undertreated pain.



232
    As noted below, the earliest misrepresentations disseminated by the RICO Marketing Defendants and the Opioid
Marketing Enterprise began in 1997 andhas continued unabated since that time. Therefore, this list is alleged as
fully and completely as possible.
233
   Model Policy þr the Use of Controlled Substances for the Treatment of Pain, Federation of State Medical Boards
of the United States, l:li4ay 2004,
https://www.ihs.gov/painmanagemenlincludes/themes/newihstheme/display-objects/documents/modelpolicytreatm
enþain.pdf (last accessed on March 9, 2018).




                                          t65
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      o   Oxycontin: BalancíngRisks and Benefits: Hearing of the S. Comm. on Health, Education,
          Labor and Pensiozs, Testimony by John D. Giglio, M.4., J.D., Executive Director of the
          APF (2002.)234

      a   The Management of Persistent Pain in Older Persons (2002). These guidelines were
          published by AGS with substantial funding from Endo, Purdue and Janssen'

      a   Overview of Management Options (2003,2001,2010, and 2013).23s This CME was
          edited by Dr. Portenoy, sponsored by Purdue, and published by the American Medical
          Association. It taught that opioids, unlike non-prescription pain medication are safe at
          high doses.

      o   (Jnderstanding Your Pain: Takíng Oral Opioid Analgesics (2004).236 This article,
          published by Endo Pharmaceuticals, advocated that withdrawal and needing to take
          higher dosages are not signs ofaddiction.

      a   Interview by Paula Moyer with Scott M. Fishman, M.D. (2005). Dr. Fishman advocated
          that "the risks of addiction aÍe . .. small and can be manage6.n237

      a   OpenJabel study offentanyl ffirvescent buccal tablets in patients with chronic pain and
          breakthrough pain: interim safety and tolerability results (2006).238 Dr. Webster gave
          this CME, sponsored by Cephalon, that misrepresented that opioids were safe for the
          treatment of non-cancer pain.




23a
    Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
Testimony by John D. Giglio, M.4., J.D., Executive Director of the APF (2002.)
23s
   Portenoy ,etal., Overview of Management Options, https://cme.ama-assn.org/activityll296783ldetail.aspx. On
information and belief, this CME was published by the American Medical Association in 2003, 2007,2010, and
2013.
236
   Margo McCaffery & Chris Pasero, (Inderstanding Your Pain: Taking Oral Opíoid Analgesics,Endo
Pharmaceuticals (2004), https://www.yumpu.com/enldocumenlviewl35479278/understanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).
237
      I.rte*ie* by Paula Moyer with Scott M. Fishman, M.D.,   Professor of Anesthesiology
and Pain Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005),
http ://www.medscape.orglviewarticle/500829.

238
   Hale ME, Webster LR, Peppin JF, Messina J. Open-label study offentanyl effervescent buccal tablets in patients
with chronic pain and breakthrough pain: interim safety and tolerability results. Program and abstracts ofthe
annual meeting of the American Academy of Pain Medicine; February 22-25,2006; San Diego, Califomia. Abstract
                                          'Webster, MD, https://www.medscape.org/viewarticle1524538 2 (last
120. Published with permission of Lynn R.
accessed on March 6,2018).




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      o   Treatment Optíons: A Guide þr People Living With Pain (2007). This document was
          published bythe APF and sponsored by Cephalon and Purdue.23e

      O   Responsible Opioid Prescribing: A Physician's Guide (2007).240 This book, authored by
          Dr. Fishman was financed by the FSMB with funding from Cephalon, Endo and Purdue.

      a   Avoíding Opioíd Abuse While Managing Pain (2007).241 This book, co-authored by Dr.
          Webster, misrepresented that for prescribers facing signs of aberrant behavior, increasing
          the dose in "most cases . . . should be a clinician's first response."

      O   Screener and Opioid Assessment þr Patíents with Pain (SOAPP)@ Version 1.0-SF
          (2008).242 This screening tool was published by the National Institutes of Health with
          support from Endo through an educational grant, and advocated that most patients are
          able to successfully remain on long-term opioid therapy without significant problems.

      a    Case Challenges in Pain Management: Opioid  Therapyþr Chroníc Pain (2007¡.243 This
           afücle, sponsored by Endo, misrepresented that opioids are a highly effective class of
           analgesic drugs.

      a    Opíoid-Based Management of Persistent and Breakthrough Pain (2008).244 This
           document was written by Dr. Fine and sponsored by an educational grant from Cephalon.
           Dr. Fine advocated for the prescription of rapid onset opioids "in patients with non-
           cancer pain."

      a    Optimizing Opioid Treatment þr Breakthrough Paín (2008).245 Dr. Webster presented
           an online seminar (webinar) sponsored by Cephalon, that misrepresented that non-opioid
           analgesics and combination opioids containing non-opioids are less effective because of
           dose limitations.




  Arn. Paìn Found., Treatment Options: A Guide þr People Living in Pain (2007) fhereinafter APF, Treatment
23e

Optionsl, https://assets.documentcloud.orgldocumentsl277íl1lapÊtreatmentoptions.pdf (last accessed on March 8,
2018).
240
      Scott M. Fishman, Responsible Opioid Prescribing; A Physician's Guide, S-9 (Waterford Life Sciences 2007).

24 LywtWebster & Beth Dove, Avoiding Opioid Abuse While Managing Pøin (2007).

242
   Screener and Opioid Assessment for Patients with Pain (SOAPP)@ Version 1.}-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/frles/Pdfs/SOAPP-5.pdf (last accessed on March 8, 2018).
2a3
   Charles E. Argofl Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,Pain Med. News'
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf      (last visited on March 8, 2018).
2aa
    Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain,PainMedicine News,
https://www.yumpu.com/er/documenVviewlll40925l/opioid-based-management-of-persistent-and-breakthrough-
pain (last accessed on February 27 ,2018).
24s
      LyffiWebster, Oplimizing Opioid Treatment for Breakthrough Pain, Medscape,
h@://www.medscape.org/viewarticle/5 63417          (last visited Dec. I   l,   2017).
                                              -6



                                                           167
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       a     Clinical Guidelines   þrthe Use of Chronic Opíoid Therapy in Chroníc Non-Cancer Pain
             (2009).246 These guidelines were published by AAPM and APS. Fourteen of the twenty-
             one panel members, including Dr. Portenoy and Dr. Fine, received support from the
             RICO Marketing Defendants.

       a     Pharmacologícal Management of Persístent Pain in Older Persons (2009).247 These
             guidelines were published by AGS, with substantial funding from Endo, Purdue, and
             Janssen, updated the 2002 guidelines and misrepresented that the risks of addiction are
             exceedingly low.

       a     Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A
             Survival Guide to Pain Management þr Returning Veterans and Their Families,2as
             American Pain Foundation, 2009. This article was published in 2009 and sponsored by
             Purdue.

       o     Finding Relief: Pain Management þr Older Adults, (2009).24e This article was                             a
             collaboration between the American Geriatrics Society, AAPM and Janssen.

       a     Good Moming America (2010). Dr. Portenoy appeared on Good Morning America and
             stated that "Addiction, when treating pain, is distinctly uncommon."25O

             A Policymaker's Guíde to Understanding Pain & Its Management, American Pain
             Foundation (2}ll).2s1 APF published this document, that was sponsored by Purdue,
             which argued that the notion of strong pain leading to addiction is a common
             misconception.

             Managing Patíent's Opioid (Jse: Balancing the Need and the Risk (201I).2s2 Dr.
             Webster presented a webinar, sponsored by Purdue, that misrepresented the ability to use

2a6
      Roger Chou et al., Clinical Guidelines   þr   the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, l0 J
Pain 113 (2009).
2a7
   Pharmacological Management of Persistent Pain in Older Persons,5T J. Am. Geriatrics Soc'y 133 1, 1339 , 1342
( 2009), https://www.nhqualitycampaign.org/files/AmericanGeriatricsociety-PainGuidelines2009.pdf (last accessed
on March 9, 2018).
2aB
      Iraq /[ar Veteran Amputee, Pain Advocate and New Author Release Exit       lV'ounds: A Survival Guide to Pain
Managementþr Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.orglwebl20lùO3082240lllhttp:llcoalitionforveterans.org:8012009/l0liraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March l, 2018)
2ae
      Finding Relief, Pain Management   þr     Older Adults, (2009).
2s0
      Good Morning America (ABC television broadcast Aug. 30, 2010).
2stA Policymaker's Guide to (Jnderstanding Pain & Its Management, American Pain Foundation (2011) at 5,
htþ://s3.documentcloud.org/documents/277 603lap1-policymakers-guide.pdf (last visited March 6, 2018).
2s2
         Managing Patient's Opioid (Jse: Balancing the Need and the Risk, Emerging Solutions in Pain
      See,
http ://www. emergingsolutionsinpain. com/ce-educ ation/opioid-
management?option:com_continued&view:frontmatter&Itemid:303&course:209 (last visited Aug.22,2017).




                                                              168
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           risk screen tools, urine samples and patient agreements to prevent ovenrse and overdose
           death.

       a   Safe and Effective Opioid Rotation (20I2).2s3 This CME, delivered by Dr. Fine, that is
           also available online, advocated for the safe and non-addictive use of opioids to treat
           cancer and non-cancer patients over a person's "lifetime."

       o   Pain: Opioid Facts (2012).2s4 This document was published online on Endo's website
           painknowledge.org and advocated for the use of opioids and downplayed the risk of
           addiction, even for people with a history of addiction and opioid use, and supported the
           concept of pseudoaddiction.

           541. Efforts     to Cnticize or U             ine CDC Guidelines        -   Members    of the   Opioid

Marketing Enterprise cnlicized or undermined the CDC Guidelines which represented "an

important step      - and perhaps the first major step from the federal government - toward limiting
opioid prescriptions for chronic pain."255 The following are examples of the actions taken by

Opioid Marketing Enterprise members to prevent restriction on over-prescription:

       a   Several Front Groups, including the U.S. Pain Foundation, and the AAPM criticized the
           draft guidelines in 2015, arguing that the "CDC slides presented on Wednesday were not
           transparent relative to process and failed to disclose the names, affrliation, and conflicts
           of interest of the indiviãuals who participated in the construction of these guidelines."256

       o                                               in 2016, through its immediate past
           The AAPM cnticized the prescribing guidelines
           president, stating *that the CDC guideline makes disproportionately strong
           recommendations based upon a narrowly selected portion of the available clinical
           evidence."257




2s3
      Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https ://www.youtube.com/watch?v:_G3II9yqgXI.
2sa
      Po¡r' opioid Facts,
htç://web.archive.org/webl2}l20l1205l1.09lhttp.llwww.painknowledge.org/patiented/pdf/P atiento/o2DBducationo/o2
0b3 8 0_b3 8 5 % 20o/o20pF/o2ùopiod.pdf (last visited March 6, 20 I 8).
2ss
      Fueling an Epidemic, supra, atp. 13.
2s6
    PatAnson, Chronic Pain Group Blasts CDC for Opioid Guidelines, Pain News Networks,
https://www.painnewsnetwork.org/stories l20l5l9l22lchronic-pain-groups-blast-cdc-for-opioid-guidelines   (last
accessed on March 8, 2018).
2s7
    PracticalPain Management, Responses and Criticisms Over New CDC Opioid Prescribing Guidelines
(https://www.practicalpainmanagement.com/resources/news-and-research./responses-criticisms-over-new-cdc-
opioid-prescribing-guidelines) (last accessed Sept. 28, 2017).




                                                          169
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           542. In each of the actions performed by members of the Opioid Marketing Enterprise,

described above, the members of the Opioid Marketing Enterprise made branded and unbranded

marketing claims about prescription opioids that misrepresented prescription opioids as non-

addictive and safe for use as identified in following section.

               4.    Members       of the Opioid Marketing Enterprise Furthered the Common
                     Purpose by Making Misrepresentations.

           543. The RICO Marketing Defendants, Front Groups and KOLs participated                       in    the

conduct of the Opioid Marketing Enterprise and shared in the coÍìmon purpose of marketing

opioids for chronic pain through a pattem of racketeering activity (including multiple instances

of mail and wire fraud) by knowingly making material                    misrepresentations    or omissions     to

Wisconsin prescribers, consumers, the general public, regulators and                    Plaintiff. All of     the

misrepresentations made by members of the Opioid Marketing Enterprise furthered the common

purpose of the Enterprise.

           544. Members          of the Opioid Marketing Enterprise, including the RICO Marketing
Defendants, Front Groups and KOLs made multiple unbranded marketing misrepresentations

about the benefits and risks of opioid use,          in furtherance of the Opioid Marketing Enterprise's

common pulpose, as follows:

           545. Members of the Opioid Marketing Enterprise minimized the risks of addiction

andlor construed opioids as non-addictive:

       o   AAMP and APS endorsed the use of opioids to treat chronic pain and claimed that the
           risk of   a   patients' addiction to opioids was 1ow.2s8

       o   "fO]pioids are safe and effective, and only in rare        cases lead to addiction;t2íe




2s8
                     for the Treatment of Chronic Pain: A Consensus Statement From
      The Use of Opioids                                                               the American Academy   of
Pain Medicine and the American Pain Society,l3 Clinical J. Pain 6 (1997).




                                                        170
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      a    "[T]he risks of addiction         are . . .   small and can be manage6.n260

           Medscape: Controversy surrounds both the undeÉreatment and overtreatment
           of pain. Overtreatment of pain obviously involves the fear of causing or
           perpetuating opioid drug dependency. What recommendations can you gíve to
           plimary care physicians who are reluctant to prescribe opioids' either as
           adjuncts or primary agenG for pain control, because of these fears?

           Dr. Fishman: lt used to be that when you had a patient urith pain and you were
           worried about giving hìm or her a drug that tnay be abusable or may cause
           acldiction, the safest thing to do was nothing, as thouqh cloing nothing would have
           no risks in ancl of itself. We know that the risks of addiction are there, but lhey are
           small and can be managed. The AAPM ¡s going to be at the forefront, educating


      a    Represented that calling opioids "'narcotics' reinforces myths and misunderstandings as
           it places emphasis on their potential abuse rather than on the importance of their use as
           pain medicines."26l

            optotD Af,JALcE Stcs        (r\¡ARC(l TtC5)
           Oprcrd analgesics ¿re another rrr¡por-t¿nt cl¿ss of medtcat¡ons thãt år€ very efÌeclrve palrì
           re|evers As men{lcr¡ed before, they may alço b+ called ''ru¿rcottcs." t-.}nfortr.ln¿teiy. thrs
           ierm is used by Ì¿w enforcemenl tr refer tc druq: that are abused, Coc¿tne and herotn
           ¿re r¿lled nårcotrcs e\¡en though th€!, àre very drfferenl krndç of druqs Callrnq oproid
           analgesics ''n,ãtrott{s" rernforces myths ånd rnrsr.lnderst¿ndrngs as ll places emphasrs orl
           trheir potÊntral ¿buse rather thðn on lhe rmpcrtance of lhetr use as pain medic¡nes. ln
           the parn TfeJtmênt world, the word oprord rs used '*'hen speakrng åbout thrs cl¿sr nf
            medic¿tionç-


       a   "Addiction, when treating pain, is distinctly uncommon. If a person does not have a
           history, a personal history, of substance abuse, and does not have a history in the family
           of substance abuse, and does not have a very major psychiatric disorder, most doctors can
           feel very assured that that person is not going to become addicted."262

       a   The risk of addiction is manageable for patients regardless of past abuse histories.263




2se
      Oxycontin: Balancing   Rislcs   and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
107thCong.2(Feb. 12,2002)(testimonyofJohnD.Giglio,M.A.,J.D.,ExecutiveDirector,AmericanPain
Foundation), https://www.help. senate. gov/imo/media/doc/Giglio.pdf'
260
      l.rte*ie*by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.orglviewarticle/500829'

2ór
   APF, Treatment Options,https://assets.documentcloud.org/documentsl27'lí}5lapÊtreatmentoptions.pdf          (last
accessed on March 8, 2018).
2ó2
      Good Morning America (ABC television broadcast Aug. 30, 2010).
263
   Roger Chou et al., Clinical Guidelines for the (Jse of Chronic Opioid Therapy in Chronic Non-Cancer Pain, l0 J
Pain 113 (2009).




                                                                t7l
           Case 2:18-cv-01087-PP Filed 07/16/18 Page 176 of 318 Document 1
      a   "[T]he likelihood that the treatment of pain using an opioid drug which is prescribed by             a
          doctor will lead to addiction is extremely 1ow."264

          Patients might experience withdrawal symptoms associated with physical dependence as
          they decrease their dose, "[b]ut unlike actual addicts, such individuals, if they resume
          their opioid use, will only take enough medication to alleviate theit pain."26s

      a   The notion that "strong pain medication leads to addiction" is a                           "common
          misconcepIiort."266


                SOME COMMON MISCONCEPTIONS ABOUT PAIN




      o   "Addiction to an opioid would mean that your pain has gone away but you still take the
          medicine regularly when you don't need it for pain, maybe just to escape your
          problems."267




  Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street Journal (Dec. 17,
26a

2Ol2), https://www.wsj.com/articles/SB1000142412788'7324478304578173342657044604.
265
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 O22O (Butler Co., Ohio 12th Court of Appeals, Dec.23,2002),htþs:llia80l005.us.archive.or!23litemsl2790l4-
howland-apf- amiousl 27 9 0l 4-howland-apÊamicus.pdf.
  A Policymaker's Guide to (Jnderstanding Pain & Its Management, Amerrcan Pain Foundation (201l) at 5,
266

h@://s3 .documentcloud.orgldocuments/2776O3lapf-policymakers-guide.pdf (last visited March 6, 201 8).
267
   Margo McCaffery & Chris Pasero, (Jnderstanding Your Pain: Taking Oral Opioid Analgesics,Endo
Pharmaceuticals (2004), h@s://www.yumpu.com/en/documenlviewl35479278lunderstanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).




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                    H¿'w csn .l Ì¡e s,;.re J'm nal odd¡credF
                   t Addidion lo or, opb¡d rvflrld mtôn lhüt
                     four porn hos gcnp trr,r/cry bn, yat ¡lil
                       tako the rned;c¡n+ regvlorþ wlron yor.l
                       dør't nood it lø pain¡ mdybt iutl n
                       es.csFe fror¡ 'four problernr.
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                       medicine if my porn rarenl orffsy? lf you
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                       the right rcrosc'nl-lo relisve yËur pcltn
                       ond irnp{ov€! your Funchon Yov ore nd
                       oddlccrj

       a   Even for patients assessed to have a risk of abuse, "it does not mean that opioid use will
                                                                     2ó8
           become problematic or that opioids are contraindicated."

       o   fP]eople who have no history of drug abuse, including tobacco, and use their opioid
           medication as directed will probably not become addicted."26e

                   WILL I BECOIIE ADDICIED
                   TO OP¡OID:S?
                   This rs a key issue for both you                      o
                   lristory of drug abr-¡se, including
                   tobacco. ancJ use the¡r opioid
                   rnedi tion as directed
                   rnrill probably not beco e
                       dicted- Hourever, pat¡ents
                   rn¡ho isL¡se or abuse
                   opioids can becorne
                       dicted to therrì.
                   so o nly drscussing
                   YOUr concerns
                      ith your doctor is
                   i portant. People rruho
                   are addicted to opioids crave
                   the "unt¡sually happy" effect tl're drug
                   has on ttrern la "buzz" or " high"l
                   and ll continue to use the drug even
                   though it harrns thern.

268
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician's Guide, S-9 (Waterford Life Sciences 2007).

26ep o¡n' Op io id F ac t s, http //web. archive. org/web I 20 120 I I 205 1 I O9/http :
                             :



//www.painknowledge.orglpatiented/pdflP atienTo/o2DBdtcationo/o2}b38}-b385%20%o20pP/o20opiod.pdf        (last visited
March 6, 2018).




                                                         173
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       o    "A history of addiction would not rule out the use of opioid pain                     relievers."27o


                                   WHAT IF I WAS
                                             Y ADD. crE D                     ro
                  3fríry;X.ili"usl
                             of atltiir:tirl¡t ',vculrJ tiol ru[e out
                   ,A tirrstt-xy
                   llle    use of rr¡-rirrrcl pdrrt rel'evers.
       a    APF published Exit Wounds, wherein it represented that "[]ong experience with opioids
            shows that people who are not predisposed to addiction are very unlikely to become
            addicted to opioid pain medications."2Tl



             and Their Families
                                               "Its tlow four years since I lay ¡n the dirt, near death, Õn the side of
                                               the road in FsltuJah. I'm qrateful for all the things I have, and proud
                                               of all I've accomplished. In the enC though, I dont meas)re how far
                                               I've come Dy qoals ach¡eved, or aadem¡c degrees eamed, or runntng
                                               trophies won. For me. what counts ¡s that pain no longer rules my
                                               l¡fe." - Derek McGrnnis

                                               The American Pain Foundatìon (APF) ãnnounces the release of lraq
                                               War Veteran and Pa¡n Advtlcate Derek Mcctnnis'lirstbook, Ex¡t
                                               wounds: A SurvÍval Guide to Pan Mãnagement for Returnmg
                                               Veterans and Their F¿milies. Wr¡tten ¡n collaborai¡on w¡th nationally
                                               reno$/ned pain experts, the reiease date of September 2! for Exil
                                               Wounds coincided w¡th September's desígnat¡on     as   ¡n Arvöreness
                                               Month.




       o    Patients rarely become addicted to prescribed opioids.272

       o    Concern about patients becoming addicted reflects widespread failure to appreciate the
            distinction between "(l) tolerance - the body's tendency to become accustomed to a
            substance so that, over time, a larger amount is needed to produce the same physical
            effect þain relief) and physical dependence - the state defined by the experience of
            adverse symptoms if a drug is abruptly withdrawn . . . each of which is common with
            pain patients" . . . "and, on the other hand, (2) the psychological and behavioral pattems -


270
      Id.
211
      lraq Wqr Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival Guide to Pain
Management     for Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
hftp,llweb.archive.org/web/20100308224011lhttp:llcoalitionforveterans.org:8012009ll0liraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March l, 2018).
272
   Brief of Amici the American Pain Foundation, the National Pain Foundation , and the National Foundation for
the Treatment of Pain, 2005 V/L 2405241 , *9 (citing Portenoy, Russell, et al., Acute and Chronic Pain, in
COMPREHENSIVE TEXTBOOK OF SUBSTANCE ABUSE,863-903 (Lowinson et al. eds., 4th ed. 2005), United
 States u. Hurouitz, 459 F.3d +6g (zoo6) (citing Portenoy et. al, Chronic Use of Opioid Analgesics in Non-
Malignant Pain: Report of SB Cases, PAIN, Vol. 25, t7l.-t86, (tq86)).



                                                          174
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              an unhealthy craving for, compulsive use of, and unhealthy fixation                               -   that charactenze
              addíction."213

       a     Evidence establishes that the risk of drug addiction (historically the principal medical
             justification for withholding or limiting opioids) is far /ess substantial than long and
             widely assumed.2Ta

              The "risks fof addiction] are exceedingly low in older patients with no current or past
              history of substance abuse."275

                 the arldiction- Although the risks are exceedingly low in
                 older patients with no currËnt or past history t¡f substance
                 abusc, it is impossiblc to idcntify ever.v paticnr who will
                 ¡br¡se or <Iivert pre ihed opi<rids. ll- T'hereftlre , many cli-




              546. Members of the Opioid Marketing Enterprise advocated that opioids were safe and

effective for long-term treatment of chronic, non-acute and non-cancer pain:

              "Opioids are an essential option for treating moderate to severe pain associated with
              surgery or trauma. They may also be an important part of the management of persistent
              pain unrelat ed to çancet."21 6

                  ical uses
              Opr,ords ¿re Àn essentràl opÛon  for trealrng moder¡te lo seÀJere parn assoctaled wtlh
              surgery or Îràurnã" and f,or parn related tc (ancer. Ihey rnay also be an rmp     nl part of
              lhe manðgemenl of pÊrsrstent parn unrelated lt càncer. Ihese mediflnes block patn


       a      Opioids were a safe and effective treatment for of pain as part of a physicians' treatment
              guidelines.2TT

       a      The "small risk of abuse does not justiff the withholding of these highly effective
              analgesics from chronic pain patients."278




2?3BriefofAmiciRusselK.Portenoy, eta1.,2005WL2405249,(JnitedStatesv.Hurwitz,4sgF.3d+69(zoo6)
(emphasis in original).
274
      Id.   and sources cited at note 9.
27s
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc'y 133 1, 1339, 1342
( 2009), https://www.nhqualitycampaign.orglhles/AmericanGeriatricsociety-PainGuidelines2009.pdf  (last accessed
on March 9,2018).
2't6 APF, Treatment       Options, https://assets.documentcloud.org/documentsl277                605lapf-treatmentoptions.pdf.
277
   Roger Chou et al., Clinical Guidelines            þr   the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, l0 J
Pain 113 (2009).




                                                                       t7s
              Case 2:18-cv-01087-PP Filed 07/16/18 Page 180 of 318 Document 1
       a    Opioids, unlike some non-prescription pain medications, are safe at high                doses.27e


       o    Falsely representing "recent findings suggesting that most patients are able to
            successfully remain on long-term opioid therapy without significant problems."28O

       a    Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to
            good medical practice.28    1




       a    Even for patients assessed to have a risk of abuse, "it does not mean that opioid use               will
            become problematic or that opioids are contraindicated."2sz

       o    Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to
            good medical practice.283

       o    Broadly classifying pain syndromes as "either cancer- or non-cancer-related has limited
            utility," and recommended dispensing rapid onset opioids "in patients with non-cancer
            pain."284

       o    Opioids are safe and well-tolerated           in   patients with chronic pain and break through
            pain.285




278
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio l2th Court of Appeals, Dec.23,2002), https://ia8Ol005.us.archive.orgl23litemsl2790l4-
howland-apf- amictsI 27 9 0 I 4-howland-apf-amicus.pdf.
2?e
      Portenoy, et al., Ovewiew of Management Options, https://cme.ama-assn.org/activiÍy11296783/detail.aspx. On
information and belief, this CME was published in 2003, 2007,2010, and 2013.
280
      Screener and Opioid Assessment   for Patients with Pqin (SOAPP)@ Version 1.}-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf       (last accessed on March 8, 2018).
281
       Scott M. Fishman, Responsible Opioid Prescribing: A Physician's Guide,8-9 (Waterford Life

Sciences 2007).
282
      Id.
283
       Scott M. Fishman, Responsible Opioid Prescribing: A Physician's Guide, S-9 (V/aterford Life Sciences 2007).

28a
   Perr), G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/documenVviewlll40g25l/opioid-based-management-of-persistent-and-breakthrough-
pain (last accessed on February 27,2018).
28s
   Hale ME, Webster LR, Peppin JF, Messina J. Open-label study offentanyl effervescent buccal tablets in patients
with chronic paín and breakthrough pain: interim safety and tolerøbility results. Program and abstracts of the
annual meeting of the American Academy of Pain Medicine; February 22-25,2006; San Diego, California. Abstract
120. Published with permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticlel524538 2 (last
accessed on March 6, 2018).




                                                           176
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            The data suggest that FEBT is safe and well tolerated in opioidlolerant patients
            with chronic noncancer pain. There was no respiratory depression, and a low
            incidence of treatment-related adverse events was reported. Thirty-five patients
            (37o/ol reported having at least 1 adverse event, the most common of which were
            nausea (77o) and dizziness (5o/ol.

            Non-opioid analgesics and combination opioids containing non-opioids such as aspirin
            and acetaminophen are less effective than opioids because of dose limitations on non-
            opioids.286

             adverse events. Furthermore, although nonopioid analgesics, such as
             acetaminophen and NSAIDs/COX-2 inhibitors, are effective for nociceptive pain,
             their use in BTP is likewise restricted by dose-limiting toxicities, an onset of action
             that is delayed by 30 minutes or more, a long duration of action that could augrnent
             sedation and other síde effects of the agent used forthe baseline pain, and fears
             about renal and cardiovascular complications. Agents that combine an S , st-lch
             as hydrocodone plus acetaminophen, aspirin, or ibuprofen, aiso are limited by
             potential adverse events and ceiling effects from the nonopioid component.


       a    Opioids can safely alleviate chronic pain unresponsive to other medication.28T

            Medical organization and governmont-sponsored clinical guidelines support and
            encourage opioid treatment for chronic pain.288

       o    Respiratory depression, even at extremely high levels, does not occur in the context                  of
            appropriate clinical treatment.2se

       a    There is no "ceiling dose" for opioids.2eO

       a    Opioid analgesics are the most effective way to treat pain of moderate to severe intensity
            and often the only treatment that provides significant relief.2el




286
   ¡t-r Webster, Optimizing Opioid Treatmentfor Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/S63417 _6 (last visited Dec. ll,2017).
287
      Brief for American Pain Foundation, et al. as Amici, United States v. Hurowitz,459 F.3d 463 (4fh Cir.2006) (No
05-4474) 2005     WL 2405247, *8 (citing Portenoy etal., Chronic Use of Opioid Analgesics in Non-Malignant Pain:
Report of38 Cases,25 PAIN 171-186, (1986).
288
      Id. at *8, and sources cited in note   1   l.
28e
      Id.
200
      1¿.
2et Brief for Portenoy, et al. as Amici, United Stqtes v. Hurowitz,459 F.3d 463 (4th Cir.2006) (No. 05-4474), 2005
wL2405249.




                                                          177
            Case 2:18-cv-01087-PP Filed 07/16/18 Page 182 of 318 Document 1
      a   "Opioid rotations" (switching from one opioid to another) not only for cancer patients,
          but also for non-cancer patients, may need to occur four or five times over a person's
          "lifetime" to manage pain.2e2

      a   Opioids represent a highly effective . . . class of analgesic medications for controlling
          both chronic and acute pain. The phenomenon of tolerance to opioids - the gradual
          waning of relief at a given dose - and fears of abuse, diversion, and misuse of these
          medications by patients have led many clinicians to be wary of prescribing these drugs,
          andlor to restrict dosages to levels that may be insufficient to provide meaningful
          relief.2e3

              Opioids represent a highly e ctive but controversial and often misunder-
           stood class of analgesic medications for controlling both chronic and acute
           pain. The phenomenon of tolerance to opioids-the gradual waning of relief at
           a given dose-and fears of ebuse, diversion, and mtsuse of these medications
           by patients have led many clinicians to be wary of prescribing these drugs,
           and/or to restrict dosages to levels that may be insufficient to provid€ mean-
           ingful relief.r


          547. Members of the Opioid Marketing Enterprise created and championed the concept

of "pseudoaddiction," advocating that           signs   of addiction were actually   pseudoaddiction that

required prescribing additional opioids:

      a   Patients might experience withdrawal symptoms associated with physical dependence as
          they decrease their dose, "[b]ut unlike actual addicts, such individuals, if they resume
          their opioid use, will only take enough medication to alleviate their pain."2ea

      a   "Addiction IS NOT when a person develops 'withdrawal' (such as abdominal cramping
          or sweating) after the medicine is stopped or the dose is reduced by a large amount. . . .
          Addiction also IS NOT what happens when some people taking opioids need to take a
          higher dose after a period of time in order for it to continue to relieve their pain. This




2ez
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https //www. youtube. c o m/watch? v--_G 3 II9yqgXL
      :




  Charles E. Argoff, Cqse Challenges in Pain Management: Opioid Therapyþr Chronic Pain,PainMed. News,
2e3

2007,https:l/www.painmedicinenews.com/download/BtoB_Opana_WM.pdf      (last visited on March 8, 2018).
2eaBriefforAmericanPainFoundation,etal.asAmici, Howlandv.PurduePharmaL.P.,lnsupportofAppellants,
Appeal No. CA 2002-09-0220 Butler Co,l2thCourt of Appeals, 2002).




                                          t78
          Case 2:18-cv-01087-PP Filed 07/16/18 Page 183 of 318 Document 1
            normal 'tolerance' to opioid medications doesn't affect everyono who takes them and
            does not, by itself, imply addiction."2es

                            lVg.rl sI{()LrLn I rx<¡rv ,ttr()Lr-t'
                            ()I't()ll)s ,{ÀIt) ,4'DDTC;'l't<rN I
                            You or your fomily Ítoy hove queslions o ul
                            oddiction- lt ¡s imporlonl lo understond whot
                            oddiction ¡s. Addiction 15 o chronic broin dis-
                            eose lhcrl cctn occur in some people ex sed
                            lo cerloin substonces such os olcohol.
                            cocoine, ond opioids. Toking opioids for            in
                            rel¡ef ¡s not oddiction- People odd¡ct to opi-
                            oids crove the opioid ond use it regulorly for
                            recrs,ons olher thon poin rel¡ef-
                            Addicrion lS N           .¡rhen o person develops
                            "r¡rithdror¡¡ol'' (such   os o orninol cromping
                            or sr,veolingf ofter the medicine is stopped
                            quickly or Ìhe dose is reduced by o lorge
                            omounl- Your docfor r¡rill ovoid slopping your
                            rrr icolion suddenly by slowrþ reducing fhe
                            omounl of opioid you toke before the rnedi-
                            cine is completely stopped. Addiction olso
                            ¡5 N        r,vhot hoppens r^¿hen s<trrre people
                            roking opioids need to loke o higher dose
                            ofter o peri       of time in order for it io contin-
                            r¡e Ìo relieve lheir poin. This norrnol 'Ìoler-
                            once" to opioid medicctÌions doesn'l offect
                            êveryone r¡vho Ìokes lhem ond does not, by
                             -tself, imply oddiction. lf toleronce does
                            occur¡ it does nol meon you will 'run oul" of
                            or¡other medic¡ne con be prescribed-

       a    "Addiction to an opioid would mean that your pain has gone away but you still take the
            medicine regularly when you don't need it for pain, maybe just to escape your
            problems."2e6




2e5
   Margo McCaffery & Chris Pasero, (Jnderstanding Your Pain: Taking Oral Opioid Analgesics,Endo
Pharmaceuticals (2004), http://www.thblack.com/links/RSD/Understand_Pain-Opioid-Analgesics.pdf (emphasis in
original) (last accessed on March 9, 2018).
2e6
      Id.




                                                      179
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                                How can I be sure I'm nol odd¡c¡ed?



                                 don't need ¡t f,or poin, moy just lo
                                 escope from        r problems-


                                  onswer no, you ore toking opioids for
                                  the right r€losons - lo relieve your in

                                 odd¡c

          Behaviors such as "fr]equesting fdrugs] by name," "fd]emanding or manipulative
          behavior," "fo]btaining drugs from more than one physician," and "fh]oarding opioids,"
                                                                                    2ej
          are all really signs of pseudoaddiction, rather than genuin e addiction."

      a   "sometimes people behave as         if they   are addicted, when they are really in need of more
          medication."298




                           drives a psrson to take an
                           opioid €ìvan though it causes
                           harm. This is a problem that
                           needs immediato troalment"
                           This happens to some patients
                           who use opaoids-

                           rf   they are addacted. when th

                           medication. This can be tr ted
                           wrth higher ses of medlcine"

      a   For prescribers facing signs of aberrant behavior, increasing the does "in most cases
          should be the clinician's first respon.".r:2ee

297
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician's Guide, S-9 (Waterford Life Sciences 2007).
2e8
   Po¡n' opioid Facts,
http:llweb.archive.orglwebl20l20ll205ll09lhttp:llwww.painknowledge.org/patiented/pdflP      atiento/o20Bducationo/o2
0b380 b385%20%20p9/o20opiod.pdf (last visited March 6, 2018).




                                                         180
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             548. Members of the Opioid Marketing Enterprise advocated that long-term use of

prescription opioids would improve function, including but not limited to, psychological health,

and health-related quality of life:

       o     'When
                    opioids are managed, properly prescribed and taken as directed, they are effective
             in improving daily function, psychological health and health-related quality of life.300


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       a     Opioid therapy to relieve pain and improve function is a legitimate medical practice for
             acute and chronic pain ofboth cancer and non-cancer origins.30l

       a     "[Y]our level of function should improve, you may find you are now able to participate in
             activities of daily living, such as work and hobbies, that you were not able to enjoy when
             your pain was worse."3o2

       a     "The goal of opioid therapy is to . . . improve your functiott.::303

                   The goal of opioid therapy is              to control pain and improve yout functíon.



zee
      LywtWebster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
300
    A Policymaker's Guide to (Jnderstanding Pain & Its Management, Amencan Pain Foundation (201l) at 5,
http://s3.documentcloud.org/documents 1277 603lapf-policymakers-guide.pdf (last visited March 6, 2018).
301
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician's Guide, S-9 (Waterford Life Sciences 2007);
Scott M. Fishman, Responsible Opioid Prescribing: A Clinician's Guide, l0-l I (2d ed.2012).
302
  Plaintiff is informed and believes that this misrepresentation was made on the website painknowledge.org.
303
   Pain' opioid Facts,
http:llweb.archive.org/webl20l20l12051 1O9/http://www.painknowledge.org/patiented/pdflP atienlo/o2}Education%o2
0b3   8   0_b3   8 5   %20o/,20pP/o20opiod.pdf (last visited March 6, 20 I 8 ).




                                                                    181
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       a       The "goal" for chronic pain patients is to "improve effectiveness which is different from
               effi cacy and safety."3oa




               549. Members of the Opioid Marketing Enterprise represented that screening questions

and professional guidelines would help curb addiction and potential abuse:

           a   Screening questions and professional guidelines will "easily and efhciently" allow
               physicians to manage risk and "minimize the potential for abuse."305

           a   Risk screening tools, urine testing, and patient agreements aÍe away to prevent "overuse
               of prescriptions" and "overdose deaths."306




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      Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
http   s //www. youtub e. c om/watch? rr-_G 3 II9yq gXL
           :



305
       Scott M. Fishman, Responsible Opioid Prescribing: A Physician's Guide,8-9 (Waterford Life Sciences 2007)

306
        Managing Patient's Opioid (Jse: Balancing the Need and the Risk, Emerging Solutions in Pain
      See,
http //www. emergingsolutionsinpain. com/ce-education/opioid-
       :


management?option:com_continued&view:frontmatter&Itemid:303&course:209 (last visited Aug. 22,2017).




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       o    The risks       of   addiction and abuse can be managed by doctors and evaluated with
            úrtools."3o7


            550. In addition to the unbranded marketing misrepresentations        made by members of the

Opioid Marketing Enterprise, the RICO Marketing Defendants made misrepresentations in their

branded marketing                activities. The RICO Marketing           Defendants' branded marketing

misrepresentations furthered the common purpose of the Opioid Marketing Enterprise because

they advanced the common messages of the Opioid Marketing Enterprise. For example:

            551. The RICO Marketing Defendants misrepresented that opioids were non-addictive

or posed less risk of addiction or abuse:

       o    Purdue:

                o     "Fear of addiction is exaggerated."308

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                        Ûre ca¡se d pdreflt restslarrce to appropride pan tredment - tln
                     fear of aü¡cttm - is laqdy mfonêd. Accødrg to Dr" Max,
                     'Experts agree that rnæt pan caLsed by sugry or ctrcer caì be
                     rdiared, gimarily by c¡efdly dlrßtang thê dæe d ogdd
                     (narcctrc) pan reltever lo each pdtenl's need, 8rÉ that tlrcre as Yery
                     Uttle rÉk d addiction fffii the proper uses d these Ûugs for pan
                     re¡ef.'
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                     Norwdk. Corræct¡c¡¡t, ærees with ttds æs€ssrnenl. 'Prçer use of
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                     in ttre way ol tteir þiltimale LBe'


                 o     "[W]e've discovered that the simplicity and convenience of twice-daily dosing
                       also enhances patient compliance with their doctor's instructions."30e




307
    PerrJ, A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https ://www.youtube. com/watch?v--_G3 II9yqgXl.

  Harriet Ryan, et al.,"You lVant A Description of Hell? " OxyContin's l2-Hour Problem,L.A. Times (May 5,
308

2016),http:lldocuments.latimes.com/oxycontin-press-release-1996/ (hereinafter "Ryan, Description of Hell")
30e
      Id.




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                    taking túlels every forr to six ts¡s. Mqeoær, tY'e'YË ttscoreled lhd
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             o     Long-acting, extended release formulations are safe and "less prone" to abuse by
                   patients and addiction.3lo

             o     OxyContin is safe and non-addictive when using extended release formulations,
                   and appropriate for use in non-cancer patients.3ll

             o     Consistently minimizing the risk of addiction            in the use of opioids for        the
                                                                    12
                   treatment of chronic non- cancer-related p ain.3

             o     OxyContin is virtually non-addictittg."'

             o     "Assurfing] doctors    -repeatedly and without evidence - that'fewer than one
                   percent' of patients who took OxyContin became addicted."3la




3r0 Barry Meier, In Guilty Plea, OxyContin Muker to Pay 8600 Million, N.Y. Times (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter "Meier, Guilty Plea").
3rr Charles Ornstein &Tracy Weber, Americqn Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012,8:57 PNI),
http://www.opb.org/news/article/americalain_foundation_shuts_down-as senators launch-investigation-of-presc
ription_narcotis/ (hereinafter "Ornstein, American Pain Foundation").
312 ArÍYanZee, The Promotion and Marketing of OxyContin: Commercial Triumph,Ptblic Health Tragedy,99(2)

Am. J. Pub. Health 221-27 (Feb. 2009) (hereinafter, "YanZee, Promotion and Marketing").
313
   Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.corn/magazrnel20l'7110130/the-family-that-built-an-empire-of-pain
3ta
   Id.; see also "I got my hfe back," OxyContin Promotional Video, 1998,
https://www.youtube.com/watch?v:Er78Dj5hyel (last accessed on March 8, 2018).




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                            OxyContin Promotional Video
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              o   OxyContin was addiction resistant and had "abuse-deterrent properties."3l5

              o   Misrepresented the risk of addiction using misleading and inaccurate promotions
                  of OxyContin that were unsupported by science.3l6

              o It was more difficult to extract the oxycodone                from an OxyContin tablet for
                  intravenous abuse.317

              o   OxyContin created fewer chances for addiction than immediate-release opioids.3l8

              o   OxyContin had fewer "peak and trough" effects than immediate-release opioids
                  resulting in less euphoria and less potential for abuse than short-acting opioids.3le

                  Patients could abruptly stop opioid therapy without experiencing withdrawal
                  symptoms, and patients who took OxyContin would not develop tolerance.32O

              o   OxyContin did not cause a "bvzz," caused less euphoria, had less addiction
                  potential, had less abuse potential, was less likely to be diverted than immediate-
                  release opioids, and could be used to "weed out" addicts and drug seekers.32l

3ts   ¡¿.
316
   Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.orgldocumentsl2T902Slpurdue-guilty-plea.pdf.
3ri Id.

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3te Jd.

tzo 1¿.




                                                        185
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              o   Purdue published a prescriber and law enforcement education pamphlet                 in 20ll
                  entitled Providing Relief, Preventing Abuse, which under the heading,
                  "Indications of Possible Drug Abuse," shows pictures of the stigmata of injecting
                  or snorting opioids-skin popping, track marks, and perforated nasal septa. In
                  fact, opioid addicts who resort to these extremes are uncommon; the far more
                  typical reality is patients who become dependent and addicted through oral use.
                  Thus, these misrepresentations wrongly reassured doctors that as long as they do
                  not observe those signs, they need not worry that their patients are abusing or
                  addicted to opioids.

              o   Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & Its
                  Management,which inaccurately claimed that less than l%io of children prescribed
                  opioids will become addicted. This publication is still available online. This
                  publication also asserted that pain is undertreated due to "misconceptions about
                  opioid addiction."

              o   Purdue sponsored APF's Treatment Options: A Guideþr People Livingwith Pain
                  (2007), which asserted that addiction is rare and limited to extreme cases of
                  unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

              o   A Purdue-funded study with a Purdue co-author claimed that "evidence that the
                  risk of psychological dependence or addiction is low in the absence of a history of
                  substance abuse."322 The study relied only on the 1980 Porter-Jick letter to the
                  editor concerning a chart review of hospitalized patients, not patients taking
                  Purdue's long-acting, take-home opioid. Although the term "low" is not defined,
                  the overall presentation suggests the risk is so low as not to be a woffy.

              o   Purdue contracted with AGS to produce a CME promoting the 2009 guidelines
                  for the Pharmacological Management of Persistent Pain in Older Persons. These
                  guidelines falsely claim that "the risks fof addiction] are exceedingly low in older
                  patients with no current or past history of substance abuse." None of the
                  references in the guidelines corroborates the claim that elderly patients are less
                  likely to become addicted to opioids and the claim is, in fact, untrue. Purdue was
                  aware of the AGS guidelines' content when it agreed to provide this funding, and
                  AGS drafted the guidelines with the expectation it would seek drug company
                  funding to promote them after their completion.

              o   Purdue sponsored APF's Exit Wounds (2009), which counseled veterans that
                  "[]ong experience with opioids shows that people who are not predisposed to
                  addiction are very unlikely to become addicted to opioid pain medications."
                  Although the term "very unlikely''is not defined, the overall presentation suggests
                  it is so low as not to be a worry.

32t
      Id.
322
   C.Peter N. Watson etal., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial
I painful diabetic neuropathy,105 Pain 7l (2003).




                                                       186
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                    Purdue sales representatives told prescribers that its drugs were "steady state," the
                    implication of which was that they did not produce a rush or euphoric effect, and
                    therefore were less addictive and less likely to be abused.

               o    Purdue sales representatives told prescribers that Butrans has a lower abuse
                    potential than other drugs because it was essentially tamperproof and, after a
                    certain point, patients no longer experience a"btJzz" from increased dosage.

               o    Advertisements that Purdue sent to prescribers stated that OxyContin ER was less
                    likely to be favored by addicts, and, therefore, less likely to be abused or diverted,
                    or result in addiction.

               o    In discussions with prescribers, Purdue sales representatives omitted discussion     of
                    addiction risks related to Purdue's drugs.

       a   Janssen:

               o    Myth: Opioid medications are always addictive.
                    Fact: Many studies show that opioids are rarely addictive when used properly for
                    the management of chronic pain.323

               o    Myth: Opioid     doses have       to get bigger over time because the body gets used to
                    them.
                    Fact: Unless the underlying cause of your pain gets worse (such as with cancer or
                    arthritis), you will probably remain on the same dose or need only small increases
                    over time.32a

               a)   "fQ]uestions of addiction," "are often overestimated" because, "fa]ccording to
                    clinical opinion polls, true addiction occurs only in a small percentage of patients
                    with chronic pain who receive chronic opioid analgesics."32s




323
      Finding Relief, Pain Management   þr   Older Adults, (2009) (emphasis in original).
324
      Finding Relief Pain Managementfor Older Adults, (2009) (emphasis in original).
32s (Jse
        of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11, 2017).




                                           t87
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      Aside frorn medical issues related to opioid analgesics, there are nonmedical
      issues that may have an inrpact on prescribing patterns ancl patåent use of
      these drugs. Practit¡oners are often concerned about prescribing opioid
                                                              of          15 16 By
      analgesics due to potential fegal issues and
      the same token- patients reporl similar concerns about developing an
       adcl¡ction to opioid analgesrcs.lT íle these concerns are not without sotne
       rnerit, it r¡vould appear that they are often overestimated, cording to clinícal
       opinion polls, true addiction occurs only in a small percentage of patients
                                                                                         1B
       with chronic pain who receive chrontc opioid analgesics analgesic therapy


  o   Janssen sponsored a patient education gurde titled Finding Relief: Pain
      Management þr Older Adults (2009), which its personnel reviewed and approved
      and which its sales force distributed. This guide described a "m7fth" that opioids
      are addictive, and asserts as fact that "[m]any studies show that opioids are rarely
      addictive when used properly for the management of chronic pain." Although the
      term "rarely'' is not defined, the overall presentation suggests the risk is so low as
      not to be a worry. The language also implies that as long as a prescription is
      given, opioid use is not a problem.

  o   Janssen contracted  with AGS to produce a CME promoting the 2009 guidelines
      for the Pharmacological Management of Persistent Pain in Older Persons. These
      guidelines falsely claim that "the risks fof addiction] are exceedingly low in older
      patients with no current or past history of substance abuse." The study supporting
      this assertion does not analyze addiction rates by age and, as already noted,
      addiction remains a significant risk for elderly patients. Janssen was aware of the
      AGS guidelines' content when it agreed to provide this funding, and AGS drafted
      the guidelines with the expectation it would seek drug company funding to
      promote them after their completion.

  o   Janssen provided grants to APF to distribute Exit Wounds (2009) to veterans,
      which taught that []ong experience with opioids shows that people who are not
      predisposed to addiction are very unlikely to become addicted to opioid pain
      medications." Although the term "very unlikely" is not defined, the overall
      presentation suggests the risk is so low as not to be a rworry.

  o   Janssen currently runs a website, Prescriberesponsibly.com (last modified July 2,
      2015), which claims that concerns about opioid addiction are "overstated."

  o A     June 2009 Nucynta Training module warns Janssen's sales force that
      physicians are reluctant to prescribe controlled substances like Nucynta, but this
      reluctance is unfounded because "the risks . . . are much smaller than commonly
      believed."




                                        188
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                  o   Janssen sales representatives told prescribers that its drugs were "steady state,"
                      the implication of which was that they did not produce a rush or euphoric effect,
                      and therefore were less addictive and less likely to be abused.

                      Janssen sales representatives told prescribers that Nucynta and Nucynta ER were
                      "not opioids," implying that the risks of addiction and other adverse outcomes
                      associated with opioids were not applicable to Janssen's drugs. In truth, however,
                      as set out in Nucynta's FDA-mandated label, Nucynta "contains tapentadol, an
                      opioid agonist and Schedule II substance with abuse liability similar to other
                      opioid agonists, legal or illicit."

                  o   Janssen's sales representatives told prescribers that Nucynta's unique properties
                      eliminated the risk of addiction associated with the drug.

                  o   In discussions with prescribers,   Janssen sales representatives omitted discussron
                      of addiction risks related to Janssen's drugs.

       o    Cephalon:

                  o   Cephalon sponsored and facilitated the development of a guidebook, Opioid
                      Medications and REMS: A Patíent's Guide, which claims, among other things,
                      that "patients without a history of abuse or a family history of abuse do not
                      commonly become addicted to opioids."

                  o   Cephalon sponsored APF's Treatment Optíons: A Guide þr People Living wíth
                      Paín (2007), which taught that addiction is rare and limited to extreme cases of
                      unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

                  o In discussions with prescribers, Cephalon sales representatives omitted any
                      discussion of addiction risks related to Cephalon's drugs.

       o     Endo:

                  o   Opana ER was designed to be crush resistant

                  o   Opana ER was crush and abuse resistant and not addictive.326

                  o   "[T]he Reformulated Opana ER as 'designed to be' crush resistant."321

                  o   "[P]atients treated with prolonged opioid medicines usually do not become
                      addicted."328


326
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance   of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. l, 2016),
https://ag.ny. gov/pdfs/Endo_AOD_03 0 I I 6-Fully_Executed.pdf.
327
      Id. at 6.




                                                         189
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            o    Endo trained its sales force in 2012 that use of long-acting opioids resulted in
                 increased patient compliance, without any supporting evidence.

            o    Endo's advertisements for the 2012 reformulation of Opana ER claimed it was
                 designed to be crush resistant, in a way that conveyed that it was less likely to be
                 abused. This claim was false; the FDA warned in a May 10,2013 letter that there
                 was no evidence Endo's design "would provide a reduction in oral, intranasal or
                 intravenous abuse" and Endo's "post-marketing data submitted are insuffrcient to
                 support any conclusion about the overall or route-specific rates of abuse." Further,
                 Endo instructed its sales representatives to repeat this claim about "design," with
                 the intention of conveying Opana ER was less subject to abuse.

            o    Endo sponsored a website, painknowledge.com, through APF and NIPC, which
                 claimed in 2009 that: "fp]eople who take opioids as prescribed usually do not
                 become addicted." Although the term "usually" is not defined, the overall
                 presentation suggests the risk is so low as not to be a worry. The language also
                 implies that as long as a prescription is given, opioid use will not become
                 problematic. Endo continued to provide funding for this website through 2012,
                 and closely tracked unique visitors to it.

            o    Endo sponsored a website, PainAction.com, which stated "Did you know? Most
                 chronic pain patients do not become addicted to the opioid medications that are
                 prescribed for them."

             o   Endo sponsored CMEs published by APF's NIPC, of which Endo was the sole
                 funder, titled Persistent Pain in the Older Adult and Persistent Pain in the Older
                 Patient. These CMEs claimed that opioids used by elderly patients present
                 "possibly less potential for abuse than in younger patientsf,]" which lacks
                 evidentiary support and deceptively minimizes the risk of addiction for elderly
                 patients.

             o   Endo distributed an education pamphlet with the Endo logo titled Livíng with
                 Someone with Chronic Pain, which inaccurately minimized the risk of addiction:
                 "Most health care providers who treat people with pain agree that most people do
                 not develop an addiction problem."

             o   Endo distributed a patient education pamphlet edited by key opinion leader Dr.
                 Russell Portenoy titled (Jnderstanding Your Pain: Taking Oral Opioid
                 Analgesics. It claimed that "fa]ddicts take opioids for other reasons [than pain
                 reliefl, such as unbearable emotional problems." This implies that pain patients
                 prescribed opioids will not become addicted, which is unsupported and untrue.



328
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance   of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. 1,2016),
https ://ag.ny. gov/pdfs/Endo_AOD_03 0 I I 6-Fully-Executed.pdf.




                                                      190
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             o      Endo contracted with AGS to produce a CME promoting the 2009 guidelines for
                    the Pharmacological Management of Persistent Pain in Older Persons. These
                    guidelines falsely claim that "the risks fof addiction] are exceedingly low in older
                    patients with no current or past history of substance abuse." None of the
                    references in the guidelines corroborates the claim that elderly patients are less
                    likely to become addicted to opioids, and there is no such evidence. Endo was
                    aware of the AGS guidelines' content when it agreed to provide this funding, and
                    AGS drafted the guidelines with the expectation it would seek drug company
                    funding to promote them after their completion.

             o      Endo sales representatives told prescribers that its drugs were "steady state," the
                    implication of which was that they did not produce a rush or euphoric effect, and
                    therefore were less addictive and less likely to be abused.

             o      Endo provided grants to APF to distribute Exit Wounds (2009) to veterans, which
                    taught that "[]ong experience with opioids shows that people who are not
                    predisposed to addiction are very unlikely to become addicted to opioid pain
                    medications." Although the term "very unlikely'' is not defined, the overall
                    presentation suggests that the risk is so low as not to be a wony.

             o      In discussions with prescribers, Endo      sales representatives omitted discussion   of
                    addiction risks related to Endo's drugs.

          552. The RICO Marketing Defendants misrepresented that opioids improved function

and quality of life:

      o   Purdue:

             o      "[W]e've discovered that the simplicity and convenience of twice-daily dosing
                    also enhances patient compliance with their doctor's instructions."32e

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    Harriet Ryan Er AL.,'You W'ant q Description of Hell? ', Oxycontin's 12-Hour Problem, (May 5,2016),
http ://www. latimes. com/proj ects/oxycontin-part I /.




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             o    Purdue ran a series of advertisements for OxyContin in 2012 in medical journals
                  titled "Pain vignettes," which were case studies featuring patients, each with pain
                  conditions persisting over several months, recommending OxyContin for each.
                  One such patient, "Paul," is described to be a "S4-year-old writer with
                  osteoarthritis of the hands," and the vignettes imply that an OxyContin
                  prescription will help him work more effectively.

             o    Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & Its
                  Management, which inaccurately claimed that "multiple clinical studies" have
                  shown that opioids are effective in improving daily function, psychological
                  health, and health-related quality of life for chronic pain patients." The sole
                  reference for the functional improvement claim noted the absence of long-term
                  studies and actually stated: "For functional outcomes, the other analgesics were
                  significantly more effective than were opioids." The Policymaker's Guide is still
                  available online.

             o    Purdue sponsored APF's Treatment Options: A Guide for People Living with
                  Pain (2007), which counseled patients that opioids, when used properly, "give
                  fpain patients] a quality of life we deserve." APF distributed 17,200 copies in one
                  year alone, according to its 2007 annual report, and the guide currently is
                  available online.

             o    Purdue sponsored APF's Exit Wounds (2009), which taught veterans that opioid
                  medications "increase your level of functioning." Exit Wounds also omits
                  warnings of the risk of interactions between opioids and benzodiazepines, which
                  would increase fatality risk. Benzodiazepines are frequently prescribed to veterans
                  diagnosed with post-traumatic stress disorder.

             o    Purdue sponsored the FSMB's Responsible Opioid Prescribing (2007), which
                  taught that relief of pain itself improved patients' function. Responsible Opioid
                  Prescribing explicitly describes functional improvement as the goal of a "long-
                  term therapeutic treatment course." Purdue also spent over $100,000 to support
                  distribution of the book.

          Janssen:

             (J   Misrepresented that patients experienced "fs]ignificantly reduced nighttime
                  awakenings."33o

             o    Misrepresented "fs]ignificant improvement in disability scores as measured by the
                  Oswestry Disability Questionnaire and Pain Disability Index."331



330
  NDA l9-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30,2000) at2.
33t Jd.




                                          r92
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                o    Misrepresented "fs]ignificant improvement in social functioning."

                o    Misrepresented outcome claims that were misleading because they lacked
                     substantial support, evidence or clinical experience and "implfied] that patients
                     will experience improved social or physical functioning or improved work
                     productivity when using Duragesic," including: "l,360loaves . . . and counting,
                     [w]ork, unintemrpted, [l]ife, unintemrpted, [g]ame, unintemrpted, [c]hronic pain
                     relief that supports functionality, fh]elps patients think less about their pain, and
                     fi]mprovefs] . . . physical and social functioning."332

                o    Misrepresented that "fo]pioid analgesics, for example, have no true 'ceiling dose'
                     for analgesia and do not cause direct organ damage."333

                      Use af Opioid Analgesics in Pam hüanagenent
                     Oprord analgesrcs are often the first line of treatment for many painful
                     condil¡ons and   may      r advantages o\rer nonsleroldal anti-infiammatory
                     drugs (NSA|Ds). Opiord analgesics. for example have no true        "       dose''
                     for analgesia and do nût cause direct organ damage; hor¡¡ever. they do have
                     severai possible   side     cts, including conslipation, naå:sea. vomiting, a
                     decrease in sexual rnterest. drowsiness- and respiratory depression Wìth the
                     exceplron of constipation, many patients often develop tolerance to most of

                     the opioid analgesic-related side effects   I

                o    Myth: Opioids make it harder to function normally.
                     Fact: When used correctly for appropriate conditions, opioids may make it easier
                     for people to live normally.33a

                o    Janssen sponsored a patient education guide lilled Finding Relief: Pain
                     Management for Older Adults (2009), which its personnel reviewed and
                     approved and its sales force distributed. This gurde features a man playing
                     golf on the cover and lists examples of expected functional improvement
                     from opioids, like sleeping through the night, returning to work,
                     recreation, sex, walking, and climbing stairs. The guide states as a "fact"
                     that "opioids may make it easier for people to live normally" (emphasis in
                     the original). The mytVfaú structure implies authoritative backing for the
                     claim that does not exist. The targeting of older adults also ignored
                     heightened opioid risks in this population.

                 o   Janssen sponsored, developed, and approved content   of a website, Let's
                     Talk Pqin in2009, acting in conjunction with the APF and AAPM whose

332
      Id. at3 (internal quotations omitted).
33) (Ise of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management(lastvisitedDec.                  11,2017).
334
      Finding Relief, Pøin Management    þr    Older Adults, (2009) (emphasis in original).




                                                              193
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                 participation in Let's Talk Pain Janssen financed and orchestrated. This
                 website featured an interview, which was edited by Janssen personnel,
                 claiming that opioids were what allowed a patient to "continue to
                 function," inaccurately implying her experience would be representative.
                 This video is still available today on youtube.com.

             o   Janssen provided grants    to APF to distribute Exit Wounds to veterans,
                 which taught that opioid medications "increase your level of functioning"
                 (emphasis in the original). Exit Wounds also omits warnings of the risk of
                 interactions between opioids and benzodiazepines, which would increase
                 fatality risk. Beruodiazepines are frequently prescribed to veterans
                 diagno sed with po st-traumatic stres s di sorder.

    o   Cephalon:

             o   Cephalon sponsored the FSMB's Responsible Opioid Prescribing (2001),
                 which taught that relief of pain itself improved patients' function.
                 Responsible Opioid Prescribing explicitly describes functional
                 improvement as the goal of a "long-term therapeutic treatment course."
                 Cephalon also spent $150,000 to purchase copies of the book in bulk and
                 distributed the book through its pain sales force to 10,000 prescribers and
                 5,000 pharmacists.

             o   Cephalon sponsored the American Pain Foundation's Treatment Options:
                 A Guide þr People Living with Pqin (2007), which taught patients that
                 opioids when used properly "grve fpain patients] a quality of life we
                 desorye." The Treatment Options guide notes that non-steroidal anti-
                 inflammatory drugs have gteater risks with prolonged duration of use, but
                 there was no similar warning for opioids. APF distributed 17,200 copies in
                 one year alone, according to its 2007 annual report, and the publication is
                 currently available online.

             o   Cephalon sponsored a CME written by Dr. Webster, titled Optimizing
                 Opioid Treatment for Breakthrough Pain, which was offered online by
                 Medscape, LLC from September 28,2007, through December 15, 2008.
                 The CME taught that Cephalon's Actiq and Fentora improve patients'
                 quality of life and allow for more activities when taken in conjunction
                 with long-acting opioids.

    a   Endo:

             o   Opana ER     "willbenefit patients, physicians       and payers."335



33s
    IIDA Approves Endo Phqrmaceuticals' Crush-Resistant Opana,ER, December 12,2011,
https://www.biospace.com/article/releases/fcla-approves-endo-pharmaceuticals-crush-resistant-opana-er-l




                                                       194
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                      "Patient safety is our top concern and addressing appropriate use of opioids is a responsibility

                      that we take very seriously, We firmly believe this new formulation of Opana   ER,   coupled with

                      our long-term commitment to awareness and education arouncl appropriate use of opioids will

                      benefit patients, physicians and payers,"


                      "Endo distributed a pamphlet in New York and posted on its public website,
                      www.opana.com, photographs of purported Opana ER patients that implied that
                      patients can achieve higher function with Opana BB.::336

                      Endo sponsored a website, painknowledge.com, through APF and NIPC, which
                      claimed in 2009 that with opioids, "your level of function should improve; you
                      may find you are now able to participate in activities of daily living, such as work
                      and hobbies, that you were not able to enjoy when your pain was worse." Endo
                      continued to provide funding for this website through 2012, and closely tracked
                      unique visitors to it.

                  o   A CME sponsored by Endo, titled Persistent Pain in the Older Patient, taught that
                      chronic opioid therapy has been "shown to reduce pain and improve depressive
                      symptoms and cognitive functioning."

                  o   Endo distributed handouts to prescribers that claimed that use of Opana ER to
                      treat chronic pain would allow patients to perform work as a chef. This flyer also
                      emphasized Opana ER's indication without including equally prominent
                      disclosure of the "moderate to severe pain" qualification.

                  o   Endo's sales force distributed FSMB's Responsible Opioid Prescribing (2007).
                      This book taught that relief of pain itself improved patients' function. Responsible
                      Opioid Prescribing explicitly describes functional improvement as the goal of a
                      "long-term therapeutic treatment course."

                  o   Endo provided grants to APF to distribute Exit Wounds to veterans, which taught
                      that opioid medications "increase your level of functioning" (emphasis in the
                      original). Exit Wounds also omits warnings of the risk of interactions between
                      opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines
                      are frequently prescribed to veterans diagnosed with post-traumatic                      stress
                      disorder.

             553. The RICO Marketing Defendants misrepresented that addiction risks can                            be

avoided or managed through screening tools and prescription guidelines:



336
      Id. at 8.




                                                          19s
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       a   Purdue:

                o   Purdue's unbranded website, In the Face of Pain (inthefaceofpain.com) states that
                    policies that "restrictf] access to patients with pain who also have a history of
                    substance abuse" and "requiring special government-issued prescription forms for
                    the only medications that are capable of relieving pain that is severe" are "at odds
                    with" best medical practices.337

                o   Purdue sponsored a 2072 CME program taught by a KOL titled Chronic Pain
                    Management and Opioid Use: Easing Fears, Managing Risks, and Improving
                    Outcomes. This presentation recommended that use of screening tools, more
                    frequent refills, and switching opioids could treat a high-risk patient showing
                    signs of potentially addictive behavior.

                o   Purdue sponsored a        20ll
                                                webinar taught by Dr. Lynn Webster, titled Managing
                    Patient's Opioid Use: Balancing the Need and Risk. This publication taught
                    prescribers that screening tools, urine tests, and patient agreements have the effect
                    of preventing "overuse of prescriptions" and "overdose deaths."

                o   Purdue sales representatives told prescribers that screening tools can be used to
                    select patients appropriate for opioid therapy and to manage the risks of addiction.

       a   Cephalon:

                o   Cephalon sponsored APF's Treqtment Options: A Guíde for People Living with
                    Pain (2007), which taught patients that "opioid agreements" between doctors and
                    patients can "ensure that you take the opioid as prescribed."

       a   Endo:

                o   Endo paid for a 2007 supplement33s available for continuing education credit in
                    the Journal of Family Practice and written by a doctor who later became a
                    member of Endo's speakers bureau. This publication, tiÍled Pain Management
                    Dilemmas in Primary Care: Use of Opioids, recommended screening patients
                    using tools like the Opioid Risk Tool or the Screener and Opioid Assessment for
                    Patients with Pain, and advised that patients at high risk of addiction could safely
                    (e.9., without becoming addicted) receive chronic opioid therapy using                          a
                    "maximally structured approach" involving toxicology screens and pill counts.




337
   See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatmenl, Purdue Pharma L.P. (Resources
verified ldar.2012), www.inthefaceofpain.com/content/uploads/201 lll2lfactsheet_ProtectingAccess.pdf.
338
      The medical journal, the Lancer found that all of the supplement papers it received failed peer-review. 375
L¡.Nc¡r No.    97 12, 347 (20 10).




                                            t96
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       554. The RICO Marketing Defendants misrepresented that signs of opioid addiction

were not addiction, withdrawal could be simply managed, and promoted the concept of

pseudoaddiction:

   o   Purdue:

           o   Purdue published a prescriber and law enforcement education pamphlet in 2011
               entitled Providing Relief, Preventing Abuse, which described pseudoaddiction as
               a concept that "emerged in the literature to describe the inaccurate interpretation
               of fdrug-seeking behaviors] in patients who have pain that has not been
               effectively treated."

           o   Purdue distributed to physicians, at least as of November 2006 and posted on its
               unbranded website, Partners Against Pain, a pamphlet copyrighted 2005 and titled
               Clinical Issues in Opíoíd Prescríbing. This pamphlet included a list of conduct
               including   "illicit drug use and deception" it defined as           indicative of
               pseudoaddiction or untreated pain. It also states: "Pseudoaddiction is a term which
               has been used to describe patient behaviors that may occur when pain is
               undertreated. . . . Even such behaviors as illicit drug use and deception can occur
               in the patient's efforts to obtain relief. Pseudoaddiction can be distinguished from
               true addiction in that the behaviors resolve when the pain is effectively treated."

           o   Purdue sponsored FSMB's Responsible Opioid Prescribing (2007), which taught
               that behaviors such as requesting drugs by name, "demanding or manipulative
               behavior," seeing more than one doctor to obtain opioids, and hoarding, are all
               signs of pseudoaddiction. Purdue also spent over $100,000 to support distribution
               of the book.

           o   Purdue sponsored APF's A Policymaker's Guide to Understandíng Pain & Its
               Management, which states: "Pseudo-addiction describes patient behaviors that
               may occur when pain is undertreated. . . . Pseudo-addiction can be distinguished
               from true addiction in that this behavior ceases when pain is effectively treated."

           o   A Policymaker's Guide to Understanding Pain & Its Management also taught that
               "symptoms of physical dependence can often be ameliorated by gradually
               decreasing the dose of medication during discontinuation," but did not disclose
               the significant hardships that often accompany cessation of use.

           o   Purdue sales representatives told prescribers that the effects of withdrawal from
               opioid use can be successfully managed.

           o   Purdue sales representatives told prescribers that the potential for withdrawal on
               Butrans was low due to Butrans' low potency and its extended release
               mechanism.




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.   Janssen:

       o    Janssen's website, Let's Talk Pain, stated from 2009 through 20ll that
            "pseudoaddiction . . refers to patient behaviors that may occur when pain is
            under-treated" and "[p]seudoaddiction is different from true addiction because
            such behaviors can be resolved with effective pain management."

       o    A Janssen PowerPoint presentation used for training its sales representatives titled
            "selling Nucynta ER" indícates that the "low incidence of withdrawal symptoms"
            is a "core message" for its sales force. This message is repeated in numerous
            Janssen training materials between 2009 and 201I. The studies supporting this
            claim did not describe withdrawal symptoms in patients taking Nucynta ER
            beyond 90 days or at high doses and would therefore not be representative of
            withdrawal symptoms in the chronic pain population. Patients on opioid therapy
            long-term and at high doses will have a harder time discontinuing the drugs and
            are more likely to experience withdrawal symptoms. In addition, in claiming a
            low rate of withdrawal symptoms, Janssen relied upon a study that only began
            tracking withdrawal symptoms in patients two to four days after discontinuing
            opioid use, when Janssen knew or should have known that these symptoms peak
            earlier than that for most patients. Relying on data after that initial window
            painted a misleading picture of the likelihood and severity of withdrawal
            associated with chronic opioid therapy. Janssen also knew or should have known
            that the patients involved in the study were not on the drug long enough to
            develop rates of withdrawal symptoms comparable to rates of withdrawal suffered
            by patients who use opioids for chronic pain-the use for which Janssen
            promoted Nucynta ER.

       o    Janssen sales representatives told prescribers that patients on Janssen's drugs were
            less susceptible to withdrawal than those on other opioids.

O   Cephalon:

       (J   Cephalon sponsored FSMB's Responsible Opioid Prescribing (2007), which
            taught that behaviors such as "requesting drugs by name," "demanding or
            manipulative behavior," seeing more than one doctor to obtain opioids, and
            hoarding are all signs of pseudoaddiction. Cephalon also spent $150,000 to
            purchase copies of the book in bulk and distributed it through its pain sales force
            to 10,000 prescribers and 5,000 pharmacists.

o   Endo:

       o    Endo distributed copies of a book by KOL Dr. Lynn Webster entitled Avoiding
            Opioid Abuse While Managing Pain (2007). Endo's internal planning documents
            describe the purpose of distributing this book as to "fi]ncrease the breadth and
            depth of the Opana ER prescriber base." The book claims that when faced with
            signs of aberrant behavior, the doctor should regard it as pseudoaddiction and



                                             198
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                   thus, "increasing the dose          in most   cases         should be the clinician's first
                   response."

               o   Endo spent 5246,620 to buy copies of FSMB's Responsible Opioid Prescribing
                   (2007), which was distributed by Endo's sales force. This book asserted that
                   behaviors such as "requesting drugs by name," "demanding or manipulative
                   behavior," seeing more than one doctor to obtain opioids, and hoarding, are all
                   signs of "pseudoaddiction."

               o   A CME    sponsored by Endo, tilled Persistent Pain in the Older Adult, taught that
                   withdrawal symptoms can be avoided entirely by tapering the dose by I0-20Yoper
                   day for ten days.

               o   Endo misrepresented that "syrnptoms of withdrawal do not indicate addiction."33e

                   "Endo also trained its sales representatives to distinguish addiction from
                   '   pseudoaddiction. "'340

            555. The RICO Marketing Defendants misrepresented that opioids were safe for the

long-term treatment of chronic, non-acute, and non-cancer pain:

       o    Purdue:

               o   "[W]e do not want to niche OxyContin just for cancer pain."34r

                       thr¡c trblet strenglhs were pasred ¡round OryConlin wiü be indÊat¡é for the relieÍ
                       ol paln with tht conYcn¡Gncc of q12h dcsng, OryContin's prirnary rneilr¡t poe,itioning
                       will be lor c¡,tcer prin rrut lhË tceondÐry rnrrlrel will be for non-rnrlþnrnl p¡h
                       (rnu¡cula¡keletrl. [riury and trauma) ll wrr rcinforced tÌ..r! we do gg! want lo nich¡
                       orycontin þt for c¡îcê? ge¡n oxycontin wtll bc poritioned an¡o Step 2 of thc

               o   OxyContin was safe and non-addictive when using extended release formulations,
                   and appropriate for use in non-cancer patients.3a2




33e
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. l5-228, Assurance      of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 7 (Mar. 1,2016),
https ://ag.ny. gov/pdfs/Endo_AOD_03 0 I I 6-Fully_Executed.pdf.
340
      Jd.
34r                                                                                   (emphasis in the L.A. Times
   Ryan, Description of Hell,http://documents.latimes.com/oxycontin-launch-1995/
document).
3a2 Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012,8:57 P}r4),
http://www.opb.org/news/article/america pain_foundation_shuts_down_as_senators launch_investigation_ofuiresc
ription narcotis/ (hereinafter "Ornstein, American Pain Foundation").




                                                           199
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                       OxyContin should be prescribed not merely for severe short-term pain associated
                       with surgery or cancer, but also for less acute, longer-lasting pain like arthritis,
                       back pain, sports injuries, fibromyalgia with almost limitless             treatment
                       potential.3a3

       o    Janssen:

                   o   Duragesic was "more useful in a broader range of conditions or patients than has
                       been demonstrated by substantial evidenc e."344

                       Duragesic was "not just for end stage cancer an¡rmore" when the FDA only
                       approved Duragesic for "the management of chronic pain in patients who require
                       continuous opioid analgesia for pain that cannot be managed by lesser means."345

                   o   Misrepresented that "Duragesic can be used for any type of pain management"
                       despite the fact that the FDA approved warning stated that "BECAUSE
                       SERIOUS OR LIFE-THREATENING HYPOVENTILATION COULD OCCUR,
                       DURAGESIC@ (FENTANYL TRANSDERMAL SYSTEM) IS
                       CONTRAINDICATED: In the management of acute or post-operative pain,
                       including use in outpatient surgeries

                   o   Misrepresented "numerous claims for the efficacy and safety of Duragesic," but
                       failed to "presentf] any risk information concerning the boxed warnings,
                       contraindications, warnings, or side effects associated with Duragesic's use . . .
                       [and] . . . failfed] to address important risks and restrictions associated with
                       Duragesic ther apy ."3 a7

                   o   Misrepresented "[d]emonstrated effectiveness in chronic back pain with
                       additional patient benefits, . . . 86% of patients experienced overall benefit in a
                       clinical study based on: pain control, disability in ADLs, quality of sleep."3a8

            Cephalon:

                       "fP]romoting [Actiq] for non-cancer patients to use for such maladies as
                       migraines, sickle-cell pain crises, injuries, and in anticipation of changing wound
                       dressings or radiation therapy."3ae


343
      Patrick Keefe, The Family That Built øn Empire of Pain, Nsw Yonxrn (Oct. 30, 2012),
https://www.newyorker.com/magazinel2}lTll0l30lthe-family{hat-built-an-empire-of-pain.
  ¡p4 l9-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
3r+

Pharmaceutica (Mar. 30,2000) at2.
3as
      Id.
346
      Jd.
341
      Jd.
348
      Id. at2-3.




                                                        200
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               o   "[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for
                   whom it could have life-threatening results."350

               o   In 2011, Cephalon wrote an article titled"20lI Special Report: An Integrated
                   Risk Evaluation and Risk Mitigation Strategy þr Fentanyl Buccal Tablet
                   (FENTORA@) AND Oral Transmucosal Fentanyl Citrate (Actiq@), published in
                   Paín Medicine News. Plaintiff is informed and believes that Cephalon
                   misrepresented that its drugs were "shown to be effective in treatment of fbreak
                   through pain] associated with multiple causes of pain," not just cancer.

            556. The RICO Marketing Defendants also misrepresented that opioids were safer that

non-opioid analgesics because there is no ceiling dose for opioid treatment.

       o    Purdue:

               o   Purdue's In the Face of Pain website, along with initiatives of APF, promoted the
                   notion that if a patient's doctor does not prescribe them what-in their view-is a
                   sufficient dose of opioids, they should find another doctor who will. In so doing,
                   Purdue exerted undue, unfair, and improper influence over prescribers who face
                   pressure to accede to the resulting demands.

               o   Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & Its
                   Management, which taught that dose escalations are "sometimes necessary," even
                   indefinitely high ones, which suggested that high dose opioids are safe and
                   appropriate and did not disclose the risks from high dose opioids. This publication
                   is still available online.

               o   Purdue sponsored APF's Treatment Options: A Guideþr People Lívíngwith Pain
                   (2007), which taught patients that opioids have "no ceiling dose" and are
                   therefore the most appropriate treatment for severe pain. The guide also claimed
                   that some patients "need" a larger dose of the drug, regardless of the dose
                   currently prescribed. This language fails to disclose heightened risks at elevated
                   doses.

               o   Treatment Optíons, also taught that opioids differ from NSAIDs in that they have
                   "no ceiling dose" and are therefore the most appropriate treatment for severe pain.
                   Treatment Options continued, warning that risks of NSAIDs increase if "taken for
                   more than a period of months," with no coresponding warning about opioids.
                   The publication attributed 10,000 to 20,000 deaths annually to NSAID overdose.


34e
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For Off-
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/paeÂ.{ews/2008/sep/cephalonrelease.pdf.
tso   ¡¿.




                                            20r
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           Purdue sponsored a CME issued by the American Medical Association in 2003,
           2007, 2010, and 2013. The CME, Overvíew of Management Options, was edited
           by KOL Dr. Russell Portenoy, among others, and taught that other drugs, but not
           opioids, are unsafe at high doses. The 2013 version is still available for CME
           credit.

       o   Overview of Management Options also taught NSAIDs and other drugs, but not
           opioids, are unsafe at high doses.

       o   Purdue sponsored APF's Exit Wounds (2009), which omits warnings of the risk of
           interactions between opioids and benzodiazepines, which would increase fatality
           risk.

       o   Purdue sales representatives told prescribers that opioids were just as effective for
           treating patients long-term and omitted any discussion that increased tolerance
           would require increasing, and increasingly dangerous, doses.

       o   Purdue sales representatives told prescribers that NSAIDs were more toxic than
           opioids.

o   Janssen:

       o   Janssen sponsored a patient education guide entitled Finding Relief: Paín
           Management þr Older Adults (2009), which its personnel reviewed and approved
           and its sales force distributed. This gurde listed dose limitations                as
           "disadvantages" of other pain medicines but omitted any discussion of risks of
           increased doses from opioids. The publication also falsely claimed that it is a
           "mfh" that "opioid doses have to be bigger over time."
       o   Fínding Relief: Pain Management þr Older Adults also described the advantages
           and disadvantages of NSAIDs on one page, and the "myths/facts" of opioids on
           the facing page. The disadvantages of NSAIDs are described as involving
           "stomach upset or bleeding," "kidney or liver damage if taken at high doses or for
           a long time," "adverse reactions in people with asthma," aÍrd "can increase the
           risk of heart attack and stroke." The only adverse effects of opioids listed are
           "upset stomach or sleepiness," which the brochure claims will go away, and
           constipation.

       o   Janssen sponsored APF's   Exit Wounds (2009), which omits warnings of the risk
           of  interactions between opioids and benzodiazepines. Janssen's label for
           Duragesic, however, states that use with benzodiazepines "may cause respiratory
           depression, [low blood pressure], and profound sedation or potentially result in
           coma. Exit Wounds also contained a lengthy discussion of the dangers of using
           alcohol to treat chronic pain but did not disclose dangers of mixing alcohol and
           opioids.




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              o    Janssen sales representatives told prescribers that Nucynta was not an opioid,
                   making it a good choice for chronic pain patients who previously were unable to
                   continue opioid therapy due to excessive side effects. This statement was
                   misleading because Nucynta is an opioid and has the same effects as other
                   opioids.

       a   Cephalon:

              o    Cephalon sponsored APF's Treatment Options: A Guide þr People Living with
                   Pain (2007), which claims that some patients "need" alarger dose of their opioid,
                   regardless ofthe dose currently prescribed.

                   Treatment Options, also taught patients that opioids differ from NSAIDs in that
                   they have "no ceiling dose" and are therefore the most appropriate treatment for
                   severe pain. Treatment Options continued, warning that risks of NSAIDs increase
                   if "taken more than a period of months," but it included no coresponding warning
                   about opioids. The publication attributed 10,000 to 20,000 deaths annually to
                   NSAID overdose.

              o    Cephalon sponsored a CME written by KOL Dr. Lynn Webster, Optimizing
                   Opioid Treatmentþr Breakthrough Pain, which was offered online by Medscape,
                   LLC from September 28,2007 through December 15, 2008. The CME taught that
                   non-opioid analgesics and combination opioids that include aspirin and
                   acetaminophen are less effective to treat breakthrough pain because of dose
                   limitations.

              o    Cephalon sales representatives assured prescribers that opioids were safe, even at
                   high doses.

                   Cephalon sales representatives told prescribers that NSAIDs were more toxic than
                   opioids.

              o    "[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for
                   whom it could have life-threatening results."351

           Endo:

              o    Endo sponsored a website, painknowledge.com, through APF and NIPC, which
                   claimed in 2009 that opioids may be increased until "you are on the right dose of
                   medication for your pain," and once that occurs, further dose increases would not
                   occur. Endo funded the site, which was a part of Endo's marketing plan, and
                   tracked visitors to it.




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           o   Through painknowledge.com Endo distributed a flyer called "Pain: Opioid
               Therapy." This publication included a list of adverse effects from opioids that
               omitted significant adverse effects like hyperalgesia, immune and hormone
               dysfunction, cognitive impairment, tolerance, dependence, addiction, and death.
               Endo continued to provide funding for this website through 2012, and closely
               tracked unique visitors to it.

           o   Endo provided grants to APF to distribute Exit Wounds (2009), which omitted
               warnings of the risk of interactions between opioids and benzodiazepines, which
               would increase fatality risk. Exit Wounds also contained a lengthy discussion of
               the dangers ofusing alcohol to treat chronic pain but did not disclose dangers of
               mixing alcohol and opioids.

           o   Endo sales representatives told prescribers that NSAIDs were more toxic than
               opioids.

           o   Endo distributed a patient education pamphlet edited by KOL Dr. Russell
               Portenoy titled Understandíng Your Pain: Taking Oral Opioid Analgesics. In
               Q&A format, it asked: "If I take the opioid now, will it work later when I really
               need it?" The response was: "The dose can be increased . . .. You won't 'run out'
               of pain relief."

           o   Endo distributed a "case study" to prescribers titled Case Challenges in Pain
               Management: Opioid Therapy for Chronic Pain. The study cites an example,
               meant to be representative, of a patient "with a massive upper gastrointestinal
               bleed believed to be related to his protracted use of NSAIDs" (over eight years),
               and recommends treating with opioids instead.

       557. These misrepresentations, and the legion of other representations made by the

RICO Marketing Defendants and members of Opioid Marketing Enterprise all furthered the

common purpose and fraudulent scheme of the Opioid Marketing Enterprise. But they were

demonstrably false, as confirmed by investigations and enforcement actions against the RICO

Marketing Defendants.

       558. In May 2007, Purdue and three of its executives pled gurlty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented




                                                204
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the risk of addiction and was unsupported by science. The Order adopting the guilty pleas

provides



                        effects than immediate-release opioids resulting in less
                        euphoria and less potential for abuse than short-acting
                        opioids;

                 d.     Told certain health care providers that patients could stop
                        theÌapy abruptly without experiencing withdrawal
                        s ptoms andthatpatients whotookOxyContinwould not
                        develop tolerance to the drug; and

                 e-     Told certain health care providers that OxyContin did not
                        cause a "bvzz" or euphoria, caused less euphoria, had less
                        addiction potential" had less abuse potential, was less likely
                        to be diverted than immediate'release opioids" and could be
                        used to "weed out" addicts and drug seekers-

           (lnformation fl 19.) Purdue has agreed that thcse facls are true, and the individual

           defendants. while they do not agree that they had knowledge of these things, have

           agreed that the court may accept these facls in support oltheir guilty pleas.    (A   ed

           Stâtement of Facts !| 4ó.)


        559. Additionally, Michael Friedman ("Friedman"), the company's president, pled

gurlty to a misbranding charge and agreed to pay $19 million                             in fines;   Howard R. Udell

("Udell"), Purdue's top lawyer, also pled guilty and agreed to pay $8 million in fines; and Paul

D. Goldenheim ("Goldenheim"), its former medical director, pled guilty as well and agreed to

pay $7.5 million in fines.3s2

        560. In a statement announcing the guilty plea, John Brownlee ("Brownlee"), the U.S.

Attorney for the Western District of Virginia, stated:

        Purdue claimed it had created the miracle drug - a low risk drug that could
        provide long acting pain relief but was less addictive and less subject to abuse.
        Purdue's marketing campaign worked, and sales for OxyContin skyrocketed -
        making billions for Purdue and millions for its top executives.

3s2Barry Meier, "Narcotic   MakerGuiltyof DeceitOverMarketing,New YorkTimes (May 11,2007),
https://www.nytimes.com/2007       I 05 I   ll/business/l   I   drug.html.




                                                                      20s
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            But OxyContin offered no miracles to those suffering in pain. Purdue's claims
            that OxyContin was less addictive and less subject to abuse and diversion were
            false and Purdue knew its claims were false. The result of their
            misrepresentations and crimes sparked one of our nation's greatest prescription
            drug failures. . .. OxyContin was the child of marketers and bottom line financial
            decision making.353

            561. Brownlee charactenzed Purdue's criminal activity           as   follows:

                 First, Purdue trained its sales representatives to falsely inform health care
            providers that it was more difficult to extract the oxycodone from an OxyContin
            tablet for the pu{pose of intravenous abuse. Purdue ordered this training even
            though its own study showed that a drug abuser could extract approximately 680/o
            of the oxycodone from a single 10 mg OxyContin tablet by simply crushing the
            tablet, stirring it in water, and drawing the solution through cotton into a syringe.

                Second, Purdue falsely instructed its sales representatives to inform health
            care providers that OxyContin could create fewer chances for addiction than
            immediate-release opioids.

                 Third, Purdue sponsored training that falsely taught Purdue sales supervisors
            that OxyContin had fewer "peak and trough" blood level effects than immediate-
            release opioids resulting in less euphoria and less potential for abuse than short-
            acting opioids.

                 Fourth, Purdue falsely told certain health care providers that patients could
            stop therapy abruptly without experiencing withdrawal symptoms and that
            patients who took OxyContin would not develop tolerance to the drug.

                 And fifth, Purdue falsely told health care providers that OxyContin did not
            cause a"buzz" or euphoria, caused less euphoria, had less addiction potential, had
            less abuse potential, was less likely to be diverted than immediate-release opioids,
            and could be used to "weed out" addicts and drug seekers.3sa

            562. Purdue pled guilty to illegally misbranding OxyContin in an effort to mislead and

defraud physicians and consumers, while Friedman, Udell and Goldenheim pled guilty to the

misdemeanor charge of misbranding OxyContin for introducing misbranded drugs into interstate

commerce in violation of       2l   U.S.C. $$ 331(a), 333(a)(1)-(2) and352(a).

353
   Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.org/documentsl2T902Slpurdue-guilty-plea.pdf.
ts+   ¡¿.




                                                        206
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            563. Similarly, Endo's marketing of Opana ER was cnticized and punished by the FDA

and New York Attorney General.

            564. On February 18, 2017, the State of New York announced a settlement with Endo

requiring         it "to cease all misrepresentations regarding   the properties of Opana ER [and] to

describe accurately the risk of addiction to Opana Bp.rr355 In the Assurance of Discontinuance

that effectuated the settlement, the State of New York stated that Endo knew about the risks

arising from the reformulated Opana ER even before it received FDA approval. Among other

things, the investigation concluded that:

       o    Endo improperly marketed Opana ER as designed to be crush resistant, when Endo's own
            studies dating from 2009 and 2010 showed that the pill could be crushed and ground;

       o    Endo improperly instructed its sales representatives to diminish and distort the risks
            associated with Opana ER, including the serious danger of addiction; and

       o    Endo made unsupported claims comparing Opana ER to other opioids and failed to
            disclose accurate information regarding studies addressing the negative effects of Opana
            Bp.3s6

            565. The2017 settlement also identified and discussed a February 2013 communication

from a consultant hired by Endo to the company, in which the consultant concluded that "'[t]he

initial data presented do not necessarily establish that the reformulated Opana ER is tamper

resistant."'The same consultant also reported that the distribution of the reformulated Opana ER

had already led to higher levels of abuse of the drug via injection.3sT




3ss
   Press Release, Attomey General Eric T. Schneiderman, A.G. Schneiderman Announces Settlement V/ith Endo
Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of Prescription Opioid Drugs (Mar. 3,2016),
https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-health-solutions-inc-endo-
pharmaceuticals (last accessed on March 9, 2018).
3s6
      Id.
3s7
      Id. at 6.




                                                     207
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                 566. The Office of the Attorney General of New York also revealed that the "managed

care dossier" Endo provided              to formulary committees of healthcare plans and pharmacy benefit

managers misrepresented the studies that had been conducted on Opana ER. According to

Endo's vice president for pharmacovigilance and risk management, the dossier was presented                   as


a complete compendium of all research on the drug. However,                 it omitted certain studies:   Study

108 (completed               in 2009) and Study 109 (completed in 2010), which showed that reformulated

Opana ER could be ground and chewed.

                 561. The settlement also detailed Endo's false and misleading representations about the

non-addictiveness of opioids and Opana. For example,                until April2012, Endo's website for the

drug, www.opana.com, contained the following representation: "'Most healthcare providers who

treat patients with pain agree that patients treated with prolonged opioid medicines usually do not

become addicted."'3s8 However, Endo neither conducted nor possessed a survey demonstrating

that most healthcare providers who treat patients with pain agree with that representation.

                 568. The Office of the Attorney General of New York also disclosed the following facts

that it determined to violate Opana's obligations to truthfully market its products:

                        a.        Training materials provided by Endo to sales representatives stated:
                                  "'symptoms of withdrawal do not indicate addiction."'3se This
                                  representation is inconsistent with the diagnosis of opioid-use disorder as
                                  provided in the Diagnostic and Statistical Manual of Mental Disorders by
                                  the American Psychiatric Association (Fifth Edition).

                        b.        Endo trained its sales representatives to falsely distinguish addiction from
                                  "pseudoaddiction," which it defined as a condition in which patients
                                  exhibit drug-seeking behavior that resembles but is not the same as
                                  addiction. Endo's vice president for pharmacovigilance and risk
                                  management testified that he was not aware of any research validating the
                                  concept of pseudoaddiction.

358
      Id.
3se
      Id.   at   j



                                                           208
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            569. On June 9,2017, the FDA asked Endo to voluntarily            cease sales   of Opana ER after

determining that the risks associated with its abuse outweighed the benefits. According to Dr.

Janet Woodcock, director        of the FDA's Center for Drug Evaluation and Research, the risks

include "several serious problems," including "outbreaks of HIV and Hepatitis C from sharing

the drug after     it was extracted by abusers" artd"a         serious disease outbreak."360   If   Endo did not

comply, the FDA stated that            it   "intends   to take steps to formally require its removal by

withdrawing approval."36l

            570. Like Purdue and Endo, Janssen was the subject of an FDA enforcement action that

identified its marketing statements as misrepresentations. For example:

            57I. On February 15, 2000, the FDA              sent Janssen a letter conceming the alleged

dissemination of "homemade" promotional pieces that promoted Duragesic in violation of the

Federal Food,       D*g,   and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the "homemade" promotional pieces were "false or misleading because they

contain misrepresentations        of   safety information, broaden Duragesic's indication, contain

unsubstantiated claims, and lack fair balance."362

            572.   The March 30, 2000 letter identifìed specific violations, including
misrepresentations that Duragesic had a low potential for abuse:

       o    You present the claim, "Low abuse potential!" This claim suggests that Duragesic has
            less potential for abuse than other currently available opioids. However, this claim has
            not been demonstrated by substantial evidence. Furthermore, this claim is contradictory
            to information in the approved product labeling (PI) that states, "Fentanyl is a Schedule II


360
   FDA requests removql of Opana ERþr risks related to abuse, June 8, 2017,
https://www.fcla.gov/NewsBvents/NewsroomÆressAnnouncements/ucm562401 .htm.
36t
      ¡¿.

  ¡¡4 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
362

Pharmaceutica (Mar. 30,2000) at2.




                                                         209
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            controlled substance and can produce drug dependence similar           to that   produced by
            morphine." Therefore, this claim is false or misleading.363

            573. The March 30, 2000 letter also stated that the promotional materials represented

that Duragesic was "more useful in a broader range of conditions or patients than has been

demonstrated           by   substantial evidence."364 Specifically, the   FDA stated that Janssen was

marketing Duragesic            for indications other than the treatment of chronic pain that      cannot

otherwise be managed, for which it was approved:

            You present the claim, "It's not just for end stage cancer anymore!" This claim suggests
            that Duragesic can be used for any type of pain management. However, the PI for
            Duragesic states, "Duragesic (fentanyl transdermal system) is indicated in the
            management of chronic pain in patients who require continuous opioid analgesia for pain
            that cannot be managed by lesser means . . .." Therefore, the suggestion that Duragesic
            can be used for any type of pain management promotes Duragesic[] for a much broader
            use than is recommended in the PI, and thus, is misleading. In addition, the suggestion
            that Duragesic can be used to treat any kind of pain is contradictory to the boxed warning
            in the PI. Specifically, the PI states,

            BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
            COULD OCCUR, DURAGESIC@ (FENTANYL TRANSDERMAL SYSTEM)
            IS CONTRAINDICATED:

       a    In the management of acute or post-operative pain, including use in outpatient surgeries
                 365



            574. The March 30, 2000 letter also stated Janssen failed            to adequately    present

"contraindications, wamings, precautions, and side effects with a prominence and readability

reasonably comparable to the presentation            of information relating to the effectiveness of the

product."366




363
      Id.
364
      Id.
36s
      Id. ar2-3
366
      Id. at3.




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           Although this piece contains numerous claims for the efficacy and safety of
           Duragesic, you have not presented any risk information concerning the boxed
           wamings, contraindications, warnings, precautions, or side effects associated with
           Duragesic's use . . .. Therefore, this promotional piece is lacking in fair balance,
           or otherwise misleading, because it fails to address important risks and restrictions
           associated with Duragesic therapy.367

           575. On September 2, 2004, the U.S. Department of Health and Human Services

("HHS") sent Janssen a warning letter conceming Duragesic due to "false or misleading claims

about the abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness claims

for Duragesic," including, specifically, "suggesting that Duragesic has a lower potential for

abuse compared to other opioid products."

           576. The September 2,2004letter warned        Janssen regarding   its claims that Duragesic

had a low reported rate of mentions in the Drug Abuse Warning Network ("DAWN")                      as


compared to other opioids. The letter stated that the claim was false or misleading because the

claim was not based on substantial data and because the lower rate of mentions was likely

attributable to Duragesic's lower frequency of use compared to other opioids listed in DAWN:

                  The file card presents the prominent claim, "Low reported rate of
           mentions in DAWN data," along with Drug Abuse'Warning Network (DAWN)
           data comparing the number of mentions for Fentanyl/combinations (710
           mentions) to other listed opioid products, including Hydrocodone/combinations
           (21,567 mentions), Oxycodone/combinations (18,409 mentions), and Methadone
           (10,725 mentions). The file card thus suggests that Duragesic is less abused than
           other opioid drugs.

                   This is false or misleading for two reasons. First, we are not aware of
           substantial evidence or substantial clinical experience to support this comparative
           claim. The DAWN data cannot provide the basis for a valid comparison among
           these products. As you know, DAWN is not a clinical trial database. Instead, it is
           a national public health surveillance system that monitors drug-related emergency
           department visits and deaths. If you have other data demonstrating that Duragesic
           is less abused, please submit them.



367
      Id




                                                   2tr
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                   Second, Duragesic is not as widely prescribed as other opioid products. As
           a result, the relatively lower number of mentions could be attributed to the lower
           frequency of use, and not to a lower incidence of abuse. The        file card fails to
           disclose this information. 3 68

           577. The September 2, 2004 letter also detailed a series of unsubstantiated false or

misleading claims regarding Duragesic's effectiveness. The letter concluded that various claims

made by Janssen were insufficiently supported, including:

       a   "'Demonstrated effectiveness in chronic back pain with additional patient benefits, . . .
           86Yo of patients experienced overall benefit in a clinical study based on: pain control,
           disability in ADLs, quality of sleep."'

       o   "'411 patients who experienced overall benefit from DURAGESIC would recommend it
           to others with chronic low back pain."'

       o   "' Signifi cantly reduced nighttime awakenings.   "'
       a   "'significant improvement in disability scores as measured by the Oswestry Disability
           Questionnaire and Pain Disability Index."'

       .   "'significant improvement in physical functioning summary score."'

       o   "'significant improvernent in social functioning."'36e

            578. In addition, the September 2, 2004 letter identified "outcome claims fthat]           are


misleading because they imply that patients           will   experience improved social      or   physical

functioning or improved work productivity when using Duragesic." The claims include "'1,360

loaves . . . and counting,' '[w]ork, unintemrpted,' '[l]ife, unintemrpted,' '[g]ame, unintemrpted,'

'fc]hronic pain relief that supports functionalily,' '[h]elps patients think less about their pain,'

and '[i]mprove[s] . .     .   physical and social functioning."' The September 2,2004letter stated:



368
   Warning Letter from Thomas'W. Abrams, U.S. Department of Health and Human Services, to Ajit Shetty,
Janssen Pharmaceutica, Inc. (Sept. 2, 2004),
https://www.pharmamedtechbi.com/-/media/Images/Publications/ ArchivelTheYo2ùPink%2}Sheet/661038100660380
0l8l 040920 _duragesic letter.pdf at 2.
36e
      Id. at2-3.




                                            2r2
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"Janssen has not provided references          to support these outcome claims. We are not aware of

substantial evidence or substantial clinical experience to support these claims."37O

              579. On July 75, 2005, the FDA issued a public health advisory warning doctors of

deaths resulting from the use of Duragesic and its generic competitor, manufactured by Mylan

N.V. Plaintiff is informed and believes that the advisory noted that the FDA had                             been

"'examining the circumstances of product use to determine if the reported adverse events may be

related to inappropriate use of the patch"' and noted the possibility "that patients and physicians

might be unaware of the risks" of using the fentanyl transdermal patch, which is a potent opioid

analgesic meant to treat chronic pain that does not respond to other painkillers.3Tl

              580. Finally, Cephalon has been the subject of investigations and enforcement actions

for is misrepresentations concerning Actiq. For example:

              581. In October 2000, Cephalon acquired the worldwide product rights to Actiq                      and


began marketing and selling Actiq in the United States. The FDA explicitly stated that Actiq

"must notbe used in opioid non-tolerant patients," was contraindicated for the management of

acute or postoperative pain, could be deadly to children, and was "intended to be used only in the

care        of opioid-tolerant cancer patients and only by oncologists         and pain specialists who are

knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain."372 The FDA

also required that Actiq be provided only in compliance with a strict risk management program




310
      Id. at3.
371
    New Fentanyl l(arnings: More Needed to Protect Patients,Institrtte for Safe Medication Practices, August I   l,
2005, https://www.ismp.org/newsletters/acutecare/articles/2005081 l.asp
3tz   ¡¿.




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that explicitly limited the drug's direct marketing to the approved target audiences, defined                          as


oncologists       , pain specialists, their nurses and office            staff.373


            582. Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation

of fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005.

In September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq;

but once again, concerned about the power and risks inherent to fentanyl, the FDA limited

Fentora's approval to the treatment of BTP                         in   cancer patients who were already tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain. Cephalon began

marketing and selling Fentora in October 2006.

            583. Due to the FDA's restrictions, Actiq's consumer base was limited, as was its

potential for growing revenue. In order to increase its revenue and market share, Cephalon

needed to         find   a broader audience and thus began              marketing its lollipop to treat headaches, back

pain, sports injuries and other chronic non-cancer pain, targeting non-oncology practices,

including, but not limited                      to, pain doctors,           general practitioners, migraine clinics,

anesthesiologists and sports clinics. It did so in violation of applicable regulations prohibiting the

marketing         of medications for off-label use and in direct                     contravention   of the FDA's   strict

instructions that Actiq be prescribed only to terminal cancer patients and by oncologists and pain

management doctors experienced in treating cancer pain.

            584. Beginning in or about 2003, former Cephalon employees filed four whistleblower

lawsuits claiming the company had wrongfully marketed Actiq for unapproved ofÊlabel uses.

On September 29,2008, Cephalon finalized and entered into a corporate integrity agreement



3'13
       See John   Carreyrot, Narcotic "Lollipop" Becomes Big Seller Despite FDA Curbs, Wall St. J. (Nov. 3,2006),
https://www.wsj.com/articles/SB      1   I 62   524638101 12292.




                                                                   214
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with the Office of the Inspector General of HHS and agreed to pay $425 million in civil                 and

criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and Provigil).

            585. According    to a DOJ press release,      Cephalon trained sales representatives to

disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote ofÊlabel uses. Specifically, the DOJ stated:

            From 2001 through at least 2006, Cephalon was allegedly promoting fActiq] for
            non-cancer patients to use for such maladies as migraines, sickle-cell pain crises,
            injuries, and in anticipation of changing wound dressings or radiation therapy.
            Cephalon also promoted Actiq for use in patients who were not yet opioid-
            tolerant, and for whom it could have life-threatening resu1ts.374

            586. Then-acting U.S. Attorney Laurie Magid commented on the dangers of Cephalon's

unlawful practices

            "This company subverted the very process put in place to protect the public from
            harm, and put patients' health at risk for nothing more than boosting its bottom
            line. People have an absolute right to their doctors' best medical judgment. They
            need to know the recommendations a doctor makes are not influenced by sales
            tactics designed to convince the doctor that the drug being prescribed is safe for
            uses beyond what the FDA has approv"6n375

            581. Upon information and        beliet    documents uncovered         in the government's
investigations confirm that Cephalon directly targeted non-oncology practices and pushed its

sales representatives       to market Actiq for off-label use. For instance, the govemment's
investi gations confirmed

             a.   Cephalon instructed its sales representatives to ask non-cancer doctors whether
                  they have the potential to treat cancer pain. Even if the doctor answered "no," a
                  decision tree provided by Cephalon instructed the sales representatives to give
                  these physicians free Actiq coupons;

37a
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For OfÊ
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pael1.{ews/2008/sep/cephalonrelease.pdf.
37s
      Id.




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             b.        Cephalon targeted neurologists in order to encourage them to prescribe Actiq to
                       patients with migraine headaches;

             c.        Cephalon sales representatives utilized the assistance of outside pain management
                       specialists when visiting non-cancer physicians to pitch Actiq. The pain
                       management specialist would falsely inform the physician that Actiq does not cause
                       patients to experience a "high" and carries a low risk of diversion toward
                       recreational use;

             d.        Cephalon set sales quotas for its sales and marketing representatives that could not
                       possibly have been met solely by promoting Actiq for its FDA-approved indication;

             e.        Cephalon promoted the use of higher doses of Actiq than patients required by
                       encouraging prescriptions of the drug to include larger-than-necessary numbers of
                       lozenges with unnecessarily high doses of fentanyl; and

             f.        Cephalon promoted Actiq for off-label use by funding and controlling CME
                       seminars that promoted and misrepresented the efficacy of the drug for off-label
                       uses such as treating migraine headaches and for patients not already opioid-
                       tolerant.376

           588. The FDA's letters and safety alerts, the DOJ and state investigations, and the

massive settlement seemed to have had little impact on Cephalon as                  it   continued its deceptive

marketing strategy for both Actiq and Fentora.

           589. On September 27, 2007, the FDA issued a public health advisory to                           address


numerous reports that patients who did not have cancer or were not opioid-tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

"Fentora should not be used to treat any type of short-term pain."377

           590. Nevertheless, in 2008, Cephalon pushed forward to expand the target base for

Fentora and filed a supplemental drug application requesting FDA approval of Fentora for the

treatment         of   non-cancer BTP.    In the application and supporting       presentations    to the FDA,

376
   Jolm Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Vy'all St. J., Nov. 21,2006,   atBl
(hereinaft er "Carreyrou, Cephalon Used Improper Tactics").
377
                            & Drug Administration, Public Health Advisory: Important Information for the Safe
      Press Release, U.S. Food
Use ofFentora  (fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetylnformationforPatientsandProviders/ucm0512ß.hfrn.




                                                        216
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Cephalon admitted both that it knew the drug was heavily prescribed for offlabel use and that

the drug's safety for such use had never been clinically                 evaluated.378    An FDA       advisory

committee noted that Fentora's existing risk management program was ineffective and stated that

Cephalon would have to institute a risk evaluation and mitigation strategy for the drug before the

FDA would consider broader label indications. In response, Cephalon revised Fentora's label and

medication guide to add strengthened warnings.

        591. But in 2009, the FDA once again informed Cephalon that the risk management

program was not sufficient to ensure the safe use of Fentora for already approved indications.

        592. On March 26, 2009, the FDA warned Cephalon against its misleading advertising

of Fentora ("Warning Letter"). The Warning Letter described             a Fentora Internet advertisement as


misleading because      it   purported to broaden "the indication for Fentora by implying that any

patient with cancer who requires treatment for breakthrough pain is a candidate for Fentora . .                    .



when this is not the cass."37e Rather, Fentora was only indicated for those who were already

opioid tolerant. It further criticized Cephalon's other direct Fentora advertisements because they

did not disclose the risks associated with the drug.

        593. Flagrantly disregarding the FDA's refusal to approve Fentora for non-cancer BTP

and its warning against marketing the drug for the same, Cephalon continued to use the same

sales tactics to push Fentora as    it did with Actiq.

         594. The misrepresentations disseminated by members                     of the Opioid Marketing
Enterprise, and the RICO Marketing Defendants, caused Plaintiff and Wisconsin consumers to


ne p¿¡¡7'gp¿ (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs andDrug Safety and
Risk Management Advisory Committee, U.S. Food & Drug Administration (May 6,2008),
htçs://www. fda.gov/ohrms/dockets/ aclO8/slides/2008-4356s2-03-Cephalon.pdf.
37e
  Lelter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing, Advertising and
Communications, to Carole S. Marchione, Senior Director and Group Leader, Regulatory Affairs (March 26,2009).




                                         2t7
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pay for excessive opioid prescriptions, suffer injuries and losses, and to incur costs associated

with the opioid epidemic caused by the Opioid Marketing Enterprise.

       595. The RICO Marketing Defendants alone could not have accomplished the purpose

of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

were perceived as "neutral" and more "scientiftc" than the RICO Defendants themselves.

Without these misrepresentations, the Opioid Marketing Enterprise could not have achieved its

common purpose.

        596. The impact of the Opioid Marketing Enterprise's scheme is still in place      -   i.e., the

opioids continue to be prescribed and used for chronic pain throughout the State of Wisconsin,

and the epidemic continues to injure Plaintiff, and consume the resources         of Plaintiffls   and

Wisconsin's health care and law enforcement systems.

        597. The foregoing evidences that the RICO Marketing Defendants, the Front Groups,

and the KOLs were each     willing participants in the Opioid Marketing Enterprise, had   a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise' s purpose.

   B. CONDUCT OF THE OPIOID MARKETING                        ENTERPRISE.

        598. During time period described in this Complaint, from approximately the late         1990s

to the present, the RICO Marketing Defendants exerted control over the Opioid Marketing

Enterprise and participated    in the operation or    management       of the affairs of the   Opioid

Marketing Enterprise, directly or indirectly, in the following ways:

        a-   Creating a body of deceptive, misleading        and unsupported medical and popular
             literature about opioids that (a) understated   the risks and overstated the benefits of
             long-term use; (b) appeared to be the result    of independent, objective research; and
             (c) was thus more likely to be relied upon by   physicians, patients, and payors;

        b.   Creating a body    ofdeceptive, misleading and unsupported electronic and print
             advertisements about opioids that (a) understated the risks and overstated the benefits


                                                218
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     of long-term use; (b) appeared to be the result of independent, objective research;
     and (c) was thus more likely to be relied upon by physicians, patients, and payors;

c.   Creating a body of deceptive, misleading and unsupported sales and promotional
     training materials about opioids that (a) understated the risks and overstated the
     benefits of long-term use; (b) appeared to be the result of independent, objective
     research; and (c) was thus more likely to be relied upon by physicians, patients, and
     payors;

d.   Creating a body      of
                           deceptive, misleading and unsupported CMEs and speaker
     presentations about opioids that (a) understated the risks and overstated the benefits
     of long-term use; (b) appeared to be the result of independent, objective research;
     and (c) was thus more likely to be relied upon by physicians, patients, and payors;

e.   Selecting, cultivating, promoting and paying KOLs based solely on their willingness
     to communicate and distribute the RICO Marketing Defendants' messages about the
     use of opioids for chronic pain;

f.   Providing substantial opportunities for KOLs to participate in research studies on
     topics the RICO Marketing Defendants suggested or chose, with the predictable
     effect of ensuring that many favorable studies appeared in the academic literature;

g.   Paying KOLs     to  serve as consultants or on the RICO Marketing Defendants'
     advisory boards, on the advisory boards and in leadership positions on Front Groups,
     and to give talks or present CMEs, typically over meals or at conferences;

h.   Selecting, cultivating, promoting, creating and paying Front Groups based solely on
     their willingness to communicate and distribute the RICO Marketing Defendants'
     messages about the use of opioids for chronic pain;

i.   Providing substantial opportunities for Front Groups to participate in and/or publish
     research studies on topics the RICO Marketing Defendants suggested or chose (and
     paid for), with the predictable effect of ensuring that many favorable studies
     appeared in the academic literature;

j.   Paying significant amounts of money to the leaders and individuals associated with
     Front Groups;

k.   Donating to Front Groups to support talks or CMEs, that were tlpically presented
     over meals or at conferences;

1.   Disseminating many of their false, misleading, imbalanced, and unsupported
     statements through unbranded materials that appeared to be independent publications
     from Front Groups;

m.   Sponsoring CME programs put on by Front Groups that focused exclusively on the
     use of opioids for chronic pain;




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       n.    Developing and disseminating pro-opioid treatment guidelines with the help of the
             KOLs as authors and promoters, and the help of the Front Groups as publishers, and
             supporters;

       o     Encouraging Front Groups to disseminate their pro-opioid messages to groups
             targeted by the RICO Marketing Defendants, such as veterans and the elderly, and
             then funded that distribution;

       p.    Concealing their relationship to and control of Front Groups and KOLs from the
             Plaintiff and the public at large; and

       q.    Intending that Front Groups and KOLs would distribute through the U.S. mail and
             interstate wire facilities, promotional and other materials that claimed opioids could
             be safely used for chronic pain.

        599. The Front Groups also participated         in the conduct of the Opioid Marketing
Enterprise, directly or indirectly, in the following,ways:

       a.    The Front Groups promised to, and did, make representations regarding opioids and
             the RICO Marketing Defendants' drugs that were consistent with the RICO
             Marketing Defendants' messages;

       b.    The Front Groups distributed, through the U.S. Mail and interstate wire facilities,
             promotional and other materials which claimed that opioids could be safely used for
             chronic pain without addiction, and misrepresented the benefits of using opioids for
             chronic pain outweighed the risks;

       c.    The Front Groups echoed and amplified messages favorable to increased opioid
             use-and ultimately, the financial interests of the RICO Marketing Defendants;

       d.    The Front Groups issued guidelines and policies minimizing the risk of opioid
             addiction and promoting opioids for chronic pain;

        e.   The Front Groups strongly cnticized the 2016 guidelines from the Center for Disease
             Control and Prevention (CDC) that recommended limits on opioid prescriptions for
             chronic pain; and

        f.   The Front Groups concealed their connections to the KOLs and the RICO Marketing
             Defendants.

        600. The RICO Marketing Defendants' Front Groups, "with their large numbers             and

credibility with policymakers and the public-have 'extensive influence         in   specific disease

areas."' The RICO Marketing Defendants' larger Front Groups "likely have a substantial effect




                                                 220
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on policies relevant to their industry sponsors."380 "By aligning medical culture with industry

goals in this way, many of the groups described in this report may have played a significant role

in creating the necessary conditions for the U.S. opioid epidemic."38l

            601. The KOLs    also participated, on information and belief, in the conduct of the affairs

of the Opioid Marketing Enterprise, directly or indirectly, in the following ways:

            a.   The KOLs promised to, and did, make representations regarding opioids and the
                 RICO Marketing Defendants' drugs that were consistent with the RICO Marketing
                 Defendants' messages themselves;

            b. The KOLs distributed, through the U.S. Mail and interstate wire facilities,
                 promotional and other materials which claimed that opioids could be safely used for
                 chronic pain without addiction, and misrepresented the benefits of using opioids for
                 chronic pain outweighed the risks;

            c.   The KOLs echoed and amplified messages favorable to increased opioid use-and
                 ultimately, the financial interests of the RICO Marketing Defendants;

            d.   The KOLs issued guidelines and policies minimizing the risk of opioid addiction and
                 promoting opioids for chronic pain;

            e.   The KOLs strongly cnticized the 2016 guidelines from the Center for Disease
                 Control and Prevention (CDC) that recommended limits on opioid prescriptions for
                 chronic pain; and

            f.   The KOLs concealed their connections to the Front Groups and the RICO Marketing
                 Defendants, and their sponsorship by the RICO Marketing Defendants.

            602. The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

to increase the RICO Marketing Defendants' sales from prescription opioids by encouraging the

prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course

of conduct, and many aspects of it continue through to the present.

380
   Fueling an Epidemic: Exposing the Financial Ties Betvveen Opioid Manufocturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members' Ofhce, February
12, 20 1 8 https ://www. hsdl. orgl? abstract&did:8 0 8 17 1 (" Fuel in g an Epidemic" ), at l .
38t
      Id. at2.




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   C. PATTERN OF RACKETEERING ACTIVITY
       603. The RICO Marketing Defendants conducted         and participated   in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity within the meaning of       18


U.S.C. g 1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C.        $


1341 (mail fraud) and $ 1343 (wire fraud).

       604. The RICO Marketing Defendants committed, conspired to commit, andlor aided

and abetted   in the commission of at least two predicate acts of racketeering activity          (i.e.,

violations   of   18 U.S.C. $$ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a "pattem of racketeering   activity." The racketeering activity was     made

possible by the RICO Marketing Defendants' regular use of the facilities, services, distribution

channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire

facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

telephones and the Internet to transmit mailings and wires in interstate or foreign coÍtmerce.

       605. The pattern of racketeering activity described herein    used by the RICO Marketing

Defendants and the Opioid Marketing Enterprise likely involved thousands of separate instances

of the use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid

Marketing Enterprise, including virtually uniform misrepresentations, concealments and material

omissions regarding the beneficial uses and non-addictive qualities for the long-term treatment     of

chronic, non-acute and non-cancer pain, with the goal of profiting from increased sales of the

RICO Marketing Defendants' drugs induced by consumers, prescribers, regulators and Plaintiff          s


reliance on the RICO Marketing Defendants' misrepresentations.




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       606. Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern      of   racketeering

activity, through which the RICO Marketing Defendants, the Front Groups and the KOLs

defrauded and intended to defraud Wisconsin consumers, the State, and other intended victims.

        607. In devising and executing the illegal scheme, the RICO Marketing Defendants

devised and knowingly carried out a material scheme andlor artifice to defraud by means           of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts

regarding the safe, non-addictive and effective use of opioids for long-term chronic, non-acute

and non-cancer   pain. The RICO Marketing Defendants and members of the Opioid Marketing

Enterprise knew that these representations violated the FDA approved uses for these drugs, and

were not supported by actual evidence. For the purpose of executing the illegal scheme, the

RICO Marketing Defendants intended that that their common purpose and scheme to defraud

would, and did, use the U.S. Mail and interstate wire facilities, intentionally and knowingly with

the specific intent to advance their illegal scheme.

       608. The RICO Marketing Defendants' predicate acts of racketeering (18 U.S.C.               $


1961(1)) include, but are not limited to:

       a.   Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. $ 1341 by sending
            or receiving, or by causing to be sent and/or received, materials via U.S. mail or
            commercial interstate carriers for the purpose of executing the unlawful scheme to
            design, manufacture, market, and sell the prescription opioids by means of false
            pretenses, misrepresentations, promises, and omissions.

       b.   W'ire Fraud: The RICO Marketing Defendants violated 18 U.S.C. $ 13a3 by
            transmitting and/or receiving, or by causing to be transmitted and/or received,
            materials by wire for the pufpose of executing the unlawful scheme to design,
            manufacture, market, and sell the prescription opioids by means of false pretenses,
            misrepresentations, promises, and omissions.

        609. Each instance of racketeering activity alleged herein was related, had similar

pu{poses, involved the same or similar participants and methods of commission, and had similar


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results affecting similar victims, including Wisconsin consumers, prescribers, regulators and

Plaintiff. The RICO Marketing Defendants, Front Groups      and KOLs calculated and intentionally

crafted the scheme and common purpose of the Opioid Marketing Enterprise to ensure their own

profits remained   high. In designing     and implementing the scheme, the RICO Marketing

Defendants understood and intended that those in the distribution chain rely on the integrity   of

the pharmaceutical companies and ostensibly neutral third parties to provide objective and

scientific evidence regarding the RICO Marketing Defendants' products.

        610. By intentionally misrepresenting the risks   and benefits of using opioids for chronic

pain, and then subsequently failing to disclose such practices to Wisconsin            consumers,

prescribers, regulators and Plaintiff, the RICO Marketing Defendants, the Front Groups and the

KOLs engaged in a fraudulent and unlawful course of conduct constituting a pattern of

racketeering activity.

        611. The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive Wisconsin consumers, prescribers, regulators and Plaintiff. Each separate

use   of the U.S. Mail   and/or interstate wire facilities employed by the RICO Marketing

Defendants was related, had similar intended purposes, involved similar participants and
                                                                                        'Wisconsin
methods of execution, and had the same results affecting the same victims, including

consumers, prescribers, regulators and   Plaintiff. The RICO Marketing Defendants have engaged

in the pattern of racketeering activity for the purpose of conducting the ongoing business affairs

of the Opioid Marketing Enterprise.




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        672. The RICO Marketing Defendants' pattern of racketeering activity alleged herein

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the

RICO Marketing Defendants are distinct from the Opioid Marketing Enterprise.

        613. The pattern of racketeering activity alleged herein is continuing as of the date of

this complaint, and, upon information and belief, will continue into the future unless enjoined by

this Court.

        614. Many of the precise dates of the Opioid Marketing Enterprise's uses of the U.S.

Mail and interstate wire facilities (and conesponding predicate acts of mail and wire fraud) have

been hidden and cannot be alleged without access to the books and records maintained by the

RICO Marketing Defendants, Front Groups, and KOLs. Indeed, an essential part of the

successful operation of the Opioid Marketing Enterprise alleged herein depended upon secrecy.

However, Plaintiff has described the occasions on which the RICO Marketing Defendants, Front

Groups, and KOLs disseminated misrepresentations and false statements                to   Wisconsin

consumers, prescribers, regulators and Plaintiff, and how those acts were in furtherance of the

scheme, and do so further below.

        615. The RICO Marketing Defendants' use of the U.S. Mail       and interstate wire facilities

to perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

               a.      Marketing materials about opioids, and their risks and benefits, which the
                       RICO Marketing Defendants sent to health care providers, transmitted
                       through the internet and television, published, and transmitted to Front
                       Groups and KOLs located across the country and the State;

               b.      Written representations and telephone calls between the RICO Marketing
                       Defendants and Front Groups regarding the misrepresentations, marketing
                       statements and claims about opioids, including the non-addictive, safe use
                       for chronic long-term pain generally;




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               c      Written representations and telephone calls between the RICO Marketing
                      Defendants and KOLs regarding the misrepresentations, marketing
                      statements and claims about opioids, including the non-addictive, safe use
                      for chronic long-term pain generally;

               d       E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the Front Groups agreeing to or implementing
                       the opioids marketing scheme;

               e.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the KOLs agreeing to or implementing the
                       opioids marketing scheme;

               f.      Communications between the RICO Marketing Defendants, Front Groups
                       and the media regarding publication, drafting of treatment guidelines, and
                       the dissemination of the same as part of the Opioid Marketing Enterprise;

               û
               Þ'      Communications between the RICO Marketing Defendants, KOLs and the
                       media regarding publication, drafting of treatment guidelines, and the
                       dissemination of the same as part of the Opioid Marketing Enterprise;

               h.      Written and oral communications directed to State agencies, federal and
                       state courts, and private insurers throughout the State that fraudulently
                       misrepresented the risks and benefits of using opioids for chronic pain;
                       and

               1.      Receipts of increased profits sent through the U.S. Mail and interstate wire
                       facilities - the wrongful proceeds of the scheme.

       616. In addition to the above-referenced predicate acts, it was foreseeable to the RICO

Marketing Defendants that the Front Groups and the KOLs would distribute publications through

the U.S. Mail and by interstate wire facilities, and, in those publications, claim that the benefits

of using opioids for chronic pain outweighed the risks of doing so.

        617. The RICO Marketing Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. $$ 1341 and 1343

offenses.

        618. To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the




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consumers, prescribers, regulators and   Plaintiff: (1) the fraudulent nature of the RICO Marketing

Defendants' marketing scheme; (2) the fraudulent nature            of   statements made   by the RICO

Marketing Defendants and by their KOLs, Front Groups and other third parties regarding the

safety and efficacy of prescription opioids; and (3) the true nature of the relationship between the

members of the Opioid Marketing Enterprise.

       619. The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

Defendants' fraudulent scheme and participated in the common course of conduct to commit acts

of fraud and indecency in marketing prescription opioids.

        620. Indeed, for the RICO Marketing Defendants' fraudulent scheme to work, each of

the RICO Marketing Defendants had to agree to implement similar tactics regarding fraudulent

marketing of prescription opioids. This conclusion is supported by the fact that the RICO

Marketing Defendants each financed, supported, and worked through the same KOLs and Front

Groups, and often collaborated on and mutually supported the same publications, CMEs,

presentations, and prescription guidelines.

       62I. As described     herein, the RICO Marketing Defendants engaged             in a pattern of
related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant money

and revenue from the marketing and sale of their highly addictive and dangerous drugs. The

predicate acts also had the same      or similar results, participants, victims, and methods of

commission. The predicate acts were related and not isolated events.

       622. The RICO Marketing Defendants' predicate            acts all had the purpose of creating the

opioid epidemic that substantially injured Plaintiff   s   business and property, while simultaneously




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generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

acts were committed or caused to be committed by the RICO Marketing Defendants through

their participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent

scheme.

       623. The RICO Marketing Defendants' predicate acts and pattern                    of   racketeering

activity were a substantial and foreseeable cause of Plaintiffs injury and the relationship

between the RICO Marketing Defendants' conduct and Plaintiffs injury               is logical and not

speculative. It was foreseeable to the RICO Marketing Defendants that when they fraudulently

marketed highly-addictive and dangerous drugs, that were approved for very limited and specific

uses by the FDA, as non-addictive and safe for off-label uses such as moderate pain, non-cancer

pain, and long-term chronic pain, that the RICO Marketing Defendants would create an opioid-

addiction epidemic that logically, substantially and foreseeably harmed Plaintiff.

       624. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and beliet will continue into the future unless enjoined by

this Court. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

   D. DAMAGES.
            1.    Impact of the Opioid Marketing Enterprise.

       625. Wisconsin       has been especially ravaged by the national opioid crisis.

       626. The Wisconsin       State Health Assessment and Health Improvement Plan reports that

between 2005 and 2015-as prescription opioid sales steadily increased-the number of opioid-




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related overdose deaths in Wisconsin more than doubled.382 The main cause of drug overdoses is

prescription opioids, which caused six of 10 opioid-related deaths and eight of l0 hospital visits

in Wisconsin.383 By 2015, over two hundred thousand Wisconsin residents aged 12 and older had

used opioids non-medically                or illegally-slightly less than the population of              Madison,

Wisconsin.3sa And from 2010                to 2014, the rate of prescription drug       deaths increased    by 2l

percent in Wisconsin, alongside a 188% increase in the number of deaths from heroin (which is

cheaper and easier          for addicts to obtain, and causally related to the use of                  prescription

opioids).38s Three out        of four people in Wisconsin who use heroin began their drug abuse using
                               eeltr                                                                             of
prescription opioids.386               2014, more than 14,000 hospital visits in'Wisconsin were because

opioids, and almost 3,000 were for opioid overdoses."387

            627. The rate of opioid overdose deaths in Wisconsin almost doubled from 2006 to

2075, going up from 5.9 deaths per 100,000 residents in2006 to 10.7 deaths per 100,000 people

in 2015.388 "Prescription              opioids have been the main driver         of drug overdose deaths and

poisonings.::38e ¡n 2015, almost two-third of opioid-related deaths involved prescription drugs.3e0




382
      S"" Wisconsin   State Health Assessment and Health ImprovementPlan,   Priority: Opioids (2015)
https://healtþ.wisconsin.gov/healthywifiles/8346-healthy-wi-plan-opioids.pdf (last visited February 5, 2015).
383
      Id.
384
      Id.
38s
      Id.
386
      Jd.
3at 1¿.

  Wisconsin Department of Health Services, Select Opioid-Relqted Morbidity and Mortality Datafor Wisconsin,
388

November 2016,hItps:llwww.dhs.wisconsin.gov/publications/p01690.pdf   (last visited May 18, 2018).
38e
      Id.
3e0
      Id.




                                                         229
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            628. Wisconsin suffered a statistically significant increase in the drug overdose death

rate from 2015 to 2016, according to data from the Centers for Disease Control and Prevention

(CDC).3e1 The death rate rose                  by 24.5 percent.3e2

Statistically signifìcant drug overdose death rate increase from 2015-2016, US states


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            629. According to the CDC, in2016,1,074 people died of drug           overdoses in Wisconsin,

for    a rate   of   19.3 per 100,000 people.3e3 In 2015, 878 people died from drug overdoses while          in

2014, 853 people died.3ea

            630. Based on data from emergency room visits from July 2016 to September 2017,

Wisconsin had a 109 percent increase in opioid overdoses, well above the national increase                   of




3e1 Centers for Disease Control and Prevention, Drug Overdose Death Datq, (2015-2016 Death Increases" tab,
https://www.cdc.gov/drugoverdose/data./statedeaths.html (last visited Feb. 9, 2018).
3ez
      ¡¿.
3e3
      Id. at"2016 Deaths" tab.
3e4
      Id. at "2015 Deaths" tab and "2014 Deaths" tab.




                                                                   230
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                          3es
29.7 percent                    That number likely underreports overdoses since many people do not go to the

emergency room. 396

                   63I.   The number of opioid-related hospitalizations also steadily increased from 2006-

2015 in Wisconsin:


  Opioid-Related Hospializations Are Driven by Prescription Opioids.
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                     Wisconsin,2OO6-2Ots
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                       2006          2ú7        2m8             2cf9       2070       2077             2072            2013             2074

 Note:                                                           Year of HosPitalization
                                                                                             Source: Wisconsin Divîsion ol Publíc Health: Offlce of
 Drug overdose deoth numbers moy include more thon one type of drug.
                                                                                             Hedlth lnÍomotics, Op¡o¡d Hotm Prcventíon Prcgrom




                   632. Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience withdrawing from opioid medications taken by the mother, increased dramatically in



  Alana M. Vivolo-Kantor, et al, Centers for Disease Control and Prevention, "Vital Signs: Trends in Emergency
3es

Department Visits for Suspected Opioid Overdoses - United States, July 2016-September 2017," Morbidity and
Mortality Weekly Reporr (March 6, 2018), https://www.cdc.gov/mmwr/volumesl67lwr/mm6709e l.htm (last visited
March 7,2018).
  Rob Stein, "Jump In Overdoses Shows Opioid Epidemic Has Worsened," ¡y'Pl? (March 6, 2018),
3e6

h@s://www.npr.org/sections/health-shotsl2018l03l06l590923l49ljump-in-overdoses-shows-opioid-epidemic-has-
worsened (last visited March 7 ,2018).




                                                                       231
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Wisconsin between 2000 and 2013 from 0.4 per 1,000 hospital births in 2000 to 7 .9 in 2013.3ej

From 2006 to 2014 theNAS rate increased 335 percent, from 2.0 to 8.7 per 1,000 live births.3es

               633. The opioid epidemic is particularly devastating in Plaintiffls Community. Out of

the 62 confirmed drug-related deaths         in Waukesha County in2016,54 were opioid-related.3ee

               634. The number of deaths has risen considerably. For example, in 2015, there were 49

drug-related deaths, of which 43 involved opioids.aOO This is up from 29 drug-related deaths, 23

of which were opioid-related, in 2009.40r

              635. According to the Wisconsin Department of Health Services, Waukesha County has

a high overdose death rate for deaths involving opioids                 - a rate of 9.3 deaths per 100,000
residents from 2013         to   2015.402 Waukesha    County's death rate for opioid overdoses increased

from 4.5 deaths per 100,000 residents in 2006 to 9.1 in 2015.403

               636. A high percentage of these opioid-related deaths are due to prescription opioids.

Waukesha County had a death rate               of 5.2 deaths due to prescription opioid           overdoses per

100,000 residents from 2013 to 2015.404 The County has also seen deaths from drug overdoses




3e7
      JeanY. Ko, ef al., Incidence of Neonatal Abstinence Syndrome- 28 States, 1999-2013,65 Morbidity     &
Mortality Wkly. Rep. 799 (2016).
3e8
    Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Datafor [Visconsin,
supra nole 32, ai38.
3ee
      Waukesha County Medical Examiner's Offrce, Waukeshq County Drug Related Deaths, 2009-2017.
400
      Id.
aot
      Id.
a02
      Wisconsin Department of Health Services, Select Opioid-Relqted Morbidity and Mortølity   Dataþr   ll/isconsin,
supra,note32, at5.
403
      Id.   at 4.
404
      Id. at lo.




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involving heroin rise dramatically from three in 2009 to 21                  in 2012, 15 in     2014 and 20 in

2015.40s

               637. Opioids have also been responsible for a large number of hospitalizations                  and

emergency department visits in V/aukesha County.ln 2014, the county had 191 inpatient and

emergency hospitalizations visits involving opioids at a rate                of 48.5 per 100,000     residents.a06

This frequency has almost doubled since 2006 when there were 105 such visits at a rate of                      27 .6


per 100,000 residents.4O7 The 540 hospital encounters involving opioids from 2012 to 2014 was

the third highest in the State.a08 Three hundred and twenty-four of these were due to prescription

opioids.aoe

               638. Waukesha County also had one of the highest number of hospital                       encounters

involving heroin from20l2 to 2014 at2l9 which is a rate of 18.6 per 100,000 residents.ar0

               639. In 2015, Waukesha County had 243 ambulance runs                   in which    naloxone was

administered, third most in the State behind Dane County and Milwaukee County.all From 2013

to 2}I5,naloxone was dispensed on 690 ambulance trips.al2

               640. Waukesha County's incidence of neonatal abstinence syndrome rose from eight

cases       in 2006 to 37 in2013 and 33 in2014.ar3



aos'Waukesha County Medical Examiner's      Office,   W'qukesha County Drug Related Deaths, 2009-2017.
406
      Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Datafor Wisconsin,
supra,note32, at20.
407
      Id.
4oB
      Id. at2l.
4oe
      Id. af   2'7.
4to
      Id. at32.
4tt Id. at36.

4t2
      Id. at37.
413
      Id. at42.




                                                          233
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           641. Drug addiction has caused increased law enforcement call volume for small

property crimes and time spent on suspected overdoses for officers, death investigators and

others specialized in narcotics probes.ala

           642. The    sheer volume     of these dangerously addictive drugs was destined to create the

present crisis ofaddiction, abuse, and overdose deaths.

               2.   Relief Sought.

           643. The RICO Marketing Defendants' violations                     of law and their pattern of
racketeering activity directly and proximately caused Plaintiff injury in its business and property.

The RICO Marketing Defendants' pattern of racketeering activity logically, substantially and

foreseeably caused an opioid epidemic.                Plaintifls injuries, as described below, were not

unexpected, unforeseen or independent.als Rather, as Plaintiff alleges, the RICO Marketing

Defendants knew that the opioids were unsuited to treatment of long-term chronic, non-acute,

and non-cancer pain, or        for any other use not approved by the FDA, and knew that opioids were

highly addictive and subject to abuse.ar6 Nevertheless, the RICO Marketing Defendants engaged

in a scheme of deception, that utilized the mail and wires                 as part of their fraud,    in order   to

increase sales of their opioid products.

           644. It was foreseeable and expected that           a massive marketing campaign       utilized by the

RICO Marketing Defendants that misrepresented the non-addictive and effective use of

prescription opioids for purposes for which they are not suited and not approved by the FDA

ata
    Scott Anderson, Addiction's Doorstep: A Special Report on Wisconsin's Opioid Epidemic, Patch News (Oct.24,
2017),hnps:llpatch.com/wisconsin/greenheld/addictions-doorstep-special-report-wisconsins-opioid-epidemic (last
visited May 31,2018).
415
      Traveler's Prop. Cas. Co. of Am. v. Actavis,Inc.,16 Cal. App. sth1026,1042,225 Cal. Rptr. 3d 5 (Ct. App.
2017).


416
      Id




                                                         234
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would lead to a nationwide opioid epidemic.alT It was also foreseeable and expected that the

RICO Marketing Defendants' marketing campaign would lead to increased opioid addiction and

overdose.als Plaintiffs injuries were logically, foreseeable, and substantially caused by the

opioid epidemic that the RICO Marketing Defendants created.

           645. Specifically, the RICO Marketing Defendants' predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiff        in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. PlaintifPs injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:

                 a.    Losses caused by purchasing and/or paying reimbursements for the RICO
                       Marketing Defendants' prescription opioids, that Plaintiff would not have
                       paid for or purchased but for the RICO Marketing Defendants' conduct;

                 b      Losses caused by the decrease in funding available for Plaintiff s public
                        services for which funding was lost because it was diverted to other public
                        services designed to address the opioid epidemic;

                 c.     Costs for providing healthcare and medical care, additional therapeutic,
                        and prescription d*g purchases, and other treatments for patients
                        suffering from opioid-related addiction or disease, including overdoses
                        and deaths;

                 d.     Costs of training emergency and/or first responders in the proper treatment
                        of drug overdoses;

                 e      Costs associated with providing police officers, firefighters, and
                        emergency and/or first responders with Naloxone - an opioid antagonist
                        used to block the deadly effects of opioids in the context of overdose;

                 f.     Costs associated with emergency responses by police officers, firefighters,
                        and emergency andlor first responders to opioid overdoses;




at1   Id
418
      Id



                                                 235
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               û
               b.      Costs   for providing mental-health services, treatment, counseling,
                       rehabilitation services, and social services to victims of the opioid
                       epidemic and their families;

               h.      Costs for providing services to infants born with opioid-related medical
                       conditions, or born addicted to opioids due to drug use by mother during
                       pregnancy;

                       Costs associated with law enforcement and public safety relating to the
                       opioid epidemic, including but not limited to attempts to stop the flow of
                       opioids into local communities, to arrest and prosecute street-level dealers,
                       to prevent the current opioid epidemic from spreading and worsening, and
                       to deal with the increased levels of crimes that have directly resulted from
                       the increased homeless and drug-addicted population;

               J       Costs associated with increased burden on Plaintiffls judicial system,
                       including increased security, increased stafl and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly
                       resulting from opioid addiction;

               k.       Costs associated with providing care for children whose parents suffer
                        from opioid-related disability or incapacitation;

               l.      Loss of tax revenue due to the decreased efficiency and size of the
                       working population in Plaintiff s Community;

               m        Losses caused by diminished property values in neighborhoods where the
                        opioid epidemic has taken root; and

                n.     Losses caused by diminished property values       in the form of   decreased
                       business investment and tax revenue.

        646. Plaintiffs injuries were proximately caused by the RICO Marketing Defendants'

racketeering activities because they were the logical, substantial and foreseeable cause of

Plaintiffs injuries. But for the opioid-addiction epidemic created by the RICO Marketing

Defendants' conduct, Plaintiff would not have lost money or property.

        647. Plaintiffs injuries were directly caused by the RICO Marketing Defendants'

pattern of racketeering activities.

        648. Plaintiff is the most directly harmed entity and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.



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                649. Plaintiff seeks all legal and equitable relief   as allowed   by law, including, inter alia,

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney's fees and all costs and expenses of suit and pre- and post-judgment interest.

                                     COUNT III
                RACKETEER INFLUENCED A¡{D CORRUPT ORGANIZATIONS ACT
                                        18 U.S.C. S 1961, et seq.
                   (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
                              McKesson, Cardinal, and AmerisourceBergen)
                                  (The "Opioid Diversion Enterprise")

               650. Plaintiff   hereby incorporates by reference all other paragraphs of this Complaint as

if fully       set forth herein, and further alleges as follows.

               651. Plaintiff brings this Claim against the following Defendants, as defined               above:

Purdue, Cephalon, Endo, Mallinckrodt, Actavis (the "Manufacturer Defendants"), McKesson,

Cardinal, and AmerisourceBergen (the "Distributor Defendants") (collectively, for purposes of

this Claim, the "RICO Diversion Defendants").

                652. The RICO Diversion Defendants conducted and continue to conduct their business

through legitimate and illegitimate means in the form of an association-in-fact enterprise andlor a

legal entity enterprise as defined          in   18 U.S.C. $ 1961(4). Alternatively, the RICO Diversion

Defendants were members               of a legal entity enterprise within the meaning of 18 U.S.C. $

196l(4). Specifically, each of the RICO Diversion Defendants was                    a member of the Healthcare

Distribution Alliance (the "HDA")are which is a distinct legal entity that satisfies the definition

of   a       RICO enterprise because it is a non-profit corporation and, therefore, and "enterprise" within

the definition set out          in 18 U.S.C. $ 1961(4).     On information and belief, each of the RICO

Diversion Defendants is a member, participant, and/or sponsor of the HDA and utilized the HDA



are Health Distribution Alliance, History, Health Distribution     Alliance, (last accessed on September 15, 2017),
https //www. healthcaredistribution. org/abouVhda-history.
         :




                                                         237
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to conduct the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity

that gives rise to this cause of action. The legal and association-in-fact enterprises alleged in the

previous and subsequent paragraphs are pleaded in the alternative and are collectively referred to

as the   "Opioid Diversion Enterprise."

          653. For over a decade, the RICO Diversion Defendants aggressively sought to bolster

their revenue, increase profit, and gtow their share of the prescription painkiller market by

unlawfully and surreptitiously increasing the volume of opioids they sold. However, the RICO

Diversion Defendants are not permitted to engage in a limitless expansion of their sales through

the unlawful sales of regulated painkillers. As "registrants" under the Controlled Substances

Act,   2l   U.S.C. $ 821, et seq. (the "CSA"), the RICO Diversion Defendants operated and

continue    to operate within a "closed-system." The CSA restricts the RICO Diversion
Defendants' ability to manufacture or distribute Schedule              II substances like opioids by: (1)
requiring them to make sales within a limited quota set by the DEA for the overall production of

Schedule     II   substances   like opioids; (2) register to manufacture or distribute opioids;                  (3)

maintain effective controls against diversion of the controlled substances that they manufacturer

or distribute; and (4) design and operate a system to identify suspicious orders of controlled

substances, halt such unlawful sales, and report them to the DEA.

          654. The closed-system created by the CSA, and the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule                II   substances   like opioids

from "legitimate channels of trade" to the illicit market by controlling the "quantities of the basic

ingredients needed for the manufacture of [controlled substances]."420


420
   l97O U.S.C.C.A.N. 4566 at 5490; see a/so Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015,
https://www.drugcaucus.senate.gov/sites/defaullfileslRantazzisl%o2OTestimony_0.pdf.




                                                      238
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        655. Finding   it   impossible   to legally achieve their ever-increasing   sales ambitions,

members of the Opioid Diversion Enterprise (defined below) engaged in the common purpose           of

fraudulently increasing the quotas that governed the manufacture and distribution           of   their

prescription opioids. The RICO Diversion Defendants formed and pursued their common

purpose through the many personal interactions that they had, confidentially, in organizations

like the Pain Care Forum and the Healthcare Distribution Alliance.

        656. The RICO Diversion Defendants' common purpose and fraudulent scheme to

unlawfully increase the DEA quotas violated the RICO Act in two ways. First, the RICO

Diversion Defendants violated the RICO Act because they engaged in the felonious manufacture,

buying selling, or otherwise dealing in controlled substances that are punishable by law in the

United States. Specifically, the RICO Diversion Defendants "furnishfed] false or fraudulent

material information in, or omit[ted] material information from, applications, reports, records,

and other documents required to be made, kept, and filed under 21 U.S.C. $$ 801, et seq.", in

violation of 21 U.S.C. $ 843(b), which is a felony. Second, the RICO Diversion Defendants

violated the RICO Act by engaging in mail and wire fraud. The RICO Diversion Defendants

common purpose and fraudulent scherne was intended to, and did, utilize interstate mail and wire

facilities for the commission of their fraud in violation 18 U.S.C. $$ 1341 (mail fraud) and 1343

(wire fraud).

        657. The RICO Diversion Defendants' fraudulent scheme arises at the intersection

between the quotas governing the RICO Diversion Defendants' prescription opioids and the

RICO Diversion Defendants' duty to identify, report, and halt suspicious orders of controlled

substances. The RICO Diversion Defendants' formed an enterprise with the intent to

fraudulently increase the quotas for prescription opioids by refusing to identify, report and halt




                                                  239
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suspicious orders, thereby omitting both the fact and the RICO Diversion Defendants'

knowledge of widespread diversion of prescription opioids into illegitimate channels.

          658. The RICO Diversion Defendants               engaged   in systematic and fraudulent acts as part

of the Opioid Diversion Enterprise, that furnished false or fraudulent material information in, and

omitted material information from their applications, reports, records and other documents that

the RICO Diversion Defendants were required to make, keep and/or                 file.   Furthermore, the RICO

Diversion Defendants engaged in systematic and fraudulent acts as part of the Opioid Diversion

Enterprise that were intended to and actually did utilize the mail and wire facilities of the United

States and Wisconsin, including refusing to maintain effective controls against diversion of their

drugs, to design and operate a system to identify suspicious orders of their drugs, to halt unlawful

sales of suspicious orders, and to notifu the DEA of suspicious orders.a2l

          659. Through the RICO Diversion Defendants' scheme, members                           of the Opioid
Diversion Enterprise repeatedly requested increases of the quotas governing the manufacture,

sale and distribution of prescription opioids, misrepresented that they were complying               with their

duties under the CSA, furnished false or fraudulent material information in, and omitted material

information from their applications, reports, records and other documents, engaged in unlawful

sales of painkillers that resulted         in diversion of controlled substances through suspicious orders,

and refused to identify or report suspicious orders              of controlled substances sales to the   DEA.422


Defendants' refusal to report suspicious orders resulted in artificial and illegal increases in the

annual production quotas for opioids allowed by the                    DEA. The end result of the RICO



42r21   u.s.c.   g 823(aXl),   (bXl);2r c.F.R. g 1301.7a@)-(c)
42221c.F.R.
                 $ 1303.1t(b);zt c.F.R. $ 1303.23.




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Diversion Defendants' fraudulent scheme and common purpose was continually increasing

quotas that generated obscene profits and, in turn, fueled an opioid epidemic.

        660. The RICO Diversion Defendants' illegal scheme was hatched by an enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them. In particular, each of the RICO Diversion Defendants were associated

with, and conducted or participated in, the affairs of the Opioid Diversion Enterprise, whose

common purpose was fraudulently increasing the quotas goveming the manufacture and sale       of

prescription opioids.

       66I. The success of the RICO Diversion Defendants' scheme allowed them                  to

unlawfully increase and/or maintain high production quotas and, as a direct result, allowed them

to make billions from the unlawful sale and diversion of opioids.

       662. Simultaneously, the opioid epidemic created by the RICO Diversion Defendants'

actions caused Plaintiffs multi-million dollar injuries. Plaintiffs injuries were and are       a


reasonably foreseeable consequence of the prescription opioid addiction epidemic that the RICO

Diversion Defendants created       by fraudulently increasing quotas, misrepresenting       their

compliance with their duties under the CSA, and allowing the widespread diversion of legally

produced prescription opioids into the   illicit market. As explained in detail below, the RICO

Diversion Defendants' misconduct violated Section 1962(c) and Plaintiff is entitled to treble

damages for their injuries under 18 U.S.C. $ l96a(c).

    A. THE OPIOID DIVERSION           ENTERPRISE.

        663. Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress




                                        24r
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enacted the Controlled Substances Act                    in 1970.423       The CSA and its implementing regulations

created a closed-system                 of distribution for all controlled             substances and listed chemicals.a2a

Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the                     illicit market.a2s Congress was            concerned with the

diversion of drugs out of legitimate channels of distribution and acted to halt the "widespread

diversion         of   fcontrolled substances] out           of legitimate channels into the illegal           maÍket."426


Moreover, the closed-system was specifically designed to ensure that there are multiple ways                                of

identifying and preventing diversion through active participation by registrants within the drug

delivery chain.azl All registrants -- manufacturers and distributors alike -- must adhere to the

specific security, recordkeeping, monitoring and reporting requirements that are designed to

identiff or prevent diversion.a2s When registrants at any level fail to fulfill their obligations, the

necessary checks and balances collapse.a2e The result                                 is the scourge of addiction that has

occurred.

              664. Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule                       I   and   II   controlled substances each year. The

quota system was intended to reduce or eliminate diversion from "legitimate channels of trade"

                                        14, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
a23
      Joseph T. Rannazzisi Decl.
cv-l 85 (Document l4-2          F   ebruary 10, 2012).
424
      See   H.R. Rep. No. 9l-1444, 1970 U.S.C.C.A.N. at4566.
azs
  Gonzalezv. Raich,545 U.S. l,12-14 (2005);21 U.S.C. $ 801(20;21 U.S.C. $$ 821-824,827,880; H.R. Rep.
No. 91-1444, 1970 U.S.C.C.A.N. 4566,4572 (Sept. 10, 1970).
426
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
Senate, May 5, 2015, https://www.drugcaucus.senate.gov/sites/defaullfiles/Rannazzisl%o2}Testimony-0.pdf.
427
  See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
Senate, July 18, 2012,htþs:llwwwjustice.gov/sites/defaulVfiles/testimonies/witnesses/attachments/07ll8ll2l0'7-18-
I 2 - dea-r   awøzzisi.p df .
a28
      Id.
a2e
      Joseph T. Rannazzisi Decl.        I10, Cardinal Heqlth, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-1 85 (Document l4-2            F ebruary 10, 2012).




                                                                 242
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by controlling the "quantities of the basic ingredients needed for the manufacture of fcontrolled
                                                                                                                'When
substances], and the requirement             of order forms for all       transfers     of   these drugs."430

evaluating production quotas, the DEA was instructed to consider the following information:

                    a.       Information provided by the Department of Health and Human Services;

                    b.       Total net disposal of the basic class by all manufacturers;

                    c.       Trends in the national rate of disposal of the basic class;

                    d.       An applicant's production cycle and current inventory position;

                    e.       Total actual or estimated inventories of the class and of all substances
                             manufactured from the class and trends in inventory accumulation; and

                    f.       Other factors such as: changes in the currently accepted medical use of
                             substances manufactured for a basic class; the economic and physical
                             availability of raw materials; yield and sustainability issues; potential
                                                                                           I
                             di   sruptions to production ; and unforeseen emergencies. 43

            665. It is unlawful for      a registrant to manufacture a controlled substance          in Schedule II,

like prescription opioids, that is (1) not expressly authorizedby its registration and by a quota

assigned to      it by DEA, or (2) in excess of a quota assigned to it by the DEA.a32

            666. At all relevant times, the RICO Diversion Defendants operated as an association-

in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

fraudulently increasing the quotas set by the DEA that would allow them to collectively benefit

from a greater pool of prescription opioids to manufacture and distribute. In support of this

common purpose and fraudulent scheme, the RICO Diversion Defendants jointly agreed to

disregard their statutory duties           to identify, investigate, halt and report suspicious orders of

430
   1970 U.S.C.C.A.N.4566 at5490; see a/so Testimony of Joseph T. Rarnazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015,
https://www.drugcaucus.senate.gov/sites/default/fileslRannazzisio/o2OTestimony_O.pdf.
a3t
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate, May 5, 20l5,https:llwww.drugcaucus.senate.gov/sites/defaullfiles/Rannazzisio/o20Testimony_0.pdf.
432
      Id. çciting2l U.S.C. 842(b)).




                                                          243
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opioids and diversion of their drugs into the illicit market so that those orders would not result in

a decrease, or prevent an increase in, the necessary quotas. The RICO Diversion Defendants

conducted their pattern      of racketeering activity in this jurisdiction and throughout the United

States through this enterprise.

        667. The opioid epidemic has its origins in the mid-1990s when, between 1997 and

2007, per capita purchase of methadone, hydrocodone, and oxycodone increased l3-fold, 4-fold,

and 9-fold, respectively.      By 2010, enough prescription opioids were sold in the United States to

medicate every adult in the country with a dose of 5 milligrams of hydrocodone every 4 hours

for 1 month.a33 On information and belief, the Opioid Diversion Enterprise has been ongoing for

at least the last decade.a3a

         668. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

Opioid Diversion Enterprise has been conducting business unintemrpted since its                             genesis.


However,    it was not until recently that federal        and state regulators finally began to unravel the

extent of the enterprise and the toll that it exacted on the American public.

         669. At all relevant times, the Opioid Diversion Enterprise: (a) had an existence                 separate


and distinct from each RICO Diversion Defendant; (b) was separate and distinct from the pattern

of racketeering in which the RICO Diversion Defendants engaged; (c) was an ongoing                                  and

continuing organization consisting of legal entities, including each of the RICO Diversion

Defendants; (d) was charactenzed by interpersonal relationships among the RICO Diversion

Defendants; (e) had sufficient longevity             for the enterprise to pursue its purpose; and (Ð
  Katherine Keyes et al., Understanding the Rural-urban Differences in Nonmedical Prescription Opioid Use an
a33

Abuse in the United States, Am. J. of Pub. Health: Promoting Public Health Research, Policy, Practice and
Education, v. lO4(2),Feb.2014, h@s://www.ncbi.nlm.nih.gov/pmc/articles/PMC3935688/.
a3a
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19,2017 , 12:01 a.m.), https://www.publicintegrily.o19/2016109l19l2020llpro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.




                                                        244
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functioned as a continuing unit. Each mernber of the Opioid Diversion Enterprise participated in

the conduct of the enterprise, including pattems of racketeering activity, and shared in the

astounding growth of profits supplied by fraudulently inflating opioid quotas and resulting sales.

        670. The Opioid Diversion Enterprise also engaged in efforts to constrain the DEA's

authority to hold the RICO Diversion Defendants liable for disregarding their duty to prevent

diversion. Members       of the Pain     Care Forum (described         in   greater detail below) and the

Healthcare Distribution Alliance lobbied for the passage of legislation to weaken the DEA's

enforcement authority. To this end, the Ensuring Patient Access and Effective Drug Enforcement

Act significantly reduced the DEA's ability to issue orders to show cause and to suspend and/or

revoke registrations.a3s The HDA and other members of the Pain Care Forum contributed

substantial amounts of money to political campaigns for federal candidates, state candidates,

political action committees and political parties. Upon information and belief, the Pain Care

Forum and its members and HDA, poured millions into such efforts.

        67I. The RICO Diversion Defendants, through their illegal enterprise, engaged in                         a


pattern of racketeering activity that involves a fraudulent scheme to profit from the unlawful sale

of prescription opioids by increasing the quotas governing the manufacture and sale of                   these

controlled substances. In order to achieve that goal, the RICO Diversion Defendants knowingly

allowed suspicious orders of controlled substances to occur unhindered while millions of opioid

43s
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13,2016, updated
July 6, 2016),http:llpharmaceuticalcommerce.com/business-and-hnance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement lYhile the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct.22,2016,hiïps:llwww.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/l0l22laea2bf8e-7f71-      I le6-8d13-
di c7}4e9fd9 story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls þr Investigation of
DEA Enþrcement Slowdown Amid Opioid Cns¡s, Wash. Post, Mar. 6,2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdowrV2Q1710310615846ee60-028b-l le7-b1e9-a05d3c2lf/clstory.html; Eric Eyre, DEA Agent: "l/'e Had no
Leadership" in WV Amid Flood of Pain Pills,Charleston Gazette-Mail, Feb. 18,2017,
http://www.wvgazeltemall.com/news/201702181dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.




                                                      24s
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doses were diverted into illegal markets. The end result of this strategy was exactly as the RICO

Diversion Defendants     intended artificially       increased quotas   for the   manufacture and

distribution of opioids, all of which resulted in a National opioid epidemic.

       672. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign com.merce because the enterprise involved commercial activities across states lines,

such as manufacture, sale, distribution, and shipment of prescription opioids throughout the

United States, and the corresponding payment andlor receipt of money from such interstate sales.

       673. Within the Opioid Diversion Enterprise, there were interpersonal relationships    and

common communication by which the RICO Diversion Defendants shared information on               a


regular basis. These interpersonal relationships also formed the organization of the Opioid

Diversion Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose         of   conducting the enterprise through a pattern of

racketeering activity.

        674. Each of the RICO Diversion Defendants had systematic links to each other through

joint participation in trade industry     organizations, contractual relationships and continuing

coordination of activities. The RICO Diversion Defendants participated in the operation and

management    of the Opioid Diversion Enterprise by directing its affairs, as described herein.

While the RICO Diversion Defendants participated in, and are members of, the enterprise, they

each have a separate existence from the enterprise, including distinct legal statuses, different

offices and roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements, and financial statements.




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            675. The RICO Diversion Defendants exerted substantial control over the Opioid

Diversion Enterprise through their membership in the Pain Care Forum, the HDA, and through

their contractual relationships.

            676. The Pain Care Forum ("PCF") has been described as a coalition of drug makers,

trade groups and dozens of non-profrt organizations supported by industry funding. The PCF

recently became a national news story when it was discovered that lobbyists for members of the

PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

than a decade.

            617. The Center for Public Integrity and The Associated Press obtained "internal

documents shedfding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse."436 Specifically, PCF members spent

over $740 million lobbying in the nation's capital and in all 50 statehouses on an array of issues,

including opioid-related measures.437

            678. Not surprisingly, each of the RICO Diversion Defendants who stood to profit from

expanded prescription opioid use           is a member of and/or participant in the PCF.438 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants

are members), Endo, Purdue, Actavis (i.e., Allergan), and Teva (the parent company of

Cephalon).a3e Eachof the Manufacturer Defendants worked together through the PCF to advance

the interests of the enterprise. But, the Manufacturer Defendants were not alone. The

a36
      Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drue epidemic, The Center for Public
Integrity(September 19,2077,12:01a.m.),https://www.publicintegrity.o1912016109l19l2020llpro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
437
      Id.
438
   PAIN CARE FORLIM 2012 Meetinqs Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf
a3e                                                        an active member of the PCF sometime after 2012.
      Id.Uponinformation and belief, Mallinckrodt became




                                                        247
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Distributor Defendants actively participated, and continue to participate                  in the PCF, at a
minimum, through their trade organization, the HDA.440 Upon information and belief, the

Distributor Defendants participated directly in the PCF         as   well.

            679. Additionally, the HDA -- or Healthcare Distribution Alliance -- led to the formation

of interpersonal relationships and an organizatíon between the RICO Diversion                      Defendants.

Although the entire HDA membership directory is private, the HDA website confirms that each

of the Distributor      Defendants and the Manufacturer Defendants named                   in the Complaint,
including Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of

the HDA.aar Additionall¡ the HDA and each of the Distributor Defendants, eagerly sought the

active membership and participation of the Manufacturer Defendants by advocating for the many

benefits of members, including "sûj4.g!hen!g.& . . alliances."442

            680. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, "network one on one with manufacturer executives at HDA's

members-only Business and Leadership Conference," "networking                         with HDA        wholesale

distributor members," "opportunities to host and sponsor HDA Board                      of Directors    events,"

"participate on HDA committees, task forces and working groups with peers and trading

partners," and "make connections."443 Clearly, the HDA and the Distributor Defendants



  Id.The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Ofhcer,
440

Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (last accessed on September 14,2017),
h@s ://www.healthcaredistribution. org/about/executive-committee.
aar
  Manufacturer Membership, Healthcare Distribution Alliance, (last accessed on September 14,2017),
h@s //www. healthcaredistribution. org/abouVmembership/manufacturer.
        :



aa2
  Manufacturer Membership Benefits, Healthcare Distribution Alliance, (last accessed on September 14,2017),
h@s://www.healthcaredistribution.org/-/media/pdfs/membership/manufacturer-membership-benefits.ashx?la:en.
443
      Id.




                                                       248
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believed that membership in the HDA was an opportunity to create interpersonal and ongoing

organizational relationships and "alliances" between the Manufacturer Defendants and the

Distributors Defendants.

           681. The application for manufacturer membership in the HDA further indicates the

level of connection between the RICO Diversion Defendants and the level of insight that they

had into each other's businesses.aaa For example, the manufacturer membership application

must be signed by a "senior company executive," and it requests that the manufacturer applicant

identify   a   key contact and any additional contacts from within its company.

           682. The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information.

           683. And, manufacturer members were asked to identiff their "most recent year              end net

sales" through wholesale distributors, including the Distributor Defendants AmerisourceBergen,

Cardinal Health, and McKesson and their subsidiaries.

           684. The closed meetings of the HDA's councils, committees, task forces and working

groups provided the Manufacturer and Distributor Defendants with the opportunity to work

closely together, confidentially, to develop and further the common purpose and interests of the

enterprise.

           685. The HDA also offers a multitude of conferences, including annual business                  and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to "bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing


aaa
   Manufacturer Membership Application, Healthcare Distribution Alliance, (last accessed on September 74,2017),
https://www.healthcaredistribution.orgl-/media/pdß/membership/manufacturer-membership-
application. ashx?la:en.




                                                     249
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industry issues."445 The conferences also gave the Manufacturer and Distributor Defendants

"unmatched opportunities to network with ftheir] peers and trading partners at all levels of the

healthcare distribution industry."aa6 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. It is

clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

these events.aaT

            686. Third, the RICO Diversion Defendants maintained their interpersonal relationships

by working together, through             contractual chargeback arrangements,               to   exchange sales

information and drive the unlawful sales of their opioids. To this end, the Manufacturer

Defendants engaged in an industry-wide practice of paying rebates to the Distributor Defendants

for sales of prescription opioids.aas

            687. For example, the Washington Post reported that                 "[o]n Aug.23,2011, DEA
supervisors met with Mallinckrodt executives at the agency's headquarters in Arlington, Va., the

day arare 5.8-magnitude earthquake hit the Washington region. People involved in the case still

call the gathering 'the earthquake meeting.' DEA officials showed the company the remarkable



aa5
    Business and Leadership Conference Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.orglevents/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14,2017).
aa6
      Id.
447
   2015 Distribution Manasement Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.orglevents/2015-distribution-management-0onference (last accessed on
September 14,2017).
aa8
   Leruty Bernstein & Scott Higham, The government's struggle to hold opioid manufacturers accountable, The
Washington Post, (April 2,2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodl?utm term:.b24cc8lcc356; see also, Letter from Sen. Claire McCaskill, (July 27,2017),
https://www.mccaskill.senate.govlimo/media/image/july-opioid-investigation-letter-manufacturers.png;  Letter from
Sen. Clai¡e McCaskill, (July 27 ,2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28,2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (last accessed on
September 74,201'7), http://www.purduepharma.com/payers/managed-markets/.




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amounts       of its oxycodone going to distributors and the number of                 arrests being made for

oxycodone possession and distribution on the street, according to one participant in the meeting

who also spoke on the condition of anonyrnity because the case is pending."aae

            688. "Three weeks after the Aug.23 meeting, Mallinckrodt notified 43 of its distributors

that they would no longer receive rebates from the company              if   they continued to supply certain

pharmacies whose orders appeared to be suspicious."45O

            689. "On Nov. 30, 2011, the DEA served a subpoena on Mallinckrodt, demanding

documents related       to its   suspicious-order-monitoring program, according             to the     company's

filings with the Securities and Exchange Commission. The subpoena brought a windfall of

information. The DEA gained access              to   data from Mallinckrodt's rebate          or   'chargeback'

program, an industry-wide practice that provides reimbursements to wholesale distributors. That

information and other records showed where Mallinckrodt's oxycodone was going                           from the
                                                                                                   -
company to its network of distributors to retailers down the chain."asl

            690. In addition, the Distributor Defendants and Manufacturer Defendants participated,

through the HDA, in webinars and other meetings designed to exchange detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices.as2 For example,           on Apnl 27,201I, the HDA offered a Webinar                   to

"accurately and effectively exchange business transactions between distributors                              and

manufacturers. . .":




aae
      Id.
asO
      Id.
ast
      Id.
452
   Webinars, Healthcare Distribution Alliance, (last accessed on September 14,2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.




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                                                x Set
                                                       (Webinar held: April27,2O11l Uslng EDI to




                           o
                                                       accurately and efficiently exchange buslness
                                                       transactions (i.e., purchase orders,
                                                       acknowledgements, ship notices, lnvolces, etc.)
                                                       between distributors and manufacturers ln the
                                                       healthcare supply chaln ls crltlcal. The
                                                       development and use of voluntary guldellnes
                                                       for speclflc   EDI   standards provide lndustry
           trading pafrners with a means   to     ctively convey the necessary information.

           Hear updates on HDMAs Order-to-Cash Guidelines for Electronic Data lnterchange (EDl) ín the
           Healthcare Product Supply Chain, including the 810 lnvoice; 850 Purchase Order; 855 Furchase
           Order Acknowledgement; and the 856 Ship Notice/Manifest.


        691. On information and belief, the Manufacturer Defendants used this information to

gather highJevel data regarding overall distribution and direct the Distributor Defendants on

how to most effectively sell the prescription opioids.

        692. And, through the HDA, Manufacturer Members were asked to identify their "most

recent year end net sales" through wholesale distributors, including the Distributor Defendants as

follows:




                                                     252
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    Company                                                                      Most Ræent Year Er¡d Net Sales
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                Schern Drstnbu¡on Centers Fl
               Pharmaceutic¡l Conguhr
             rce Medrcal, lnc, {1}
    Lourlian¿Wlrolesale           gCo Inc    (1)
    McKesæn                      í71
        McKesn          SolunÐrc12
        Mc      nC¿n¿da{l2J
        Mc Ke-on Corporatron {4}
        lVlcKercn Specraþ Heatth {1}
        McKæn             Redi:tnbutlm Cefrtet
        lvlcKesrcn Med¡cal
                  S¿þa & Serur¿e {PSSI t25l
        u5 Oncoì          {1i
              ictona He¿lthcare, lnc- PR {1}
    Miami l-uken, lnc-     r)
       rri-. & Drckæn           LLC
    FduÈrôl VVholeeale    Drug Co      (1)
I   FB¡l Health (1|ì
    Pre3.r¡ptron Supply, læ.     (11

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            Care Prod¡cts,
    RDC {31
    R&S Northeast LLC (2)
    Rrch¡e Pharmac¿ì Co , LLC {1}
    Seææt Medrcal LLC
    Smith               Dru JM Smitir
                                  lnc, ll )
        Srnith Drug Company, D¡¿ JM Smrth Cøporatron      [31
        Rx (4)
    V¿lue        Company (l)
    VuSerue
                                                                T     (rnillionr) I            t)



             693. The contractual relationships among the RICO Diversion Defendants also include

vault security programs. The RICO Diversion Defendants are required to maintain certain

security protocols and storage facilities for the manufacture and distribution of their opiates.

Upon information and belief, the manufacturers negotiated agreements whereby                                 the

manufacturers installed security vaults for distributors in exchange for agreements to maintain

minimum sales perforrnance thresholds. Upon information and belief, these agreements were

used by the RICO Diversion Defendants as a tool to violate their reporting and diversion duties

in order to reach the required sales requirements.




                                                                253
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            694. Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups          in a tightly knit industry. The Manufacturer and Distributor                  Defendants

were not two separate groups operating in isolation or two groups forced to work together in a

closed system. The RICO Diversion Defendants operated together as a united entity, working

together on multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA and

the Pain Care Forum are but two examples of the overlapping relationships, and concerted joint

efforts to accomplish common goals and demonstrates that the leaders of each of the RICO

Diversion Defendants were in communication and cooperation.

            695. Alternatively, the RICO Diversion Defendants were members of a legal entity

enterprise within the meaning             of   18 U.S.C.      $   1961(4), through which the RICO Diversion

Defendants conducted their pattern of racketeering activity in this jurisdiction and throughout the

                                                                     ccg¡4rr;4s3 is a distinct legal
United States. As alleged, the Healthcare Distribution Alliance (the

entity that satisfies the definition of a RICO enterprise because it is a corporation formed under

the laws of the District of Columbia, doing business in Virginia. As such, the HDA qualifies                        as


an "enterprise" within the definition set out          in 18 U.S.C. $ 1961(4).

            696. On information and belief, each of the RICO Diversion Defendants is a member,

participant, andlor sponsor of the HDA, and has been since at least 2006, and utilized the HDA

to conduct the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity

that gives rise to the Count.




as3
      Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https ://www.healthcaredistribution. org/about/hda-history.




                                            2s4
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           691. Each of the RICO Diversion Defendants is a legal entity     separate and distinct from

the   HDA. Additionally, the HDA      seryes the interests   of distributors and manufacturers beyond

the RICO Diversion Defendants. Therefore, the HDA exists separately from the Opioid

Diversion Enterprise, and each of the RICO Diversion Defendants exists separately from the

HDA. Therefore, the HDA may serve        as a RICO enterprise.

      B.    CONDUCT OF TIIE OPIOID DIVERSION ENTERPRISE.

           698. During the time period alleged in this Complaint, the RICO Diversion Defendants

exerted control over, conducted and/or participated          in the Opioid Diversion Enterprise by
fraudulently claiming that they were complying with their duties under the CSA to identifii,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

           699. The RICO Diversion Defendants disseminated false and misleading statements to

state and federal regulators claiming that (1) the quotas for prescription opioids should be

increased, (2) they were complying with their obligations to maintain effective controls against

diversion of their prescription opioids, (3) they were complying with their obligations to design

and operate a systern to disclose to the registrant suspicious orders of their prescription opioids,

(4) they were complying with their obligation to notify the DEA of any suspicious orders or

diversion     of their prescription opioids and (5) they did not have the capability to identify
suspicious orders of controlled substances despite their possession of national, regional, state,

and local prescriber- and patient-level data that allowed them to track prescribing patterns over

time, which the RICO Diversion Defendants obtained from data companies, including but not

limited    to: IMS Health,   QuintileslMS, Iqvia, Pharmaceutical Data Services, Source Healthcare

Analytics, NDS Health Information Services, Verispan, Quintiles, SDI Health, Arclight,


                                                  255
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Scriptline, Wolters Kluwer, andlor PRA Health Science,                   md all of their     predecessors or

successors in interest (the "Data Vendors").

        700. The RICO Diversion Defendants applied political and other pressure on the DOJ

and DEA to halt prosecutions for failure to report suspicious orders of prescription opioids and

lobbied Congress to strip the DEA of its ability to immediately suspend registrations pending

investigation by passing the "Ensuring Patient Access and Effective Drug Enforcement Act.-as4

        70I.   The Distributor Defendants developed "know your customer" questionnaires and

files. This information, compiled        pursuant to comments from the DEA             in 2006 and 2007 was

intended to help the RICO Diversion Defendants identify suspicious orders or customers who

were likely to divert prescription opioids.ass On information and belief, the "know your

customer" questionnaires informed the RICO Diversion Defendants of the number of pills that

the pharmacies sold, how many non-controlled substances are sold compared to controlled

substances, whether the pharmacy buys from other distributors, the types of medical providers               in

the area, including pain clinics, general practitioners, hospice facilities, cancer treatment




4sa
    5"" HDMA is now the Healthcare Distribution Alliancg, Pharmaceutical Commerce, (June 13,2016, updated
July 6, 2016),hltp:llpharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enþrcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct.22,20l6,hItps:llwww.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-controV20l6ll0l22laea2bf8e-7f71-l le6-8d13-
d7 c704e9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senqtor Calls þr Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6,2017,
https://www.washingtonpost.com./investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdowr/2O17103/0615846ee60-028b-l le7-b1e9-a05d3c2lficf_story.html; Eric Eyre, DEA Agent: "We Had no
Leadership" in WV Amid Flood of Pain Pll/s, Charleston Gazette-Mail, Feb. 18,2017 ,
http://www.wvgazellemail.com/news/201702181dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
4ss                                                                                ,   Drug Enforcement
Administration, https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th1harm/levinl_ques.pdf; Richard
Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and
McGuheWoods LLC, https ://www.mcguirewoods.com./news-
resources/publications/lifesciences/product_diversion_beyond¡rdma.pdf.




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facilities, among others, and these questionnaires put the recipients on notice of suspicious

orders.

          702. The RICO Diversion Defendants purchased nationwide, regional, state, and local

prescriber- and patientlevel data from the Data Vendors that allowed them to track prescribing

trends, identifu suspicious orders, identify patients who were doctor shopping, identify pill mills,

etc. The Data Vendors' information purchased by the RICO Diversion Defendants allowed them

to view, analyze, compute, and track their competitors' sales, and to compare and analyze market

share information.a56

          703. IMS, for example, provided the RICO Diversion Defendants with reports detailing

prescriber behavior and the number of prescriptions written between competing products.asT




as6A Verispan representative testified that the RICO Defendants use the prescribing information to "drive market
share." Sorrell v. IMS Health Inc., 201 | WL 6617 12, *9- I 0 (F eb. 22, 201 l).
457
    Paul Kallukaran & Jerry Kagan, Datø Mining at IMS HEALTH: How we Turned a Mountain of Data into a Few
Informøtion-rich Molehills, (last accessed on February 15, 2018),
http://citeseerx.ist.psu.edu/viewdoc/download?doi:10.1.1.198.349&rep:repl&type:pdf, Figure 2 at p.3.




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            704. Similarly, W'olters Kluwer,                                an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal Health (Arclight), provided the RICO

Diversion Defendants with charts analyzing the weekly prescribing patterns                                                                               of   multiple

physicians, organized by territory, regarding competing drugs, and analyzed the market share of

those drugs.as8




as8
      Sorrell v. IMS Health Inc.,          207    | WL      7   0520'7,     *
                                                                                467 -47   I   (F eb. 22, 20 I I ).




                                            2s8
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1.  The Prescriber Roster shows Prescribe¡ demographics, prescribing informaticn and indi-
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              3.   Territory SummårV Eeporf ahr¡ws Prescrilrer Roster i¡rforrnatio¡r aggregated at a territory
              level
                                                      lerritory Sumrrary
                                                             P¡oductÁ ProductA Product A Market Market
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              ABNEY, RAY C.         P  0i-r302                       6      TO.716          43         56       38
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              BOSTIC. JEFFERY O.   CHP 03079                         5      1û.97¡          55         45       44
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              BREITHOLTZ, TIMOTITY  P  03870                        13      34.zrfo          18
              BROWN KENNETH         P 03941                          4      10"Ðga          61         40        50
              BUCHANA-N. KEVÍN      P 05701                          5      L6.t%,          55         31        70
              CARMAN" MEGAN lil     P  o3246                        10      12.3Vt          28         81        18
              CARSEN. IIÍARJORTA                P   05701            6      L8-zck          43         33       59
              C.A.TP.ANO-   FRIEÐIIIAN.         P   0520r            5       8.6?Ér         4t         70        28
              LTSA
              CIARKE-RUBIN, LORNå,              P   12901            I      24.2(16
                                                                                             Dfr       33       59
              COTIEN. DEVRA TI              C       03060            B       6.5çå           73        +6       44
              COLE. STEP}IEN A.                 P   051ù1            5      I3.z'Jtt'        DÐ        38       52
              COTTON. PAUL G.                   P   0540r           r3      2i3.ïo/a         18        46       44
              C]USI. PRISCILI,A M               P   0310,t          L7       7.9Tc'          L4       zLE         5
              DAVISON, MARTHA F                 P   03lr0           L4      tL.gfo           16       L24         8
              ÐEJONG, ú\COB                     P   0306?            D       0.0så           93        2L        81
              DELFAUSSE, PE'IER O,              P   03s01            6      35,3%            43        1?        90
                                                                                                       u.)
              DENNET'T, DOUGT-AS E.         c       054û1            0       O"OV(           93                  59
              DEPPE. SUSAN L.                   P   0540r            t       0.31Ð           87       300         2
              DEVENDDRRAO, T                    P   03060                    9-69¡o          37         I,J      2t


             105. This information allowed the RICO Diversion Defendants to track and identify

instances          of overprescribing.ase In fact, one of the Data Venders' experts testified that                            a


manufacturer          of "narcotic analgesics" used the Data Venders' information to track, identify,

report and halt suspicious orders of controlled substances.a6O


4se
      See   Sorrell v. IMS Health              1449043, *37 -38 (March 24,201l) (arguing that data had been used to
                                    Inc.,20ll WL
"identiff overuse of antibiotics in children," and "whether there is a wide use of anth¡ax prophylactic medicines
after the scares happened in 2001.'). The Data Vender Respondents also cited evidence from the trial court proving
that "because analysis of PI data makes it possible to 'identiff overuse of a pharmaceutical in specific conditions,
the government employs the data to monitor usage of controlled substances." Id.
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      Id. at *38. Eugene "Mick" Kolassa testified as an expert on behalf of the Data Vender stating that "a firm that
sells narcotic analgesics was able to use prescriber-identifiable information to identifr physicians that seemed to be
prescribing an inordinately high number of prescriptions for their product." Id.; see also Joint Appendix in Sorrell v
IMS Health,20l I WL 687134, at*204 (Feb.22,201l).




                                                              260
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                 t4551    8.
                           Besides marketing and promotion, åre
             therc any other uses for prescriber-ídentifiable dats?
                 A. Therþ's a nunber of other uses"
                 A. And what are those?
                  A. The one that I     wae most impressed with
             $1as a firm that used iü to identiff - a firm that
             sells narcrtic analgesics wflÍl able to use prescriber-
             identíf'rable information tû identif¡' physicians that
             seerïed to he prescribíng &n inordinately high num-
             ber of prescriptions for their product and they would
             u¡e that to notify the DEA and other auùhorities of
             potential problems.

            706. The RICO Diversion Defendants wero, therefore, collectively aware                       of   the

suspicious orders that flowed daily from their manufacturing and distribution facilities.

            707. The RICO Diversion Defendants refused               to identify,    investigate and report

suspicious orders     to the DEA when they became aware of the                   same despite their actual

knowledge       of drug   diversion rings. The RICO Diversion Defendants refused                   to   identify

suspicious orders and diverted drugs despite the DEA issuing                    final decisions against the

Distributor Defendants         in   178 registrant actions between 2008 and 201246t and                       lI7
recommended decision        in registrant actions from The Office of Administrative Law Judges.

These numbers include seventy-six (76) actions involving orders to show cause and forty-one

(41) actions involving immediate suspension orders - all for failure to report suspicious

orders.a62



a6r
  Evaluation and Inspections Div., Ofhce of the Inspector Gen., U.S. Dep't of Justice, The Drug Enforcement
Administration's Adjudication of Regis*ant Actions 6 (2014), https://oigjustice.gov/reportsl2}l4lel403.pdf.
462
      Jd.




                                            26r
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        708. The RICO Diversion Defendants' scheme had a decision-making structure driven

by the   Manufacturer Defendants and corroborated         by the Distributor   Defendants. The

Manufacturer Defendants worked together to control the state and federal government's response

to the manufacture and distribution of prescription opioids by increasing production       quotas

through a systematic refusal to maintain effective controls against diversion, and identify

suspicious orders and report them to the DEA.

        709. The RICO Diversion Defendants worked together             to   control the flow of

information and influence state and federal governments and political candidates         to   pass

legislation that was pro-opioid. The Manufacturer and Distributor Defendants did this through

their participation in the PCF and HDA.

        7I0.   The RICO Diversion Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained

artificially high and ensured that suspicious orders were not reported to the DEA in order to

ensure that the   DEA had no basis for refusing to increase or decrease production quotas due to

diversion.

        7Il. The scheme devised and implemented by the RICO Diversion                 Defendants

amounted     to a common course of conduct characterized by a refusal to maintain        effective

controls against diversion, and all designed and operated to ensure the continued unlawful sale of

controlled substances.

   C.    PATTERN OF RACKETEERING ACTIVITY.

        712. The RICO Diversion Defendants conducted and participated in the conduct of the

Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.   $


1961(1XD), by the felonious manufacture, importation, receiving, concealment buying selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the


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Controlled Substance Act), punishable under any law           of the United   States; and 18 U.S.C.

1961(lXB), including mail fraud (18 U.S.C. $ 1341) and wire fraud (18 U.S.C. $ 1343).

              1. The RICO Defendants Manufactured, Sold and/or Dealt in                  Controlled
                 Substances and Their Actions Constitute Crimes Punishable as Felonies.

           713. The RICO Diversion Defendants committed crimes that       are punishable as felonies

under the laws of the United States. Specifically,    2l   U.S.C. $ 8a3(aX4) makes it unlawful for

any person to knowingly or intentionally furnish false or fraudulent information in, or omit any

material information from, any application, report, record or other document required to be

made, kept or filed under this subchapter. A violation of section 8a3(aXa) is punishable by up to

four years in jail, making it a felony. 21 U.S.C. $ 843(dxl).

           714. Each of the RICO Diversion Defendants qualifies as a registrant under the CSA.

Their status as registrants under the CSA requires that they maintain effective controls against

diversion ofcontrolled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious

orders when discovered by the registrant. 21 U.S.C. $ 823; 21 C.F.R. $ 1301 .74(b).

           715. The CSA and the Code of Federal Regulations, require the RICO Diversion

Defendants to make reports to the DEA of any suspicious orders identified through the design

and operation     of their system to disclose suspicious orders. The failure to make reports      as


required by the CSA and Code of Federal Regulations amounts to a criminal violation of the

statute.

           716. The RICO Diversion Defendants knowingly and intentionally fumished false or

fraudulent information    in their reports to the DEA about suspicious        orders, and/or omitted

material information from reports, records and other documents required to be filed with the

DEA including the Manufacturer Defendants' applications for production quotas. Specifically,



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the RICO Diversion Defendants were aware of suspicious orders of prescription opioids and the

diversion of their prescription opioids into the illicit market, and failed to report this information

to the DEA in their mandatory reports and their applications for production quotas.

        717. Upon information and belief, the foregoing examples reflect the RICO Diversion

Defendants' pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by                2l   C.F.R.   $ 1301.74. The sheer volume of
enforcement actions available in the public record against the Distributor Defendants supports

this conclusion.a63 For example:

         718. On April 24,2007, the DEA issued                  at   Order to Show Cause and Immediate

Suspension Order against the AmerisourceBergen Orlando, Florida distribution center ("Orlando

Facility") alleging failure to maintain effective controls against diversion                       of   controlled

substances. On June 22, 2007, AmerisourceBergen entered into a settlement that resulted                      in the

suspension of its DEA registration.

         719. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

Suspensíon Order against           the Cardinal Health Auburn, Washington Distribution                      Center

("Auburn Facility") for failure to maintain effective controls against diversion of hydrocodone.

         720. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center ("Lakeland

Facility") for failure to maintain effective controls against diversion of hydrocodone.

         721. On December 7,2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center



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    Evaluation and Inspections Div., Offrce of the Inspector Gen., U.S. Dep't of Justice, The Drug Enforcement
Administration's Adjudication of Registrant Actions 6 (2014), https://oigjustice.gov/reportsl2}l4lel403.pdf.




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("Swedesboro Facility")      for failure to maintain effective controls against diversion of
hydrocodone.

         722. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Stafford, Texas Distribution Center ("Stafford

Facility") for failure to maintain effective controls against diversion of hydrocodone.

         723. On May      2,   2008, McKesson Corporation entered into an Administrative

Memorandum of Agreement ("McKesson 2008 MOA") with the DEA which provided that

McKesson would "maintain a compliance program designed to detect and prevent the diversion

of controlled   substances, inform   DEA of suspicious orders required by   2l C.F.R. $ 1301 .14(b),
and   follow the procedures established by its Controlled Substance Monitoring Program."

         724. On September 30, 2008, Cardinal Health entered into a Settlement and          Release

Agreement and Administrative Memorandum of Agreement with the DEA related to its Aubum

Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The document            also

referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

diversion of controlled substances at its distribution facilities located in McDonough, Georgia

("McDonough Facility"), Valencia, California ("Valencia Facility'') and Denver, Colorado

("Denver Facility").

         725. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center ("Lakeland

Facility") for failure to maintain effective controls against diversion of oxycodone.

         726. On May, 14, 2012, Cardinal Health entered into an Administrative Memorandum

of Agreement with the DEA in which, among other things, Cardinal Health "admits that its due




                                                 26s
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diligence efforts for some pharmacy customers and its compliance with the 2008 MOA, in

certain respects, were inadequate."

         127. Thereafter, on December 23, 2016, Cardinal Health agreed to pay a $44 million

fine to the DEA to resolve the civil penalty portion of the administrative action taken against its

Lakeland, Florida Distribution Center.

         728. On January    5,   2017, McKesson Corporation entered into an Administrative

Memorandum Agreement withthe DEA wherein it agreed to pay a $150,000,000 civil penalty for

violation of the 2008 McKesson MOA as well as failure to identiff and report suspicious orders

at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD,

La Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and

'West
        Sacramento CA.

         729.   In the January 5, 2017 Administrative Memorandum Agreement, McKesson
acknowledged its wrongdoing and failure to comply with the obligations imposed by the CSA:




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 2.       Acgeptance_of Responsibility. On or aboul September 27, 2006, February 7,2007 and
 December 27,2007, DEA's Deputy AssistantAdminisnator, Office of Diversion Control, sent
 lctlen to every entity in the Unired States that was registered with DEA to manufacnre or
 distríbute controlled substances, including McKesson (lhe "DEA Letters"¡. The DEA Letters
 corrtained, among other things, guidance for thc identifrcation and reporting of suspiciots orders
 to DEA, as required by 2l C.F,R. $ I 101.74(b). McKesson acknowledges lhat, at various times
 rluring the periocl from January I , 2009 up thúough and including the Effective Date of this
 Agreement (the "Covere<l Tme Period"), it did not identiff or report to DEA certain orders
 phced by cer(ain pharmacies which should have been detccted by McKesson as suspiciot¡s based
 on lhe guidance contained in the DEA Letters about the rcquirements sct forth in 2l C,F.R. $
 ll0l.74(b)and2l U.S.C.$8a2(a)(5). McKessonhastakenstepstopreventsuchconductfrorn
 occurirrg in the future, including the nreasures delineated in the Cornpliance Addendunr.

          On or about May 2, 2008. DEA and McKesson entered into an Administrative
 Menrorandurn of Âgree ment (rhe "2008 MOA"), The 2008 MOA providcd ¿rmong other things,
 that McKesson maintain a compliance program dcsigned to dctect and prevent thc diversion of
 controlled substances, inform DEA of suspicious orders as requíred by 2l C,F.R. $ 1301.74(b),
 and follow procedures established by its Controlled Substance Monitoring Program ("CSMP").
 McKesson acknowledgcs that, at various times dunng the Covered Time Period, it did not
 idcntil-y or repon to DEA ceflain orders placecl by ccrtain pharmacies, rvhich should have been
 dctcctccl by McKcsson as suspicious, in a manner fully consistent with the requirements sel forth
 in the 200E NIOA, McKesson has takcn sleps 1o prevent such conduct from occurring in the
 tuturc, including lhe measures delineated in the Compliance Addendum,


       730. On April 23,2015, McKesson filed a Form-8-K announcing a settlement with the

DEA and DOJ wherein it admitted to violating the CSA and agreed to pay $150 million and have

some of its DEA registrations suspended on a staggered basis.

       131. In 2016, the Los Angeles Times reported that Purdue was aware of a pill mill

operating out of Los Angeles yet failed to alert the DEA. The L.A. Times uncovered that Purdue

began tracking a surge in prescriptions in Los Angeles, including one prescriber in particular.

       732. Purdue was clearly aware of diversion. As a registrant, Purdue has the same

obligation to report suspicious orders as a wholesale distributor. Although Purdue claimed that it

was considering making a report to the DEA,      it shirked its responsibility, claimed that it was the

wholesaler's responsibility and then reserved the right to make the report.

        133. Despite its knowledge of obvious diversion, "Purdue did not shut off the supply of

highly addictive OxyContin and did not tell authorities what it knew about [a pill mill] until


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several years later when the clinic was out of business and its leaders indicted. By that time, 1.1

million pills had spilled into the hands of Armenian mobsters, the Crips gang and other

criminals."

        734. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in

Florida between 2008 and 2012. After six years of DEA investigation, Mallinckrodt agreed to a

settlement involving a $35 million fine. Federal prosecutors summarizedthe case by saying that

Mallinckrodt's response was that everyone knew what was going on in Florida but they had no

duty to report it.

        735. These actions confirm that the Distributor Defendants knew they had a duty to

maintain effective controls against diversion, design and operate a system to disclose suspicious

orders, and   to report   suspicious orders   to the DEA. These actions also demonstrate,        on

information and belief, that the Manufacturer Defendants were aware of the enforcement against

their distributors and the diversion of the prescription opioids and a corresponding duty to report

suspicious orders.

        736. The pattem of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

        737. Many of the precise dates of the RICO Diversion Defendants' criminal actions at

issue herein were hidden and cannot be alleged without access to their books and records.

Indeed, an essential part of the successful operation of the Opioid Diversion Enterprise depended

upon the secrecy of the participants in that enterprise.




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       738. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiff s Community and the Plaintiff. The RICO Diversion

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiff. The RICO Diversion Defendants were aware that

Plaintiff and the citizens of this jurisdiction rely on the RICO Diversion Defendants to maintain   a


closed system of manufacturing and distribution to protect against the non-medical diversion and

use of their dangerously addictive opioid drugs.

       739. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the RICO Diversion Defendants engaged in a fraudulent scheme and unlawful course        of

conduct constituting a pattern of racketeering activity.

       740. The RICO Diversion Defendants' predicate       acts and pattem of racketeering activity

were a substantial and foreseeable cause of Plaintiff s injury and the relationship between the

RICO Diversion Defendants' conduct and Plaintifls injury are logical and not speculative. It

was foreseeable to the RICO Diversion Defendants that when they refused to identifr, report and

halt suspicious orders as required by the CSA and Code of Federal Regulations, it would allow

the wide-spread diversion of prescriptions opioids into the    illicit market and create an opioid-

addiction epidemic that logically, substantially, and foreseeably harmed Plaintiff.

        741. The RICO Diversion Defendants' predicate      acts and pattern of racketeering activity

were a substantial and foreseeable cause of Plaintiff s injury and the relationship between the

RICO Diversion Defendants' conduct and Plaintiff s injury is logical and not speculative. It was

foreseeable to the RICO Diversion Defendants that when they fraudulently marketed highly-




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addictive and dangerous drugs, that were approved for very limited and specific uses by the

FDA, as non-addictive and safe for offJabel uses such as moderate pain, non-cancer pain, and

long-term chronic pain, that the RICO Diversion Defendants would create an opioid-addiction

epidemic that logically, substantially and foreseeably harmed Plaintiff.

        742. The last racketeering incident occurred within five years of the commission of         a


prior incident of racketeering.

             2.   The RICO Diversion Defendants Engaged in MaiI and \üire Fraud.

        743. The RICO Diversion Defendants carried out, or attempted to carry out, a scheme to

defraud federal and state regulators, and the American public by knowingly conducting or

participating in the conduct of the Opioid Diversion Enterprise through a pattern of racketeering

activity within the meaning of 18 U.S.C. $ 1961(1) that employed the use of mail and wire

facilities, in violation of 18 U.S.C. $ 1341 (mail fraud) and $ 1343 (wire fraud).

        744. The RICO Diversion Defendants committed, conspired to commit, andlor               aided

and abetted    in the commission of at least two predicate acts of         racketeering activity (i.e.

violations   of   18 U.S.C. $$ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Diversion Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a "pattern     of racketeering activity." The racketeering activity was made

possible by the RICO Diversion Defendants' regular use of the facilities, services, distribution

channels, and employees of the Opioid Diversion Enterprise. The RICO Diversion Defendants

participated   in the   scheme   to defraud by using mail, telephone and the Intemet to transmit

mailings and wires in interstate or foreign coÍtmerce.

        745. The RICO Diversion Defendants used, directed the use of, and/or caused to be

used, thousands of interstate mail and wire communications in service of their scheme through


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virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

        746. In devising and executing the illegal scheme, the RICO Diversion Defendants

devised and knowingly carried out a material scheme andlor artifice to defraud by means           of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

For the purpose of executing the illegal scheme, the RICO Diversion Defendants committed

these racketeering acts, which number in the thousands, intentionally and knowingly with the

specific intent to advance the illegal scheme.

        747. The RICO Diversion Defendants' predicate acts of racketeering (18 U.S.C.              $


1961(1)) include, but are not limited to:

                a.      Mail Fraud: The RICO Defendants violated 18 U.S.C. $ 1341 by sending
                        or receiving, or by causing to be sent and/or received, materials via U.S.
                        mail or commercial interstate carriers for the purpose of executing the
                        unlawful scheme to design, manufacture, market, and sell the prescription
                        opioids by means of false pretenses, misrepresentations, promises, and
                        omissions.

                b.      Wire Fraud: The RICO Defendants violated 18 U.S.C. $ 1343 by
                        transmitting andlor receiving, or by causing to be transmitted and/or
                        received, materials by wire for the purpose of executing the unlawful
                        scheme to design, manufacture, market, and sell the prescription opioids
                        by means of false pretenses, misrepresentations, promises, and omissions.

        748. The RICO Diversion Defendants' use of the mail and wires includes, but is not

limited to, the transmission, delivery, or shipment of the following by the Manufacturers,

Distributors, or third parties that were foreseeably caused to be sent as a result of the RICO

Diversion Defendants' illegal scheme, including but not limited to:

                a.      The prescription opioids themselves;




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               b.     Documents and communications that supported and/or facilitated the
                      Defendants' request for higher aggregate production quotas, individual
                      production quotas, and procurement quotas;

               c.     Documents and communications that facilitated the manufacture, purchase
                      and sale of prescription opioids;

               d.     Defendants' DEA registrations;

               e.     Documents and communications            that supported andlor facilitated
                      Defendants' DEA registrations;

               f.     Defendants' records and reports that were required to be submitted to the
                      DEA pursuant to 21 U.S.C. 5 827;

               û      Documents and communications related to the Defendants' mandatory
                      DEA reports pursuant to 21 U.S.C. $ 823 and2l C.F.R. $ 1301.74;

               h.     Documents intended to facilitate the manufacture and distribution of
                      Defendants' prescription opioids, including bills of lading, invoices,
                       shipping records, reports and correspondence;

                       Documents for processing and receiving payment for prescription opioids;

               J       Payments      from the Distributor Defendants        to   the   Manufacturer
                       Defendants;

               k.      Rebates and chargebacks from the Manufacturers to the Distributors;

               L       Payments to Defendants' lobbyists through the PCF;

               m.      Payrnents     to   Defendants' trade organizations,     like the HDA, for
                       memberships and/or sponsorships;

               n.      Deposits of proceeds from Defendants' manufacture and distribution         of
                       prescription opioids; and

               o.      Other documents and things, including electronic communications.

       749. On information and belief, the RICO Diversion Defendants (andlor their          agents),

for the pufpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or

received) by mail or by private or interstate carrier, shipments of prescription opioids and related

documents by mail or by private carrier affecting interstate commerce, including the following:

 Defendant            Company Names                                    Drugs


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Group Name                                             Drug Name       Chemical Name        CSA
                                                                                          Schedule
                                                                      Oxycodone
                                                       OxyContin      hydrochloride      Schedule   II
                                                                      extended release
                                                                      Morphine sulfate
                                                       MS Contin                         Schedule   II
                                                                      extended release
               (l) Purdue Pharma, LP,
                                                       Dilaudid
                                                                      Hydromorphone
                                                                                         Schedule   II
               (2) Purdue Pharma, Inc.,                               hydrochloride
  Purdue
               (3) The Purdue Frederick                               Hydromorphone
                                                       Dilaudid-HP                       Schedule   II
               Company                                                hydrochloride
                                                       Butrans        Buprenomhine       Schedule   II
                                                                      Hydrocodone
                                                       Hysinga ER                        Schedule   II
                                                                      bitrate
                                                                      Oxycodone
                                                       Targiniq ER                       Schedule   II
                                                                      hydrochloride
               (1) Cephalon, Inc.,                     Actiq          Fentanyl citrate   Schedule   II
               (2) T ev a Pharmaceutical
 Cephalon      Industries, Ltd.,                       Fentora        Fentanyl citrate   Schedule   II
               (3 ) Teva Pharmaceuticals
                                                       Generec        Oxycodone
               USA, Inc.                                                                 Schedule   II
                                                       oxycontin      hydrochloride
                                                                      Oxyrnorphone
                                                       Opana ER       hydrochloride      Schedule   II
                                                                      extended release
                                                                      Oxymorphone
                                                       Opana                             Schedule   II
               (1) Endo Health Solutions,                             hydrochloride
               Inc.,                                                   Oxymorphone
               (2) Endo Pharmaceuticals                Percodan       hydrochloride      Schedule   II
               Inc.,                                                   and aspirin
   Endo
               (3) Qualitest                                           Oxymorphone
               Pharmaceuticals, Inc.                                  hydrochloride
                                                       Percocet                          Schedule   II
               (w h o I ly - own e d s ub s í di ary                   and
               of Endo)                                                acetaminophen
                                                       Generic oxycodone                 Schedule   II
                                                       Generic oxymorphone               Schedule   II
                                                       Generic hydromomhone              Schedule   II
                                                       Generic hydrocodone               Schedule   II
               (1) Mallinckrodt PLC,                                    Hydromorphone
                                                       Exalgo                            Schedule   II
               (2) Mallinckrodt LLC                                     hydrochloride
Mallinckrodt   (w h o I ly - owne d s ub s i di ary                     Oxycodone
               of Mallinckrodt PLQ                     Roxicodone                        Schedule   II
                                                                        hydrochloride
               (1) Allergan Plc,                                        Morphine
  Allergan                                             Kadian                            Schedule   II
               (2) Actavis LLC,                                         Sulfate




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                  (3) Actavis Pharma, Inc.,                        Hydrocodone
                                                Norco (Generic
                  (4) Actavis Plc,                                 and                    Schedule   II
                                                of Kadian)
                  (5) Actavis, Inc.,                               acetaminophen
                  (6) Watson                     Generic
                  Pharmaceuticals, Inc.,                           Fentanyl               Schedule   II
                                                 Duragesic
                  Watson Pharma, lnc.
                                                                   Oxymorphone
                                                 Generic Opana                            Schedule   II
                                                                   hydrochloride



        750. Each of the RICO Diversion Defendants identif,red manufactured, shipped, paid for

and received payment for the drugs identified above, throughout the United States.

        751. The RICO Diversion Defendants also used the internet and other electronic

facilities to carry out their scheme and conceal the ongoing fraudulent activities. Specifically, the

RICO Diversion Defendants made misrepresentations about their compliance with federal and

state laws requiring them   to identify, investigate and report suspicious orders of prescription

opioids andlor diversion of the same into the illicit market.

       752. At the same time, the RICO Diversion Defendants misrepresented the superior

safety features   of their order monitoring programs, ability to         detect suspicious orders,

commitment to preventing diversion of prescription opioids, and their compliance with all state

and federal regulations regarding the identification and reporting         of   suspicious orders         of

prescription opioids.

        753. Upon information and belief, the RICO Diversion Defendants utilized the internet

and other electronic resources to exchange communications, to exchange information regarding

prescription opioid sales, and to transmit payments and rebates/chargebacks.

        154. The RICO Diversion Defendants also communicated by U.S. Mail, by interstate

facsimile, and by interstate electronic mail with each other and with various other affiliates,

regional offices, regulators, distributors, and other third-party entities      in   furtherance   of the

scheme.


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          755. The mail and wire transmissions described herein were made in furtherance of the

RICO Diversion Defendants' scheme and common course of conduct to deceive regulators, the

public and Plaintiff that Defendants were complying with their state and federal obligations to

identify and report suspicious orders of prescription opioids all while Defendants were

knowingly allowing millions of doses of prescription opioids to divert into the           illicit drug
market. The RICO Diversion Defendants' scheme and common course                  of   conduct was to

increase or maintain high production quotas for their prescription opioids from which they could

profit.

          756. Many of the precise   dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden by Defendants and cannot be alleged without access to

Defendants' books and records. However, Plaintiff has described the types of, and            in   some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

          757. The RICO Diversion Defendants did not undertake the practices described herein in

isolation, but as part   of a common scheme. Various other persons, firms, and corporations,
including third-party entities and individuals not named as defendants in this Complaint, may

have contributed to and/or participated in the scheme with the RICO Diversion Defendants in

these offenses and have performed acts        in fuitherance of the scheme to increase      revenues,

increase market share, and /or minimize the losses for the RICO Diversion Defendants.

          758. The RICO Diversion Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. $$ 1341 and 1343

offenses.




                                                  275
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          759. The RICO Diversion Defendants hid from the general public and suppressed and/or

ignored warnings from third parties, whistleblowers and governmental entities about the reality

of the suspicious orders that the RICO Diversion Defendants were filling on a daily basis             -
leading to the diversion of hundreds of millions of doses of prescriptions opioids into the illicit

market.

          760. The RICO Diversion Defendants, with knowledge          and intent, agreed to the overall

objective   of their fraudulent     scheme and participated   in the cofitmon   course   of   conduct to

commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

          761. Indeed, for the RICO Diversion Defendants' fraudulent scheme to work, each of

the Defendants had to agree to implement similar tactics regarding manufacturing prescription

opioids and refusing to report suspicious orders.

          762. As described herein, the RICO Diversion Defendants engaged             in a pattern of
related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant monies

and revenues from the sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

          763. The predicate acts all had the purpose         of   creating the opioid epidemic that

substantially injured Plaintiff s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Diversion Defendants. The predicate acts were

committed     or   caused   to be   committed   by the RICO Diversion       Defendants through their

participation in the Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.




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         764. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, the RICO Diversion Defendants

are distinct from the enterprise.

         765. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

         166. Many of the precise dates of the RICO Diversion Defendants' criminal actions at

issue here have been hidden by the RICO Diversion Defendants and cannot be alleged without

access   to the RICO Diversion Defendants' books and records. Indeed, an essential part of the

successful operation of the Opioid Diversion Enterprise alleged herein depended upon secrecy.

         767. Each instance of racketeering activity alleged herein was related, had similar

pu{poses, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Plaintiffs Community and the Plaintiff. The RICO

Diversion Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and

their scheme to increase and maintain their increased profits, without regard to the effect such

behavior would have on Plaintiffs Community, its citizens or the Plaintiff. In designing and

implementing the scheme, at all times the RICO Diversion Defendants were cognizant of the fact

that those in the manufacturing and distribution chain rely on the integrity of the pharmaceutical

companies and ostensibly neutral third parties to provide objective and reliable information

regarding Defendants' products and their manufacture and distribution of those products. The

RICO Diversion Defendants were also aware that Plaintiff and the citizens of this jurisdiction

rely on the Defendants to maintain a closed system and to protect against the non-medical

diversion and use of their dangerously addictive opioid drugs.




                                               277
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            768. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the RICO Diversion Defendants engaged in a fraudulent scheme and unlawful course                       of

conduct constituting a pattern of racketeering activity.

            769.   It was foreseeable to the RICO Diversion Defendants                that Plaintiff would be

harmed when they refused to report and halt suspicious orders, because their violation of the

duties imposed by the CSA and Code of Federal Regulations allowed the widespread diversion

of prescription opioids out of appropriate medical channels and into the illicit drug market                    -
causing the opioid epidemic that the CSA intended to prevent.

            110. The last racketeering incident occurred within five years of the commission of                 a


prior incident of racketeering.

       D.    DAMAGES.

               1.      Impact of the Opioid Diversion Enterprise.

            17l.   Wisconsin has been especially ravaged by the national opioid crisis.

            772. The Wisconsin     State Health Assessment and Health Improvement Plan reports that

between 2005 and 2015-as prescription opioid sales steadily increased-the number of opioid-

related overdose deaths in Wisconsin more than doubl             ed.a6a   The main cause of drug overdoses is

prescription opioids, which caused six of 10 opioid-related deaths and eight of 10 hospital visits
                                                                 'Wisconsin
in Wisconsin.a65 By 2015, over two hundred thousand                           residents aged 12 and older had

used opioids non-medically           or illegally-slightly less than the             population     of   Madison,

Wisconsin.a66 And from 2010           to 2014, the rate of prescription drug deaths increased by 2l


a6a
   See.Wisconsin State Health Assessment and Health ImprovementPlan, Priority: Opioids (2015),
https://healtþ.wisconsin.gov/heatthywifiles/8346-healthy-wi-plan-opioids.pdf (last visited February 5, 2015).
46s
      Id.
466
      Id.




                                                        218
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              'Wisconsin,
percent in                  alongside a I88o/o increase in the number of deaths from heroin (which is

cheaper and easier          for   addicts   to obtain, and causally    related   to the use of      prescription

opioids).a67 Three out      of four people in Wisconsin who use heroin began their drug abuse using

prescription opioids.aó8 "In 2014, more than 14,000 hospital visits in Wisconsin were because                     of

opioids, and almost 3,000 were for opioid overdoses."46e

            773. The rate of opioid overdose deaths in Wisconsin almost doubled from 2006 to

2015, going up from 5.9 deaths per 100,000 residents in2006 to 10.7 deaths per 100,000 people

in     2015.a70 "Prescription opioids have been the main driver               of drug overdose       deaths and

poisonings .n47r 1n2015, almost two-third of opioid-related deaths involved prescription drugs.a72

            774. Wisconsin suffered a statistically significant increase in the drug overdose               death

rate from 2015 to 2016, according to data from the Centers for Disease Control and Prevention

(CDC).473 The death rate rose         by 24.5 percent.aia




467
      Id.
468
      Id.
46e
      Id.
470
    Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Datafor'[l'isconsin,
November 2016,https:llwww.dhs.wisconsin.gov/publications/p0l690.pdf (last visited May 18, 2018).
41t
      Jd.
412
      Id.
a73 Centers for Disease Control and Prevention, Drug Overdose Deqth Data, (*2015-2016 Death Increases" tab,
https://www.cdc.gov/drugoverdose/datalstatedeaths.html (last visited Feb. 9, 2018).
a1a
      Id.




                                                       279
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Statistically significant drug overdose death rate increase from 2015-2016, US states


                               WA

                                                          MT
                                                                       ND

                           OR
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              775. According to the CDC, in2016,I,074 people died of drug                         overdoses in Wisconsin,

for a rate of 19.3 per 100,000                          people.aTs   In 2015, 878 people died from drug overdoses while in

                                          6
2014, 853 people died.ai

              776. Based on data from emergency room visits from July 2016 to September 2017,

Wisconsin had a 109 percent increase in opioid overdoses, well above the national increase                              of

29J percent.All That number likely underreports overdoses since many people do not go to the

emergency room. 478



47s
      Id. al"20l6 Deaths" tab.
476
      Id.   at "2015 Deaths" tab and "2014 Deaths" tab.
4't7 Alana
         M. Vivolo-Kantor, et al, Centers for Disease Control and Prevention, "Vital Signs: Trends in Emergency
Department Visits for Suspected Opioid Overdoses - United States, July 2016-September 2017," Morbidity and
Mortality Weekly Report (March 6,2018), https://www.cdc.gov/mmwr/volumes/67lw¡/mm6709el.htm           (last visited
March 7,2078).
az8
   Ro6 Stein, "Jump In Overdoses Shows Opioid Epidemic Has Worsened," NPR (March 6,2018)
https;//www.npr.orglsections/health-shotsl2018/0310615909231491jump-in-overdoses-shows-opioid-epidemic-has-
worsened (last visited March 7 ,2018).




                                                                             280
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                 777. The number of opioid-related hospitalizations also steadily increased from 2006-

2015 in Wisconsin:


  Opioid-Related Hospializations Are Driven by Prescription Opioids.
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                   Wisconsin,2OO6-2Ots
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              0'
                     2m6         2û7            2m8             2û9        2070         2077             2012            2013             2074

 Note:                                                           Year of Hospitalization
                                                                                               Source: W¡sconsin Divísion of Publíc Heatth: Oflice ol
 Drug overdose death numbers moy ínclude more thon one type of drug.
                                                                                               Hedlth lnÍormotícs, Opíoíd Horm Preventíon Progrom




                  778. Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience withdrawing from opioid medications taken by the mother, increased dramatically in

Wisconsin between 2000 and 2013 from 0.4 per 1,000 hospital births in 2000 to 7 .9 in 2013.47e

From 2006 to 2014 theNAS rate increased 335 percent, from 2.0 to 8.7 per 1,000 live                                                   births.asO




a1e
  JeanY. Ko, etal-, Incidence of Neonatal Abstinence Syndrome                         28 Stqtes, 1999-2013,65 Morbidity                 &
Mortality Wkly. Rep. 799 (2016).
                                                                                  -
a80
   Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality                               Dataþr llisconsin,
supra, note 32, at38.




                                                  28t
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               779. The opioid epidemic is particularly devastating in Plaintifls Community. Out of

the 62 confirmed drug-related deaths in'Waukesha County             in2016,54 were opioid-related.asl

               780. The number of deaths   has risen considerably. For example,       in2015, there were 49

drug-related deaths, of which 43 involved opioids.as2 This is up from 29 drug-related deaths, 23

of which were opioid-related, in 2009.483

               781. According to the Wisconsin Department of Health Services,          W'aukesha County has

a high overdose death rate for deaths involving opioids               - a rate of 9.3 deaths per 100,000
residents from 2013         to   2015.484 Waukesha   County's death rate for opioid overdoses increased

from 4.5 deaths per 100,000 residents in2006 to 9.1 in 2015.48s

               782. A high percentage of these opioid-related deaths are due to prescription opioids.

Waukesha County had a death rate             of 5.2 deaths due to prescription opioid             overdoses per

100,000 residents from 2013 to 2015.486 The County has also seen deaths from drug overdoses

involving heroin rise dramatically from three in 2009 to              2l in 2012, 15 in 2014 xñ            20 in

2015.481


               783. Opioids have also been responsible for a large number of hospitalizations                and

emergency department visits in Waukesha County.In2014, the county had 191 inpatient and




a8r
      Waukesha County Medical Examiner's Office, Waukesha County Drug Related Deaths, 2009-2017.
482
      Id.
483
      Id.
a8a'Wisconsin Department of Health Services, Select Opioid-Related Morbidity ønd Mortality   Datafor Wisconsin,
supra,nole32, at5.
48s
      Id. at 4.
486
      Id. at   lo.
487
      Waukesha County Medical Examiner's Office, W'aukesha County Drug Related Deaths, 2009-2017.




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emergency hospitalizations visits involving opioids at a rate of 48.5 per 100,000 residents.ass

This frequency has almost doubled since 2006 when there were 105 such visits at a rate of                      27 .6


per 100,000 residents.4se The 540 hospital encounters involving opioids from2012 to 2014 was

the third highest in the State.ae0 Three hundred and twenty-four of these \ryere due to prescription

opioids.ael

             784. Waukesha County also had one of the highest number of hospital encounters

involving heroin from2012 to 2014 at2l9 which is a rate of 18.6 per 100,000 residents.ae2

             785. In 2015, Waukesha County had 243 ambulance runs in which naloxone                             was

administered, third most in the State behind Dane County and Milwaukee County.ae3 From 2013

to 2015, naloxone was dispensed on 690 ambulance trips.aea

             786. Waukesha County's incidence of neonatal abstinence syndrome rose from eight

cases       in   2006 to 37   in20l3   and 33 in2}l4.aes

             787. Drug addiction has caused increased law enforcement call volume for small

property crimes and time spent on suspected overdoses for officers, death investigators and

others specialized in narcotics probes.ae6



a88
      Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality   Dataþr   Wisconsin,
suprq,note32, ar20.
a8e
      Jd.
4eo
      Id. at 2l.
4et
      Id. at27.
4e2
      Id. at32.
4e3
      Id. at36.
4e4
      Id. at37.
4es
      Id. at42.
ae6
    Scott Anderson, Addiction's Doorstep: A Special Report on Wisconsin's Opioid Epidemic, Patch News (Oci.24,
2017), https://patch.com/wisconsirVgreenfield/addictions-doorstep-special-report-wisconsins-opioid-epidemic (last
visited May 31, 2018).




                                                           283
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          788. The   sheer volume   of these dangerously addictive drugs was destined to create the

present crisis ofaddiction, abuse, and overdose deaths.

              2.     The Relief Sought.

          789. The RICO Diversion Defendants' violations of law and their pattern of racketeering

activity directly and proximately caused Plaintiff injury in its business and property. The RICO

Diversion Defendants' pattern of racketeering activity, including their refusal to identify, report

and halt suspicious orders    ofcontrolled substances, logically, substantially and foreseeably        cause


an opioid epidemic. Plaintiff was injured by the RICO Diversion Defendants' pattern of

racketeering activity and the opioid epidemic that they created.

          790. As Plaintiff alleges, the RICO Diversion Defendants knew that the opioids they

manufactured and supplied were unsuited to treatment of long-term, chronic, non-acute, and non-

cancer pain, or for any other use not approved by the FDA, and knew that opioids were highly

addictive and subject to abuse. ae7 Nevertheless, the RICO Diversion Defendants engaged in a

scheme of deception, that utilized the mail and wires as part of their fraud, in order to increase

sales    of their opioid products by refusing to identify, report suspicious orders of prescription

opioids that they knew were highly addictive, subject to abuse, and were actually being diverted

into the illegal market.ae8

          791. Here, as Plaintiff alleges, the link of causation generally breaks down into three

very short steps: (1) the RICO Diversion Defendants' affirmative action to continue supplying

prescription opioids through legal channels with knowledge that they were being diverted into



ae1 Traveler's Prop. Cas. Co. of Am. v. Actqvis, Inc.,16 Cal. App. 5th 1026,1042,225 Cal. Rptr. 3d 5 (Ct. App.
20t'7).
aeg
      City of Everett v. Purdue Pharma 2.P., No. C17-209RSM,2017   WL   4236062, at *6 (W.D. V/ash. Sept. 25,
2017).




                                                     284
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the illicit market; (2) an opioid epidemic in the form of criminal drug trafficking, misuse and

abuse; and (3) injuries to the Plaintiff.aee Although not as direct as a car accident or a slip-and-

fall   case, this causal chain is       still a "direct sequence" and a logical, substantial and foreseeable

cause of     Plaintiff   s injury.soo

            792. Specifically, the RICO Diversion Defendants' predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiff                 in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. Plaintifls injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:

                   a.         Losses caused by purchasing and/or paying reimbursements for the RICO
                              Defendants' prescription opioids, that Plaintiff would not have paid for or
                              purchased but for the RICO Diversion Defendants' conduct;

                   b.         Losses caused by the decrease in funding available for Plaintiff s public
                              services for which funding was lost because it was diverted to other public
                              services designed to address the opioid epidemic;

                    c.        Costs for providing healthcare and medical care, additional therapeutic,
                              and prescription drug purchases, and other treatments for patients
                              suffering from opioid-related addiction or disease, including overdoses
                              and deaths;

                    d.        Costs of training emergency andlor first responders in the proper treatment
                              of drug overdoses;

                    e.        Costs associated with providing police off,rcers, firefighters,            and
                              emergency andlor first responders with Naloxone        -   an opioid antagonist
                              used to block the deadly effects of opioids in the context of overdose;

                    f.        Costs associated with emergency responses by police officers, firefighters,
                              and emergency and/or first responders to opioid overdoses;




4ee
      Id.
s00
      Id.




                                                         285
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                û       Costs   for providing mental-health   services, treatment, counseling,
                        rehabilitation services, and social services to victims of the opioid
                        epidemic and their families;

                h.      Costs for providing services to infants born with opioid-related medical
                        conditions, or born addicted to opioids due to drug use by mother during
                        pregnancy;

                l.      Costs associated with law enforcement and public safety relating to the
                        opioid epidemic, including but not limited to attempts to stop the flow of
                        opioids into local communities, to arrest and prosecute street-level dealers,
                        to prevent the current opioid epidemic from spreading and worsening, and
                        to deal with the increased levels of crimes that have directly resulted from
                        the increased homeless and drug-addicted population;

               j        Costs associated with increased burden on Plaintiffs judicial system,
                        including increased security, increased staft and the increased cost of
                        adjudicating criminal matters due to the increase in crime directly
                        resulting from opioid addiction;

                k.      Costs associated with providing care for children whose parents suffer
                        from opioid-related di sability or incap acitation;

                t.      Loss of tax revenue due to the decreased efficiency and size of the
                        working population in Plaintifls Community;

                m.      Losses caused by diminished property values in neighborhoods where the
                        opioid epidemic has taken root; and

                n.      Losses caused by diminished property values         in the form of   decreased
                        business investment and tax revenue.

        793. Plaintiffls injuries were proximately caused by the RICO Diversion Defendants'

racketeering activities because they were the logical, substantial and foreseeable cause of

Plaintiffs injuries. But for the opioid-addiction epidemic created by RICO Diversion
Defendants' conduct, Plaintiff would not have lost money or property.

        794. Plaintiff s injuries were directly caused by the RICO Diversion Defendants' pattern

of racketeering activities.

        795. Plaintiff is most directly harmed     and there is no other Plaintiff better suited to seek

a remedy   for the economic harms at issue here.



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        796. Plaintiff   seeks all legal and equitable relief as allowed by law, including, inter alía,

actual damages, treble damages, equitable            reliel forfeiture as deemed proper by the Court,

attorney's fees and all costs and expenses of suit and pre- and post-judgment interest.


                     \ürs c oNS IN   DE cE   pttt?HHlln     PRACTTcE s        ACr,
                                         Wis. Stat. S 100.18
                                       (Against All Defendants)

       797   .   Plaintiff incorporates by reference all other paragraphs of this Complaint   as   if fully

set forth here, and further alleges as    follows.

        798. Plaintiff brings this count under the "Fraudulent representations" section of

Wisconsin's Deceptive Trade Practices Act. Wis. Stat.               $ 100.18. "Any   person suffering

pecuniary loss because of a violation of this section by any other person may sue in any court of

competent jurisdiction and shall recover such pecuniary loss." Wis. Stat. $ 100.1 8(1 l Xb)2.

        799. Section 100.18 provides that "[n]o person, firm, corporation or associatiofl,

with intent to sell, distribute, increase the consumption of any . . . merchandise . . . to the public

for sale . . . or other distribution . . . shall make, publish, disseminate, circulate, or place before

the public, or cause, directly or indirectly, to be made, published, disseminated, circulated, or

placed before the public, in this state, in a newspaper, magazíne or other publication, or in the

form of a book, notice, handbill, poster, bill, circular, pamphlet, letter, sign, placard, card,label,

or over any radio or television station                 an advertisement, announcement, statement or

representation     of any kind . . . which. . is untrue, deceptive or misleading." Wis. Stat.             $


100.18(1).

        800. The elements of a claim under \Mis. Stat. $ 100.18(1) are: (1) the defendant made a

representation to the public with the intent to induce an obligation,2) the representation was

untrue, deceptive or misleading, and (3) the representation caused a pecuniary loss to the



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plaintiff. See Novell v. Migliaccio, 2008 Wl 44, n 44, 309 Wis. 2d 132, 749 N.W.2d 544

(citations omitted). "[T]he purpose     of $   100.18     is to deter sellers from making false   and

misleading representations in order to protect the public." Id.n30.   -




         801. Each Defendant is a "person, firm, corporation, or association" within the meaning

ofWis. Stat. $ 100.18(1).

         802. Defendants violated Wis. Stat. $ 100.18(1) by making the foregoing           repeated

representations to the public that were untrue, deceptive and misleading, with the intent to sell or

induce the sale of prescription opioids. These representations caused pecuniary losses to Plaintiff

and   Plaintiff   s Community.

         803. Each Defendant failed to report suspicious orders of and/or prevent the diversion of

highly addictive prescription drugs to illegal sources.

         804. Because of the dangerously addictive nature of these drugs, the Defendants'

marketing, sales, and/or distribution practices unlawfully caused an opioid and heroin plague and

epidemic in the State and Plaintiff s Community. Each Defendant had a non-delegable duty to

guard against and prevent the diversion of prescription opioids to other than legitimate medical,

scientific, and industrial channels.

         805. The Defendants failed to disclose and misrepresented the material facts that, inter

alía, they were not in compliance with laws and regulations requiring that they maintain   a system


to prevent diversion, protect against addiction and          severe harm, and specifically monitor,

investigate, report, and refuse suspicious orders. But for these material factual omissions and

misrepresentations, the Defendants would not have been able to sell opioids, and the Defendants

would not have been able to receive and renew licenses to sell opioids.




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          806. As evidenced by the conduct detailed above, the Defendants falsely represented to

the public that Defendants were complying with their legal obligations to monitor, detect,

investigate, refuse to   fill,   and report suspicious orders of prescription opioids.

          807. As alleged herein, each Manufacturer Defendant wrongfully represented to                 the

public that the opioid prescription medications they manufactured, marketed, distributed and sold

had characteristics, uses and benefits that they do not have.

          808. The Manufacturer Defendants also wrongfully represented to the public that                the

opioid prescription medications were safe and effective when such representations were untrue,

false and misleading.

          809. The Manufacturer Defendants also omitted material facts and used exaggeration

and/or ambiguity as to material facts, which tended to deceive andlor did                in fact deceive the

public.

          810. Because      of the dangerously addictive nature of             these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value, and in fact

caused addiction and overdose deaths. Defendants' sales and marketing             of opioids to the public

constituted a violation of Wisconsin law.

          811. The Manufacturer Defendants made deceptive representations to the public about

the use of opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or

concealed material facts and failed           to correct prior misrepresentations and omissions to the

public about the risks and benefits of opioids. Each Manufacturer Defendant's omissions

rendered even their seemingly truthful statements about opioids deceptive.

          812. The Manufacturer Defendants also made untrue, false, deceptive, and misleading

statements including but not limited to the following:




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            a.   Claiming or implying that opioids would improve patients' function and quality
                 oflife   (see pages 190-195, supra);

            b.   Mischaractenzing the risk of opioid addiction and abuse, including by stating or
                 implying the opioids were rarely addictive, that "steady state" and abuse-resistant
                 properties meant the drugs were less likely to be addictive or abused, and that
                 specific opioid drugs were less addictive or less likely to be abused than other
                 opioids (see pages 169-177, 182-190, supra);

            c.   Claiming or implying that addiction can be avoided or successfully managed
                 through the use ofscreening and other tools (see pages 195-196, supra);

            d.   Promoting the misleading concept of pseudoaddiction, thus concealing the true
                 risk of addiction (see pages 177 -179, 1 96- I 98, supra);

            e.   Mischaractenzing the difficulty of discontinuing opioid therapy, including by
                 mischaractenzingthe prevalence and severity of withdrawal symptoms (see pages
                 177, r84, 197 , r98,205,208, supra);

            f.   Claiming     or implying that increased   doses      of   opioids pose   no significant
                 additional risk (see pages 200-203, supra);

            g.   Misleadingly depicting the safety profile of opioids prescribed by minimizing
                 their risks and adverse effects while emphasizing or exaggerating the risks of
                 competing products, including NSAIDs (see pages 200-203, supra); and

            h.   In the case of Purdue, mischaractenzingOxyContin's onset of action and duration
                 of efficacy to imply that the drug provided a full 12 hours of pain relief (see pages
                 54-55, supra).

        813. Defendants' unfair, deceptive, and unconscionable representations,           concealments,

and omissions are reasonably calculated to deceive the State, the public, Plaintiff s Community,

and Plaintiff.

        814. As described more specifically above, Defendants' representations,           concealments,

and omissions constitute a     willful   course of conduct which continues to this day.

        815. The damages which Plaintiff seeks to recover were sustained as a direct                 and

proximate cause of the Defendants' intentional andlor unlawful actions.




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       816. The Defendants' actions and omissions to the public in the course of marketing,

selling, and distributing prescriptions opioids constituted untrue, deceptive, and misleading

representations within the meaning of Wis. Stat. $ 100.18.

       817. Defendants have made and continue to make untrue, deceptive, and misleading

representations in the conduct of commerce in this State and in Plaintiffls Community.

       818. Defendants acted intentionally and/or unlawfully in making the various untrue,

deceptive, and misleading representations described herein.

       819. Defendants' actions were directed toward the public, the Plaintiff and Plaintiff            s


Community, and proximately caused injury to Plaintiff, as described herein.

       820. The Defendants egregiously, knowingly, willfully and/or unlawfully engaged in the

untrue, deceptive, and misleading actions described herein.

        82I. Plaintiff   has been damaged, and is    likely to be further damaged in the future, by the

misrepresentations described herein.

        822. Plaintiff seeks all available damages pursuant to Wis. Stat.           $ 100.18(llxb)2,
including costs and attorneys' fees, for injuries sustained because of Defendants' violations of

Wis. Stat. $ 100.18(llXb)2.

        823. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement          of

profìts, compensatory damages, attomeys' fees and costs, and pre- and post-judgment interest.

                                  COUNT V
               NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                            (Against All Defendants)

        824. Plaintiff incorporates by reference all other paragraphs of this Complaint      as   if fully

set forth here, and further alleges as   follows.




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         825. Plaintiff seeks damages which were the foreseeable result of the Defendants'

intentional andlor unlawful actions and omissions.

         826.   Under 'Wisconsin law, to establish actionable negligence)                                 a


plaintiffmustprovefourelements: "(1) [a] duty of care on the part of the defendantfs]; (2)                a


breach   of that duty; (3) a causal     connection between the conduct and the injury; and (4)

an actual loss or damage as a result   of the injury." Martindale v. Ripp,2001 WI 113,          I   33, 246

Wis. 2d 67, 629 N.W.2d 698. All such essential elements exist here.

         827. Defendants could have reasonably foreseen the probable harm as a result of their

negligence. Padilla v. Bydalek,56 Wis.         2d772,778,203 N.W.2d 15, 19 (1973) (citations

omitted). Defendants' acts and omissions were a substantial factor in causing harm to Plaintiff

and   Plaintiff s Community.   See   Morgan v. Pennsylvania Gen. Ins. Co.,87 Wis. 2d 723,735-36,

275 N.W.2d 660 (te7e).

         828. Further, as Section 3028 of the Restatement of Torts provides: "An act or                  an


omission may be negligent      if the actor realizes or shoul d realize that it involves   an uffeasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal." See Restatement (Second)                of Torts $ 3028

(1965) (June 2018 Update).

         829. Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiffls

Community.

         830. Each Defendant had an obligation             to   exercise due care     in    manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs in the State and Plaintiff             s


Community.




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       831. Each Defendant owed a duty to the Plaintiff, and to the public           in Plaintiffs
Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.

       832. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on coÍLmunities and

impose significant costs upon the governmental entities associated with those communities. The

closed system of opioid distribution whereby wholesale distributors are the gatekeepers between

manufacturers and pharmacies,     md wherein all links in the chain have a duty to         prevent

diversion, exists for the purpose   of   controlling dangerous substances such as opioids and

preventing diversion and abuse.

       833. Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm    of

addiction, foreseeably causing patients to seek increasing levels ofopioids, frequently turning to

the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.

       834. Moreover, law enforcement repeatedly warned Defendants of the unlawfulness and

consequences of their actions and omissions.

       835. The escalating amounts of addictive drugs flowing through Defendants' businesses,

and the sheer volume of these prescription opioids, fuither alerted Defendants that addiction was

fueling increased consumption and that legitimate medical pulposes were not being served.

       836. As described above       in allegations   expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution   of

dangerous opioids, which are Schedule      II Controlled   Substances,   by failing to monitor for,

failing to report, and filling highly suspicious orders time and again. Because the very purpose of




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these duties was to prevent the resulting harm    -   diversion of highly addictive drugs for non-

medical purposes   -   the causal connection between Defendants' breach of duties and the ensuing

harm was entirely foreseeable.
                                                                 'Wisconsin
       837. The elements of negligent misrepresentation in                    are: (1) the defendant

made a representation of fact; (2) the representation was untrue; (3) the defendant was negligent

in making the representation; and (4) the plaintiff believed that the representation was true and

relied onit. Malzewski v. Rapkín,2006 WI App 183, T 20, 296 Wis. 2d98,723 N.W.2d 156.

       838. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants negligently misrepresented their compliance with their duties

under the law and negligently concealed their noncompliance and shipments of suspicious orders

of opioids to Plaintiff s Community and destinations from which they knew opioids were likely

to be diverted into Plaintiff s Community, in addition to other misrepresentations alleged       and

incorporated herein.

       839. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business         of

pharmaceutical manufacturers       of   dangerous opioids, which are Schedule         II   Controlled

Substances,   by negligently misrepresenting the nature of the drugs and aggressively promoting

them for chronic pain for which they knew the drug were not safe or suitable.

       840. The Manufacturer Defendants negligently misrepresented and negligently

concealed the addictive nature of prescription opioids and their lack     of suitability for chronic

pain, in addition to other misrepresentations alleged and incorporated herein.

       841. All Defendants were negligent in their duties to prevent diversion and report and

halt suspicious orders, and they misrepresented their compliance with their legal duties.




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        842. The representations outlined above were untrue.

        843. The Defendants were negligent in making the false representations of fact and

concealments of fact described above.

        844. Plaintiff believed that the representations were true and justifiably relied on

Defendants' representations and/or concealments, both directly and indirectly. This reliance

proximately caused Plaintiff s injuries.

        845. The causal connection between the Defendants' breaches of their duties and

misrepresentations and the ensuing harm was entirely foreseeable.

        846. As described above           in   allegations expressly incorporated herein, Defendants'

breaches   of duty and misrepresentations            caused, bear   a causal connection with    and/or

proximately resulted in the damages sought herein.

        847. The Defendants' breaches of their duties and misrepresentations were the cause-in-

fact of Plaintifls injuries.

        848. The risk of harm to Plaintiff and Plaintifls Community        and the harm caused should

have been reasonably foreseen by Defendants. The Defendants' conduct was substantial factor

in causing Plaintiff   s   injuries.

        849. The Defendants were selling dangerous drugs statutorily categonzed as posing            a


high potential for abuse and severe dependence. The Defendants knowingly traded in drugs that

presented a high degree         of danger if prescribed incorrectly or diverted to other than medical,

scientific, or industrial channels. However, the Defendants breached their duties to monitor for,

report, and halt suspicious orders, breached their duties to prevent diversion, and, further,

misrepresented what their duties were and their compliance with their legal duties.




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        850. The Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, the Defendants would not have

been able to sell opioids.

        851. As alleged herein,   each Manufacturer Defendant made wrongful representations       of

fact that the opioid prescription medications they manufactured, marketed and sold              had

characteristics, uses or benefits that they do not have. The Manufacturer Defendants also made

wrongful representations of fact that the opioids were safe and effective when the Manufacturer

Defendants knew, or should have known, such representations were untrue, false and misleading.

        852. Because     of the   dangerously addictive nature      of   these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value and in fact

caused addiction and overdose deaths.

        853. The Manufacturer Defendants negligently made false representations of fact about

the use of opioids to treat chronic non-cancer pain. Each Manufacturer Defendant                also

negligently omitted     or   concealed material facts and failed      to   correct prior negligent

misrepresentations and omissions about the risks and benefits        of opioids. Each Defendant's

omissions rendered even their seemingly truthful statements about opioids deceptive.

        854. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from the Defendants' actions and omissions.

        855. Plaintiff seeks all legal and equitable relief as allowed by law, other than      such

damages disavowed herein, including, inter alía, injunctive relief, restitution, disgorgernent    of




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profits, compensatory and punitive damages, and all damages allowed by law, including all

reasonable attorneys' fees and costs, and pre- and post-judgment interest.


                                     Nncr.l8nu#nlLR       sE
                                     (Against All Defendants)

        856. Plaintiff incorporates by reference all other paragraphs of this Complaint    as   if fully

set forth here, and further alleges as follows.

        857. Wisconsin law recognizes the doctrine of negligence per se: "'When a statute

provides that under certain circumstances particular acts shall or shall not be done,     it may be

interpreted as fixing a standard . . . from which it is negligence to deviate." Bennett v. Larsen

Co,118 V/is. 2d 681,693-94,348 N.W.2d 540 (1984) (quoting Prosser on Torts $ 36 at 190 and

citing Restatement (Second) of Torts $ 285 (1965)).

        858. Violations of statutes and regulations support a cause of action for negligence per

se where the   plaintiff is within the class of persons the statute was designed to protect, the harm

sustained is the type sought to be prevented and there is legislative intent that the statute become

a basis for the imposition of civil liability. Antwaun A. ex. rel. Muwonge v. Heritage Mut. Ins.

Co.,228 Wis.2d 44,66-67,596 N.W.2d456 (1999) (citing Taturv. Solsrund, 174 Wis. 2d135,

743,498 N.E.2d 232 (1993)).
                                            'Wisconsin                           'Wisconsin
        859. Defendants were required under            law to be licensed by the

Pharmacy Examining Board.,Se¿ W'is. Stat. $ 450.071(1). See also Wis. Stat. $ 961.31; Wis.

Admin. Code $$ Phar 13.01 et seq.

        860. Wisconsin's minimum requirement for controlled substance manufacture                   and

wholesale drug distribution is that they must comply with "applicable federal, state, and local

laws and regulations." Wis. Admin. Code $ Phar 13.17(l). See ¿/so Wis. Stat. $ 450.10(1Xa)(2);




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Wis. Admin. Code g Phar 13.17(2); Wis. Admin. Code $ Phar 8.02(2); Wis. Admin. Code $ Phar

12.05.

         861. The Pharmacy Examining Board makes a determination of what is in the interest of

public health and safety when    it decides whether to register manufacturers and distributors of
controlled substances. Wis. Admin. Code $ Phar 13.06(8).

         862. The Wisconsin Pharmacy Examining Board may deny, revoke or suspend              a license


to manufacture or distribute a controlled substance     if   licensee has "fe]ngaged in unprofessional

conduct." Wis. Stat. $ 450.10(1XbX1). Unprofessional conduct includes, inter alia, making

material false statements "or giving any materially false information          in connection with an
application for a license[.]" Wis. Stat. $ 450.10(lXaXl).

         863. Federal and Wisconsin laws and regulations require Defendants                 to act as
gatekeepers guarding against the diversion of the     highly addictive, dangerous opioid drugs.   ,See,


e.g., Wis. Admin. Code $$ Phar 13.10(5); 13.02(8); 13.15.

         864. The federal mandates incorporated into Wisconsin law require that Defendants

must maintain "effective control against diversion of particular controlled substances into other

than legitimate medical, scientific, and industrial channels." 21 U.S.C. $$ 823(aX1), (bxl).

These federal regulations impose a non-delegable duty upon both manufacturers and distributors

to "design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant fdistributor or manufacturer] shall inform the Field Division Office      of

the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency."   2l   C.F.R. $ 1301 .74(b).




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         865. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged                as


potentially suspicious   if, after conducting   due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc.,72 Fed. Reg.

36,487,36,501 (Drug Enflt Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf't Admin.,

861 F.3d 206,212 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Masters

Pharm.,Inc.,86l F.3d     at   212213.

         866. Defendants violated section 96I.41           of the Wisconsin Uniform Controlled
Substances Act, which provides that, "Except as authonzedby this chapter,       it is unlawful for any

person any person to manufacture, distribute or deliver a controlled substance." Wis. Stat.         $


e6t.4t(t).

         867. Defendants' actions were not "authorized" by the Wisconsin Uniform Controlled

Substances Act because Defendants did not comply with the mandatory terms of the licenses

issued   to them by the Wisconsin Pharmacy Examining Board or with federal requirements

incorporated by reference, as further detailed in this Complaint.
                                                             'Wisconsin
         868. Defendants also violated section 96I.42 of the            Uniform Controlled

Substances   Act, which provides that, "It is unlawful for any person knowingly to keep or

maintainany...warehouse,...building,...orotherstructureorplace,...whichisusedfor

manufacturing, keeping or delivering fcontrolled substances] in violation of this chapter." Wis.

Stat. $ 961.42(t).

         869. Defendants also violated section 961.43 of the Wisconsin Uniform Controlled

Substances    Act, which provides that     it is unlawful for any person to "acquire or obtain




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possession    of a controlled     substance     by   misrepresentation, fraud, forgery, deception or

subterfuge." Wis. Stat. $ 961.a3(l)(a).

         870. Defendants also violated regulations promulgated by the Wisconsin Pharmacy

Examining Board by violating the requirements for distributors to receive a license, including,

inter alía, reporting all suspicious orders (Wis. Admin. Code $ Phar 8.10) and complyingwith

"applicable federal, state, and local laws and regulations." Wis. Admin. Code $ Phar 13.17(1).

         871. Section 961.53 of the Wisconsin Uniform Controlled            Substances Act provides that

"Violations of this chapter constitute public nuisances under ch.823, irrespective of any criminal

prosecutions which may be or are commenced based on the same acts." Wis. Stat. $ 961.53. The

Wisconsin Legislature expressly contemplated that violations                of the Wisconsin Uniform
Controlled Substances Act would become a basis for the imposition of civil liability, because

section 96I.53 expressly states that these violations constitute a nuisance under Chapter 823           of
      'Wisconsin                                civil actions by persons injured by nuisances.
the                Statutes, which authorizes

         872. The Wisconsin Uniform Controlled Substances Act further provides that "[a]ny

penalty imposed for violation of this chapter is in addition to, and not in lieu of, any civil or

administrative penalty or sanction otherwise authorized by law." Wis. Stat. $ 961.44.

         873. The Wisconsin Legislature authorized the Wisconsin Pharmacy Examining Board

to specify through regulations precisely how the manufacturers and distributors were to comply

with the Wisconsin Uniform Controlled Substances Act.           See   Wis. Stat. $ 961.31. The Legislature

also has found that "the abuse     of controlled substances constitutes a serious problem for society''

that the "manufacture, distribution, delivery, possession and use of controlled substances for

other than legitimate purposes have a substantial and detrimental effect on the health and general

welfare of the people of this state." Wis. Stats. $$ 961.001, .001(1m). Thus, violations of the




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rules implementing the Wisconsin Uniform Controlled Substances Act, to the extent that they

were intended to protect public safety, are a basis for the imposition of civil liability under

Wisconsin law.

         874. Plaintiff is within the class intended to be protected by the public safety statutes

and regulations conceming controlled substances.

         875. Defendants' violations of these public safety laws are prima facie evidence of

negligence per se. Each Defendant had a duty under, inter alia, these laws to maintain effective

controls against diversion of prescription opioids and to guard against, prevent, and report

suspicious orders of opioids. Defendants' violations of the law constitute negligence per         se.


Defendants breached mandatory, non-delegable legal duties and did not act reasonably under the

circumstances.

         876. As described above     in   allegations expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes and regulations requiring that as wholesale

drug distributors, Defendants could only distribute these dangerous drugs under a closed system

-   a system Defendants were responsible for guarding.

         877. As described above     in   allegations expressly incorporated herein, Defendants'

breach of statutory and regulatory duties caused, bears a causal connection with, is and was a

substantial factor contributing to, and/or proximately resulted in, harm and damages to Plaintiff.

         878. The injuries and damages sustained are those which the Wisconsin statutes          and

regulations were designed to prevent.

         879. Defendants' violations of the Wisconsin    statutes and public safety regulations cited

herein were and are substantial factors in the injuries and damages sustained.




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       880. It was foreseeable that Defendants' breaches of statutory and regulatory duties

described herein would result in the damages sustained.

       881. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants' negligence per        se. Plaintiff   does not seek damages for

physical, personal injury or any physical damage to property caused by Defendants' actions.

       882. Plaintiff   seeks   all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, including all reasonable attorneys' fees and costs, and pre-

and post-judgment interest.

                                    COUNT VII
                   STRICT RESPONSIBILITY    MISREPRESENTATION
                              (Against All Defendants)

        883. Plaintiff incorporates by reference all other paragraphs of this Complaint    as   if fully

set forth here, and further alleges as follows.



        884. In Wisconsin, the tort of strict responsibility misrepresentation has five    elements:

(1) the defendant made a representation of fact; (2) the representation was untrue; (3) the

defendant made the representation based on his or her personal knowledge, or was so situated

that he or she necessarily ought to have known the truth or untruth of the statement; (a) the

defendant had an economic interest in the transaction; and (5) the plaintiff believed that the

representation was true and relied onit. Malzewski v. Rapkin,2006 WI App 183, fl 19,296 Wis.

2d 98, 723 N.W.2d 156 (citing D'Huyvetter v. A.O. Smith Harvestore Prods., 164 Wis. 2d 306,

336,475 N.W.2d 587 (Ct. App. 1991)).

        885. The Defendants failed to disclose the material facts that, inter alia,they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,




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protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, the Defendants would not have

been able to sell and   profit from opioids.

        886. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Defendants misrepresented their compliance with their duties under the law and

concealed their noncompliance and shipments          of   suspicious orders   of opioids to Plaintiffls

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff   s Community,   in addition to other misrepresentations alleged and incorporated herein.

        887. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants engaged in false representations and concealments of material

fact regarding the use of opioids to treat chronic, non-cancer pain and instead aggressively

promoted them for chronic pain for which they knew the drugs were not safe or suitable.

        888. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed and sold had characteristics, uses

or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented

that the opioids were safe when the Manufacturer Defendants knew, or should have known, such

representations were untrue, false and misleading.

        S89. The Manufacturer Defendants concealed and misrepresented the dangerously

addictive nature of these drugs. Each Manufacturer Defendant also omitted or concealed material

facts and failed to correct prior misrepresentations and omissions about the risks and benefits       of

opioids. Each Defendant's omissions rendered even their seemingly truthful statements about

opioids deceptive.




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        890. Defendants' representations and concealments were made with Defendants'

personal knowledge. Defendants knew             or necessarily   should have known that       these

representations were untrue because only they had the means          of knowing the truth of their

statements about the safety and uses   of opioids and their compliance with their duties to prevent

suspicious orders and diversion.

        891. Defendants had economic interests in the sale of opioids to Plaintiff s Community.

Defendants gained financially and profited from the sale of opioids. Defendants have profited

and benefited from the increase in the distribution and purchase of opioids within Plaintiff       s


Community. Defendants protected their own profits at the expense of public health and safety,

and profited from their misrepresentations.

        892. Plaintiff, Plaintiffs Community, and the physicians who prescribed opioids

believed and reasonably relied on Defendants' misrepresentations and concealments of material

fact, both directly and indirectly. This reliance proximately caused Plaintiff s injuries.

        893. As described above       in   allegations expressly incorporated herein, Defendants'

misrepresentations caused, bear a causal connection with and/or proximately resulted         in   the

damages sought herein.

        894. The Defendants' breaches of their duties and misrepresentations were the cause-in-

fact of Plaintiff s injuries.

        895. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from the Defendants' actions and omissions.

        896. Plaintiff seeks all legal and equitable relief as allowed by law, other than      such


damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement      of




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profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys' fees and costs, and pre- and post-judgment interest.

                                      COUNT VIII
                      FRAUD AND FRAUDULENT MISREPRESENTATION
                                 (Against All Defendants)

        897   .   Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        898. In Wisconsin, the tort of fraud or intentional misrepresentation has five          elements:

(1) the defendant must have made a representation of fact to the plaintiff; (2) the representation

of fact must be false; (3) the plaintiff must have believed and relied on the misrepresentation to

his detriment or damage; (4) the defendant must have made the misrepresentation with

knowledge that it was false or recklessly without caring whether it was true or false; and (5) the

defendant must have made the misrepresentation with intent to deceive and to induce the plaintiff

to act on it to his detriment or damage." Tietsworth v. Harley-Davidson, [nc.,2004 WI 32,            t113,

270 Wis. 2d 146,677 N.W.2 d 233 (citing Ollerman v. O'Rourke Co.,94 Wis. 2d              17   ,24-25,288

N.V/.2d es (le8o)).

        899. Defendants violated their general duty not to actively deceive and have                made

knowingly false statements. Further, Defendants have knowingly omitted andlor                  concealed

material information, thereby making            its   representations knowingly false.   In so doing,
Defendants acted intentionally andl or unl awfully.

        900. As alleged herein, Defendants made false statements regarding their compliance

with state and federal law regarding their duties to prevent diversion, their duties to monitor,

report and halt suspicious orders, andlor concealed their noncompliance with these requirements.

        901. As alleged herein, the Manufacturer Defendants engaged in false rçresentations

and concealments of material fact regarding the use of opioids to treat chronic, non-cancer pain.



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       902.   As   alleged herein,           the   Defendants knowingly andlor intentionally made

representations that were false. Defendants had a duty to disclose material facts and concealed

them. These false representations and concealed facts were material to the conduct and actions at

issue. Defendants made these false representations and concealed facts with knowledge of the

falsity of their representations, and did so with the intent of misleading Plaintiff, Plaintiffls

Community, the public, and persons on whom Plaintiff relied.

       903. These false representations and concealments were reasonably calculated to

deceive Plaintiff, Plaintiff s Community, and the physicians who prescribed opioids for persons

in Plaintiffs Community, were made with the intent to deceive, and did in fact deceive           these

persons, Plaintiff, and   Plaintiff   s Community.

        904. Plaintiff, Plaintiffs Communit¡ and the physicians who prescribed opioids

reasonably relied on these false representations and concealments of material fact.

        905. Plaintiffjustifiably relied on Defendants' representations andlor concealments, both

directly and indirectly. Plaintiff     s   injuries were proximately caused by this reliance.

        906. The injuries alleged by Plaintiff herein were sustained as a direct and proximate

cause of the Defendants' fraudulent conduct.

        907. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants' fraudulent activity, including fraudulent misrepresentations

and fraudulent concealment.

        908. Plaintiff    seeks   all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory damages and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys' fees and costs, and pre- and post-judgment interest.




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                                          COUNT IX
                                    UNJUST ENRICHMENT
                                    (Against All Defendants)

         909. Plaintiff incorporates by reference all other paragraphs of this Complaint   as   if fully

set forth here, and fuither alleges as follows.

         910. An action for unjust enrichment is based on the principle that   one who has received

a benefit has a duty to make restitution when retaining such benefit   would be unjust. JBCB, LLC

v. McKenna Berry Co., LLC,2018 WI App 8, 1192,379 Wis.2d 767,909 N.W.2d 210. The

theory   of   unjust enrichment has the following elements: (1) a benefit is conferred upon

the defendant by the plaintiff; (2) an appreciation or knowledge by the defendant of that benefit;

and (3) it is inequitable for the defendant to accept or retain that benefit without payment of the

value. Id. (cítingPuttkamerv. Minth,83 Wis. 2d686,689,266 N.W.2d 361 (1978).

         911. Defendants have unjustly retained a benefit to Plaintifls detriment, and the

Defendants'retention of the benefit violates the fundamental principles of justice, equity, and

good conscience.

         912. As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from the increase in the distribution and

purchase   of opioids within Plaintiffs     Community, including from opioids foreseeably and

deliberately diverted within and into Plaintiff s Community.

         913. Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

         914. Plaintiff has expended substantial amounts of money in an effort to remedy or

mitigate the societal harms caused by Defendants' conduct.

         915. These expenditures include the provision of healthcare services and treatment

services to people who use opioids.



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        916. These expenditures have helped sustain Defendants' businesses.

        917. Plaintiff has conferred a benefit upon Defendants by payng for Defendants'

externalities: the cost of the harms caused by Defendants' improper distribution practices.

        918. Defendants were aware of these obvious benefits,      and their retention of the benefit

is unjust.

        919. Plaintiff has paid for the cost of Defendants' externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products. The cost of Defendants' wrongful conduct in selling and

distributing opioids includes, ínter alia, increased healthcare services and addiction treatment for

opioid users. These costs are part of Defendants' business, yet Defendants are not paying for

them. Plaintiff does, and these costs are not part of the normal and expected costs of a local

government's existence. By using Plaintiff to fund Defendants' negative externalities (i.e., the

cost of the harms caused by their wrongful practices), Defendants knowingly saved on expenses,

thereby allowing them to sell and distribute more opioids, and make more money, than           if   they

had internalized the actual cost of their activities. Defendants have thereby received a benefit

unjustly financed by the Plaintiff.

         920. Because    of their deceptive   marketing    of   prescription opioids, Manufacturer

Defendants obtained enrichment they would not otherwise have obtained. Because                of their

conscious failure   to   exercise due diligence   in   preventing diversion, Defendants obtained

enrichment they would not otherwise have obtained. The enrichment was without justification

and Plaintiff lacks a remedy provided by law.




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          921. Defendants have unjustly retained benef,rts to the detriment             of Plaintiff,   and

Defendants' retention of such benefits violates the fundamental principles of justice, equity, and

good conscience.

          922. Defendants' misconduct alleged in this     case is ongoing and persistent.

          923. Defendants' misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

not part of the normal and expected costs of a local government's existence. Plaintiff alleges

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          924. Plaintiff   has incurred expenditures for special programs over and above its ordinary

public services.

          925. In addition, Plaintiff has made payments for opioid prescriptions, and Defendants

benefitted from those payments. Because of their deceptive promotion of opioids, Defendants

obtained enrichment they would not otherwise have obtained. The enrichment was without

justification and Plaintiff lacks   a remedy   provided by law.

          926. By reason of Defendants' unlawful       acts,   Plaintiff has been damaged and continues

to be damaged, in a substantial amount to be determined at trial.

          927. Plaintiff   seeks an order compelling Defendants to disgorge all unjust enrichment to

Plaintiff; and awarding such other, further, and different relief     as   this Honorable Court may deem

just.

                                        PUNITIVE DAMAGES

          928. Plaintiff incorporates by reference all other paragraphs of this Complaint       as   if fully

set forth herein, and further alleges as follows.




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       929. The purposes of punitive     damages are to punish and deter. See Reyes      v. Greatway

Ins. Co.,220 Wis. 2d 285,303, 582 N.W.2d 480,487 (Ct. App. 1998), qfd.227 Wis. 2d 357,

597 N.W.2d 687 (1999) (internal citation omitted). Wis. Stat. $ 895.043 states that, "[t[he

plaintiff may receive punitive damages if evidence is submitted showing that the defendant acted

maliciously toward the plaintiff or in an intentional disregard of the rights of the plain1.iff."   See


Wis. Stat. $ 89s.043(3).

       930. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted maliciously towards Plaintiff and with an intentional disregard of the Plaintiff     s


rights. Defendants acted with a prolonged intentional disregard to the adverse consequences of

their actions and/or omissions. Defendants acted with a conscious disregard for the rights and

safety of others in a manner that had a great probability of causing substantial harm. Defendants

acted toward the   Plaintiff with malice and were grossly negligent in failing to perform the duties

and obligations imposed upon them under applicable federal and state statutes and common law.

       931. Defendants were selling and/or manufacturing dangerous drugs statutorily

categonzed as posing a high potential       for abuse and severe dependence. Thus,        Defendants

knowingly traded in drugs that presented a high degree of danger        if   prescribed incorrectly or

diverted to other than legitimate medical, scientific or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon the State and Plaintiff s Community by, these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence and the safety of the

community, and an award of punitive damages is appropriate as punishment and a deterrence.

Punitive damages should be awarded pursuant to the common law and Wis. Stat. S 895.043.

                                              RELIEF

        WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:


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       932. Entering Judgment in favor of the Plaintiff in a final order against each of the

Defendants;

       933. Enjoining the Defendants and their employees, officers, directors,                  agents,

successors, assignees, merged      or   acquired predecessors, parent      or   controlling entities,

subsidiaries, and all other persons acting in concert or participation with     it, from   engaging in

unfair or deceptive practices    in violation of law    and ordering temporary, preliminary or

permanent injunction;

       934. Order that Defendants    compensate the   Plaintiff for past and future costs to   abate the

ongoing public nuisance caused by the opioid epidemic, including restitution;

       935. Order Defendants to fund an "abatement fund" for the purposes of abating the

opioid nuisance;

       936. Awarding actual damages, treble damages, injunctive and equitable relief,

forfeiture as deemed proper by the Court, and attorneys' fees and all costs and expenses of suit

pursuant to Plaintiff s racketeering claims;

        937. Awarding the Plaintiff the damages caused by the opioid epidemic, including (A)

costs for providing medical care, additional therapeutic and prescription drug purchases, and

other treatments for patients suffering from opioid-related addiction or disease, including

overdoses and deaths; (B) costs for providing treatment, counseling, and rehabilitation services;

(C) costs for providing services to infants born with opioid-related medical conditions; (D) costs

for providing care for children whose          parents suffer from opioid-related disability or

incapacitation; and (E) costs associated with law enforcement and public safety relating to the

opioid epidemic.




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         938. Enter a judgment against the Defendants requiring Defendants to pay punitive

damages;

         939. Granting the Plaintiff

            1.   The cost of investigation, reasonable attomeys' fees, and all costs and expenses;

            2.   Pre-judgment and post-judgment interest; and,

            3. All other relief as provided by law andlor as the Court deems appropriate   and just.

Dated:   July_,2018                               Respectfully Submitted,

                                                  WAUKESHA COUNTY, WISCONSIN,
                                                  Plaintiff

                                      By:         lsl
Erik G. Weidig (SBN 1038021)                      Shannon A. Allen (SBN 1024558)
Waukesha County Corporation Counsel               Brian R. Smigelski (SBN 1018322)
Waukesha County Administration Center             DnWrrr Ross & SrnvpNs, S.C.
515 West Moreland Blvd., AC 330                   13845 Bishop's Drive, Suite 300
Waukesha, WI 53188                                Brookfield, WI53005
Tel:262-548-1432                                  Tel: 262-754-2870
Fax:262-548-7490                                  Fax:262-754-2845
eweidi g@waukeshacounty. gov                      saa@dewittross.com
                                                  brs@dewittross.com

Peter J. Mougey                                   J. Burton LeBlanc,   IV
LnvtN, P.tpnNroNlo, TIToMAS, MITCHELL,            B¡.noN & Buro, P.C.
R¡rrnnrv & PRocro&        P.A.                    3102 Oak Lawn Avenue, Suite 1100
316 S. Baylen Street, Suite 600                   Dallas, TX75219
Pensacola, FL 32502-5996                          Tel.: 214-521-3605
Tel.: 850-435-7068                                Fax:214-520-1 181
Fax: 850-436-6068                                 blebl anc@baronbudd. com
pmougey@levinlaw.com

Michael J. Fuller, Jr.                            James C. Peterson
Amy Quezon                                        Ilrr,r., PnrnnsoN, CARPER,
McHucn Fur,r,nn Lnw GnouP, PLLC                       BnB & Dnrrzr,nn, PLLC
97 Elias Whiddon Rd.                              NorthGate Business Park
Hattiesburg, MS 39402                             500 Tracy Way
Tel.: 601-261-2220                                Charleston, Vy'V 25311
Fax: 601-261-2481                                 Tel.: 304-3 45-5667
mike@mchughfuller.com                             Fax: 304-3 45-1519
amy@mchughfuller.com                              jcpeterson@hpcbd.com




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Paul T. Farrell, Jr.                            Anthony J. Majestro
Gnnnnn, Knrcnuvr, FARRELL,                      Powrr,r. & Ma¡rsrno, PLLC
  B¡lr,nv& Twnnr.rLLP                           405 Capitol Street, Suite P-l200
419   -   llth   Street (25701)lP.O. Box 2389   Charleston, WV 25301
Huntington, West Virginia 25724-2389            Tel.: 304-346-2889
Tel.: 800-479-0053 or 304-525-91 l5             Fax: 304-346-2895
Fax: 304-529-3284                               amaj estro @powellmaj estro. com
paul@greeneketchum. com




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